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                           Exhibit A
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        An Examination of the Causal Association between Olmesartan an
        Adverse Events Resembling Sprue-Like Enteropathy


        Prepared by
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        Abbreviations and Definitions
        Common abbreviations and definitions used throughout this document

       · Abbreviations
         AE                                   Adverse event
        .ARB                                  Angiotensin II receptor blocker
         ACE I                                ACE inhibitor                                                                                                                                   J
         Cl
        CRF
                                               Confidence interval                              -                                                                                             I
                                                                                                                                                                                          ~
                                               Case report form
        GSR                                    Clinical Study Report
                                                                                           "
        DSJ                                    Daichii Sankyo
        ~BGM                                  Empirical Bayes Geometric Mean
         EB05                                 Lower bound of the 2-slded 90% confidence interval ofthe EBGM
         E895                                 Upper bound of the 2-sided 90% .confidence interval of the EBGM
         FDA                        ·-· ·---
                                             _f-_ood anstDrug Adr:£1Jnistration (!}nited States)                                                              "'-•'-'               .,.,_

       'fAERS                                 FDA Adverse Event Reporting System
        1EL                                   lntraepithe!iallymphocyte
        MedORA                                Medical Dictionary for Regulatory Activities

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           Abbreviations



                                =lltio
           NP                       Not Performed
                                    Not RefJC)_!i:ed

        tiDPRR
                         . . . -·             ID   ----.--
                                           onal Reporting Ratio
                                                                     ..                           ..

           RR                               tio             .
           soc                      System Orqan Class
           TEAE                     Treatment Emergent Adverse Event
           u.s.                     United States
           Definitions
           Hypertension             According to the U.S. National Institutes of Health, hypertension is a
                                    condition present when blood flows through the blood vessels with a force
                                    greater than normaL Hypertension call straih the heart, damage blood
                                    vessels, and increase the riskofheartati;ac.k, stroke, kldliey problems,
                                    and death. About 3 million Americans nave high blood pressure.[PubMed
                                    Health G!ossaryi

                                    Hypertension is often called high bl.ood pressure.
           Celiac disease           An lmmune-medrated-Sensl1ivitY to giUtan that tt:;~sults in damage to tht?
                                    intestinal vim, cmitrlbuting fa malabsorption and gastrointestinal
                                    disorders. Symptoms include dii:m:hea ancl weight loss. The diagnosis of
                                    celiac disease involves. serqlogic testingJor immunoglobulin A tissue
                                    transglutaminaseantibodies(lgAtrGA). M~iniain!ng a gluten-free diet
                                    res!Jits in the resolution of symptoms (lnd intestinal infl&mrnation.

                                    Celiac dlsease is sometimes called cenac.sprue .
           Drug~induced             Damage to the intestinal villi as a result of a pharmaceutical agent instead
           enteropathy              of gluten. According to the Bucharest algorithm to diagnose microscopic
                                    colitis, symptoms response after withdraw<:~! oflhe drug is. sufficient to
                                    diagnose drug-induced enteropathy,(Rostami 20151

                                     Oru~:Hnduced enterop9thY is sometimes called sprue"Hke enteropathy.
           Otmesartan-              Drug-induced enteropathy as a result of olmesartan, The Bucharest
           induced                  algorithm specifically me.nflons olmesartan~induced enteropathy as a form
           enteropathy              of enteropathy that can be diagnosed based on symptom response after
                                    drug withdrawaL[Rostami 20t5J           . .      .                        ..
           Dechallenge              Withdrawal of a suspect product from a patient's therapeutic regimen.
       I                            [U.S. FDA 2001] The FDA define$ positive dechaHenge as "partial or
                                    complete dlsappearance of an adv~rse experience after withdrawal ofthe
                                    suspect product".[U.S. FDA 2:001] Evidence of positive dechallenge is
                                    considered by the FDA to suggest a causal relationship between the use
                                    of a product and the adverse event[l).S. FDA 2005] ''In assessing case
       I
       I                            reports, FDA recommends that sponsors look for features that may
                                    suggest a causal relationship between the use of a product and the
                                    adverse event, including: Evidence of positive dechallenge or positive
                                    recha!!enge."[U.$. FDA 20051



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        Abbreviations
        Rechallenge       Reintroduction of a suspect product suspected of having caused an
                          adverse experience following a positive decha!lenge.[U.S. FDA 2001] Tf1e
                          FDA defines positive rechallt;nge as "reoccurrence of similar signs and
                          symptoms upon reintroduction of the suspect product". Evidence of
                          positive rechallenge ls considered by the FDA to suggest a cause:d
                          relationship between the use ofa product and the adverse event.[U.S.
                          FDA2005l "It is possible that even a single well documented case report
                          can be viewed as a signa!, partk::u!arl'y if the report describes a positive
                          rechallemge or if the event is extremely rare In the absence of drug use:'
                          ru.s, FDA 2005J          ..             . .
        Empirical Bayes   EBGM values indicate the· ;Strength of the reporting relationship between a
        Geometric Mean    particular dtuS. and event pC;lir, These values are adjusted for age, sex and
        (EBGM)            calendar year to account for differences in relatiVe reporting ratios by
                          these categories. EBGM uses DuMouchel's MultHtem Gamma Poisson
                          Shrlnker (MGPS) 1 a disp.roportionality method that utilizes an empirical
                          Bayesian moo~?l to d¢tectthe ,magnitude of drug-event associations In
                          drug s13fety dafabases.

                          The EBGM compares the obs:eN$d reports with the expected. The
                          expected value ils calcl.llated by multiplying the proportion of all reports for
                          the drug (le;, 1% of alf rep~rts are for drug X) by the proportion of all
                          reports for the event(t!7>, 2% ofclll reports, are for headache). In this
                          example tne expecle(J vatue (1% x 2%) is compared With the observed
                          number of reports IDY div'ldihg the observed value by the expected value,

                          An EBGM of i !ndk.:ates no associatib.n. Values greaterthan 1 indicate
                          thaHh.e eventiS:reported more cornroonfy for the drug than for other
                          drugs, Values fess than1lndice,te. that the event is reported tess often for
                          the drug: than othet qrugs,

                          Using   this method adjusts forrnultlpUcity and controls false positive (Type
                          I) errors,. by systematically "shrinkirig1' observed-expected ratios that
                          cannot be precisely .estimated because of small counts towards 1 {no
                          assoclatltm), The feWer events. there are, the greaterthe shrinkage.
                          Calculations for rare events (fewer than three events reported for the
                          drug) are shrunk a :large amount, while drug-event combinations with 20
                          or more events are shrunk b.y a srnafl amount

                          The FDA calculates the E'BGM as parrt of its internal data m1ning program
                          tU,S, FDA 2015]
        EB05              Lower bound of the 2~slded 90% confidence 1nterval of the EBGM. EB05
                          greater than or equal to 2 ls frequently used as a threshold to define a
                          signaL[Levine 20061                     .           ---,-----=-~-=-::7'~,.------
        EB95              Upper bound ofthe 2-sided 900ft, confidence interval of the EBGM.




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         Abbreviations
         Confidence interval     An indicator of the preCision ,ef an effect estimate, such as. the EBGM;
         {CI)                    The values contained withiri the conf1dt::mce interval represent a range of
                                 estimates expected to occut if the same value had been calcLJiated
                                 numerous times. For a 90% confidence interval, if the same value was
                                 calculated repeatedly from the population of all potentially obsetvable
                                 scenarios, about 90<~/o. of these intervals would contain the true effect
                                 estimate.

                                  The collfldence tnterval !s affected by the sample size obsetved. As the
                                  sample size Increases (Le., better represents th.e potentially observable
                                   population} .tha confidence intervals are closer in value to the effect
                                   e$tlmale; Regardless of the width of the confidence interval, the best
                                   estimaJe or the relationship between a drug and event Is tt1e effect
                                   estimate (le..,. EBGM).
          Effect estimate         A qt:lantltatiVe 'mec;.\sure of toe strength of a phenom.enon, The larger the
                                  VE!:14e. tn~ stron.gerthe effect. Also known as effect size-'-.-~~-~---4
        . Medical Dictionary       MedDRAll~l a .standardized medical terminology to facilitate stw~r!ng of
       , for Regulatory      ·    refjulcitqry informaftonintematio:na!ly for IT\edlcal products used by
        . Actll/itles, MedORA humans. rt wat:r develo!)ed by the lnt?rnational Conference on
                                  Harmonisatiotf ofTechnical Requirements for Registration of
                               ' Pnarrnaceu.ticars.for.Human Use (JCH). MedORA can be used in the
                                  r~glstrationl doqqtnentatiorrand safety monitoring of medicaf products irr
                               . tne;pre-tnarl<et!ng'.M\1 post,.marl<et\ng pHriods. FAERs uses MedORA
                                 .terminqlogy ~o dl(,l~sffy events. :These iru::lude specification of adve.rsa ·
                                  events :at a spaclfic.tevel.(suoo as f:he preferred term) and at higher levels, ·
                                  !'ncludin~LsSiS:tern organ cl~ss (SOC). [MedORA 20131                  . · .
       · Proportional            A commonly, u~e:;i measure of'd{sproportionality (the number of reports lh
          Reportit'lg Ratlo,   . :;;~ ~PotltanE?ol:isreport da:t~base for a speciflc event reported for a
          PRR                    particulan.:frugwlththe,number expected based solely on the other
                                 reporting inthe:sam:e.database), The PRR is the ratio of the' number of
                               .reports for tile dru~Nadverse event of interest divided by the tot:HI ofaU
                               :reports for the adverse eve.nt over the proportion of drug-adverse event
                               · reports for tht:: drUg not of (nterest divided by the total of all reports for
                                  other adverse events~ In a 2x2 fr:ameWNk thls equates to
       ,____ _ _ _ __,ja/[a+ol)L{ci[c+dl),[Andrews 2014J

        Summary of Opinions
        Th£: opinions I prpv1de. ln this report are given to a reasonable degree of scientific certainty and
        am based on my t<nowtedge, skll!s, experience and the information available to me at the tlme
        these opinions were rendered. If additional information becomes available, 1may supp.lement
        my opinions to reflect such additional information.

        As dE!scribed in the Causality Assessment section. of this report, l based my determination of
        causality using a defined framework. The orlferla used' and the e:vldence ln support or against
        those criteria are provided in the Summary Table. In conclusion, I am ofthe opinion, to a
        reasonable degree of scientific certaJnty1 that the evidence is sufficient to establish a causal
        relationship between o!mesartan-conta.lnlng products {hereafter referred to as olmesartan) and
        gastrointestinal adverse events resembling sprue.;Hke enteropathy (hereafter referred to as
        enteropathy or olmesartan.;induced eFJteropathy).
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        By 2006there was.evidence of a c;;Jusa! relationship between olmesa.rtan and enteropathy
        based on e(ght cases ofenteropf:ltf1Y confirmed by a clinical expeti1 which included serious
        case:S with positive rechaflenge and a description of ce]iacdisease. diarrhea or vomltlrm, as is
        consistent with the S.uchatest criterla~[Roslami 2015] The clinical expert !sa practicing
        gastroen~erologis:twho has expertise .in cellae disease and who has d[agnosed patients with
        olmesartan~induced enteropathy in his practice. These cases were Identified from MedWatch
        forms generated by the manufacturer in response to reports of adverse events related to the
        symp~ams assoc;.latecl with enteropathy by consumers or health care professionals. All ofthe
        clinician confitmr:;d'cases had a pas1t1ve rechaHenge documented on their Mec!Watth form,
        According fo the FDA: "It is possible that even a sit1gle weJI documented case report can be
        Viewed as a:-slgnal, pa:rticularly if the report. describes a positive recllallenge or if the evenfls
        extremely' rare In the absence of df!Jg use;~ [U.S. FDA 2005] Uslng the WHO assessment .of
        causality, all eight Qa$eS were !denfiffeq as probably or deftnitely, related to o!mesartan.

        The PRR and: EB05 from the d1spraportionality analyses in FAERl3 indl¢ate a:~igna:l consistent,
        with the MedWatch Qi'J~EH?ports~ Four different searches were used to identify cas.es of
        otmesartt:ln~lhduceq,E)tite.rapathy using the PRR and EB05~ Depending an the outcam~
        defin'ltion, ~11$ .~lgna! could, be..Identified as early as 2005 (aU cases of ¢ellac dlseast;~: f1t::;3,.
        PRR=9.85rch:hsqua~'1:5.9),1n 2Q06, (serious cases of cellae dis('lase: n=:S,PRH:-.:;10~5) chi~
        square=±·f1.1.; serioUS t;;a$eS .ofdiatrhea·wlth concomitantweight loss or deh}ldratJon al'id
        positiverecnallef!ge: n=:~;·.PRRc;4~l.2, chi"'square:;::53.9) or as [ate as 2007 (s.erlaus cMes of
        dlarrheawlfhconcomittJ:ntwelght lqss or !;i~hydratlan Ino ref3hallenge requirement]': n=17~
        PRR=:2~39, chl.:squar$.:=;12.4:}-':Jn Deeemb~r.2009 1 the.mamJfacturer usedthePRR(as estfmated.
        by the OR)'as.·tne sole dtsproportionality me(ls~re in lts query' of FAERS· for cellae oise~se anci
        tdent!fi~d a ~lgnal (f?RR 23,3.~). ~Atta.cf7m(mf: ii1 ema11 :communication from Herve Ca.Spar<:tto
        A/lim F~l'dmlJfl. da.ted Deoembl;1r 21,, ·2008; OLM~DSl~Ooo·1823413}. An t:;arly slgnal was al$o:
        detectectinrn}lanafysisusiog the EB05, a more ¢onservative measure, anct lsctescrib,~d l~t~r In
        the texL                           ·

        Best practices ,In phatmaco€Jpldeml9logy recomtnehd faU9Wlng up on slgna,Js from spolit~neous
        reporting sy1Stem~ ~uc11'as FAERS,[Sttom 2012][lCH 2004] ThelCH HarrnMlsedTrip<:uilt~
        Gufdellne describes study designs .that a manufachJrer can pursue after the detection of a signal
        in a resource suoi):~J:rFAE;RS.(ICH2004] There ls no evl.dence tha.t the manufactut$r conducted
        a ·study to fallow up:{)n the. signal detected in FAERS of an assoc!C~tion between olrnesa:rtan and
        cellae· disease~

        The othersouree oflnfonna:ttcn1 onac!Verse events is ctinlcal trials. tt Is. my opinion, to a
        reasonable degree, of selentific certainty, tfiaf Dalichl San kyo's clinical trials were 1nad~qua'tely
        designed and conducted and lnsufficlenHy powered to detect a rare event Uke entempathy.
        Despite the limitations lt:r the cllnlcal-trlals there was a case identified as olmesartan·induced
        enteropathy by the c.lirHcal expert {StUd}!: SE~866/44, Patient no. 1630007, Random no. 4790,
        Centre no. ·1630), In the MadWatch farm generated by the manufacturer, there is dear ev!di:n)ce
        of a ppsttlve qechaHenge ~nd techallenge (MFR#SP~20Q6-003369),                       ·

        Had the manufac;tuter tf.lf~e.rt note of this adverse event from their ROAD MAP trlal in
        combination wtttr the positive .rechallenge cases that the manufacturer had reported 1!1 FAERS,
        best practices in pharmayovlgilance required further investigation Into the association between·
        a!mooartan and the sympt6ms of enteropathy. The ttr.:mufacturer received the report of Patient
        no. 16.30007 :on Oec:ember 5; 200€tThe timing of this case is consistent witrrthe ·ldentlfil;:atl9fl of

                                                                                                  PageS:ofSS
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          the causal relationship between olmesartan and enteropathy from the MedWatch forms and the
          signal from the disproportfonal!ty analyses in ~AERS.

         The causal relationship between olmesartan and enteropathy is also supported by information
         identified Jn a search of the literature. At the time of the writing of this report, there were 179
         cases of olmesartan-induced enteropathy pubHshed in case reports. Nearly 80% of these c~ses
         had documentation of dechallenge in the publications. Evidence of positive dechaUenge is
         considered by the FDA to suggest a causal relationship between the use of a product and the
         adverse event.[U.S. FDA 2005] A landmark epidemiology study on the association between
         olmesartan and malabsorption and ceHac disease performed by employees of the French
         National Heal.th Insurance F!,lnd and a public hospital In Paris Identified a strong relationship
         between olmesartan and these outcomes after accounting for confounding factors.[Basson
         20161 Qompan:~d with ACE Is (another drug used for hypertension), olmesartan was associated
         Wi.th a greater than 10times increased relative rate of hospitalizations for malabsorption and
         celiac diseasewlth greater than 2 years of use, For the other ARBs there was no increase In the
         rate of hospitaJizations for malabsorption or celiac disease after 2 years of use;

         In summary, it is my opinion, to a reasonable degree: of scientific certainty, that there<is suft'tciant
         evidence to est!Elblish a causal relationship between olmesartan and enteropathy~ [here is
         consistent evk:l.etlce from the MedWatch case reports and signals .from FAERS thatJhis causal
         association was established in 2006.

         Summary Table oflnfonnation Supporting a Causal Relationship between
         blmes'artan and Enteropathy
   Charaqt~ris~ics   common to. causality assessment frameworks
   Temporality       Exposure to an           Medwatch case     There 1s evidence from MedW.atch
             ·       olmesarlan.,containing   reports           case reports, literature cas~.Hepoli$
                     product must precede:    Literature case   .and a larg13 clairns..based. stut;ly'that
                     enteropathy              reports           the symptoms of enteropathy cam;).:)
                                              FAERS             after the stan of treatment with an
                                              Non~randomized    olmesartan~containing product,
                                              studies
                                              Randomized trials The MedWatch forms and literature
                                                                case reports provide date$. of .
                                                                medication use and dates qf
                                                                outcomes. Only those cases with a
                                                                temporal relationship were Included
                                                                In this report. The 60 MedWatch
                                                                cases Identified by the clinJcal expert
                                                                and 179 cases reported in the
                                                                literature meet the temporality
                                                                requirement.

                                                                       The French epidemiology study
                                                                       required a full year of toHow•up
                                                                       without a diagnosis associated With
                                                                       malabsorption (lnc!ucling celiac
                                                                       disease) and without a prescription
                                                                       for an assessed anti~hypertensive
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   Characteristic    Definition                  Sources             Assessment
                                                                     medication before individuals could
                                                                     contribute information. The authors
                                                                     concluded: ''Compared with AGEl,
                                                                     the adjusted rate ratio of
                                                                     hospitalization with a discharge
                                                                     diagnosis of intestinal malabsorption
                                                                     was 2.49 (95% Cl1.73 to 3.57,
                                                                     p<0.0001) ln olmesartan users."
                                                                     "Compared with ACE I, the adjusted
                                                                     rate ratio of hospitalization for
                                                                     coeliac dis(?ase was 4.39 (95% Cl
                                                                     2.77 to 6.96, p<0.0001) in
                                                                     olmesartan users and increased with
                                                                     treatment duration." {Sasson 2016]

                                                                     Individuals with mal::ibsorption
                                                                     disorders were excluded from
                                                                     randomized tria is. The cases
                                                                     identifl<.:>d during the randomi:zec!
                                                                     trials took olmesartan prior to 'the
                                                                     onset of symptoms ofent~ropatnv.
   Dechallenge        Partial or complete        Medwatch case       All MedWatch cases and 141
                    ' disappearance of an        reports             literature ca$es- documented a
                      adverse experience after   Literature case     pqsitive dechallengt:a. This lnc!4d$s
                    , withdrawal of the          reports             resolution for symptoms of
                      suspect product                                enteropathy after discpntinuing use
                                                                     of olmesartan, Evidenc;e of positive
                                                                     dechallenge ls considered by the
                                                                     FDA to suggest a causalrelatlonship
                                                                     between the use of a productand
  ~..,..~----
                                                                     the adverse event.[U.S, ~DA 20Q§l___
   Rechallenge      Re-occurrence of similar     Medwatch case       All 60 MedWatch cases and 10
                    signs and symptoms           reports             literature oases. documented a
                    upon reintroduction of       Literature case     positive rechallenge. Evidence of
                    the suspect product          reports             positive rechallenge is considered by
                                                                     the FDA to suggest a causal
                                                                     relationship between the use of a
                                                                     product and the adverse event[U.S.
                                                                     FDA2005]
   Bradford-Hill Criteria
   Consistency      Js the exposure-outcome      Medwatch case       The exposure~oufcome relationship
                   relationship observed in      reports             has been observed in Medwatch and
                   multiple studies?             Literature case     literature case$,. FAERS, a case Who
                                                 reports             developed the event during a
                                                 FAERS               randomized trial and a large, well-
                                                 Randomized trials   conducted retrospective study.
                                                 Non-randomized
                                                 studies             The randomized trials were not
                                                                     designed ln a. way to observe

                                                                                              Page? of35.
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   Characteristic   Definition                  Sources             Assessment
                                                                    olmesartan~induced    enteropathy,
                                                                    None of the trials reported on
                                                                    olmesartan~induced enteropathy in
                                                                    the publicatlons presenting the
                                                                    results to the public or in their clinical
                                                                    trial reports. However, 2 out of the
                                                                    60 MedWatch cases came from
                                                                    clinical trials (MFR# DSM~2008-
                                                                    00607, SP·2006-003369).
                                                                     ~·                 ~"'~·--.---·-~
   Strength         What is the strength of     FAERS               There was a consistently elevated
                    the association based on    Randomized trials   association between ofmesartan and
                    the observed effect         Non-randomized      olmesartan-lnduoed enteropathy
                    estim('ltes?                studies             beginning in 2006 in FAERS
                                                                    (PRRs>10 for all cellae disease and
                                                                    serious celiac disease).

                                                                    As described In Temporality, the
                                                                    French epidemiology study observed
                                                                    that olmesartan was associated with
                                                                    a 2 times increased rate of
                                                                    malabsorptlotn~M a 4 trmes·
                                                                    increased rate of celiac disease
                                                                    compared
                                                                          . ..
                                                                               With ACEts.[Bas;oon 20161
                                                                                    '

                                                                    lndlvlduals with greatetthan 2 years
                                                                    of use had 10 times increased rates
                                                                    of malabsorption andceHac
                                                                    compared wl~h ACE! users.

                                                                    There were no randomized trials
                                                                    specifically designed or with
                                                                    sufficient statistical power to assess
                                                                    the strength of the relationship.
   Specificity      Can factors other than      MedWatch case       Other medications and gluten .can
                    the exposure under          reports             lead to the enteropathy.
                    investigation lead to the   FAERS
                    outcome?                    Non-randomized      The WHO causality assessment of
                                                studies             Certain requires that all other
                                                FDA                 medications, comorbidlties and
                                                                    allergies have been ruled out as
                                                                    contributing to the adverse event. 24
                                                                    Medwatch forms met this criteria
                                                                    based on my application of the
                                                                    criteria.

                                                                    Olmesartan is unique among the
                                                                    ARBs to cause enteropathy; There
                                                                    was no signa! for the other ARBs
                                                                    identified in FAERS.There was not

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                                   13041




 Characteristic       Definition                   Sources              Assessment
                                                                        an elevated effect estimate for other
                                                                        ARBs versus ACEls in the French
                  I                                                     epidemiology study.{Basson 2016]

                                                                        According to the FDA "the other 7
                                                                        ARBs do not appear to demonstrate
                                                                        evidence for an ARB-induced sprue-
                  I                                                     Hke enteropathy." (Tracked Safety
                                                                        Issue (TSl) lntegr(Olted Review
                                                                        Memorandum May 14, 2013
                                                                        authored by Susan Lu, R.Ph). The
                                                                        FDA's Safety Communication
                                                                        contains similar language. [U.S. FDA
                                                                        2013b]
 Temporality        Does the cause precede          Medwatch case       As stated above, there is an
                  1 the effect?                     reports             established temporal relationship.
                                                    Literature case
                                                    reports
                                                    FAERS
                                                  · Non-randomized
                                                    studies
                                                    Randomized trials
 Biologic:            Is increased exposure         MedWatch cas.e      There is insufficient information to
 gradient             associated with a             reports             ma.ke a judgement on a dose-
 (Dose-               greater likelihood of the     Randomized trials   response relationship,
 response)            outcome?                      Non-randomized
                                                    studies
·Plausibility       Is the association              Literature          A mechanism of action has been
                    consistent with other                               proposed. Qlrn~sartan-induced
                  1 knowledge including                                 enteropathy has been t;femonstrated
                    mechanism of action                                 in experiments on rats.
                    and animal
                    experiments?                                        "Oimesartan-associated enteropathy
                                                                        shares many features with coeliac
                                                                        disease, indudlng symptoms and
                                                                        lmmunopathogenic pathways, such
                                                                        as increased numbers of CDS+ cells
                                                                        and corresponding overexpression
                                                                        of JL 15 by epithelial cells. Taken
                                                                        together, the treatment of epithelial
                                                                        cells with o!mesartan medoxomfl
                                                                        induces a response by intestinal
                                                                        epithelial cells that is similar to the
                                                                        innate effects of gluten upon the
                                                                        epithelium .of coeliac
                                                                        patients,"[Marietta 2015]

                                                                        Olmesartan induced enteropathy
                                                                        exists in rats,[de Araujo 2015]

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                      '"~~~··



 Characteristic Definition                    so'urces          Assessment
 Coherence      Are laboratory                Literature        Both laboratory experiments and
                experiments and               Non~randomized    epidemiologic studies have
                epidemiologic studies         studies           demonstrated an association
                consistent?                                     between olmesartan and
                                                                enteropathy.[ Marietta 2015] [de
                                                                Araujo 20 15J[Basson 20 16]
 experiment (or   Does removing the           Medwatch case     See dechaflenge and rechaHenge.
 natural          exposure end the            reports           There have been numerous natural
 experiment)      symptoms associated         Literature case   experiments that support that
                  with the outcome or lead    reports           symptoms decrease when
                  to a reduction in disease                     olmesartan is discontinued and
                  risk? Does adding back                        reappear when olmesartan is
                  the exposure lead to a                        reintroduced. This includes 60
                  recurrence of the                             MedWatch cases, Eighty percent of
                  outcome?                                      literature cases had positive
                                                                decha!Ienge and 10 literature cases
                                                                had documented recha!!enge.
 Analogy          Are there other                               Drug~induced enteropathy exsits for
                  instances of similar                          other medications.[Podolsky 2015]
                  exposure-outcome
                  relationships.




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      Bacl<ground and Experience. of Dr. Susan HutfJess
      I am an epidemiologlstspeclalizlng in EJXam!nlng th~ causes and treatments of gastrointestinal
      disorders. I have over ·1 o years of experience conducting epidemiologic research related· to
      gastroenterology. I rece\ved'a Bt:~chelor of Arts degree in Psychology from Creighton !JtliVerslty
      In 2002; a Master of Science degre~ In Epidemiology from the Harvard School of Public Health
      in 2006; and a PhD in Epidemiology tram the Johns Ho¢kins School. of Pub fie Health in 2010.1
      am currently an Assistant Professor of Medicine In the Gastroenterology Division of Johns
      Hopkins University where I am the Director ofthe- Gastrointestinal Epldemlotogy Research
      Center and a member oHhe Center for Drug $afety &. Effectiveness, I conduct research funded
      by the National Institutes ofHealth and tneAgency,fotHealibcare Research and QuaHty and
      have authored multiple peeHeviewed pubficatrons thalhave :b~ert published in journals such as
                                    of
      Gastroenterology) Annf)fs lnt~ma! Medicine,. JAMA and 8MJ, I lead' fhe'lnflammatory Bowel
      Disease Work.~roup ofthe American Gastroentero]ogy A$soolaJton¥s {AGA} Que.lity Mee.sures
      Committee. The AGA is a leAding organlzatlon ofgastroenterblqgis;ts nationally and
      internationally With over 1a.ooo members.           ·

      I am e,ssociated with two groups respected for their ~xpeiilse frr.sysfernf{fic reviews, I am a
      contributor to the Cochrane collaborative w~ith is khpwn. tnternatlo.nai(y for producing high
      quality systematic reviews, I 11m~ .core faculty' m~mber.GftM John$ Hopkin$ Ev!dence·bas.ed:
      Practice Center which performs comparative effect{y~n~ss nNiews an9 otner.data syntnes?.s.
      (i.e,, topic development documents .and: topic briefs} on.behalf of the U.S, Agency for Healthcars
      Quaflty & Researoh. These reviews, have ber~n ~l(Eid 'i!1 treatment.gJJ!de!l~e~· and have tf;ce!vad
      medi&l coverage, My eXp~;Jrt1se <'ls .a systematic revieWer .l~d to anJn.vtt;;l(ioiT ~o ¢onduct a.re:view
      on smoking and inflammatory bowel disease forthe '2014U ..$. Surgeon.General's'R.epotfon
      Smoking .[U ,s, Department pf Health and Hum~h Services 201411· !JS(H~i causal{ty ~ssessment
      framework in this reportth~t is cdn$l~ten1wlth.:thatusedhmy Phaptero.fth~Surget>n General's
      Report.

      A copy of my cy Is 1nc!t1ded' (Appendix}. ·I· charged $50f.) per ·howr:tor work my. asan exp.ert ro
      thiscase..                                        ·



      What is Epidemiology?'
      Epidemiology ls the stlidY oNhe: dlstt!butlon and d~t~rmiMntsc ofdl$$ase 1n human papul~tlons.
       Epidemiologists e:xamlne ho,W.qfteo .a disease occurs ancLwhatJactors are as!'.;ociated with
      .differences·in rates ofdfs13ase occurrence, The branch of epld~mio!ogy focused on studying
      drugs Is called pharmacoepldetn!ology. Phart:~roco~pldemtology is the study of the. use of drllgs
      fncluding assessments of bet]eflt$ and risf<:s,[Jahns Hopkins Gen~ral h1ternal Medicine 2016]
      Pharmacovigilance is defined ~s th.f:) study of tfJ(:l "safety of markfited drUgs under practical
      condlt1ons of cltnfcaf use in· fa;rge commun!tles:'',{Andrews 2UHl

      Epidemiologists have 'developed tools to make causahassessments of the e:~ssociation between
      a factor and disease occurrence forslngle cases, According to the leading textbook Qn
      Pharmacoepidemlology[Strom ~OOt:)J !S'trom 2012J:                   .
              Case reports. ate t.tsefu/fot 19ising twpotheses1'Jf?autdrug· effects, to be tested wm1 mqro
              rtg.omus. study designs. Howe vet.~ ttr.s.. oase report on() c~nnot know fffne patient
              reported is either typical of:.those vvi'th t{Je '!lxposure or typical of those With the tiise;;J:Sfff.
              Certainly, one cannot us.Ul:JliY det~rmlne Whefhet.the. ~dY.tirse outcqme was due to the
              drug exposure or would hev(! happenei;l anylt{aY: As ·sfich;, .ft'fs. very raro tbat a case
                                                                                                    Page H··of35
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              report can be used to make a statement aboutcausatiort On.ei exception to this would be
              Wilen the oatcomefs so rare errd so characteristic of the exposllre that one knows that It
              was likely to be due to t/7e exposure, even If the histowof exposure were unclear,

              Case reports can be patticulat!jl aseM to document Cl'{USiidJon when th& treatment
              causes a change in disease course Which is reversible, such that the patient retums to
              Iris or her untreEited state when the exposure is withdrawn,, can be treated again, and
              when the change retums upon r:ttpeat trf!atment. Tl1is lype ofcfwlfenge- re-chailenge
              situation is relatively uncommon, however. as physicians generally will avoid exposing a
              patient to a dntg ft the patient experienced an adversce reaction to it in the past

              The stronger the druf!,·event relationship in each ca$e and the lower ti1afncidence of the
              adverse ev57nt oocuaing spontaneottsly, thefewer c;ase reports are needed to perceiVe
              causality. It ni:'Jsheen found that for r<;~re evenrs: coincJdentaJdr()g-event associations are
              so unliketyfhat the:Ymeritliffleconcem,w/fh grealerthant11res rt;?ports constitqting a
              signal requiting furthsrstudy. Jn tact1 it has b.een suggesteq theta temporal relationship
              bf;ltween medicalprod.uctend advf!lrse event, coupled Withpos!ffve de.,cha/lenge andre~
              chafltmge~ Gan occask.Jnjjllymak~ ii>.olated reports oanolusjve as to a pr()duct~ttvent
              association                                                                   ·
      Because enter<;pathy Is rare, thi$ r~pPttWI!H~Iosely examine case report$ tb determine
      causality~ The information from case· reports and stuob:H>; including anepioemiologiostudy, are
      comblneq to evaluate tht::
                              - body of'.
                                          avlt;ie;n~e
                                                    .
                                                      and. m~!<e a>datetmlru;:~tlofi of a qausaJ relatlohSh!p,



      Key Events
          t. Ofmesartan is Am arygfotansin If recapJor 'ofack~r (Table 1); This i:fitss. of drvg~ ls also
             ca tled a.ng lotens.Jn ··ll receptor .l;l.ntag6nists ,or angioteh:~in JI recep.tar inhibitors.
             Olmesart;an rt~ectoxomlf Wa:5 approv$d by tria PDAfor the treBttn'eflt .of hypertension !11.
            April 2002 and. is tna(ket~d by the; manufacturer; Qaifchi Sanky.o, as :Be,nicar.
            Formu!at1on$ of olrtr~sartan combln$d with other i:mU4i.ypertensives werE! approved by
            the FDAJn 200;3' (BehicarHCT; comoination with hyarochlotothiazide), 2007 (Azor;
            comoination with amfodJplne besyl$te} and 2010 (TribE~nzor; p6mt:Jinatlon with
            hydrochlorothlazid~ 'amdal1llodlpine basylafe.); Since 200:0,. over 1 million Americans per
            year have flll~d a J1ffi;l$ctlptlon for al1 olme"sarl:an ..contalng product.[U.S.. FDA 201' 1A; \J ,S.
            FDA 2013b; U.S. FDA 20141
         2, The first case reported by the manufatturer.to the FDA of serious gastrointestinal
            symptoms associated with a decna.l!enge and rec!1atrenge 9f o!mesartan was in Augllst
            2.004 (MFR#SU~2004-002638):
         3, ln June 2009, the· manufacturer su~mlttad an Armua.r Periodic Adverse Drug Experience
            Report on evr;1nts occurring from Aprll26, 2008 through April 25, 2009. The
            manufacturer identified adverse events among those currently on the drug's label and
            those considered unlabelettTwo peroentofthe serious, unlabE!led cases wert:l ldentified
            as celiac disease .. ln November 2009, t\ie FDA requested that the manufacturer review
            [ts cases of ceJlac disease.
         4, In response to FDA's 2009 request~: Oalichi provided a report on January i 4, 201 o
            (OLMMOSI-,0001247409,.541: G9llae: Disease And Ormesartan Medoxomil- An Analysis
            ofthe Dalichi 8ankyo Global safety Database, January 13, 2009}.

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                b. In June 2013 the results were posted.(U.S. FDA 2013a] The tlme period
                   examined was. 2007~2011 and aU individuals were required to have 365 days of
                   follow-up Without any contributing medication prior to the first use of the
                   medlcatlon to contribute (I.e~, 365 wash-out period} and be considered new
                   users., The majority of patients who used each medication were aged 45-64
                   years old. Numbers of male and female medication initiators were roughly equal,
                   although women appeared to be more likely to have longer periods of adherence
                   {730~Day Min Episode Duration and Blackout Period). The new users and days
                   at riskvarled by medication. Eprosartan had the fewest new users {258) and·
                   shOrtest number of days at risk (40,855). Amlodipine had the largest number of
                   new users (991, 184) and days at risk (243,023,217). Olmesartan had 151,461
                   new users contributing 21,816,716 days a.t rlsk. A subset of 4,419 new users had
                   a minim!lm 730 days of exposure to oJmesartan (4,358,523 days at risk). The
                   analYses did notaccount for differences in age, sex or other factors. The FDA
                   Safety Communic(ltlon Interpreted the results ofthe Mini-Sentinel Analyses [U.S:
                   FDA ,2013b]:
                            Thft. $lgnal ofsprue-lfke enteropathy with ofmesartan was further
                           .inVesligafeq fora possible ARB class effect Using actiVe swveillance
                            data. Mini-Sentinel and GMS Medicare data were assessed for celiac
                            disel!:f.Se (as a marker for enteropathy and other gastrointestinal
                            sYittptorrrs} n.fterex,posur(:) to ARBs. Mini-Sentir1ef and CMS Medicare
                            assessments of ICO•JJ codes for celiac disease showed that at a 2~year
                           minfmum exposure, whiCh correlates with the long latency obsetvf;d in
                           1/t'erflture and case reports, oltnesartan users had a higher rate of oelfat
                           di:;;ease dii:ilgnqses In claims and administrativ& daJa than users ofother
                           ARBs; lntetpretatron is limited by the small numberofeventsobserved at
                           li:mger exposure periods and the uncertainty about the validity of codes
                           for celiac disease, buJ these results support c;>ther qata in suggesting a
                           lack ota clf!ss effect.
        .9, In July 2013, a Drug Safety Communication was issued and the o!mesartan !abelwa.s
            changed tcdnciU,de intestinal symptoms with specific reference to sprue-like enteropathy.
            [U.S. FDA 2Q13b] The FOA noted the specificity of olmesartan with the outcome               ·
            compared with the other drugs ln Its class ifSprue·like enteropathy has not been detected
            with ARB drugs other than oJma::;artan:'
        10. Adverse .events consistent with the symptomsofenteropathy are the most strongly
            associated events in FAERS for oJmesartan as ofthe first quarter of 2016. Based on a
            query of aU adverse events associated with an olmesartan-containing product, the
            highest EBGM and EB05· Values were associated with sprue-like enteropathy terms. (Le:,
            intestinal villi atrophy, malabsorption}. The values exceeded 100 for both the EBGM artd
            EB05.




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      Causality Assessment
      I. have reviewed the available data regarding the safety of olmesartan~containing products with
      respectto olmesartarkinduced enteropathy, I will offer opinions regarding expt>sura to
      t>lrnesartan..,ccmtalt'ilng products and risk of signs and symptoms of olrnesartan~lnduced
      enterop!;lthy, I have not systematicafly reViewed the data regarding the efficacy .of olrnesartan"
      containing products, and will not pe offering opinJo:ns on !hls Issue.

      The standard definition of causality as it relates to non~infectlous diseases identifies causal
      cotriponents whtcn together lead t¢ dlse(,]se. Once a comblnat\on of components sufflclentto
       cause disease· are present) the dlseasi:.l occgrs. A component tl1atis always requiriS<lto cause
      dlsease'IJ? called an?cessary C<:ll.l~H3, Th~; components may ,differ between individuals to create:
      ~ sllffioient,cel.lse. For example; l:'>mokfrrg Is ktwwn ~o be associated with lung cancer. smokln!;l
      is hob~ sufficient cause fl!? not all'!ndfvidut<ds who smoke ~evelop lung cancer. Smoking Js,nota
      necesS'tuy cause ,becau,sa, some individual$ who do not smoke develop lung cancer(i.e,r radon
      .i;iixposute), Acc:ordll:\g,ta the tJnited 9tate::; Centers ft>r Disease Control & Prevention "PL!p(lo
      health:t:~ction d9,esnot     depend on the identification ·Of every component causELDisease
      phwentlon can be accompfished by blocking any single component of a sufficlenf causei at h:~ast
      tn:tousn tha.t pathway/1[CDC 20121
      111 the setfihg ()f thJf> investigation1 inY,alm 'Is to. examine if oimesartan is a .oomponE?nt ~;:aus€1 of
      symptoms with ,what ls.nowo@n referredJP as {)lmesartan-'lnduted en~eropathy . Tlier¢ Is
      consensus that oh:uesartan cguses ent~ropathy, The gastroenterology community recognfztjs
      olmesar:t;m in a· ReY te:}dbook't.lnare:olmesartan is listed in· the section ''D:rugs• CausJhg ·
      MalaosO'fption'~.LP<:rdO.tskY'Z015J Th~ patho!Qgy•cammunlty a.tso recognize$' o1me~artarr,':fflera 1s
      ~·chapter df;Votect fer ''Cllm~sartanEht~rop~thy"·in aJextbooR on diagnostic gastrolntes~lhal
      l)atho!ogy.(Greenson 20 15}Howevar, bE:cause this termihology came 'into use aftedhe-
      act;:ept,Mce ofthls J::~ssoqiatlon,J,wm examine other:condltions and symptoms associated wllh
      enferopathy~ Tf:1esernclud'e ceHac dlse.ase·, which was used in the Mayo CHnlG case series(
      diarrhea.\. weigliUqss, dehydration and vomiting. These symptoms were identlfiedin consultation
      with•PZ~n!el ~efft~t. MP; a. gastro~mtero!oglsvwlth cUnloaJ expertise In cellae dlsee.se a.nd l.ts
      p,athqgenesi$.                     ·

      A: commofii~,Used and S.€:heral!y accept~d methodology In epidemiology to a.ssess caLts.allty for
      non,.fnfect!ou:s expo;:lute"outcqme relationsflips 1s the Bradford~Hm criteria or concepts {Table 2),
      [U:s·; Departmentt>f H~?alth and Human ServiCes 20041 This methodology has· be~n· \4Sed bt the
      United ·l:?tatei:{ surgeX::tt\ General's Reports to make decisions regarding sclentlfic cont?ensus,
      fcU.S,:I)epartmentafHeaJth E,~nd Human ~ervfces 2014]1rnportant components comm@n tgthe
      Bradfotd,Hill criter1;:t· and the features tha.t the F'DA 'recommends that sponsors use to make
      decisions aooutcausaHty include temporality. dechaHenge and rechallenge.[U,S,FDA 2005]
      The cont::<;ipts ~f temporality, dechallange and rechaltenge are common to most causality
      assessmants.[Strom 2006J(Strom 20121 Koch's postulates, a: list of criteria created iri the 1890s
      to assess c~;u'sa.llty, includes decn~Henge and rechaHenge as two or the four criteria to assess
      t.he relatto        between mlcroorg~nfsm~ and disease (the other two criteria are related to
      sp~cificit.y a . he ClbilliY to grow the mic;roorganismln culture ),[Andrews 20141 Mann's
      Prrarm~cov!gllance, a 'leading, pharmt1coepldem!ology textbook, 'Identifies ternport::~llty,
      dechafll.:mge and rechaUenge :as particularly !tuportant with respect to causa!ity·as~essment "In
      fact it. has been suggested that a temporal relationship between .a medical product and adverse
      event, MUpfed WUhposlt1Ve de,.-cbaJlenge $hd rt:-chaHenge, c;:anoccaslonallymake isolat!i!d
      reports ecmclu$ive as to a product~event,a~?sociatiQn".{Andrews 2014)
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      ln order to come to a conclusion on the causal relationship between olmesartan-containlng
      products and olmesartan-induced enteropathy, I will review the evidence taking into account the
      consistency of associations across the different information sources with particular emphasis on
      temporallty, dechaflenge and rechallenge. I wlll then assess the evidence using the Bradford-Hill
      criteria and make a causal determination.



      Objectives
      The overarchln~ goal of th!s assessment is to examine the causal association between
      olmesartan and gastrointestinaJ adverse events associated with olmesartan-induced
      enteropathy among adults aged 18 and older. The association between olmesartan and the
      adverse events will be exlilmined systematically by pursuing three sources of information:
             f) Review of a selection of MedWatch forms reported by the manufacturer to the FDA.
                    a. l reviewed a selection of MedWatch forms identified bythe clinical expert He
                         selected serious cases of celiac, vomiting or diarrhea and positive
                        rechallenge, symptoms Which he considered relevant to dlagnosi$ of
                        ofmesartan-induced enteropathy.
             2) Review ofthe association between olmesartan and the adVerse event$ reported to
                .FAEHS.
                   a. · Based on a conversation with the clinical expert·, I chose to examine cases of
                        cellae disease and dic;mhea thatoccurred wfth either weight loss or
                        dehydr~tlon, These symptoms were selected to identlty·cases of chronic
                        diarrhea. There is no MedORA preferred term for chronic diarrhea.
             3) Systematiq review otthe published literature.
                   a. 1aimed to Identify case reports from the literature in addition to randomized
                        and non-randomized studies reporting qn olmesartan~!nduced enteropathy or
                        its symptoms.                                                             ·

      Tne information from the Medwatch forms (temporality, dechallenge, rechal!enge, consistency,
      specificity, temporaUJ:y, biologic gradient, experiment), FAERS (consistency, temporality,
      strength, specificity) and the articles identified In the systematic review including case reports
      (temporality, dechallemg,e, rechalfenge, consistency, temporality, biologic gradient, experiment),,
      r~!lidomizecj ffials (consistency, strength, temporality, biologic gradient) and non~randomized ·
      studies (consistencyr strength, specificity, temporality, biologic gradient, coherence) were used
      in combination with Other information from the literature, as needed, to make a causal
      determination.

      I wifl provide an opinion on when there was sufficient information to determine a causal
      relationship between o!m.esarta.n and enteropathy.

      The methods and results of each information source will be reported followed by the causal
      assessment




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       Objective 1. Review of a Selection of Medvvatch Forms Reported
       by The Manufacturer to The FDA.
      Methods
      ldf1ntlficatlon of c.ases. [ r~ceived MedWatch forrns deterrnined by· the clinical expert to be cases
      consistent with olmesartan--induced enteropathy based on descriptions of dlarthm:t, vomiting or
      ce!!ac disease In the preferred terms or the text description of the event, that '..vere also serlous
      and showed a rechallenge (consistent With the Bucharest criteria). [Rostamt 20151

      Review ofcase forms to assess causailty. I used ihe World Health Organization (WHO}~
      Uppsala Monitoring Center oausafity assessment system to determine eaus~Uty.TheWHO
      ~ystem emphasize~ temporality, dechal!enge, rechallenge and afte'm?~tlve ca:uses to assess
      ca:usali\Y (Table 3).£Uppsala. Monitoring Center} To make c;;~se by case c~USJ'l.il\y a::;sessment1 I
      asked th~ cHnfca[ eyXpert to a~?sess olmesartan dechallenge ,and rechal!enge and the; role tha,t
      concom!tanf comoroir;:!!tles, medications, and allerg:ies played In th:e de:VeJoprnentt)T the adyerse
      event'as',heTeViewed .each MedWatch form,, The ·cHnlcal expert hfld a0ces$:tq source:.flles
      underlying, each fonri' wMJch ne could also use to help makeh.is determinations. 'b:Hd not .Inform
      him that his dett:Jrminatrons qn the role of concomitari.t comqrbiclities. madlcattons,ora!lergles
      would, be,used for cau,sailty: assessrnentlf the. c¢rnorbidlties, medications Eind atlerg res. were
      thou~t\Ho not contr!mute; no su$pectdrugs other tnan an olmesartan~cootaining, productwere'
      listedr and no other; drags were listed then the assessment was; thaf the event coulc:t not be
      e}(plalnec;i by a!temativa diseases or medications.

      The questlqn~ ral;3ted to deehal!enge and' rechaHenge, from theNara'oJo.~ca:I$Wat~ used~
      [Naranj(j-19'81J I confirmed thatall cases ldentifled by the expert: met the criterfaoHempcmHity
      based orr the dat~:~s of qlmesartan start and outcome fisted on th€dv1edWatcl:iforrns (temporali\y
      Is required forth a WHO assessmentand Naranjo), (The.cornplete Naranjgassessmenfwas not
      applicable due to the l,ack 'ol'specifioity of common gastrointestln.al symf)t0m~such a:S diarrhea
      (preventlrtg .anflssessment:of alternative causes and past history          oHna     even\h ~he' ,rarity at ihe
      t=went'1 the lt:lck oOrit:JIS <.fesjgnaq specifically to assess• this (,?afety outcorne (preventing an
      assessment of reaction with placebo)i the lack of applicabtnty .ofa test fqr·drug tox:tclty; poor
      reporting em d.osci or cha,nges in dose (assessment of dose response)'; 'anp_ ~a6 i,:!xpeqted
     ·absence: ofinforrnation to confirm objective evidence.}

      Cei.osa.ilty as&e$sment. A WHO determination of!'certain~ was made iftemporality existed,
       alternative (;Buse$ cquld:note;xpla!n the event, and there was a positive decha,llert;ge and'
     · rethallenge.lf.other ·drugs were H.sted b.ut were not thoughtto contrlhute., rm other ~uspect
       drUgs; Were Ifsted, and there was a positive dechallenge then the event was corrsld!'fred
       prqbahte, lfthe event was not considered certain or probable, but temporality was met, the
       associafion was listed as possible. Events wlth und.ear tempotaUty'werl:h:lxcluded, thus no
       events were· considered t;~s unlikely or unc!assifiab!e or unassessable.

       Re$Uits.
       There were 60 olmesartarH1duced enterop;;Jthy cases idenilfied by the .clinical expert. (Table 4;
     · Figure,Set 1). Using the WHO. crlterta, 90% of cases were assessed as<ce!:fain orprobably
      related to otmesartan. the WHO causality assessment was deterrrlined as ~ertairl fqt 24 of.the
      t!O'cases and probable for 30 of the 60 cases .. There was only one Of:ise Where; comorbiditles
      weref!iqught tp possibly contdbuti:t (OSU-2012·02939) and one case where ¢oncornltant
      tnedica.tla.ns were thol!ghUo contribute (DSU-2012.-07932}. Three additlonaLcases had another:

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      suspect med!caUon listed on the MedWatch form (OSM..2012-00455;             osu~2010-03745; DSU-
      2012-07482}. Allergies were not thought to contribute for any case.

      The majority of cases were elderly and female, 73.3% of cases were diagnosed at age 60 or
       grea,ter and 65.0% of cases were female. A majority of cases were reported from the United
       States (53.3%} and Europe (31. 7% ). The duration of use results showed a greater n,mge: than
      the Mayo clinic case ser!es.fRubio-Tapia 20'12] The 60 caseswere distributEJd between less
      (han ·1 year (28.3%), 1 to 2 years {20.0%) and 2 to 5 years (26.7%) duration of Lise, with 8.3°/o
      who used the product for more than 5 years prtor to symptom onset, and 16.7% with missing
      lnforma'tion on duration.

      The tfrst of the identified cases was submitted b.y the manufacturer to the FDA in 2004
      (MFR#SU-2004-002638). The WHO assessment of causality was Probable~ All eight c~ses
      received between 2004 an<;! 2008 were assessed a~ Probable or Gertain usirg the WHO'
      criteria. fn 2008, aJI cases had a positive dechaHenge and rechalktnge. Thirteen of 14 cases in
      2009'had ;3 positive rechaUenge. As of 20i 1: the year prior to the Mayo cHtlic case series~ the
      manufacturer had received reports from 46 cases with rethallenge a_s a.s.sessed bY' the clinlcal
      ~~                                                                     .                  .

       Older onset celiac disease cases~ By fhe t.?nd Qf 2006 the manufac;;tl)rer had reqe1vep.repbrts
       regard(ng two cases .of patients older tnan 70 years old whoWe're hospitali;r;ed and· had positive
       dechaUenge and rechallenge (SP-2006-003299; SU'-'2006~00q596);: The ageof:the patient$ Is
      .:siignifit;ant becau;se cellae disease Is usual\y,, hutnotaiWeiifs, diagnosed in lnt.liVial,lals under65
       years (i!d.£Rasntak:.2009J The positive .dechalfengtiaf1d re~f!aH~rigeJnformation for c;effac.
     .dfs./i.lase intwo indiViduals in this .age group may have warranted a s.econd look by the
       m~:mufacturi:lr given the FDA's Aprl12005 Gu!darrcefor lndu~try Oil E'2E Ph.armaco\ii~ilaf!ce
       PJarrnfng (d~veloped as part ofthe lntematlonaf Conference off Harmonisatlon(!C.HJpJocess
      [!CH 2004][U.S. t:li:lpfirtntent of ljealth and Human Services 2005}) which tecommended that
       tbe;martl:lfacturer take ln!o consideration poptila.tlons nots.tudietl In the pte'-approval periOd to
       predict the e;afety dffhe product after approval. The.131derly are ol)e offhr;;, popufatlims
      recommended for partlt;Uiar conskleratJon by this GUidance for lndustry.fUc$, Departmentof
       Health and' Human Services 2005} Overall 45% ofthe cases were: 70 years or older.
      C.oncJusions
      Causality based on temporality.    Only cas.es with a temporal relationshtp Were included.

      Qausf}lity based on deoha!lenge and rechallenge: All cases had a posltfv\\1 rechalleng.e by
     inclusion.

      Gaus~J!tj based on WHO criteria: The; majority ofcases .were causally telf;lted to olmesartan
     ·including 9Q% ofthe clinical exl)ett 'identified olrnesarlan-induce'd enteropathy cases~

      Consistency: The experiences of the cases were similar to those cases reported ill the
      literature.

      Spectfloily: Based on the information fromthe MedWatch fom1s, there ls support of a specific
      relatlonship between olmesartan and enteropathy because comorbidities or c.onoomitant
      medic!iitlons were thought to play a role in only. four of 60 :cases,

      Biologic gradient: Thert:t is no evidence of a dose response or duration of use relationship.

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      Experiment.~ AU   cases had a positive recha!lenge by inclusion.

      Objective 2. Review of the Association between Olrnesartan and
      the Adverse Events Reported to FAERS.
      Methods
      Effect estknates based on the EBGM {EBOS - EB95) and PRR Were calculated to assess the
      relative reporting ratio of symptoms associated with enteropathy with o!mesartan versus the
      other drugs lrf Its cla?s. The EBGM and PRR use inform!3tion from reports for ali other
      medications'in FAERS to make fhese calcuJat\ons.[Andrews 20141 Based on the manufacturer's
      Internal documents, they used the PRR forthldir disproporttona!ity analyses, In the setting of
      very sme.!l observed or expected drug-outcome reports 1 fheFbA recommends the EBGM (EBOS
      - EJ395) over the PRR.£U.S. FDA 20151                                                     ,
               Th<? Ef3GM calculation Is oonceptualfJI sfmifar to, that ofthe P&R, but incorporates
              Bayesian "shrinkage''JJn(istratiflcatlon to produce' dispr:oportlonttlitrscores toward tile
              null. especially when thero are limlteddsta andsmallnumbersotcases. One impatient
              drffererwe be{W$en      tne
                                       PRR andlE8GM e,stfm~tes ls thatJn the case of PRR the
              adverse events from the product' In questron dt> not ccmtributeto the number of
              ''expected" c-ases, while afl adverse events:fram the' .product oor:itribiJ~e to the expectation
              wht:m using EBG!Vf. The statisfic~Jftnodiffcatfon-su}-;ed f!1 th~ EE{GM methodology
              d!mlnisli the effect of spwtoustyhif}h PRR values, thus:reducing Ute number of false~
              posiflve,se(eiJP skJnafs. ThliSt .EBGM va1Mel3J~rov1cje, a wore stable estimate of the
              teltt,:tlve repottlng rtJtf! of an event fot a pr;tf/aula(fH'tJ/ilioUelaflve to al/i'Jlfler CHI¢nt;;; and
              prodtJcts irt tfu~. database· beinr;ranalyzed~ ,Loweo:md upper flO% confidence l!mitsfortlle
              EBGMvalues are denotad'EB05 andE896; respea,tively,

      A seties of event definitions were <;reateq to a~se~t! there!atlonsnlp be.twae:n olrnesartan-
      contalning products and gastrointestinal s,ymptt:)ms associatedwnt:t olmesarfiln-lnduced
      enteropathy (Table. 6}. Annual and cumulative ~BGM (EB05..,.. EB95) and PRR were calculated
      for each event cteflnitlon. The c.umulative effectestimates were ·calculated $tarting ln 2002 when
      the first olmesartan,.containlr\'g product was apJ)rovect. For the cah:.l..i!at!Q'n of the PRR. the drug
      of interest was included 1n the t;omparator seL Configuration AERS+SRS (SJ was used for
      consistency with a report in whioh the manufacturer perforrnectah internal calculation. Results
      using (S+C)were consistent to (S) (data,:11ot shown). By creatJngcustom terms, all olmesartan~
      containing products were grouped a$ one category and compared' with all' ARBs other than
      olmesartan~ EventdetlnJtlons were defined using ,custom ternts:
               1) All. ce!tac disease (based on preferred term} including Serltmsness Yes, No and
                   UnktlOWn                                      ,
               2) Serious cases of celii;Jc
               3} $erious cases of diarrhea associated wlth weight loss or dehydration
               4) Serious cases of di.arrhea associated with Welght foss or dehydration and a positive
                   recha!lenge
      The information was tabulated and plotted, In the plots a lfne was placed at2 to lndJcate an
      often,-used threshOld for' examining a potential signal Using the l:£B05.fLevlne2006] However,
      some have argued that for ser:ious side effects, an EBOo>tshou~d be oonsidered.{Levlne 2006]
      Based on the manufacturer's internal documents,Jhey used the PRR fOr :thelr disproportionality
      analyses, Using the PRR.. a signal is deftned.as PRR>2, ,at least S'events and a chl~squared
      value greater than 4.[Evans 2001J I then examined ifthe signals were specific to, olmesartan or
      lf a signal existed few the other ARBS\

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      Results
              PRR The four different event definitions ptodu¢ed consistent evidence of signals
      specific to olmesartan-containing products based on the PRR (Figures 2- 5; Tables 6 - 9).
      There was no signal for the other ARBs. ihe signal could be identified as early as 2005 (aU
      cases of celiac disease: n=-3, PRR:::<9,85, chi~square=15.9), in 2006 (serious cases of celiac
      disease: n=3,PRR=10.5, chi-square=17.1; serious cases of diarrhea with concomitant weight
      loss or dehydration and positive rechallenge: n:::3, PRR=282, chi-square;;::53.9) or as late as
      2007 (serious cases of dlarrhea with concomitant weight foss or dehydration [no rechaflt:mge
      requirement]: n=17, PRR=2.39, chi-square=12.4).
              El305. The results using EB05.>2 as the threshold for a ~lgnal suggested later dates of
      signal detection compared with the PRR. However, U$lhg E805>1 for tne serious events
      produced signals consistent with the PRR For all case·S of celiac disease the signal was in 2006
      (PRR::::2.04). For serious celiac the signal was In 2008 using E805>2 (3.01) or 2006 using
      EB05>1 (1, 1). Then serious ctlarrhe<!l with reohallenge slgnal o.ccurred in 2007 (EB05=3.06) or
      2006 (EB05o1.26). The diarrhea definition without rechallenge had signals in 2009 (EB05='2.21)
      ~~7~00~4                                                         .
             When olmesartan was compared With all otherARBs (except olmesartan), the signals
      were consistent with those described above (Appendix).

      Conciusions
      Causallty based on temporality. Only .case.s wit!l a temporal relationship were included~

      Consistemcy: The signals are totiS~$tM~ wltfrthe ci:UJ$tJ\l assaclatloliS: ol:Jl?etved in the case
      reports and the relationship of olmesartf:!n, With ~nt@ropathy observed in the French
      epfdemlofogy study,[Basson 20f6J

      Strength.· There ·was consistent evidence of an ef:svated'PRR for all outcome definitions. The
      PRH was drar:natiqaUy larger than 2 at the firs~ signal for :cellae diseast;t. The PR.R increased
      over time for c-eliac and the conste!latlorr nf symptoms assoorated with chronic dtarrhea.

      Speclficity: The signal was specific to otrnesE1rtan. A signal Was   not observed for the other
      ARBs,


      Objective 3. Systematic Review of the. Published Literature.
      A systematic review was conducted inCluding all levels of evidence from case reports published
      in tht:J literature, non~randomized studies of the specific adversE~ events, and randomized dinica1
      trials fnc(uding information from Clinica!Trials~gov ~hd manufacturer clinical trlal reports.

      Methods
      Literature search, PubMed and Embase were searched through November 27, 2016. In order to
      capture all names used for otmesartan throughout the world I searched Micromedex/Martindale.
      [Micromedex] I searched without restriction for any other factor other than fhe medication name
      in order to have the broadest search possible. The flm~l search itt PubMed ylelded 1,823
      articl.es.
                benicar OR azor or TRIBENZOR or GS,.866 or RNH'-6270 or Afea OR Amelior OR Azor
             - OR Azoren OR Be/for OR Befsar OR Forzaten OR lxla OR Olmec OR Olmesartan OR
               Olmetec OR Oxap OR Rezaltas OR $arlen OR SevfkarbR Votum

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      The same search in Embase ylelded 4,452 artlcles. The total number of articles screened at the
      title/abstract level was 5,103·articles. Any article that mentioned an ARB including edltorrals 1
      reviews and pracllce }$UidBUnes was lnclu,ded. Atl studies that dtd not lnc!ude humans (i.e.,
      animal studies, cefllines, spectrophotometry) were excf\Jded. Based onthese crlteria, ·1.891 full·
      tex.t articles were screened. During !he fUll-text review the ErXciUsioh reasons were: Systematic
      review or meta-analysis of ofmers~rtan, other~sartans or anti-hypertensives: No patients
      included; NotHsystematiC synthesis: Not a systematic reView or· guideline related to the topic
      (select this for notlflcatim1$ of drug approval); Gufdeline;Gost analysis/modeling that doesn't
      \nclude dtn!cal tr!at data; No dnJ~ of interest (o\mesarta,n); Non~USA guideline; No outcome of
      Interest AND not an RCT AND nota phase IV/post-mar:keting study; EditoriaL Information from
      non-English articles was not tnc!ucled. Of the eligible studies, I categorized the informatra.n
      abstracted base'd on the study design; Gul<te!lnes, meta-analyses and pooled analyses were
      used to confirm that! captured all of the relevant studies in our searcli Depending 'on the study
      desfgl1, different informatlof1 was abstract~d and asl':H~ssed,.

       CasfJ reports~ All case. reports antt case $eries{f.'e;, sb.ldres that Included exclusively patients
      with olmesartan-inducad antetopa.thy,pr its~ymptoms) were"assesst1d~ The FDA considers
      evidence ofdechatleoge?.nd, sepa;r~te,lytrenhaJienge,·:~s e.vide,nce for causallty.[U.S. FDA 2.005j
      Literature case reportsw!H be assessed for causl{lity. These case .reports will not be used to
      caJcplate rates or e;stimetas oUhE! retationshfp: bet:'Nalim olmesartan and enteropathy. Reporting
      .biaschanses effect.estimatesofrate$ orr;:omparaflVe~lat!Qn:;;hlps. Reporting bias does not
      Impact causal .assessment of'indfvic.tual cases. T!lesa published c<:~se reports can contribute
      mf!!anlngfully to causal; assessmerr~.                                         ·
      Randornlzed Ttia/s; All' stu!'Jfes that ranxfomfzed at least2 gtoUps of'. patients or the same
      patients in a cross•over.d€lslgn Were lndude:d lfa:tlea!it 1 ;group received ell olrnesartan"'
      containing product as part of'th~ rat'ld6mi?;a:tlon p'fotocok No restriction was made to the
      dl..Jratton of the stUd'y,>, Fir.$'t;J ass.essed whlctJtrials.assessed.any adVerse event and then which
      captured gaskolntestiM.! adverse' evenb:h For trials 'that .r;aptured gastrointestinal adverse
      events, I abs~racte,d the· inforrnat1on~ Sim!larty, (; .asse$sed If gastrointestinal adverse events
      contributed to .reasons f.orwltf)dr~waL Tl1€; rol$! ofthe manufacturer in providing fin?~nciaf,
      material or lnt¢1lectual (i,e;, one oHha authors. was an emp1oyee of the manufacturer) support
      was abstracted. Meta~analyses of gastrotntest!nal adverse events of Interest Including d!arrhea·;
      weight loss. deHydration and celiac dlsea~e were planned assuming· at least 3 trials of similar
      des!gn lncludfng mocth?atton~ compared, indlcatloh1 patient population,, follow-up and adverse
      events reports wer£t homogeneous, ·No met.a~nalyses were conducted because too few
      published studies·reported orr the event:? of interest to alloW meta-analyses of similar studies,
      and the maJority ofthe published trials, did n:otrepqrt on advt;!rse events atall (/;e,1 there was a
      potential .for repo.rting bfas), Cfinlcaf trl.al protocols, reports, annual reports, and other internal
      documents from lhemanUfiacturerwer.e revff1Wed. To identify potential cases ofolmesartanc
      induced enteropathy from these report;:;, I searched for the following phrases: "gastro\ ''diarr''"
      "ma!ab", 11COe!", "ce.llac!',"dehyd", 1'vOmlt" and ''weight",

      Non-randomizt!1ds.turlles, AH prospective, retrospective, ca13e'"control or other comparative
      studies were included~ I captured similar Information for the non,.randomize.d studies as the
      randomized .studies. However, the non~randomfzed studies are mora susceptible to
      confounding, Confounding Jactorsare factors associated with. the exposure, Independently
      :associated with the outcome and are not an 1ntermediate b.elween the exposure. and outcome.
      Fot the studies that reported on events of interest. I performed assessments focused prtmarily
      on their control of.confm.mding factors, Studies that did not account for confounding wer:e
      discounted dramatically given the lack of specfficity Dfthe adverse event outcomes under
                              ·                                                            Page 21 of35
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      examlnat!on. Studies thfit accounted for factors such as age, sex, comorb!ditles and sufficient
      wash~out    periods to observe new users and new diagnoses of olmesartan.induced enteropathy
      and Its symptorns Were conslderect refiao!e sources of information and described in detaiL
      S'lmilar to the randomized trials, 1dld not observe a sufficient number of homogenous studies to
      warrant meta-analyses.

      Glinlca/Trials.govwas searched for olmesartaiH3ontaining products by searching for the phrase
      "a1mesartan'', Alternative searches (f. e., CS~866 or brand names) did not yield additional results.
      The outcome terms on the most recent profile were search for phrases related to
      gastrointestinal adverse evMts. The terms searched for were; gastro, intest, cellac/cof;';!!ac,
      dian, dehyd, vomit, abdom, enferopathy, sprue an.d mala b. Any specific assessmentof.adverse
      events was searched fn the outcome terms us!rrg; adVerse and safety.

      Resurts
       Case r131p'otts. There were 179 cases ofoltnesartl:ln~Induced enteropathy (Table 10), Although I
       searched afl case reports fot':t3ytnptoms associated wlth o!rnesartan-lnduced enteropathy ptior
     . to 'th€1 Mayo clinf~} case series· {RubJo-'Tapia 2012] ! did noHind, any events that metfhe crfter1a
       Ulitil after the publlofltlo(l of fha;t .series, There ware a large number of patients ?5ver age 70
      affeeted, Similar tt:Y fhe MadWatch cas~· reports, there were cases who experienced sympfotrnr
      a.ffer less than 6 months of6!t;r:lesartan U$J:t Every case reported met the criteria ·fQr temporality
      with olrhesartan use precf!dfng th~ athier&e event A. total. of 162 cases had a positive:
      dechatrenge suggesting a WHQ:CEt}ll$ality assessment of probable for the majority of cases
       (temporality + dechallenge);IRubio~'J'apia.2012llTalbot 2Qt2][deFoneska 2012)tDreifuss
      2013j[DeGaetanl2.018lfNl~f$~n 2()13](NUng~ 2013JfStarfich 2013][fran 2014J(Theopl)lle
      2014][Telfez 2014}[Fibruc.Ci:::z:pt4JlKhan 2014][Abdelgnany 2014l[Van Beurden 20t4]{lanlto
     .2014][HartranfL2014](Ag~I<;{O. 2Q'f4-J[Ga!HY~:tn 2014][Aderinto 20 14J(Marthey 2014JfBft~;d
      2014}[~aur 2014J[UIIa..fioch$: 2(}14](Santos,.:.Antunes· 201 SJ(Heersaing 2015}(Sch!Her
      201oW5c!afdm 2015J[Fuku~hima 2015JfSchfepatU 2015][Kul;;ii 2015Jflmpetatore '201'5]tNa'ik
      2015]ICandfao 2015][Fablan 201•5](Este,vec2016J{Hamrrioudi 2016][Desrulsseaux 2016][0uld
      2018]£[\JAFLD Study Group 2016Jffamularo 2016][Gonzalez 2016J[Macha:do 2016J{Martlns
      2016]. A l~rge number of cases had endoscopically conffrmed enteropathy and 'informa:tti:m on
      gluten challeng!!f (with no response to a g\uten~free dlet)'. There were eight cases With
                                        a.
      Insufficient fnforma:t!on to ma:k.a e;a:usalit~ta~sessment(Prasa May2013][DeGaetanl.
      2013][N.guyen 2014][Cartee 2()14][Martillo 2U15][Ma 2016}; Overall, fhe vast majorlty of dt'lses
      had evidence of decha!(enge and wer('l causaUy associated with olmesartan, Evidence of
      positive cleohaHenge Is considered PY the FDA to, suggest a causal relationshiP' between the use
      ofa product and ttie advt=::rse event;{U:S, FDA2005]The large number of cases provide::;
      eVidence of the· strength of this association. OlmesartarHhduced enteropathy !s not an lsol<;tted
      event but it. I'! as imp~oted over 100 p$flents after the publication of the Mayo clinic case series In
      2012.

      Conc!ustons from case reports~
      Causality ba:seci on temporality. Only cases. wtth a temporal relationship   were included"
     Causality b.ased on de challenge encJ rechallenge:· Nearly 60% had documented dechaltenge, A
     small number had documented rechaHeng13.

     Ca!)saftty based on WHO crit?ria: The majority of cases Were causally related \O olmesartan
     bas.adon dechaHenge informati.on~md objective evidence of enteropathy.


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      Consistency." The experiences of the cases were similar to those cases reported In the
      MedWafch forms. The major difference is that the literature cases were less likely to hava
      rechaHenge information. A!Hjf(scribed In Strom's Pharmacoepldemlology, ''Thfs type of
      challenge- re~challenge situation Is relatively uncommon, however, as physlctahs gen~rally Wlll
      avoid exposing a patient to a drug if the patient experienced an adverse reaction to·~ ln the
      past."
      Expetiment: The majority of cases had a positive dechallenge.

       Randomized Trlals. The manlJfacturer performed 191 clinieal trials associated with
       olmesartan·.(Wang 2016Jiidentif!ed 227 publications associated with ratidorrilzed ttlals itHhe
       literature sea:rc;h (Tables 11-13). Some trials were associated With multiple publications
       including C{)ACH, COLM, ORIENT, OSCAR, ROADMAP and TRINITY. The lndtcatton for the
       majority qf the trrlais was hMpert~nsion, although ROAD MAP and ORIENTlnc1udetl patient$ with
       type 2 dlabetes tO: pteventmfcroalbumlfwria and diabetrc nephropathy. The maJority oftr!af~
      were shorter:tht;t.n i )Year. ovar 20 ~ials were one Year ot, longer (ROAQMAP, ANTIPAF, D~R.
       OLAS, AOR:TA II; MORE,. OCTOPUS, OSCAR, COLM. OL!VUS, ORIENT, TRINJfY: .
       SUPPOR1l[HaU~r-20tt]{Klnouchi 20111[ Goette 2012Jt Fogari200B][Miyashit9 2009J{Oerosa
       2010]fNakamura 2010J(Teyufamotc.J 20·10JIAoki 2015JI Martlne:z~Martin 2011][Smlth 20Cl~][T?kami
       2013][Stumpe. 2007]{ Hi~a~a. ;2007][ lsekl. 2009J[Ogawa, 2012J[Oglhara 2014)[Hlroliat~
       2012)[!mai 20Q61[Kereiakes 201ZJ, Rosehdotif 2009][Mourad 2Q09J[Schmleder 2011J[!,.:~utent
       2014][SlcEr~014][Kret,Jtz201Jf][Hidaka 20HJISakata 2015}, Trials tended to have more mal~
       (>50%)tnart fermal$ partlcip~rit~with a wide range from nolncluded females '[Kr~utt 200£)J,~
      ·exclusively female~-I~Ois 20t01 Th~ oldE:tst mean age of trial parttcfpants waaJn 'th¢ early ,70Fi,
      ,?nd toe YOtl119~1?'t W~re .healthy srUbjects that contribl,lfed 10: pham:Jacok!rietiC:stUclies.

      The majority. of ;the puofic<ltlone dlr:f not report on gastrottltestfnal adverse evetits (c79%~
       182'/2.;50); Ofthr>se that dfd,r$pi;lrt, many dldTlot specif'Jiwhat threshold or dt'ffinitlcms of adVerse
       ev€ints thatih¢Y planned to. report ancl there was fm::onslsfenoY between publica:trons onl:his
      :threshold (l.s., ROAOMAP: ~~at least 3% of the patients In either study grot!p''[Ha{ler,20t1lfvs.
       ROAPMA?! 'Trea,tmentemergeht adverse events''[~enne 2012J}, When advets.e ev~rttsw~re
       reported they were Oft~n r~ferred to as treatmentemergentadverse events, [Kereiakes 2007]
       (B:afrios1!IO$J [rb9£\!12010)1Fogar!2010a] [Hazan 2010]Jhese adverse ~vents were defined
      a.s "A tre~tment-1~mergent adverse event (TEAE) was defined as an adverpe: eventw[tltarr
      onseton or .afier day 1 through to the end of the study or, ifteported durln~:J:Pff:Handornizatil:ml
      an adverse f;!Yennnat Increased ln severity from day ·1 through to the end o,f the study\
      (Kerelakes 2007J ()tqer definitions of adverse events Included more than ·1% ofthe treatrnenl;
      population {Weit 20111 {Neutel2001J [Volpe 2009] and at least one dose of the trial .n1edlcatron.
       [MaUion 2007J[Zhu 2014) Oeflnitlbns used in a single study were serious: adverse eVents
      reported in morethf3n to .pa:tlents ln each group {Samta 201:5]: and more than 6% of patients.
      tRosendortf 20091 There were no clinlcally meaningful differences in gastrointestinal symptoms·
      between group:S. No ·cases 'Of celiac disease or enteropathy were reported In the trial
      pub!icat!ons.                                                              ·

      Can<;!Usions from randomized triMs. The absence of (eported ¢€1S.es of cella.c disease from the
      published tri~ls.and.cllnicaJ trial reports does not provrde evidence that th$re is rro causai
      relationShip betWeen dlmesartan~containing products and olmesartah·induced enteropathy,
      There Were !Imitations In the design of the trials and the total number of participants. observ:e.d
      (as described be!ow). The Hmlt~tlons in the trial design prevented the investigation needed. to
      Identify a disease defined by more than one presenting symptom.

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      Based on Information available after the ldentlficat!on of olmesartan4nduced enteropathy
      independent of the manufacturer, I identified a case of olmesartan~induced enteropathy that was
      diagnosed during one of the largest and longest duration olmesartan trials, ROADMAP. The
      event rate based on thls one case in ROADMAP exceeds the event rate ob$eNed in the French
      epidemiology study and Mini-Sentinel.. FDA specifically recognizes the importance of post~
      marketing Information fo'identify safety concerns {U.S. FDA 2005]:
             Risk assessment during product deveiopment should be conducted in a thoro11gh
             and rigorous manner; however, lt is impossible to identify all .safe,ty concems during
             cfinioal ttiafs: Once a produc( is mat1<eted, there is gen(lrallya large itwrease in fhe
              number of patients exposed, including those with co-morbid condition$ f!Indthose
              beihJJ treated with concomittmt medfoaf products. Therefore; postmerketlng safety
              data ooflec(ion and tisk assessment based on obseJVattonal data arecrittciil for
              evaluating and cha.ractettzing a product's risk proi7/e and tor maklng infdm'1£ki
              di!.!cisfons on risk minlmizt~tion

      OausaiitJ( ba$ed on temporality., The case identified .in ROADMAP was hospitalized for
      enteropathy after;the start of the triaL

      ConsisteMy: OhiY Ohe' d.eflnitive case Was Identified fn a ra.ndorrirzed triaL H¢wever) the trla!s
      were nofdesigneci in a way to cap.ture conditions defined t:JY a constellation Cifsymptoms th~t
     .may not b~Jde:nticat for ·allpatients.                                             ·

      Sttrmgth. The eventrt:M ba.sed onihis one case in ROAD MAP exceeds the ev£!ntrate observed
      ln'the French epidemiology study and Mini..:SentineL                   ·

      13/olot;Jic gradlent:Doseresponse .could not be assessed as only one case was.fdentifiecf
      deftnltlve!y.                ·

      £)(peffment The randomized trlais d!d not collect fnformation related to olmesa~n.;lndueect
      enteropathy,

      Non-randon1ized studies.
      Consistent with the flnalng from the .randomtz:ed studies, the majority ofo the 194 nCJn;.rahdomltl::;ld
      stuoies did notreport adverse events in their publications (Tables 11~12),.. Most studies were
      between 1 month and 1 year duration among the retrospective and prospective studies ..

      Fourteen.a.rtlcles reparte-e! on. gastrointestinal adverse events from prospective studies (Table
      14). The ac!verse events were reported by group but no analysis was performed to .cafculate an
      effect estimate' taking into account potential confounding. factors.

      Five retrospective studies reported on gastrointestinal adverse events (Tab!e 15). Thedefails of
      each .study and their results are described separately.
               UnftfM States 2005:-2010, younger individuals with diabetes, Padwalused ~database of
      commercially insured (traditionally aged less than 65; mean age was 54,.3) Individuals in the
      United States (Optum) to examine pharmacy, inpatient. outpatient and !aboratory encounte,ts
      between 2005 and 201Q.[Padwai2014I Events in 2004 were used to detetmirm ~x:clusion
      criteria (nn celiac or ARB use during that year). Individuals who switched from olmesartan to
      another ARB· were excluded. An alternative approach (and the correct approach for time. to
                                                                                               Page24of35
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      event analysis} is to end followup at the time the individual switched drugs or to reclassify the
      lhdividual to the new exposure group at the time of drug sWitching takJng into account any
      carryover effects; Another appropriate technique is to apply this exclU$ii;'m criteri€! to all A~Bs
      (exclude all individuals who switched). A subgroup analysis performecHhls corr1i.l:ct method of
      lmndl1ng cens-oring but did not report the results for thegastrolnt?stlna! events. The authoro
      exarrdrred time from new ARB initiation to hospitalization or death among indMduals with
      diabetes and compared olmesartan to the other AR8a. A subana!ysis.was performed to
      examine timE1 to hospitallzatlon for a gastrointestinal condlttort and ~ime to hospitalization for
      colitis, The study sufflclently adjusted for confounding, The authors dld not find .a statistically
      significant differ.ence between olmesartan and the other ARBs for death':, aii~csuse·
      hosp!taHzatlolls, gastrointestinal hospltallzattons or colftls-associated hospitalizations. This study
      did not sitJdY the symp!oms associated with the l1ospita!ization, Due to the lack of specifidlty of
      the       ptoms of olmesartan-induced enteropathy and the lad~ of examfnatlori ofceliac disease,
                . tlort or composite symptoms associated wlth enteropathy, thls stv~y tloEis not
      c6ntrlbuta to the evidence.                                    . .     .
       ·       United Statf:is 2007-2010r MedtcarG fJOf)tJ/atlon,[Giraham 2{H4J Tflls $t4dY aim~d.to
      e,xamii1EHates-nf cardlova.scular hospltaHza:tlons and de~ths subst;:q\JenNo th!:'i findinjjs In,
      ROADMAP related to cardiovascular disease. Graham used a new uset critetta oHl months
      without an AR.S>instead qf1 year .as h PadwaL No spet:ifto anafysls of g~~trolnt~stlnaf eVents
      wa~rperfotmed. The authors did st~te that hospl~all4at1onscforgastrolnlt,t$tlhalt;itsC>rdarsw~~ .·
      cqrnrn6n, {9A%) but separate results by olmesartan versus other ARBl.ls.erwere nb!'f;Vovlded.
      Adjusku:fanalyses were not performed. Due to the Jack ofiinalyse$ ot1 event~ o.f'intilt~st,this.,
      studY doesr10t corrttlaute to the evl.deru:~e.
             · IJ.nltedl>tate,s 2007;.2013, Columbia Unlvetsity Meq/iJa/!]enter. ~a.S$'­
      oontrol,(Groywoode 2014] The authors c~Jmpared theJnd!catlon fqrgas~mlote:3Un•::d' anq9$¢opy
      cO:mbln~dw1tn m.edlc~tk>n use to examine. the relatlonshlp batwMnolrn,sartartatiddiar"h~.;;;t.
      Only 1Qq totl'ltusers of olmesartt:trt were. identified. Medication use, was notvalidated: by ch?.rt
      review orby,verlfylng prescription history,· Models were edjusfed fC~.rag.e and saxbu~ not
      comorbldlttes. lndtvlduals w!th and without hypertension .and dlab'etes were included 10\Dd nq
      adJustmeftts-ware made for these comorbidities, Individuals wnp .underwent imdoseopy for
      diEmhea were: more Hkely (btJtrwt statist!caUy signiflpantJy) to have reported ofmes,artan usfl'
      tl'ta.n controls- undergolng endoscopy for reflux {OR 1,99; 9:?% Dl-0'.79"'~.:00). However:, due to
      the smalf rHJmber of olmt~sartan users and the fcli!ureto accounHor confounding by
      comorbidiHas or other medications in the :analyses, this study does not contribute to the'
      evldehce.                                              .                                .
               United: States. Columbia University Medical Cente.~ Case-oorJtrol~tLi!(icma 2fJ15JTne
      sludy de~igtl from the previously reported pubJicat!on at this center was' modlffed t!' Identify
      p'atients urrdergolhg endoscopy who t1a.d an lndle;atlon for abdominal pain amt doo(lmented
     olmesartan use {!1:::;:20), Theywers corn pared with 20 a!Je and ~ex matched individUals
     undergoing endoscopy for atH:lornlnal pain without a record ofolmesart.an use. The !denflfk:atian
     and matchingW€!S them performed for :20 lnd!Vtduals with use of aJJother AREt ·PathOlogy
     .specimens were reviewed for all individuals to Identify factors associated with olme.sartan-
      induced enteropathy, Although there was no statistically significant fln~:Hng between cases and
     controls, the authors noticed a trend for ''archl~m:::tural distortion (VH!ous ·   and/or crypt
     hyperplasfa), genera1lzed increase in intraepithelial!ympimcytosls (ISL)a           n'!c
     lnflammatlon:' Villous atrophy was presenlln25% of avaltJated olmes1;1rta.n users compared
     w!th 6-11% efthe other groups. The authors suggestthat there may be a spectrum of symptoms
     ora progression of symptoms associated with olmesartan~induced eott3ropathy, Becaus~ the
     indication for endoscopic procedure was abdominal pain, and not dlanheaj th~;authofs:appear
     t{) imply ffla~ the syrnptorns p.rogress from abdominal pain to diarrhea and the subsequent ·
     we-ight loss and potential for dehydra.tion that comes with a more severe malabsorption d!sPrder~
                                                                                          Page' 25: pf35
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             They suggest that these patients should undergo drug decliallenge for abdominal pain
             resolution, Due to the design limitations (primarily no adjustment for confounding), this study
             does not contribute to the evidence of a causal relationship between olmesartan atid
             olmesartan~induced enteropathy. This study does raise an important hypothesis: that
             olmesartan-induced enteropathy can be prevented by early dechallenge for indivlduals with mild
             gastrointestinal symptoms,
                     France National Health Insurance c1afm database, 2007- 2012, Nattonal Claims
             Database. This was the only population-based epidemiology study that was identified that
             accounted for aU confounding factors and specifically aimed to study olmesartan~induced
             enteropathy. The characteristics of this study are listed and compared with the FDA's Mlni·
            Sentinel analysis in Table 16. This population-based study of adults who took olmesartan~
            another ARB or an ACEI was compared for hospitalizations for malabsorption or celiac disease.
             A prescription fill after a one year period without medication use was con$ldered a new user.
             Individuals with hospitalizations for malabsorption in the year prior to first uf.Uization of an ARB
            orACEI were also excluded {see Table 16 for full lnclusion and exclusion criteria), The authors
             found that olmesartan was associated with an increased rate of hospltallzatlon for
            malabsorption and celiac disease and that greater duration of use was associated with an
            increased relative rate as shown the tables from the manuscript (Shaded Tables 3 .and 4}be!o.w.
            Th1$ study provides evidence of a relationship between ofrnesar:tan and malabsorption and
            c~l!ac disease compared with ACE I with at least 1 year of use (adjusted RR 3~66 for 1-2: years
            of use and RR 10.65 for >2 years of use). In contrast, no relationship was seen betweet:dbe
            other ARBs and malabsorption or celiac disease compared with ACEt This finding is: particularly
            itnpactlul as olrnesartan users contributed the least amount of person~years (ShadedTahle ·~· ·
            be!ow)'. This is significant because the ability tn observe evarits was lowest for olmesa.rtan as
            fhe.re were fewer years of follow-up available (referred bas low statistical power, /.e., there was
            the greatest chance of not detecting an effect when an effect truly existed for ofmesartan).
 Table 3:       cn~de    and adjusted rate ratios othqspitafisatlon with a dischargt~diag~o~is or1nlJ?stinalrlialab5()rptlpn overtime (ref: AC€1)· .
                                (rude rate r.atlo       95% Cl                  flVaJUI-'         Ad}Qtt!!tl:roft~ iatt!l     ~5o/.iCI                 p,Va!ue
  Otmralf poplilaliort
     01me5at1ao                  134                    (1.64 to 332)           <<tooor            2.411                      (1.73 w351J              ~.il~Jl)i
     Other ARas.                 rLn                    (P.Sl to l ;04}          \.1.09            o::m                       {058toU)1}                 iM~
  Tteii'Uni!ht'uuratton <t y.ear
     ()tmesartafi                0.11                   !iB6 to. 139)            1132              !);7/i                     (0. 39 til 1.49}          1M3
     Other ARBs.                 (}.57                  (<i.37 t& Q.S6)          0,007             lJ<!iS                     (1),.3\i t<t 0,8~}         a,tt1
 ifeatmefit di.uatiQ\1 I-2 yeats
     Ofrne5artan                 3;•N                   11.73 to 6.82)           0.00(}4           3.$~.                      {t;&l to1.29}            <.i1.ll01
     Olh¢rARBs                   :1JJ2.                 {0.5:! to 1.89)          (1.95             I.OJ                       ((1,56 f!,1 Ull)           0.!12
 T~llllfmt d!Hil~on >2 yejfs
    Ofmesar;an                  10.!l9                  (4.00 to 21.20}         <iMiOOl           Hl.~~·                      (5Jl5 to :U:lJtij        &.tl®i
    ~er~RBs                      1,qn.                  {!Ul(l io 3,.tl8)        O;Jf!             tfil                       (o:oo tn .sst)            OJl!




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         Table 4 Adjusted rate ratios of ho.spitalisation with a discharge
         diagnosis of coeliac disease (ref: ACEI)
                                 Adjusted rate ratio            95% ([                   pValue

         Overall population
           O!mesartan             4.39                          (2.71 to 6.96)           <0.0001
              Other ARBs          0.91                          {0.58 to 1.42)            {}.ti8
         Tmat~nent   duration <1 year
              Olmesartan         1.9B                           (0;85 to 4.61)            0.11
            Other ARBs            1.07                          (0.56 to 2.05)            0.84
         Tr~atrnent   dutation 1-2 ~ats
              Olmesartan          4.36 , . _                    {2.04 to 9·34)           <!Hl01
            OtherARBs             0.77                          (0.36 to 1.61)            (};.51
         Treat~nent   duration >2 years
             Olmesartan          10.21 ~                        (4.21 to 24.76}          <0.0001
         . . Other ARB~           0.94                          (036 to·2.47)             o.®
          ACE!, .ACE Inhibitor; AAB, angiotensin receptor blocker.




         Tabfe 2 Risk over time: descriptive data
                                                       ACEI           Olmesartan         ARB

         py                                            3645311        860894 . . . 4.501098
            0-1 year                                   1 584921
              1...:2years                              922124
              22 ~ars                                  1139266
         Number 1if event;                             87
            o-1 year                                   59
            1..,2years                                 18
              22 years                                 10
         Crude tncldent::e rilte (per 100 000 PY)      2.39
           0-1 year                                    3.72
           1-2years                                    1.95
              22 ~ars                                  0.88
          At:Et, .ACE inhibitor; AAB, angiotensin recqJtor bl{)cker, PY, person")'mrs.


      Conclusions from the non-randomized studies. The majority of the prospective non-randomized
      studies did not report on gastrointestinal side effects. Ofthe f(ve eligible retrospective studies
      that reported on gastrointestinal events, only one study estimated the rate of olmesartan-
                                                                                                   Page27 of35
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      Induced enteropathy and ca!culate.d a comp;arative estimate of the symptoms of olmesartan-
      induced enteropathy among users of o!mesartan compared with another anti-hypertensive
      (ACE!) adequately accounting· for confoundin!;j.(Basson 2016] This study also compared events
      in other ARBs versus ACEfs. Only olmesartan wa!? associated with matabsorptian and cellae
      disease, and incmasing duration of use was associated with increased relative rates of
      malabsorption and celiac d[seaE;e.

      Causality based on temporality; The l)artiGfpants Wltfl enteropathy developed symptoms after
      taking olmesartan.

      Consistency: The French ep(deniiology study tdentif(ed a strong relationship betWeen
      olmesartari and enteropathy. A strong, relationship Is consistentwiththe,qthersources of
      evidence.

      Strength The rate of hospitalization for malabsorption and celiac disease is to times greater
      with at least 2 yee~rs duration of oJmesartan use compared with ACE! use in the French
      epidemiology study~ This flnctlng, is statistically slgnifi~ant Based on m:,texperlence as an
      epidemiologist it Ts rare to encounter this magnituqe of q: 9tat1sticaHy slgnii'icanf findlrig~

      Biologic gradient Pose response could not be> assessed. !he french           ap,!derr!lology study did no~
      test for dosEHesponse.


       ClinicaiTrfals.gov Results The search yieldeti-123, studi€ls ofwhich 4ft {39o/ci) nad sponsorship at
      least in part from the· manufacturer (Table 17), ND· study i$pec:ifioili!Y Jjlentipned a gastrointestiha!
      event in the outcomes llst Atotalof 29 studies mehtlont.kf,tfie 'c,qfrectlon of.ad:ve.!'$.1? evemts or
      safety In general ln their outcomes list, an~ta (26%}oHhese included sppnsorshipfrom the
      manufacturer, Del?plte the ch::ar signals ofan assoclatk:m J:>.etW~en olmes.&ntan.:Containlng
      products and enteropathy; conJacfs, by the .FbAlo, as$ess tile retati.ottshlp between olmesartan
      end celiac disease and an FDA Safety Commtmicatron; Trot a.s!ngla trii!!l or post-marking study
      has been designed to e~ssess ga~trointestinal $Vf?hls according tcdhe't:JUI:illc!y posted ttiai        .
      lnformation on Cllnica\Trials.gov.                                ·              ·

      £vidence to support my conclusion that the randomized trials db notprovlde supportforan
      absence of a causal relationship between :oknesarlfifl and li!H?teroptJ.thy~.Tne:absence of re-ported
      cases of cellae disease from the pubiish!;ld trial$~ doe;:; not provide evidence thatth~t:e is no
      causal relatkmship .betWeen o!mesartan~ccmtain1hg pwdu!;its'and olmesartan~lnduced
      enteropathy. Causal relationships of no effect are difficult to :estaplish, particularly for reclatiYe'IY
      rare events flke enteropathy. A trial must be d~slgned to foJJow .a sufficle,!nt numbe.r of fndivJduals
      such that lf a difference in event rates Is notot;,setved; lt is l1nlil\ely that .the Jack of difference is
      dl!e to chance. When thh1king. of efficacy studies, the type !error is the probability of reiecting
      the null hypothesis {that the drug has no effect) if it is in fact true. Alpha=O.D51s standard. Type
      II error Is the probability of accepting the null hypothe~~ (and thus fafnng to use the new
      treatment) when in fact it ls false (thfl treatmentwor!<s}. By fixing, ih advance, the rates oftype 1
      and type II error, the number of mistakes made over many (:}lfferent experlmerHs· would be
      limited. When designing a clin,ical trial, calculations are made to ensure fhat the study J.s large
      enough to keep both type I and type Herror rates sma1L($~eme 2001]                                     ·




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      Tt!ble tram BMJ 2001 Jan 27; 322(7280): 246-"231; Poss.i/JI? errors in int<trp~tation of experiments, according to the Neyman-
      Peerson approach to hypothe:11s testing. Error rates t;re proportion ot times that typtt I and type If errors occur in the long run

      Result of experiment                                                 The truth

                                Null hypothesis true ((reatmf,lht ®esn 't wotk)      Nvll hypothesis :t;Jfse (treatment works)
      Reject nulf!iypotMsls                                                                  Power=1-type II error rate
      Accept nUll hypothesis                                                                      Type !I error ratce



      The longest duration trial: performed by the manufacturer was ROADMAP.[HaUer 2011] I will
      focus on the design characterl::;ticl3 of this trial be pause,, of: the placebo-controlled randomized
      trials performed, it has the highest power given. its h'ilrge size and long duration. All other studies
      with smaller Ns and shorter durations have even teS,s power,Accotdilig to the supplementary
      file ofthe NEJM trlal pubtication, the triaJ vy~s designed to t;ietecta<30% difference between
      treatment groups (based on an unspecift~d event rate in the control population} with ~0% power
      and 6% significance leVel (=f3!pha).[Hal!er20t1l A clinlcal·$fUdY report as$ociated with
      ROADMAP provided greater detail:                                        ·
         9. 7.2.       Determination .Qf~amplc Sl,zc
         It \Vas piam1ed that a total of4400 paf1entswould 'bf:'randomised i:uthe !rtudy. The sau1ple size
       was based on estirmit~· yearly average incidence rates ofmicrqalbliminuria of2% in the £1aceho
       group· yielding 90.39% of event~fi'eepatientsaftei~ am.edian tb11e tlfS years ofrteatment ·5 Based
       on the log-nulk test<and assuming ahf\~ard ratio ·9fL433 (je.; ~.30% Tisk re,duciion 'by olrocsartar.l
       mcdoxomil therapy), cumpari~g times to eve~1t With 90%povver on. the 4 ..9% slgnificance level
       w11s cakulatr~d        to requil'~> an1in.iiuum      ofZ033 patipnt/3 for tlJc fit1l ~nal;tsis set of each ofthe


                                                                                              Clinical St\!nY Report: SE-866!44
                                                                                                Version: Hn~1l LO, 14 Jon UlllJ

      2 trN11ment arms (ie, It was ¢xpected that 326 events of microaihurnh11lri:a would be observed}.
      To compensate fot withdrawals for rcl:!,S011G other tl1<\ll mkroaH:rmnrrnJrtai 22{)0 ra11dorniscd
      p~ttients per trcatm<mt ann wen; planned,



      I attempted to calculate the sample slzft required to observea difference in enteropathy
      between groups Using a log-rapk test as Was don$ for the primary outcome of the ROAD MAP
      study (Stata catculatfon: stpower logrank.9039, hratio(Q,6978J power(.9}alpha(0.049)). I based
      the rate on 1) the rate of malabsorption in the unexposed group as obs~nved ih the French
      epidemiology study among users of AC:Els ahd AR!3s otru;Jr tharJ oimesartan (2.. 39 and 1.84 per
      100,000 person~years) and 2) general p·qpulatlon's celiac disease annual incidence rate (1.3 per
      100,000 in 1999 to 6.5 per 1OO,OQQ}~{Rkldle 20121 The rates in the unexposed populations of
      Mini.,Sentinel were similar or lower to those fn the French epidemiology study. The. prevalence
      of celiac disease in the population with type 2· dlabetesls thought to be the same as the general
      population .[Kylokas 20161 i chose to use the inctdence rates for oeHac disease because the
      Mayo Clinic case series[Rubio-Tap!a 2'01?] and the FOA requestfor more information were
      based on the identified association between olmesartan and celiac-like symptoms~



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      Because the rates were so small, i was unable to calculate the estimated sample size with a
      log-rank test using standard software (stpower logrank .000192, hmtio{2} power(.B) alpha{0.05);
      "survival prob<:lbtHty is too small(<= 1.0e-6)"). Thus, l used tests of proportions (sampsi ,000192
      .00192, power (0.$) a,lpha (0.05). Sased Qn these assumptions of the underlying rate,
      alpha=0.05 and a range of large effect estimates as observed in the French epidemiology study,
      the number of participant$ randomi:ted and analyzed per group to make an inference with 80%
      power was very large. The ROADMAP trial Included 4,449 randomlzed patients (2 of Whom
      never took treatment In the randomlzed period).[Haller 20 i ·1} Because 4,449 is smaller than ali
      numbers in the, tabte, the study was not sufficiently powered to detect any of the relative
      differences gfven the assumed prevalence among the placebo group.

       Number of partiCipantstequked per study:group to observe relative rate increases of2-1o•
         Assumed          Re!~?It!ve ·
      l· proportion in
         OLM
                            Rate

      J unE)Xposed          RR2         RR4                         RR8            RR10
         Celiac lower     797071                     80685         53601           39945
         !!mit
         0.000032
         (3.2*1/lOOk)
         French ARB       433174       :8:4991       43847                         21706
         0,00005888
         3.2*1.84/1001<)
         French ACIEI                  115315        33755          Z2423
         0.00007648
         3.2*2,39/tOOk)
      . Celiac t\pper      44475                     33755         22441
       limit   ·
       .000192
       (3.2*6/100k)
      *alpha=0.05 (2•sidetl); power=80% Unexposed estll'tlate bas~ on tf!e French epldemta!ogy study rates and a range
      of eStimates for .celfac dlsaase in the genera\ population: ,{tanfilng ,from annu&l inctdence of 1"6/ 1oo,ooo, populatiM)
      with upper estimates multiplied by 3>2 ftn:a ;l~year SJUdy:


      De$pite ROAD MAP being underpowereo, a case of oirnesa~n··'inducad enteropathy was
      Identified among the study subjects bythe clinical expert. The manufacturer recelved this case
      in 2006 (Study: SE,:866/44, Patient net 1630007, Random no, 4790, Centre no. 1630). In the
      MedWatch form generated by the manufacturer there is clear evidence of a posltlve
      dechaHenge and recha!!enge (MFR#SP-·2006-003369}. Using thls·case to calculate a rate of
      olmesartan ..fnducad enteropathy from ·ROAD MAP, the event tate is even nigher than the
      unadjusted rate from the FrE:mch epidemiology study among !Jsars of olmesartan for greater
      than 2 years {8.861100,000 person years.), The .unadjusted rate from ROADMAP is
      14.09/100,000 person:""years.

      Unfortunately, this ROADMAP olrnesartan-induced emteropathy case was misidentified as a
      case of gastroenteritis during the tda,J {Table 12.9 of Protocol daJed 14 Jun 2010 {OLM-DSI-
      0001802066 ROAD MAP CLINICAL STUDY REPORT SE-86fi44}and Clll the MedWatch form
      (OLM-DSI-00047671.413~SP-2006-003369'-'RQADMAP MFR# SP~2Q06~003369). AlthOugh the
      investigator could have broken the code to identify If this serious case had received olmesartar\,
      there !s not evidence that this unbllndlng occurred.
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        9.5.3.!8.2. Procedure for lheJnvcstigator
        In case of an occurrence of a SAE, the investigator was obliged:
        - To ensure appropriate medical treatment, to decide whether to withdraw the patient and
        whether to break the rand0111isation code.
        - To consider whether a blood sample fur drug assay was to be taken (if appropriate this should
        be discussed with the monitor).
        - To notify the Inonitor or the pcrson(s} nmncd in the protocol immcdiarcly (or contact the
        person responsible tor Drug Satety at Daiichi Sankyo Europe GmbH) by telephone of the
        occurrence ofthc SAE. The infonnatiou was lo include the name ofthe investigator, centre
        uumbcr, study idcntiflc.atlon, study patient identification, investigational drug, and suspected AE
        term.
       There were 14 patients who had their cqde bruken during the study: S patients had
       microalbun1inuria that led to the investigator unbHnding t11c patient (patient numbers 440205,
       440467, 441227; 443979, 445660); 6 patients had an AB leading to unblinding (patient numbers
       442206, 442400, 443139, 443396, 444454, and 445227), 2 patients \vithdrew consent (patient
       numbers 441977 and 444596) and 1 patient died (patient number 442887),



      After the Mayo Clinic case series was published and after the completion of the tria!, a study
      investigator did not identify this positive recha!Tenge case as a case of o!mesarta{1-induced
      enteropathy. A letter to the editor cq..authored by Haller !n response to the Mayo Clinic case
      series concludes with "We cannot rule out the possibility that in this very rare disease the
      intestinal renin-angiotensin system plays a role; however, our data from the ROADMAP
      database did notidentify a link between olm~sartan use and the occurrence of gastrointestinal
      disease/[Menne 2012] As stated above, the study did not follow a sufficient number of
      participants to rule out a link, and HaUer's statemennhatthe possibility of a causal relationship
      between olmesartan and enteropathy cannot he ruled out based on the design of ROAD MAP is
      accurate.




                                                                                                    Page 31 of 35
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       Table 12.9:             Overview ofSerkms- TE,<\Es l>nrlng tile Double-mind Period by Preferred
       Term (SAILOR)
                                                                                          Ohnc,~ttlm                  Pllltrlm          Total
         S!!rl\iu~ TE:.~F:~: l!rlcf'Summ~n;t umll'r~ftrred                  Terms            N"' U32                 N"'1215           N"'444i
                                                                                               » (lY~)                 nj%)              u(%>.
         P;;!kulswith  Hlkait I ~Cri(lti~T!;A£                                              :1.15{!5,())             :<n (15.:!)       672 (iS.lj
        P•rtk111s with~~~ lcaM I mild $~r1nns TEAE                                           '}{J (·1.0}              m1s.,;)          2!2(<-U!}
        P;1th~m]     \YUh at fc;~M 1 mcd:cmtc :;~rictts T£AE                                 15R (!.D                 15t~   {'7, 1}   ~t<'i (7.1}
        PiJ;tlct\1 s \>·itb ntlcl!s.l i scv.;;rc :mim11> TEAE                                t -n (5,7)               l];l {;\,!)      .Z4l (5Al
        f';ttiiif!Hi wilh ulMMit 1 dt!l:.t-n:lal~d ~.;ri!Jtt> ll;;\ll                         4<0.2)                   l    t!JJ)}      3 (IU}
        Seriqus dmg-rclntc<l Tt:At:t~
        Mild
            Ck,u!utoty        N!lapsc                                                          I ((}.H}                0 (lJ,H}          ! (U,!f)
           !fypoiCI\Sknt                                                                       I {!W)                  (l(\Hi}          l   (!IJi}
        Moderate
              Gas1r~uwitls                                                                     1 ((),ll)               0 (lJ.(l}         I {IJ,O}
              Vas;;;ulfHt>liCcrotl$iug                                                         I. {OJJ)                (l [()J})         ! {If,!!}
        Severe
               !Seltiu~mic c~rdft1Jllj'4!)illlly                                              0 tCHJ)                   J (0.(})        l (0.0}
               Hy!)etiOH>.i\'e ed!(J!t .                                                       l {t}J!.l               () (0.\l}        ! {OJ))
       SAF•Dl! ~ ;;u!l!(y ~cl i\lr !hl" d,i\1hle-*lbtd l,)!tt•:JiL TEA !C. • 1rcul~nt~~n:rJrg.t'lll ll(l\;:n;.: ever.!
       J)~t;f i>f)\it.;ii; $u~!l"fl j.:;; T~\l!i'~ 14.J.,J ,), U, 1·4 ;t U l1 t oud NJ,J.J.tS.!


                                                                                                                                                             I
          5. Deserloo Svent or Problem
              EventV~rbatim               [PREFERRED TERM] (Related symptoms If any separated by commas}
          HOSPITALISATION BECAUSE OF GASTROENTERITIS
         [Gastroenteritis]
                     .              ,                                               .
          HYPOKAL.AEMIA [Hypokalaemia]
          HYPOCALCAEM lA [Hypocalcaemia]

         Case Description:
         Initial information received                                  on 05-DEC-2006:
                                                                                                                                               t"-~-"-·-·J


         An investigator reported that a 56 year-old Caucasian female {'::::::::.1
         weight 84 kg 1 height 158 em) was hospitalized due to gastroenteritis
         with hypokalaemia. The subject was screened for study SE-866/44
         {centre no. 1630, patient no'" 1630007, random no. 4790) on
         13-JAN-2006 and received 40 mg olmesartan medoxomil or placebo
         o.d. as active trial medication for the indication prevention of
         microalbuminuria since 15-FEB-2006




                                                                                                                                                      Page 32 of35
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        lntestlrul--assacllned TEA£                    91 (1.1)     .10
              l:liarthetll                 Sl (:t:q    52 (<'.:3)
           Ge;troenterhis                  17 (0.8)    2HLI)
              Golith                          !         6 (O.sJ
              trtteritl$                    2 (0.1)     4 (0.1)
           Gastroifoodeniti>                4(tU)       2 (0.1)
           ~ lllcer.tiv-a                   2 {0.!)     1 (fU)
           lJuo.;lenhis                     l(OJ)       2 (O.t)
           QslioiinerJnal dl$order          3(0.1)        l
           ~ill\es;'dnalt(lffec."JQr\        !          3(0J)




     Flaws in the design and conduct of ROADMAP. A major design flaw with ROAD MAP was the
     way that adverse events were identified. A major flaw in the conduct of ROADMAP was the lack
     of evidence that the protocol was followed up for the adverse events that were identified, The
     limitations in the trial design and conduct prevented the investigation needed to identify a
     disease defined by more than one presenting symptom.

     According to the Bucharest criteria, olmesartan-induced enteropathy is defined by a
     constellation of symptoms.[Rostaml2015] However, the failure to identify cases of enteropathy
     or cellae disease in the randomized trials is not surprising given the method of capturing
     adverse events, including Instructing investigators to specifically not ask about concomitant
     symptoms. The method of capturing adverse events was generally similar across trials and
     relied on an open~ended question and response. Adverse events were collected during study
     visits as follows for ROADMAP (Clinical Study Report SE~866/44 Version: Final 1.0, 14 Jun
     2010):


                                                                                     Page 33 of35
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              All non-serious AEs were to f1t7 property documented by the fnvesilgatoronthe AE
              ReportForm as. part of the CRF. They WQre to be reported to t11e monltorrlun'ng
              rnonftoring visits, Non~setious AEs were listed CIS routine information tnctudedin montllly
              r:eport&
             .At .eac/1 visit. the lnvestigator was to ask the patient about AEs.. The questions were
              to be .aslted ifiBfl open manner and no concomitantsymgtoms were: to be;
              Insinuated [emphasis added]! The recommended standard question was as follows:

              ''Have you experienced any change in your heaftlr or in your generaf condition since ttle
              previous vlsil"?"

              The fnformationrr.u::orcfed was to be based on a full clinical evaluation oftlJepatlenl as
              appropriate and was to !ncfude general am:i specific questioning,

              AEs. were (fS a rule documented iii the section for recording AEs in the. CRF (Adverse
               Event Repott Fomr). They were not to be entered as comments rn olht?r .sectionS; of the
               CRF Thf! .AdVerse. Event Report Ponn had to .be completedtfwrougfl/yln {letaJI It was
               :also(J)(tt&melyfmportantto complete tin; questions concerning outoome1 relat(onship to
               inve~ffgalfonatpmduct orcomparatordrug, if appropdatf?~ serious (yf)s/no),
               ~xp/;c;_ff?r;ilunex.peJ;ted (on SA£ report tom1s), _/JCJcau$$ fhfs fnfortnatfon wa:s: nec~ssary to
               df:it::ftlf! on expedited repofting.o to 1:wthtm'ties. lf necessary, the causality assessment
               could b() added/ater py thE! fnvfistigator alter obtafnfngfurtlmrresults. The causality
             . aS!if!ssment had to b£1 signed· ana dated by the liwestigator. If apatient ctfsplayed the
               t;ame AE. at:$averal study vtsrls, tJ]g imd datr1 was to remtu/1 empty.. Thr1 end .ifate tftust
             hf1lf1.sertedafteftll11s AE lmdte.so!V£Jtl.                                ·

      The Jack•of.spec!ficltyof this recommended (not re.quired} questron combined. wUh the
      compositt'J .natur& of; the symptoms associated with ormesartarHnduced enteropathy and. the
     ,dlrecllon fQrthe .stud.:Y Investigator t<J<NOT ask about concomitant symp.tams provide evidence
      th~t il W:ol1ld oe>nearfy impossib1e for an investigator to identify a ca~e of o!meS<artan-induced
     enteropathy in atd.a.l unless a patient was hospitalized and the fnvestigatorwas al!pwed 1
                 to
     according ttre protqco\ to take into $t:count the full-spE!ctrum of symptoms,
      Given the· combination of symptoms required to diagnose enteropathy, the· best method of
      a,ssesslng it wollltfhave been dUring the protocol tequirecf dechanenge assessment tor those
      wno !efHhe study with adverse events or continued to experience adverse events at the end.of
      the trial:
               '''AIIpf}ftf?nts with un.fl?So!ved:4Es at the endofthe study, exct;]pt those who dtoppedQ/ft
              before raruiomfs(!tfon or starting active treatmenti were to br1 included in a. safety follow"
              up vfsitin orderto check response of AEs to decha!lenge, The safety follovNJP vis.lt took
              place' 1· to 2 weeks aft;er the fihaJ. examfnatfon visit.''                             ·
     The decha!lenge results are not systematically anafyzed in the clinicaJ tria I reports. :In this
     ROAD MAP trial' report the dechalfenge results would be of particular interest to examine the
     rechaiiE!n'ge information on the serious case of gastroenteritis (MFR# SP:·20Q6,.,003369)
     Identified P;tttla clin!caf expert as a positive dechallenge/rechailenge case based em the text !n
     the. MedWatch form, This cas<::toccurred after9 months of olmesartan 40mg use {started 15~
     FEB-2006, developed gastroenteritis on 01 ~NOV-2006 a.od was hospitalized. on 17-NOV~2006).
     The deohallerrge assessments of the non..,serious cases of gastroenteritis in the cases and
     controlS tlooumenfed by Haller in his letter to the editor would also be useful to see' if thete were
     differences ln positive deohaHenge between those teceivl:(fg olmesartC10 versus placebo. [Menne
     2012]
                                                                                              Page34of35
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     The enteropathy case identified from ROADMAP with a positive rechallenge was not unique.
     Another Medwatch report from ROAD MAP (not associated with a rechallenge) coded as acute
     prerenal faHure in its preferred term had experienced intermittent diarrhea and vomiting prior to
     her hospitalization [DSM-2008-01 071 ]. Had the manufacturer investigated cases with symptoms
     of celiac disease from their own trials in response to the rechallenge positive case reports and
     signals from FAERS in 2006, a causal association between olmesartan and enteropathy could
     have been detected.



     Summary
     In conclusion, It is my opinion, to a reasonable degree of scientific certainty, that there is
     sufficient evidence to. establish a causal relationship between o!mesartan and enteropathy.
     There is consistent evidence from the MedWatch case reports and signals from FAERS that this
     causal association was established in 2006.




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                         Exhibit B
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                                   13069
               Protected Information - Susan Huftless, Ph.D .
                           . .-   ----- ·--·- - ------ ---   -------   ----------------   ----------------~-------------------------------~




           1      IN THE UNITED STATES DISTRICT COURT
           2    FOR THE EASTERN DISTRICT OF NEW JERSEY
           3
           4

                IN RE:  BENICAR                                                                    CIVIL ACTION
           5    (Olmesartan) PRODUCT
                LIABILITY LITIGATION                                                               NO. 15-2606
           6                                                                                       (RBK) (JS)

           7


           8


           9

                                          February 28, 2017
          10


          11             PROTECTED INFORMATION
          12                     Oral deposition of
               SUSAN HUFTLESS, Ph.D., taken pursuant to
      '; 13
               notice, was held at the law offices of
               Venable, LLP, 750 East Pratt Street,
      1   14   Suite 900, Baltimore, Maryland, beginning
               at 8:36a.m., on the above date, before
      • 15     Michelle L. Gray, a Registered
               Professional Reporter, Certified
      ; 16     Shorthand Reporter, Certified Realtime
               Reporter, and Notary Public.
          17
      ' 18
      : 19

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          20        877.370.3377 ph I 917.591.5672 fax
                             deps@golkow.com
      i 21

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                                                                                                                                          I
                                                                                                                 - ----------------~------J
      Golkow Technologies,              Inc.                                                                                   Page 1
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                            Protected Information - Susan Huftless, Ph.D.

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      !       22                      Sankyo, Inc.
              23
              24

                   ·-   ·····--~~····~---··-··- ··-···--~------~--------··--·--~~ ···-~--·~·~··--·-·--···-·--~--··~~~--·-··-··--··-·~·-···~~---··-·-···~~---~-·-J
      Golkow Technologies, Inc.                                                                                                                   Page 2
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               Protected Information - Susan Huftless, Ph.D.

         1          APPEARANCES:          ( Cont' d.)
         2

                    ALSO PRESENT:
         3


                         Amy Klug (Daiichi-$ankyo)
         4               (Via telephone)
         5

         6

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                                                                                  J
      Golkow Technologies, Inc.                                           Page 3
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                                   13072
                Protected Information - Susan Huftless, Ph.D.

         1     around then.
         2               Q.       Describe for me what you
         3     received?
         4               A.       I mean, I received a link to
         5    go to a website to download the MedWatch
         6     forms.
         7               Q.       Do you remember how many
         8     forms that link gave you access to?
         9               A.       Yes.
        10               Q.       How many?
        11               A.       So there were about 300.
        12               Q.       What    lS   your understanding
        13    as to who collected those 300 that were
        14    made available to you?
        15               A.       Sure.        So I had been having
        16    a communication with Tara and Lexi.                     And
        17    I had been talking about with them, about
        18    identifying cases --
        19                        MS. SUTTON:         Object.      You
        20               can't talk about               reveal our
        21               communications.
        22                        THE WITNESS:         Oh, I'm sorry.
        23                        Okay.        Can you say the
        24               question again?           I'm sorry.
       Golkow Technologies, Inc.                                         Page 50
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                                   13073
                Protected Information - Susan Huftless, Ph.D.

         1     BY MR. PARKER:
         2               Q.       What is your understanding
         3     of who collected the 300 MedWatch reports
         4     that were provided to you via the link?
         5               A.       Oh, so their staff under my
         6     direction based on criteria that I had
         7     requested.
         8               Q.       So let me make sure I
         9    understand.         You gave criteria, which
        10    we'll get into in a moment, to
        11    plaintiffs' counsel to conduct a search,
        12    and that generated the 300 that you were
        13    glven access to?
        14               A.       Correct.
        15               Q.       And were those search
        16    criteria the MedDRA terms that
        17    Dr. Leffler gave you?
        18               A.       No.     That came afterwards.
        19               Q.       I'm sorry.        What came after?
        20               A.       So the -- so I -- so I was
        21    revlewlng the literature and was coming
        22    up with a list of criteria and was
        23    thinking of the symptoms that were
        24    associated with olmesartan-induced
       Golkow Technologies, Inc.                                         Page 51
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                                   13074
                Protected Information - Susan Huftless, Ph.D.

          1    enteropathy.
          2                       And based on those initial
          3    criteria, I had requested -- I'm sorry.
         4     I'm trying to remember what happened.
         5               Q.       Please take your time.               It's
         6     important.
         7               A.       So based on symptoms I had
         8     requested, they look for -- they looked
         9     for particular cases.
        10                        But that was around the time
        11     I was -- I think it was just before then
        12     I had talked about the preferred terms
        13     with Dan.
        14               Q.       Dan Leffler?
        15               A.       Dan Leffler.          Sorry.
        16               Q.       Okay.
        17               A.       Yeah.      So the -- I'm sorry.
        18     I'm having problems recalling what
        19    happened.
        20                        So it_was right around the
        21     same time.        He may have actually -- I
        22    mean,     I had a conversation with him.                  But
        23     I think the preferred terms list, it was
        24    more based on -- it was more based on our                            .
       Golkow Technologies, Inc.                                         Page 52
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                Protected Information - Susan Huftless 1 Ph.D.

          1    general conversation than his list of
          2    preferred terms, the initial list of
          3    preferred terms.           He and I had many,
          4    many -- not many.            But we had several
          5    conversations about the symptoms of this.
          6                       So I'm an epidemiologist.
          7    I'm not a clinician.             So I rely upon a
          8    clinician to help -- to help come to
          9    these conclusions.
        10                        So he and I had been talking
        11     since around that time and before that
        12     time about the symptoms that were
        13     relevant.       And then I made a request of a
        14     set of symptoms based on those
        15     conversations with Dan and my review of
        16     the literature.          And those were prepared
        17     for by their            by their staff.
        18               Q.       Whose staff?          You said their
        19     staff.
        20               A.       Their lawyers.
        21               Q.       Counsel?
        22               A.       Yeah, counsel.           Thank you.
        23               Q.       So the end result of the
        24    process you just described is you were
       Golkow Technologies/ Inc.                                         Page 53
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                                   13076
                Protected Information - Susan Huftless, Ph.D.

         1    provided a link which gave you access to
         2     some 300 MedWatch reports?
         3                        MS. SUTTON:         Objection to
         4               form.     Asked and answered.
         5                        You can go ahead.
         6                        THE WITNESS:         Okay.      So I --
         7               yes, I was provided with MedWatch
         8               forms based on a request of
         9               criteria made by me, yeah.
        1o    BY MR. PARKER:
        11               Q.       What I want to make sure I'm
        12    clear is, you were not given access to
        13    the full set of MedWatch reports provided
        14    to counsel and did your own search of
        15    them; is that correct?
        16                        MS. SUTTON:         Objection to
        17               form.      Foundation.
        18                        You can answer.
        19                        THE WITNESS:,        So my
        20               understanding        ~-   I mean,     the~e

        21               were thousands of MedWatch forms.
        22               And it would be very time
        23               consuming for me to go through
        24               each of them, when many of them
       Golkow Technologies, Inc.                                         P~ge     54
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                Protected Information - Susan Huftless, Ph.D.

         1               would be related to cardiovascular
         2               events, for example.
         3                        So I    had requested to
         4               have -- to have forms related to
         5               gastrointestinal disorders that
         6               were associated with dechallenge,
         7               because that's the current
         8               consensus on olmesartan-induced
         9               enteropathy.
        10    BY MR. PARKER:
        11               Q.       Are you able to tell me
        12    or -- and we'll mark your report, review
        13    your report -- what the terms were that
        14    you gave to plaintiffs' counsel to do the
        15    search?
        16               A.       They -- I mean, they were
        17    related to diarrhea, celiac disease,
        18    malabsorption, and gastrointestinal
        19    disorders.        And there -- there were
        20    you_ know, their staff,_ counsel's staff,
        21    did their best to do that, but I
        22    subsetted it from there.                You'll see that
        23    as a product of the review that was
        24    conducted with Dr. Leffler, that I ended
       Golkow Technologies, Inc.                                         Page 55
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                Protected Information - Susan Huftless, Ph.D.

         1     up -- we ended up -- actually he ended up
         2     coming down with a list of cases that
         3     were the most specific and relevant to
         4    making an assessment of causality to
         5     address the causal relationship between
         6    olmesartan and olmesartan-induced
         7     enteropathy.
         8               Q.       Okay.      You're a couple steps
         9    ahead of me.          Right now I just want to
        10    talk about how and understand how the
        11     information was gathered.
        12                        And if my understanding is
        13    correct, you gave terms of diarrhea,
        14    celiac disease, malabsorption, and
        15    gastrointestinal disorders and asked to
        16    have a search run of the thousands of
        17    MedWatch reports to see what that would
        18    generate?
        19                        MS. SUTTON:         Objection to
        20               form.      Asked and answered.
        21    BY MR. PARKER:
        22               Q.       Is that correct?
        23               A.       So the -- sorry,          I'm not
        24    used to the questioning like this.                     So
       Golkow Technologies, Inc.                                          Page 56
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               Protected Information - Susan Huftless, Ph.D.

         1     there -- yes, related to dechallenge and
         2     symptoms related to olmesartan-induced
         3    enteropathy.
         4               Q.       You just added something.                  I
         5    want to make sure I understand.                    When you
         6    gave the clinical terms -- and I did get
         7    them right, right?             Diarrhea, celiac
         8    disease, malabsorption and a broad term
         9    of GI disorders.
        10               A.       So --
        11               Q.       Were those clinical terms?
        12               A.       Those are clinical terms.                  I

        13    believe vomiting was also in that list.
        14               Q.       Okay.      Very good.        Anything
        15    else in terms of clinical terms?
        16                        MS. SUTTON:         Objection to
        17               form.
        18                        THE WITNESS:         So based on my
        19               conversation with Dan, I believe
        20               also fecal incontinence was
        21               included at that time.               It may
        22               have only been included when we
        23               at a different point in time.                  I
        24               may have included it at that time
       Golkow Technologies, Inc.                                            Page 57
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         1     conducted the initial search that led to
         2     the 300 that led to the narrowing that
         3    you just described?
         4                        MS. SUTTON:         Objection to
         5               form.      Asked and answered.
         6               Misstates testimony.
         7                        THE WITNESS:         Correct.        So
         8               this        this -- the methods
         9               section of my report states that I
        10               received the MedWatch forms that
        11               are included and summarized in my
        12               report were the ones determined by
        13               the clinical expert based on his
        14               clinical experience to be cases
        15               consistent with olmesartan-induced
        16               enteropathy.
        17                        I list the criteria, the
        18               constellation of symptoms that he
        19               considered.         That includes talking
        20               to both -- about the preferred
        21               terms and the text description,
        22               because there were items in the
        23               text description that weren't
        24               included in the preferred terms,
       Golkow Technologies, Inc.                                         Page 65
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          1              and that they were serious and
         2               showed a rechallenge.
         3     BY MR. PARKER:
         4               Q.       And you're referring to Page
         5     17?
         6               A.       I am referring to Page 17.
         7               Q.       What's not stated here is
         8     that        the methods, is that I asked
         9     counsel to conduct a search of the entire
        10     MedWatch database using these terms that
        11     generated a number of 300-something
        12     300-some-odd       ~eports     which were then
        13     distilled down to the 60 by Dr. Leffler.
        14                        MS. SUTTON:         Objection.
        15               Form.      Misstates testimony.
        16    BY MR. PARKER:
        17               Q.       That's the process that you
        18     just described, correct?
        19                        MS. SUTTON:         Misstates
        20               report.
        21                        THE WITNESS:         So my report
        22               includes the cases that I -- based
        23               on the criteria that the clinician
        24               determined as highly specific
       Golkow Technologies, Inc.                                         Page 66
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         1     those being identified as serious events,
         2     including hospitalization for
         3     olmesartan-induced enteropathy and a
         4     rechallenge.
         5                         So these list of criteria
         6     are consistent with something called the
         7     Bucharest criteria, which are now used as
         8     one of the -- when a clinician encounters
         9     a case with symptoms consistent with
        10     olmesartan-induced enteropathy, this
        11    Bucharest criteria is a consensus
        12    document that describes how to treat
        13    patients, how to -- it's a practice
        14    pattern.
        15               Q.       We'll spend some time on the
        16    so-called Bucharest criteria.
        17                        MS. SUTTON:         Objection.
        18    BY MR.     PARKER:

        19               Q.       But so we're clear, you were
        2o    referring to Page 17, t}1e first
        21    paragraph, and the terms were diarrhea,
        22    vomiting, or celiac disease?
        23               A.       That is correct.
        24               Q.       Okay.      So we're clear, those
       Golkow Technologies, Inc.                                         Page 68
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         1     were the three terms that Dr. Leffler
         2     used to apply to the 300-some-odd
         3     MedWatch reports that were provided to
         4     you after you gave terms to counsel that
         5     then reduced the 300 down to the 60?
         6                        MS. SUTTON:         Objection to
         7               form.      Misstates testimony.
         8                        THE WITNESS:         So the final
         9               list of cases are a highly
        10               specific list of cases that
        11               have -- that are serious, most of
        12               them requiring hospitalization,
        13               that showed a rechallenge, and
        14               either in the preferred terms or
        15               the text have symptoms consistent
        16               with olmesartan-induced
        17               enteropathy that, based on
        18               Dr. Leffler's clinical experience,
        19               are cases of olmesartan-induced
        20               enteropathy.
        21    BY MR. PARKER:
        22               Q.       Did Dr. Leffler get back to
        23    you by way of e-mail with the 60 that he
        24    identified?
       Golkow Technologies, Inc.                                         Page 69
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          1              A.       He did, yes.
          2              Q.       And has that been preserved,
          3    the e-mail?
         4               A.       The e-mail, I would -- so
         5     let me         hold on.
         6                        I cannot recall if he sent a
         7     list or if I actually algorithmically
         8     applied his criteria based on the cases I
         9     had.
        1o                        So i believe we -- no, we
        11     went through the list of cases.                  Maybe
        12     that was e-mail, and maybe that was
        13    phone.       I cannot recall.           I'm sorry.
        14               Q.       Now, I'm confused.            Doctor,
        15     initially you said Dr. Leffler reviewed
        16     some cases that generated to 60.                   Now you
        17     seem to be saying that you did an
        18    algorithmic analyses after consultation
        19    with Dr. Leffler that produced the 60.
        20                        ~hich    happened?
        21                        MS. SUTTON:         Objection to
        22               form.      Asked and answered.
        23                        THE WITNESS:         Well, so these
        24               are the criteria here.              So because
       Golkow Technologies, Inc.                                         Page 70
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          1              he -- so I created a system where
          2              he reviewed each of the MedWatch
          3               forms.     And so each MedWatch form
         4               was abstracted.           He reviewed that
          5              information.         And then he actually
          6              identified which symptoms were in
         7               each of those MedWatch forms.                  And
         8               then he, you know, followed                    he
         9               filled out these forms.
        10                         And then I think that he
        11               gave -- and then I could have gone
        12               ahead and made this algorithmic
        13               thing.      But my recollection is
        14               that I         he gave me a list, yes.
        15    BY MR. PARKER:
        16               Q.        Did Dr. Leffler look at the
        17    335 reports?
        18               A.        He did.
        19               Q.        Okay.     Looked at all 335?
        20               A.        He did.
        21               Q.        Okay.     All right.        We're
        22    going to come back to this.                  But I want
        23    to change topics just for a second and
        24    talk about some of the things in y9ur CV.
       Golkow Technologies, Inc.                                         Page 71
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         1                        MS. SUTTON:         Objection to
         2               form.      Foundation.
         3                        THE WITNESS:          So the terms
         4               that I used in this e-mail are
         5               celiac, spruelike enteropathy, and
         6               villous atrophy as listed in
         7               Number 3.
         8    BY MR. PARKER:
         9               Q.       Okay.      You had not begun yet
        1o    the process of abstracting the MedWatch
        11    reports in April of 2016, correct?
        12               A.       I had not.
        13               Q.       Okay.      And so what was
        14    Dr. Leffler's recommendation as to do a
        15    really wide grab, to quote you, or a
        16    smaller set of terms?
        17                        MS. SUTTON:         Objection to
        18               form.
        19                        THE WITNESS:         So you'll see
        20               in the follow-up e-mail, he talks
        21               about emphasizing the high
        22               specificity terms.
        23                        And as we were going through
        24               the process of examining -- so
       Golkow Technologies, Inc.                                        Page 104
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         1               there's a constellation of
         2               symptoms for olmesartan-induced
         3               enteropathy.         And so we were also,
         4               at that time, talking about
         5               looking at other terms from his
         6               list.
         7    BY MR.     PARKER:

         8               Q.       And eventually they whittle
         9    down to the ones that we talked about
        1o    earlier, diarrhea, vomiting, celiac
        11    disease?
        12               A.       So the exact -- so Dan's
        13    exact process of coming up to those list
        14    of terms for his list of 60 cases which
        15    he identified, he came up with those on
        16    his own using his clinical judgment for
        17    that particular list for the 6 0.
        18               Q.       That may be true.            But my
        19    question is ultimately the list that you
        2o    both came down to was             diarrh~a,      vomiting
        21    or celiac disease, as you stated earlier
        22    in your report?
        23               A.       As combined
        24                        MS. SUTTON:         Objection to
       Golkow Technologies/ Inc.                                        Page 105
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         1    now five months after the last series of
         2    e-mails that we looked at in April
         3    that you're now ready to proceed,
         4    correct?
         5               A.       That is correct.           So the --
         6    I received the MedWatch forms.                   One of
         7    the employees working for me had entered
         8    all of the information into a system so
         9    that Dan could confirm the information
        10    within that system.             And it was very time
        11    consuming.
        12               Q.       Had the 335 files been
        13    identified at this point on
        14    September 13th?
        15               A.       So the set of files that I
        16    was glven to get an understanding of the
        17    MedWatch forms that were submitted
        18    consistent with -- or that had symptoms
        19    that were within the constellation of
        20    olmesartan-induced enteropathy and could
        21    possibly be included in the highly
        22    specific list that Dan came up with, and
        23    as he talked about previously, maximizing
        24    specificity, yes, they had been received
      Golkow Technologies, Inc.                                         Page 107
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          1                        (Document marked for
          2               identification as Exhibit
          3               Huftless-15.)
          4    BY MR. PARKER:
          5               Q.       Let me move on to
          6    Exhibit 15, which is an e-mail of
          7    November 6, 2016.
          8                        If we flip to the back,
          9    Doctor, you will see that you are sending
        1o     a number of files to Dr. Leffler and his
        11     team.
        12                         Do you see that?           It's on
        13     your e-mail of November 6th at 7:12 p.m.
        14               A.        Correct .
        15               Q.        Now, are these reference
        16     files MedWatch reports?
        17               A.        They are .
        18               Q.        Okay.     And are these
        19     MedWatch reports those that were
        2o     distilled from the 335 after applying
        21    Dr. Leffler's more specific terms?
        22                        MS. SUTTON:         Objection to
        23               form.      Foundation.
        24                         THE WITNESS:         Can you repeat
       Golkow Technologies, Inc.                                        Page 112
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          1               the question?
          2    BY MR. PARKER:
          3              Q.       Are these MedWatch reports
          4    the result of Dr. Leffler's more specific
          5    terms that reduced the number from 335 to
          6    what we see here?
          7                       MS. SUTTON:         Objection to
          8               form.     Foundation.
          9                       THE WITNESS:          So these
        10               were         I can't recall the list.
        11               So when I went through to make
        12               sure that his data abstraction was
        13               performed properly and there
        14               wasn't missing information and
        15               other items,        I had sent him the
        16               list to go ahead and review the
        17               cases.
        18     BY MR. PARKER:
        19               Q.       Doctor, what I'm not
        2o     understanding is, had the list of 335
        21    been narrowed down by this point in
        22    November of 2016?
        23                        MS. SUTTON:         Objection to
        24               form.      Foundation.
       Golkow Technologies, Inc.                                        Page 113
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          1                        THE WITNESS:         I mean, I
          2               can't recall the dates.              So this
          3               is a subset of MedWatch forms.                  I
          4               can't recall the exact dates.
          5    BY MR. PARKER:
          6               Q.       You don't recall when, as a
          7    result of your collaboration with
          8    Dr. Leffler, the 335 files that you had
          9    access to on the link that we've
        1o     discussed, was reduced to 60?
        11                         MS. SUTTON:        Objection to
        12                form.     Foundation.
        13     BY MR. PARKER:
        14               Q.        Is that correct?
        15               A.        No, I don't recall the exact
        16     date of that happening.
        17               Q.        Do you recall the month?
        18     Was it before this period of time, early
        19     November?
        20               A.        So these were -- I was
        21     trying          based on the entry of the
        22     cases, I had questions about the content
        23     of the data entry.
        24               Q.       All right.         Let's look at
       Golkow Technologies, Inc.                                        Page 114
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         1               Q.       Total count of others is 60.
         2    That makes the 335, correct?
         3               A.       Correct.
         4               Q.       And of the total 335 of
         5    those -- well, actually, of the 60 for
         6    which there was information, 55 or
         7    91 percent said there were alternative
         8    causes; is that correct?
         9               A.       So it says yes on this form,
        10    that is correct.            I   know that this was at
        11    a different point -- earlier point in
        12    their work process because there were
        13    conversations -- I              think this is one of
        14    the conversations that Dan, his team, and
        15    I    had together to ensure consistency.                    So
        16    we had talked about the symptoms of
        17    olmesartan-induced enteropathy, and one
        18    of them being diarrhea.               And so we were
        19    struggling with how the Naranjo scale
        2o    really     appl~ed     _to this condition,          g~ven

        21    that one of the symptoms is diarrhea, and
        22    diarrhea can have lots of causes.
        23                        So we were trying to figure
        24    out should we take these alternative
       Golkow Technologies, Inc.                                        Page 130
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          1    causes and say, well, perhaps all of
          2    these should have alternative causes,
          3    because diarrhea could be caused by
         4     anything, or should we take the specific
          5    to the cases that are olmesartan-induced
         6     enteropathy with respect to a
         7     constellation of causes and identify them
         8     based on that particular case and that
         9     information in the MedWatch form.
        10               Q.       And        sorry.
        11               A.       And my recollection, as they
        12     were talking about this, at one point for
        13     simplicity, he had told them to mark yes
        14     for everything, but then had this deeper
        15     discussion about what was going on with
        16    Naranjo, as well as how it actually
        17     applies to this particular condition.
        18                        And, you know, I actually
        19     don't know if they changed their work
        2o    product, because I di?n't rely on                   t~is

        21    question when I did the WHO causality
        22    assessment.          I relied on three individual
        23    questions instead, which actually related
        24     to what their determination was, related
       Golkow Technologies, Inc.                                         Page 131
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          1    to comorbidities had an effect, other
          2    medications had an effect, or allergies
          3    had an effect.
          4                       One actually needed more
          5    specific, as it was collecting
          6    information from each of those different
         7     potentiality alternative causes.                   Rather
         8     from the Naranjo scale question, which
         9     Dan and I had -- when we talked in May of
        1o     2016, were really struggling with how
        11     this would apply to this actual setting.
        12                        So because Naranjo is really
        13     the standard for this, I felt obliged to
        14     collect this information, but also make
        15     sure that the information I collected
        16     could be used for the WHO causality
        17     assessment.
        18                        And ultimately I felt that
        19     the WHO causality assessment was more
        2o     applica~le      given the limited
        21    applicability of Naranjo to
        22    olmesartan-induced enteropathy.
        23                        And the question to me
        24     really that were most important to this
       Golkow Technologies, Inc.                                        Page 132
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         1     were assessing temporality, assessing
         2     dechallenge, assessing rechallenge, and
         3     then of course, ruling out the
         4     alternative causes based on those other
         5     questions.
         6                        MR. PARKER:         Move to strike.
         7                        MS. SUTTON:         Objection.
         8    BY MR. PARKER:
         9               Q.       Doctor, after that deeper
        1o    conversation that you described, your
        11    team, 'with Dr. Leffler, went from 55 of
        12    the 60 files having alternative causes,
              to zero, after the deeper conversation,
        14    correct?
        15                        MS. SUTTON:         Objection.
        16               Form.      Misstates testimony.
        17    BY MR. PARKER:
        18               Q.       Is that right?
        19               A.       So I don't know at which
        20    point this happened in the work process.
        21    And I have relied upon three questions
        22    that are actually captured, three
        23    alternative causes, which is the rule of
        24    comorbidities, medications, and
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          1    allergies.
          2                        I have not relied on this
          3    question in my causality assessment.
         4               Q.       And that's -- no question
         5     about that, Doctor.
         6                        But you did send this -- you
         7     chose the Naranjo scoring system to send
         8     to Dr. Leffler and his team and asked him
         9     to score the reports, correct?
        10               A.        Correct, with the
        11     recognition that I would be able to use
        12     the questions from Naranjo to also
        13    perform the WHO causality assessment.                       So
        14    you can see from my prior literature that
        15     I've also performed the WHO causality
        16    assessment and Naranjo examining the
        17    relationship between treatments for
        18    Crohn's disease and hepatosplenic T-cell
        19    lymphoma.
        20               Q.       And the truth of the matter
        21    is if you had applied the Naranjo scoring
        22    system to these cases, you would not have
        23    generated a high enough score to be able
        24    to say these were in the probable rank,
       Golkow Technologies, Inc.                                        Page 134
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          1    correct?
          2                       MS. SUTTON:         Objection to
         3               form.      No foundation.
         4                        THE WITNESS:          If you look
         5               at --
         6     BY MR. PARKER:
         7               Q.       Is that correct?
         8               A.            Dr. Risch's report
         9                        MS. SUTTON:         Let her answer.
        10                        THE WITNESS:                you will
        11               see that Dr. Risch applies the
        12               Naranjo scale, and he comes up
        13               with an assessment of probable.
        14    BY MR. PARKER:
        15               Q.       Oh, really?         Okay.
        16               A.       He does.
        17               Q.       That's -- so my question is,
        18    did you choose not to use Naranjo because
        19    you couldn't get a high enough number?
        2o                        MS. SUTTON:         Objection to
        21               form.
        22                        THE WITNESS:          No,    I did not.
        23               I chose not to use Naranjo because
        24               of the conversations that I had
       Golkow Technologies, Inc.                                         Page 135
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         1               been having Slnce May of 2016 with
         2               Dr. Leffler about the
         3               applicability of Naranjo to this
         4               particular setting.
         5                        You can see ln         th~.   published
         6               peer-reviewed literature I've had
         7               similar difficulties and
         8               frustrations with Naranjo as it
         9               relates to medications and
        10               hepatosplenic T-cell lymphoma and
        11               Crohn's disease.
        12                        Actually, if you apply the
        13               Naranjo scale -- let's see, I have
        14               this.
        15                        All right.        So based on the
        16               conversations that Dan and I had
        17               about the limited applicability of
        18               the Naranjo scale, you would see
        19               that some of the responses would
        20               be fixed for the          pa~ticipants.

        21                        Is it okay if I read to you?
        22    BY MR. PARKER:
        23               Q.       No, I really don't -- that's
        24    not responsive to my question.
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         1     correct?
         2               A.       So that is correct.             So he
         3     and I had a conversation about this.
         4               Q.       That's all I'm asking.
         5               A.       Can I finish?
         6               Q.       No, because all I'm asking
         7     right now, Doctor, is as of this date,
         8    was Dr. Leffle+ still attempting to use a
         9    Naranjo scale?
        10               A.       So I saw that on the
        11    comorbidities effect, medications effect
        12    and allergies effect, there remained
        13    information that was missing or not
        14    mentioned.
        15                        So I sent him this
        16    information, and then he and I actually
        17    had a phone call, and we talked about
        18    what it meant when something was missing
        19    or not mentioned.
        2o                        Based on our conversation,
        21    anytime something was listed as missing
        22    or not mentioned it was no.                 And the
        23    reason why is that there were so many of
        24    these where the comorbidities effect,
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          1    medications effect, and allergies effect
          2    was a no ln his mind.              It was more
          3    efficient for him to just communicate
         4     that to me that not mentioned and missing
         5     was a no, rather than him going through
         6     and checking a bunch of boxes.
         7                         So he's a busy clinician.
         8     For him to go through and double-check a
         9     bunch of boxes wasn't efficient.                   So we
        1o     had a verbal communication about this.
        11                        And you'll see in here one
        12     of them is listed as no, no.                 If
        13     anything, that just reflects
        14     inconsistencies in his team's approach,
        15     which you saw earlier in their
        16     conversations when he was getting
        17     everything on board and being consistent,
        18     so that his final determination, based on
        19     a conversation with me, was that missing
        2o    and not mentioned meant no.
        21                        You'll also see ones labeled
        22    as yes which Dr. Leffler reviewed and
        23    considered to be yes, that the
        24    comorbidities had an effect, or the
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          1    medications had an effect.
         2               Q.       So if there's no information
         3     provided in the MedWatch report about
         4     whether a patient was using other drugs
         5     that might explain the reaction and no
         6     information is given about other
         7     comorbidities, you didn't score this as
         8     not mentioned.          You said no, negative,
         9     there were no other comorbidities, there
        10    were no other possible drugs that might
        11    have influenced or might be explaining
        12     the effect.
        13                        MS. SUTTON:         Objection.
        14    BY MR. PARKER:
        15               Q.       You changed not mentioned
        16    into a definitive no, correct?
        17               A.       I'm sorry for interrupting.
        18                        MS. SUTTON:         Objection to
        19               form.      Compound.
        20                        THE WITNESS:         So the -- my
        21               understanding is that you're
        22               asking me to generalize about the
        23               content of all of the MedWatch
        24               forms, which I can't do.               We can
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                Protected Information - Susan Huftless, Ph.D.

          1               talk about specific forms and
          2               review them.         But I can't
          3               generalize to all the forms.
          4                        So if you look at these
          5               MedWatch forms,         they describe
          6              patients who have multiple
          7               comorbidities.         All right.
          8                        So it was Dr. Leffler's, a
          9              gastroenterologist, assessment
        10                that there is no impact of
        11               comorbidities, medications, or
        12               allergies.         So the information
        13               provided on those MedWatch forms
        14               was actually entered by the
        15               manufacturer.
        16                        Dr. Leffler, to my
        17               understanding, also had source
        18               files, which I believe is notes or
        19               other sources or something like
        20               that, that goes along with the
        21               MedWatch forms.           I've never seen
        22               the source files.            I have a
        23               superficial understanding of what
        24               the content of information that
       Golkow Technologies, Inc.                                        Page 159
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                    Protected Information - Susan Huftless/ Ph.D.

             1               was there, based on what he was
             2               actually able to review.
             3                        But he used the content 1n
             4               the MedWatch form as well as those
             5               source files to come to a
             6               determination of no -- to come to
             7               a determination that anytime it
             8               said not mentioned or missing,
             9               that was in fact a no.
            10    BY MR. PARKER:
            11               Q.       Okay.       Doctor, define for me
            12    what general causation means to you.
            13               A.       What general causation means
            14    to me?
            15               Q.       Correct.
            16               A.       So I view causation from the
            17    perspective of epidemiology.                  So I'm
            18    looking to see if an exposure has a
            19    causal effect or a causal relationship on
0

            20    an outcome.         In   ~his    case,   olme~artan       and
            21    the -- I guess you would say the
            22    constellation of symptoms consistent with
            23    olmesartan-induced enteropathy.
            24                        To inform that relationship
           Golkow Technologies/ Inc.                                        Page 160
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                Protected Information - Susan Huftless, Ph.D.

          1    between olmesartan and olmesartan-induced
          2    enteropathy, I used a variety of
          3    evidence.       Or I'm sorry.          I used a
          4    variety of information.
          5                       So I used the Bradford Hill,
          6    which I referred to as criteria but
         7     actually isn't criteria.               It's something
          8    that's used where you can look at
         9     different categories and make a
        10     determination to help you inform your
        11     assessment of the causal relationship.
        12     This was something that was originally
        13     created for Bradford Hill to come up with
        14     for a relationship between smoking and
        15     lung cancer.
        16                        So rather than basing
        17     causation on one element, you are to
        18    you take into consideration a variety of
        19     items.      And then there's no scoring or
        20     anything like that, in aggregate decide,
        21    based on your expert opinion, is there a
        22     relationship.
        23                        To inform the Bradford Hill
        24     criteria, I conducted a systematic revlew
       Golkow Technologies, Inc.                                        Page 161
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         1     that we've been talking at least briefly
         2     about the methods of.
         3                         I also reviewed case report
         4     forms.      So I reviewed -- so I reviewed
         5     I conducted a systematic revlew which
         6     included identifying randomized trials,
         7     nonrandomized studies, and case report
         8     forms and case series.
         9                        So the reason why I included
        1o     those cases is because there wasn't very
        11    much information from the literature
        12     related to other study designs.                   Using
        13     cases to inform a causal opinion is
        14    actually something that is in -- for
        15     looking at a systematic review, is in
        16    both the Cochrane methods guide, as well
        17    as the Evidence-Based Practice Center's
        18    method guide.          It's referred to in
        19    Strom's Pharmacoepidemiology, and also
        2o    the FDA refers to using case reports in
        21    assessing causation.
        22                        So I used all of that
        23    information, both from the randomized
        24    trials, the nonrandomized studies, the
       Golkow Technologies, Inc.                                         Page 162
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               Protected Information - Susan Huftless, Ph.D.

         1                         THE WITNESS:        So that's a
         2               clinical question.            You're asking
         3               how -- I guess I don't
         4               understand -- can you ask the
         5               question again?
         6    BY MR. PARKER:
         7               Q.        Okay.     I'll rephrase it this
         8    way.     Doctor, what did you understand
         9    your charge to be when you were retained
        10    by Dr. Leffler on behalf of counsel?
        11    What was the question that you were asked
        12    to answer?
        13                        MS. SUTTON:         Objection to
        14               form.      Foundation.
        15                        THE WITNESS:         Is there a
        16               relationship between olmesartan
        17               and the signs             and the
        18               constellation of symptoms
        19               consistent with olmesartan-induced
        20               enteropathy?
        21                        And when did I think that
        22               causal conclusion could have been
        23               made?
        24    BY MR. PARKER:
       Golkow Technologies,      Inc.                                   Page 166
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                Protected Information - Susan Huftless, Ph.D.

          1              A.       You did.        Thank you.        Good
          2    job.
          3              Q.       All right.         Thank you.         Now,
         4     did you construct a case definition?
         5               A.       So for the MedWatch forms
         6     which I relied upon, the determination of
         7     which of those were cases of
         8     olmesartan-induced enteropathy was
         9     decided by Dr. Leffler, based on his
        10     expert opinion.
        11               Q.       So you did not yourself
        12     develop a case definition; is that
        13     correct?
        14               A.       I did not.
        15                        MS. SUTTON:         Objection.
        16               Misstates testimony and the
        17               report.
        18                        THE WITNESS:          So I -- for
        19               the MedWatch forms,            I relied upon
        20               Dr. Leffler's
                             -
                                       assessment.
                                               -
                                                                  And
        21               then for the case reports from the
        22               literature,        I relied upon the peer
        23               review process of the clinician
        24               submitting those case reports to
       Golkow Technologies, Inc.                                         Page 174
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                Protected Information - Susan Huftless, Ph.D.

          1    thought to have and what the FDA has used
          2    as an indicator of these symptoms ln
          3    their Mini-Sentinel study.
         4               Q.       All right.         Doctor, early in
          5    the answer, but it was a few pages ago,
          6    you made the statement that these are not
         7     the diagnostic criteria.               Tell me,
         8     Doctor, what are the diagnostic criteria
         9     for spruelike enteropathy associated with
        1o     olmesartan use?
        11                        MS. SUTTON:         Object to form.
        12                        THE WITNESS:          So I'm not a
        13               clinician.         I do not make
        14               diagnoses, although I am aware of
        15               the constellation of symptoms
        16               that, based on my understanding of
        17               the literature, is associated with
        18               olmesartan-induced enteropathy.
        19    BY MR. PARKER:
        20               Q.       Then how can you make the
        21     statement these are not the diagnostic
        22    criteria?
        23                        MS. SUTTON:         Objection to
        24               form.      Misstates testimony.
       Golkow Technologies, Inc.                                        Page 178
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               Protected Information - Susan Huftless, Ph.D.

         1    That's based on your request for me to
         2    answer the question.              I'm giving you that
         3    as an epidemiologist.
         4               Q.        I understand that, Doctor,
         5    but in order as an epidemiologist to
         6    answer a questipn whether a drug is
         7    causing an outcome, you sure as heck have
         8    to know what the outcome is so you know
         9    what you're looking at, right?
        10                        MS. SUTTON:         Objection to
        11               form.
        12                        THE WITNESS:          That is
        13               thank you.
        14                        That    lS   why I relied upon a
        15               clinician to come to the
        16               assessment of the
        17               olmesartan-induced enteropathy
        18               cases.
        19                        I didn't do that myself.                I
        20               relied u2on Dr. Leffler to make
        21               that decision.
        22                        Similarly, from the
        23               literature, I relied upon the
        24               clinician who submitted those
       Golkow Technologies, Inc.                                        Page 182
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               Protected Information - Susan Huftless, Ph.D.

         1               cases to the literature and the
         2               peer review process to determine
         3               that those were cases of
         4               olmesartan-induced enteropathy.
         5    BY MR. PARKER:
         6               Q.       So it sounds like your
         7    understanding of the literature is if a
         8    patient presents with any GI complaint,
         9    no matter how minimal, if it goes away,
        1o    if they stop using olmesartan, that's
        11    olmesartan enteropathy, correct?
        12                        MS. SUTTON:         Objection.
        13               Misstates testimony.
        14                        THE WITNESS:          If the
        15               clinician considers the case to be
        16               olmesartan-induced enteropathy, it
        17               is a case of olmesartan-induced
        18               enteropathy.
        19    BY MR. PARKER:
        20               Q.       Okay.      That's definitive.
        21    So if a patient comes in
        22                        MS. SUTTON:         Objection to
        23               form and to the continued
        24               commentary on the --
       Golkow Technologies, Inc.                                        Page 183
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                Protected Information - Susan Huftlessi Ph.D.

         1     My assumption with that sentence is
         2     they're talking about what's happening
         3     mucosally and not something that needs to
         4     be confirmed.
         5               Q.       My question is, I think
         6     you've answered it, but I wasn't sure,
         7     that in order to confirm a diagnosis of
         8     spruelike enteropathy, there must be
         9     clinical resolution of symptoms, correct?
        1o                        MS. SUTTON:         Objection to
        11               form.      Asked and answered.
        12                        THE WITNESS:          So, I mean,
        13               I'm not a clinician.              So I trust
        14               that if a clinician says that a
        15               case lS spruelike enteropathy
        16               associated with olmesartan and the
        17               clinician says that the patient
        18               has this, and particularly if
        19               they've done a withdrawal, that
        20               their    unde~standing         in that
        21               clinician's assessment of the
        22               resolution or the decrease in
        23               the improvement in symptoms would
        24               be a confirmation of diagnosis if
       Golkow Technologies, Inc.                                        Page 193
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                Protected Information - Susan Huftless, Ph.D.

          1              the clinician says that.
         2     BY MR. PARKER:
          3              Q.       You just added something to
         4     my question.         That's what I want to make
         5     clear.      Doctor, if there has not been
         6     resolution of clinical symptoms but some
         7     improvement, does that confirm the
         8     diagnosis?
         9               A.       So my understanding is that
        10     it is possible for there to be such
        11     damage that the patient's mucosa is
        12    permanently damaged; therefore, they may
        13     require additional treatments over time
        14    because of that permanent damage.                    And it
        15    may never resolve if the olmesartan has
        16     led to a biologic process that is
        17    permanent.
        18               Q.       Do you understand that as
        19    used in this document, in this paper,
        20    clinical resolution to refer to
        21    histopathologic changes?
        22               A.       This -- well, this sentence
        23    itself     lS   referring to clinical
        24    resolution --
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                Protected Information - Susan Huftless, Ph.D.

          1    assuming that given the title of a
          2    director of a center might assist one in
          3    getting grants?
         4               A.       That is true, yes.            And the
         5     expectation is that I will write grants
         6     associated with gastroenterology and
         7     epidemiology for -- as part of my work at
         8     Johns Hopkins.
         9               Q.       All right.        So let's go back
        1o     to this exhibit.             What did    I   say the
        11    number was?         Exhibit 23.
        12                        Let's look at Table 12.2.A,
        13    entitled "Levels of Quality of a Body of
        14    Evidence in the GRADE Approach. "
        15                        Do you see that, Doctor?
        16               A.       I   do.
        17               Q.       Okay.      And I take it since
        18    you used this approach, you subscribe and
        19    agree with their ranking?
        2o               A.       So I have used the GRADE
        21    approach for other exposure-outcome
        22    relationships.           And those actually were
        23    when it was a large body of evidence or
        24    there were numerous studies that had
       Golkow Technologies, Inc.                                        Page 233
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          1              talking about using different
          2              types of these evidence in
          3              different settings, depending on
         4               both the question as well as the
         5               amount of information available.
         6                        MR. PARKER:         Move to strike.
         7                        MS. SUTTON:         Oppose.
         8     BY MR. PARKER:
         9               Q.       Doctor, specifically, do you
        1o     agree with Table 12.2.A of the Cochrane
        11     collaboration that a case series/case
        12     reports are described as very low in
        13    quality rating, yes or no?
        14               A.       Within the GRADE framework,
        15    that is how the GRADE tool assigns them
        16    in this -- in the GRADE framework as is
        17    represented in this table.
        18               Q.       Okay.      Let's move on then.
        19    Let's talk about
        20               A.       But lll the Cochrane
        21    report          so ln
                                 '  the Cochrane methods
        22    guide, if you look at other sections, it
        23    talks specifically about when to use
        24    different types of evidence in what
       Golkow Technologies,     Inc.                                    Page 235
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         1               Q.       And you agree that what
         2     you've done here is data mining?                   I care
         3     not about other people.              I care only
         4     about you.        Would you agree that what
         5     you've done here is data mining?
         6                        MS. SUTTON:         Objection to
         7               form.      Asked and answered.
         8                        THE WITNESS:          I assessed
         9               exposure-outcome relationship
        10               using the FDA adverse event
        11               reporting system, which is
        12               considered to be a data mining
        13               tool, in combination with other
        14               evidence.        That is correct.
        15    BY MR. PARKER:
        16               Q.       Doctor, do you hold the
        17    opinion that olmesartan causes celiac
        18    disease?
        19               A.       I -- based on this, I hold
        2o    the oplnlon that olmesartan causes a
        21    constellation of symptoms, some of which
        22    are consistent with celiac disease, so
        23    celiac-like symptoms.              Does it cause
        24    celiac disease itself?               No, celiac
       Golkow Technologies, Inc.                                        Page 246
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          1    disease is a distinct entity.
          2               Q.       Doctor, do you know what the
          3    prevalence of celiac disease in the U.S.
          4    population?
          5              A.        So the prevalence of celiac
          6    disease in the United States population
          7    varies on the population survey.                   So
          8    there aren't a lot of great estimates of
          9    the prevalence or incidence, for that
        10     matter, of celiac disease.
        11                        But my best -- my
        12     understanding of the literature is the
        13     best guess that prevalence is about 1
        14     percent.
        15               Q.       Okay.      And, Doctor, you
        16     wrote in your report that beginning in
        17     2006 approximately one million people
        18     were filling prescriptions for olmesartan
        19     each year, correct?
        20               A.       So over a million.             My_
        21     recollection        lS   over a million people,
        22    yes.
        23               Q.       So the background rate of
        24     celiac disease in the population of
       Golkow Technologies, Inc.                                        Page 247
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         1    with drugs.         So for example, rheumatoid
         2    arthritis, if it is important to adjust
         3    for NSAIDs, which you're implying that it
         4    is --
         5               Q.       I'm saying all drugs,
         6    Doctor.         I'm not focused on just NSAIDs.
         7               A.       Okay.      So if you're
         8    interested in adjusting for a drug that
         9    is associated with only the outcome,
        1o    enteropathy, and not associated with the
        11    exposure of olmesartan, one method of
        12    doing that would be to adjust for the
        13    comorbidities that it's associated with.
        14                        As you know, NSAIDs are
        15    over-the-counter medications.                  Many
        16    people will take NSAIDs at some point 1n
        17    their life.         And most studies, even
        18    randomized controlled trials, aren't
        19    going to be able to capture NSAID use
        2o    because it's such a ubiquitous expo?ure.
        21                        MR. PARKER:         Move to strike.
        22    BY MR. PARKER:
        23               Q.       Doctor, my question to you
        24    again was, point to me in this paper the
       Golkow Technologies, Inc.                                        Page 262
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         1     language that you're relying upon to say
         2     that this group of investigators adjusted
         3     for alternate drug exposures?
         4                        MS. SUTTON:         Objection to
         5                form.     Misstates testimony.
         6                        THE WITNESS:          In this paper,
         7               they do not adjust for alternate
         8               drugs, but they do however adjust
         9               for comorbidities
        1o    BY MR. PARKER:
        11               Q.       Where?
        12               A.        -- that are often associated
        13    with alternate drugs.
        14               Q.        I've asked you now four
        15    times.       Show me what you're relying upon.
        16               A.       About the comorbidities?
        17                        MS . SUTTON:        Object to the
        18               colloquy.
        19    BY MR. PARKER:
        20               Q.       Yes, ma'am.         And the
        21    specific comorbidities.
        22               A.       Sure.      So this would be Page
        23    1665.
        24               Q.        I have different page
       Golkow Technologies, Inc.                                        Page 263
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                Protected Information - Susan Huftless,            Ph.D.

         1               Q.       Let's go on to Exhibit 27
         2     which is the Padwal study.
         3                        Doctor, if you could turn,
         4     please, to Page 25 of your report.                    Tell
         5     me when you have it.
         6                        Are you with me, Doctor?
         7               A.        I am on Page 25 of my
         8     report, yes.         Thank you for your
         9    patience.
        10               Q.       Doctor, the Padwal study was
        11    published in Hypertension; is that
        12    correct?
        13               A.       So it's Pages 24 to 25.
        14               Q.       No.     The paper, the exhibit
        15    that I just gave to you.                Right here,
        16    Doctor.
        17               A.       Yeah, so this is published
        18     in May of 2014 in Hypertension.                   That's
        19    correct.
        20               Q.       And how would         yo~ d~~crtbe

        21    the quality of the journal Hypertension?
        22               A.       It is a high quality
        23    journal, to my understanding, of the
        24    hypertension literature, which I'm--
       Golkow Technologies, Inc.                                        Page 321
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         1               Q.        Okay.     And you describe this
         2     study written in as -- did you say high
         3    powered journal?             Was that the phrase you
         4    used?
         5               A.        It is a respected journal
         6    among the clinical community, is my
         7    understanding.
         8               Q.       Okay.      And you wrote,         "Due
         9     to the lack of specificity of the
        1o     symptoms of olmesartan-induced
        11    enteropathy and the lack of examination
        12    of celiac disease, malabsorption, or
        13    composite symptoms associated with
        14    enteropathy, this study does not
        15    contribute to the evidence. "
        16                        Did I read it correctly?
        17               A.       So --
        18               Q.       Did I read it correctly,
        19    Doctor?
        20               A.       That is correct.
        21               Q.       So Hypertension and the peer
        22    revlewers agreed to publish a paper that,
        23    in your words, does not contribute to the
        24    evidence of whether olmesartan causes
       Golkow Technologies, Inc.                                        Page 322
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         1     accurate in my statements.
         2               Q.       Doctor, you're just rambling
         3    on something that's not answering my
         4    question.
         5                        MS. SUTTON:         Objection.
         6    BY MR. PARKER:
         7               Q.       You're just wasting time.
         8                        MS. SUTTON:         Objection for
         9               the colloquy.          It's inappropriate,
        10               and it's not true.
        11                        MR. PARKER:         You know what,
        12               maybe you're right, but neither
        13               are her responses, Tara.               She's
        14               just talking.
        15    BY MR. PARKER:
        16               Q.       You're not answering my
        17    questions.
        18                        MS. SUTTON:         Objection to
        19               your colloquy.
        2o    BY MR. PARKER:
        21               Q.       So let me go on, Doctor.               Do
        22    you know what propensity scoring is?
        23               A.       I do know what propensity
        24    scoring is.
       Golkow Technologies, Inc.                                        Page 328
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          1               Q.       Was it used in the Padwal
          2    study?
          3              A.        Yes.
          4               Q.       Was it used ln the French
          5    study?
          6              A.        It was not.        And if --
          7              Q.        So that's all my question.
          8    Was it used
          9              A.        Propensity scorlng lS used
        1o     as an option for confounder adjustment.
        11               Q.       All my question -- you
        12     understand my question was simply, did
        13     the French use propensity scoring?
        14               A.       No, they did not.
        15               Q.        Okay.     Do you know why
        16     people like yourself use propensity
        17     scoring?
        18               A.       Yes,     I do.
        19               Q.       And is propensity scoring a
        20    methodologic~l         means by which to reduce
        21    potential confounding?
        22               A.        It is an alternative and an
        23     equally good alternative to including all
        24     available potential confounders in a
       Golkow Technologies, Inc.                                        Page 329
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          1              Q.       Doctor, that's yes or no.
          2                       MS. SUTTON:         Objection to
          3               form.
          4                       THE WITNESS:          So if you will
          5              see that the studies from
          6              Columbia, I say that the study
          7              does not contribute to the
          8              evidence.        That is what it says.
         9     BY MR. PARKER:
        10               Q.       Thank you.
        11               A.       And as you'll see 1n my
        12     methods section when I describe the
        13     nonrandomized studies that I'm going to
        14     include, I'm going to place weight on the
        15     studies that do account for confounding
        16     and I - - one of
        17               Q.       But not the Padwal?
        18               A.            the confounders is
        19     comorbidities.
        20                        The 1ssue      ~-   actually,_the
        21     confounding is excellent in Padwal.                    My
        22     issue with Padwal is not his adjustment
        23     for confounding.           It's that he's studying
        24    gastrointestinal disorders.                  I actually
       Golkow Technologies, Inc.                                        Page 348
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          1    randomized trials, and there were 191
          2    clinical trials associated with
          3    olmesartan.
          4              Q.       All right.        And 20 of them
          5    were more than one year in length,
          6    correct?
         7               A.       That's correct.           There's a
         8     discrepancy between the clinical trials
         9     on clinicaltrials.gov and then those
        10     reported in the literature.
        11                        And these are trials by
        12     in the clinicaltrials.gov are by any
        13     sponsor.
        14               Q.       And that body of evidence
        15     does not, to use your words, contribute
        16     to the evidence, correct?
        17                        MS. SUTTON:         Objection to
        18               form and foundation.
        19                        THE WITNESS:         So looking at
        20               cl~nicaltrials.gov,           which is what
        21               we started with, that does not
        22               contribute to the evidence.                 The
        23               reason why is because none of
        24               those studies were designed and
       Golkow Technologies, Inc.                                        Page 351
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         1                included olmesartan-induced
         2               enteropathy as a primary and
         3                secondary outcome.
         4                        So you can actually look.
         5               You would perhaps think that given
         6               the safety communication and the
         7               best practices in performing
         8               pharmacovigilance, that the
         9               company may have considered
        10                including olmesartan-induced
        11               enteropathy in its symptoms as a
        12               primary and secondary outcome in
        13               its subsequent trials, and that
        14               has not happened to date.
        15                        That's what, to me, the
        16               clinicaltrials.gov results are
        17               showing, is that there's been no
        18               study that's been designed to
        19               assess gastrointestinal events in
        20               general, accorqing to the publicly
        21               posted trial on
        22               clinicaltrials.gov.
        23                         In terms of the randomized
        24               trials, 191 trials from the 227
       Golkow Technologies, Inc.                                        Page 352
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          1              publications -- so these trials
          2              well, for one, 79 percent of them
          3              didn't report on gastrointestinal
          4               adverse events at all, which
          5               suggests potential publication
          6              bias.
          7                       So we only have 21 percent
          8              of all the trials even publishing
          9              anything remotely and potentially
        10               related to olmesartan-induced
        11               enteropathy.           But none of them
        12               actually is studying
        13               olmesartan-induced enteropathy.
        14                        We know it's comprised by a
        15               composite group of symptoms.                  It's
        16               not just one symptom at a time.
                                            I




        17               They're reporting their outcomes.
        18               They're only doing one symptom at
        19               a time.       And that's not
        20               ~epresentati~e         of
        21               olmesartan-induced enteropathy
        22               based on my understanding of the
        23               clinical literature.
        24    BY MR. PARKER:
       Golkow Technologies, Inc.                                        Page 353
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          1              Q.        So the long and short of it,
          2    for all that explanation,              lS   that the 191
          3    clinical trials addressed in 227
         4     publications, 20 of which were done for
          5    longer than one year, do not contribute
         6     to the evidence that we are discussing of
         7     whether olmesartan causes spruelike
         8     enteropathy, correct?
         9               A.        Correct.
        10               Q.       Thank you.
        11               A.       Because they do not assess
        12     the outcome of interest.
        13                         (Document marked for
        14               identification as Exhibit
        15               Huftless-28.)
        16    BY MR. PARKER:
        17               Q.       All right.         Let's move on to
        18     Exhibit 28, please.
        19                        Doctor, you got 28?
        20               A.       Yes, I do.
        21               Q.       Doctor, 28 is the MedWatch
        22     report for MedWatch Report Number
        23     2006-3369, correct?
        24               A.       That's correct.
       Golkow Technologies,     Inc.                                    Page 354
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         1                          (Document marked for
         2               identification as Exhibit
                               It
         3               Huftless-29.)
         4    BY MR.     PARKER:

         5               Q.         Okay.    Very good.        Well,
         6    then let's take a copy of that and mark
         7    it as 29.        Doctor, before you put that ln
                                                                          .
         8    your report, did you actually read the
         9    paper?
        10               A.         I did to the best of my
        11    ability.        So I am not an immunologist or
        12    basic scientist.              I am an epidemiologist.
        13               Q.         I understand that.          You've
        14    told me that many times today.
        15               A.         Correct.
        16               Q.         You did, when you read it,
        17    felt that this supported your claim that
        18    olrnesartan-induced enteropathy exists in
        19    rats, right?
        20               A.         So when using
        21               Q.         Is that just what you said,
        22    Doctor?
        23               A.         My one-sentence summary of
        24    reading this paper to the best of my
       Golkow Technologies, Inc.                                        Page 369
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         1     ability is that it says
         2     olmesartan-induced enteropathy exists ln
         3     rats, yes.
         4               Q.       Now, you read some of the
         5     reports of the defense experts, some of
         6    whom talked about this paper, correct?
         7               A.       That is correct.
         8               Q.       And they mention that there
         9    was a paper published by this same group
        1o    a year earlier that reached, so they
        11     felt, a very different conclusion.                    Do
        12    you recall that?
        13               A.       Yes.      I recall -- I can't
        14    remember which the experts talked about
        15    that.      But both of these papers are
        16    published in peer-reviewed journals.                        So
        17    they've undergone a peer review process.
        18     I trusted that peer review process when
        19    assesslng plausibility, which is to say,
        2o    is it plausiple that there's a biolqgic
        21    mechanism.         And this, to me, was
        22    supportive of plausibility.
        23               Q.       Doctor, part of your
        24    revlew          excuse me.        Part of the process
       Golkow Technologies, Inc.                                          Page 370
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          1    of doing a Cochrane systemic review is
          2    coming to an assessment of the quality of
          3    a study; is that correct?
         4               A.       Yes, that's true.            It's a
         5     systematic revlew.
         6               Q.       Now, when you read the
         7     defense experts' report and they
         8     highlighted this group had published a
         9     paper a year earlier, did you pull it out
        10     and read that paper?
        11               A.       So I actually
        12               Q.       That's yes or no.
        13               A.       So at that time, no.              But I
        14    had previously reviewed that paper when I
        15    had identified this and I was looking at
        16    plausibility.          That is correct.
        17               Q.       Can you show me either in
        18    your reliance list -- maybe I missed it.
        19     It wasn't initially referenced in your
        20     reliance paper, the 2014              pap~~'    ~s   it?
        21               A.       I am not aware because it is
        22    not cited ln my paper.
        23               Q.       Right.
        24               A.       So I think there were about
       Golkow Technologies, Inc.                                          Page 371
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          1    5,000 articles identified by my search.
          2    So not all of those 5,000 articles is in
          3    my reliance list.
          4               Q.       I know.       But you just told
          5    me that you actually read the 2014 paper
          6    before you did your report.
          7               A.       I read a lot of papers and
          8    reviewed a lot of papers.                If you would
          9    like the list of all the 5,000 studies, I
         10         '
               can g1ve them to you.
         11               Q.       No, Doctor, just answer my
         12    question.        Did you read the 2014 paper?
        13                A.       I reviewed the         --   to the
        14     best of my knowledge,             I had reviewed the
        15     2014 paper as part of my systematic
        16     review process for this report.                   That is
        17     correct.
        18                         (Document marked for
        19                identification as Exhibit
        20               Huftless-30.)
        21     BY MR.     PARKER:

        22                Q.       So just so the record is
        23     clear, I'm going to give you Exhibit 30,
        24     which is the 2014 paper.
       Golkow Technologies, Inc.                                        Page 372
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          1                        MS. SUTTON:        Thank you.
          2                        MR. PARKER:        Sure.
          3    BY MR. PARKER:
          4               Q.       And it's your testimony that
          5    before you wrote your report, you
          6    actually had knowledge of and had read
          7    the 2014 paper as well as the 2015 paper,
          8    right?
          9                        MS. SUTTON:        Objection to
         10               form.
         11                        THE WITNESS:         I have -- yes,
         12               I have reviewed both of these
         13               papers.      That is correct.
         14    BY MR. PARKER:
        15                Q.       Before your report?
         16              A.        Before my report, yes.              And
        17     so this          but what we're talking about
        18     here is not for me to do a systematic
        19     review of the basic science literature,
        2o     which I'm in fact not qualified to do a
        21     basic science review of -- a systematic
        22     rev1ew of the basic science literature.
        23                Q.       What I'm--
        24               A.        What I've been trying to
       Golkow Technologies/ Inc.                                        Page 373
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          1    assess for the Bradford Hill criteria is
          2    plausibility.
          3                        And so the -- what I used
          4    for that is,        lS    the association
          5    consistent with other knowledge,
          6    including mechanism of action and animal
          7    experiments?
          8                        And so as part of that I
          9,   went to the literature and I saw, is it
         10    possible that there           lS    a relationship
         11    between these based on the animal
         12    literature.
         13                        And this 2015 paper that I
         14    saw says the olmesartan-induced -- my
         15    assessment of that is it says
         16    olmesartan-induced enteropathy exists in
         17    rats, which suggests plausibility.
        18                         Did I do a systematic review
        19     of the literature?            No.     Did I cite every
        20     single basic science article that I've
        21     identified?         No.    Did any of these
        22     experts do a systematic review of the
        23     basic science literature?                Not that I can
        24     tell from their reports.
       Golkow Technologies, Inc.                                        Page 374
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          1               talk more definitively about the
          2               pathology.
          3    BY MR. PARKER:
          4               Q.       I'm looking at whether or
          5    not you were selective in your citation
          6    to literature.
          7                        When you read the 2014
          8    paper, you saw that in that experiment
          9    involving 80 rats they concluded that
         10    olmesartan reduced inflammation in the
         11    gut of the rats, did not cause it,
         12    correct?
         13               A.       Can you repeat the question,
         14    please?
         15               Q.       When you read the 2014
         16    paper, you           or you saw that the
         17    investigators reported that using
         18    olmesartan in that group of 80 rats
         19    reduced inflammation in the gut, did not
         20    cause it?
         21              A.        So their conclusion, yes, is
         22    about reducing inflammation.                 That is
         23    correct.
         24               Q.       And in the 2015 paper after
       Golkow Technologies, Inc.                                        Page 377
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          1               form.     Mischaracterizes testimony.
          2                        THE WITNESS:         So I'm an
          3               epidemiology.          I'm not a basic
          4               scientist.        And addressing the
          5               Bradford Hill criteria for
          6               plausibility, I went to the
          7               literature to see if there was
          8               anything about mechanism of action
          9               in animal experiments about the
         10               relationship between olmesartan
         11               and enteropathy.
         12                        This particular paper, to
         13               me, seemed to suggest that there
         14               is a plausibility -- a plausible
         15               relationship between olmesartan
         16               and enteropathy in this rat model.
         17                        This is a peer-reviewed
         18               paper.      I trust the peer review
         19               process as a person who
         2o               participates_in it, so I trust
         21               that to be true and suggestive of
         22              plausibility when using the
         23              Bradford Hill criteria.,
        24     BY MR. PARKER:
       Golkow Technologies, Inc.                                        Page 381
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          1               of you.      She has a copy.
          2    BY MR. PARKER:
          3               Q.       I'm sorry, Doctor.            I didn't
          4    mean to interrupt you that time.                    I have
          5    previously.         Apologies.        So anyway, ln
                                                                      .
          6    all seriousness, let's go back.
          7                        Doctor, so how did the data
          8    in this study, not their discussion, but
          9    how did the data show consistency with
        1o     other knowledge, including mechanism of
        11     action and animal experiments?
        12               A.        So this is a study about
        13     cell lines taken from humans.                  It is
        14     talking about mechanism of action.                     As
        15     you can see, the aim is to determine the
        16     mechanistic similarities of
        17     olmesartan-associated enteropathy with
        18     celiac sprue.         And so this is a paper by
        19     two of the co-authors, Rubio-Tapia and
        20     ~u~ray.         So those were the individuals
        21     associated with the case series by
        22     Rubio-Tapia.
        23                        And my assumption is they
        24     followed up on their finding from a case
       Golkow Technologies, Inc.                                           Page 387
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          1    series to go take this and look and see
          2    is there a mechanistic action.                  And we
          3    have this paper.
          4                        So that's what they
          5    attempted to do to assess that mechanism.
          6                       Again, this is from the
          7    peer-reviewed literature from Elementary
          8    Pharmacology and Therapeutics.
          9                       And you'll see that agaln
         10    because of my-- I'm an epidemiologist.
         1l    I have a limited ability to assess the
         12    information from the literature, that
         13    there are quotation marks on my
         14    plausibility assessment.               And that
        15     quotation is ln fact the conclusion from
        16     the abstract of this paper, again,
        17     trusting the peer review process.
        18               Q.        Okay.     So, Doctor, you're
        19     going to tell me that it is beyond your
        2o     area of qualifications and               expertis~      to
        21     address the methodological strength and
        22     weaknesses of this study; is that
        23     correct?
        24               A.       So this lS a study about
       Golkow Technologies, Inc.                                        Page 388
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          1               Q.       I know what it's about.               Is
          2    it beyond your ability and expertise to
          3    talk about the experimental strengths and
          4    the weaknesses of this study?
          5               A.       It is beyond my ability,
          6    yes.
          7               Q.       Okay.      Did you consult with
          8    anyone to figure out whether the dosages
          9    that were used, the concentrations that
         1o    were used, were comparable to what a
         11    human being will see if g1ven therapeutic
         12    levels of olmesartan?
         13                        MS. SUTTON:         Objection to
         14               form.      Foundation.
         15                        THE WITNESS:         No, I did not.
         16               But it's my understanding that
         17               frequently in animal studies, the
         18               goal is not to -- I'm sorry.
         19               This's not an animal study.                 This
       '20                is a cell line study.              The doses
         21               are not necessarily always
         22               comparable to humans, that
        23                sometimes, in fact,           extreme doses
        24                are used intentionally.
       Golkow Technologies, Inc.                                         Page 389
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          1               a good point, can we take a break.
          2               We've been a little over an hour?
          3                        MR. PARKER:        Sure, sure.
          4                        MS. SUTTON:        Thanks.
          5                        (Short break. )
          6    BY MR. PARKER:
          7               Q.       Doctor, please turn to Page
          8    6 of your report.            You wrote on Page 6,
          9    in summary,        "It is my opinion to a
         10    reasonable degree of scientific certainty
        11     that there is sufficient evidence to
        12     establish a causal relationship between
        13     olmesartan and enteropathy.
        14                         "There is consistent
        15     evidence from MedWatch case reports and
        16     signals from FAERS that this causal
        17     association was established in 2006."
        18                         I've read correctly your
        19     conclusion; is that correct, Doctor?
        20               A.        That is correct.
        21                Q.       And the conclusion with
        22     respect to the MedWatch case reports are
        23     based on the eight MedWatch reports that
        24     you reference on Page 5, the top of
       Golkow Technologies, Inc.                                        Page 416
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          1    Page 5; is that correct?
          2               A.       That is correct.
          3                        (Document marked for
          4               identification as Exhibit
          5               Huftless-34.)
          6    BY MR. PARKER:
          7               Q.       Go ahead and identify those.
          8    So Exhibit 34 is a 2004-2638.
          9                        (Document marked for
        10                identification as Exhibit
        11               Huftless-35.)
        12     BY MR. PARKER:
        13                Q.       Exhibit 35 is 2005-0427.
        14                         (Document marked for
        15                identification as Exhibit
        16               Huftless-36.)
        17     BY MR. PARKER:
        18               Q.        Exhibit 36 is 2006-5321.
        19                         (Document marked for
        20                identification as Exhibit
        21               Huftless-37.)
        22     BY MR. PARKER:
        23               Q.        Exhibit 37 is 2006-5527.
        24                         (Document marked for
       Golkow Technologies, Inc.                                        Page 417
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          1    your report a MedWatch-by-MedWatch
          2    assessment using the WHO criteria which I
          3    marked as Exhibit 33?
          4               A.       In my report, not to my
          5    recollection.
          6               Q.       Now, your conclusion that
          7    causation was proven based on these eight
          8    reports in 2006 is based, as I understand
          9    it, on what Dr. Leffler told you,
         1o    correct?
         11                        MS. SUTTON:         Objection.
         12               Misstates the report.              No
         13               foundation.
         14                        THE WITNESS:         So Dr. Leffler
         15               identified the list of certain
         16               olmesartan -- I'm sorry.                He
         17               identified the list of cases of
         18               olmesartan-induced enteropathy
         19               that met those criteria on --
         20               based on his clinical judgment.
         21                        In his clinical judgment,
         22               based on a differential diagnosis
         23               of the information he had based on
         24               the MedWatch forms and source
       Golkow Technologies, Inc.                                        Page 422
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          1               forms, was these were serious
          2               cases with evidence of rechallenge
          3               that had symptoms of celiac,
          4               diarrhea, or vomiting.
          5                        I used these cases as a case
          6               serles, which is consistent with
          7               good pharmacoepidemiology
          8               practice, to make a determination
          9               that there is sufficient
         10               information on these rechallenge
         11               cases to determine general
         12               causation in 2006.
         13    BY MR. PARKER:
         14               Q.       Doctor, did you attempt to
         15    use Naranjo or WHO to evaluate each of
         16    these eight cases?
         17               A.       Did I evaluate the clinical
         18    characteristics of the cases?
         19               Q.       Did you go through, as we
         2o    discussed       befor~,    each of these        cas~s,

         21    and apply either/or, the Naranjo scaling
         22    or the WHO criteria, for each of these
         23    eight cases?
         24               A.       So based on the responses
       Golkow Technologies, Inc.                                        Page 423
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          1    to -- that Dan -- that Dr. Leffler had ln
          2    his individual review of each of these
          3    cases that are serious rechallenge cases
          4    with symptoms of olmesartan-induced
          5    enteropathy, I took the information based
          6    on the information he gave me, and I came
          7    to -- I created a WHO causality
          8    assessment for each case.
          9                        I then used the information
         10    about each of those cases in aggregate as
         11    a case series and made a determination
         12    about general causation.
         13               Q.       Doctor, I'll call for the
         14    production of that WHO assessment,
         15    because that's not reflected ln your
         16    report anywhere, lS it?
         17               A.       Not to my recollection.              The
         18    individual level information is not.
         19                        MS. SUTTON:        That
         20               information       wa~   produced to
         21               defense.
         22                        MR. PARKER:        It either is or
         23               isn't.
         24


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          1               did not search for medications
          2               other than olmesartan in my search
          3               for cases.
          4    BY MR. PARKER:
          5               Q.       Let me see if I understand
          6    that.      In then addressing a criteria, the
          7    Bradford Hill criteria specificity, you
          8    rely upon your data mining exercise,
          9    correct, to say it's unique?                 That's what
         1o    you state here, right, bottom of Page 8?
         11              A.        Yes, I do.
         12               Q.       But you never then, as part
         13    of your systematic review, did a search
         14    and said let me just see if there are
         15    case reports out there using other ARBs
         16    and developing enteropathy with
         17    dechallenge and/or rechallenge?                   You
        18     never did that, did you?
        19                         MS. SUTTON:        Objection to
        20                form.     Foundation.
        21                         THE WITNESS:         My -- I'm
        22                sorry.
        23                         MS. SUTTON:        Go ahead.
        24                         THE WITNESS:         My systematic
       Golkow Technologies, Inc.                                        Page 438
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          1               review, the search terms were
          2               specific to olmesartan.
          3    BY MR. PARKER:
          4               Q.       Well, your systematic review
          5    didn't address the question of whether
          6    other ARBs have been reported in the
          7    literature to be associated with
          8    enteropathy based upon dechallenge or
          9    rechallenge?
         10                        MS. SUTTON:        Objection.
         11               Misstates the report and prior
         12               testimony.
         13                        THE WITNESS:         So the
         14               information that I used for
         15               specificity is I used the MedWatch
         16               case reports, FAERS, nonrandomized
         17               studies, and the FDA.             And you'll
         18               see the FDA makes a statement
         19               that, according to the FDA, the
         20               other seven ARBs do not appear to
         21               demonstrate evidence for an
         22              ARB-induced spruelike enteropathy.
         23              And this is on that tracked safety
        24                tissue that we spoke about
       Golkow Technologies, Inc.                                        Page 439
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                Protected Information - Susan Huftless, Ph.D.

          1               previously.
          2                        And then you'll see from my
          3               FAERS analysis, you can look at
          4               the -- you can look at the effect
          5               estimates in there and see that
          6               there's a difference in the
          7               magnitude of that effect estimate.
          8               And you'll also see that
          9               Dr. Hansen says that my assessment
         10               of olmesartan versus other ARBs
         11               directly, he didn't not do that on
         12               his own because he believes that
         13               my analysis was accurate, and he
         14               would have come up with the same
         15               conclusions as me.
         16    BY MR. PARKER:
         17               Q.       Certainly you would
         18    conclude -- I mean you would agree that
         19    being scientific and doing a systematic
        20     review, you would not want to ignore
         21    evidence that might be germane to a
        22     question, right?
        23               A.        So I agree with you.             But my
        24     search strategy was specific to
       Golkow Technologies, Inc.                                        Page 440
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            1   olmesartan.
            2             Q.       I understand that.            But,
            3   Doctor, your search strategy seemed to be
            4   designed to avoid coming up with any
          5     evidence about other ARBs.               Am I
          6     mistaken?
          7                        MS. SUTTON:        Objection to
          8               form.     Foundation.         Misstates
          9               testimony.
        10                         THE WITNESS:         Because the
        11                question is about the relationship
        u                 between olmesartan and spruelike
        13                enteropathy.
        14      BY MR. PARKER:
        15                Q.      What does specificity go to,
        16      Doctor?
        17                A.       So the information that I
        18      used for the different elements of the
        19      Bradford Hill criteria didn't necessarily
        20      have to all come from my systematic
        21          .
                revlew.
        22                Q.      Well, let's just
        23                A.      And it is --
        24                Q.       I'm sorry.
       Golkow Technologies, Inc.                                        Page 441
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          1               A.       Yes.
          2               Q.       Now,    firstly, Doctor, to
          3    achieve a score or a ranking of probable,
          4    as we have discussed, requires not only
          5    temporality and dechallenge, but also the
          6    ability to rule out other explanations of
          7    the condition under the WHO scale?
          8              A.        So cannot be explained by a
          9    disease or other drugs, that assessment
        1o     criteria, is that what you're referring
        11     to?
        12               Q.        Let me be more specific so
        13     the record is clear, in fairness.                    In
        14     order to achieve a probable/likely, one
        15     of the things you have to satisfy to
        16     yourself is that it is unlikely to be
        17     attributed to disease or other drugs?
        18               A.        That is correct.
        19               Q.        Okay.     So when you go to
        20    your_ report,_ and you           wrote~     "162 cases
        21     has a positive dechallenge suggesting a
        22    WHO causality assessment of probable for
        23     the majority of cases             (temporality and
        24     dechallenge) ,"what you should have said,
       Golkow Technologies, Inc.                                         Page 448
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          1    plus unlikely to be attributed to the
          2    disease or other drugs?
          3               A.       So because those -- the case
          4    reports from the literature are in
          s    peer-reviewed journals and reported by
          6    clinicians and are labeled
          7    olmesartan-induced enteropathy, or as
          8    you've seen, spruelike enteropathy, I
          9    took that clinician's assessment in the
         10    literature that went through the peer
         11    review process, that that case in that
         12    clinician's assessment was published in
         13    that journal because it was
         14    olmesartan-induced enteropathy.
         15                        Thereby, my assumption was
         16    that it was unlikely to be attributed to
         17    disease or other drugs.
         18               Q.       Because an author of a case
         19    report says,        "I got a case of spruelike
         20    enteropathy," you just assumed that __
         21    means -- it meant, because that author
         22    claimed it, it was unlikely to be
         23    attributed to disease or other drugs?                      Do
         24    I understand your methodology correctly?
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          1                        MS. SUTTON:        Objection to
          2               form.      Foundation.        Misstates her
          3               testimony.
          4                        THE WITNESS:         Okay.      So
          5               every -- so every case report by
          6               definition met the criteria for
          7               temporality with olmesartan
          8               preceding the adverse event.                  And
          9               then 162 of these cases had a
         10               positive dechallenge, which, us1ng
         11               the WHO causality assessment of
         12               probable, so they had temporality
         13               plus dechallenge, and because it
         14               was in the peer-reviewed
         15               literature,       I considered that they
         16               had sufficient info that they
         17               would have ruled out alternative
         18               causes and considered these
        19                probable cases.
        20     BY MR. PARKER:
        21                Q.       Okay.
        22                         (Document marked for
        23                identification as Exhibit
        24               Huftless-43.)
       Golkow Technologies, Inc.                                        Page 450
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                         Exhibit C
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    ORIGINAL ARTICLE                                                                                                                                        MAYO
                                                                                                                                                           CLINIC
                                                                                                                                                             ({9J
                                   Severe Spruelike Enteropathy Associated With
                                                                    Olmesartan
                                    Alberto Rubio-Tapia, MD; Margot L. Herman, MD; Jonas F. Ludvigsson, MD, PhD;
                                       Dr;trlene G. Kelly. MD, PhD; Thomas F. Mangan. MD; Tsung-Teh Wu, MD, PhD;
                                                                                                                             and Joseph A. Mun-a.y, MD

                           Abstract

                           Objective: To reptm the re~ponse [O discontinuation. of o!mesanan, an angiotensin II receptor ant:;~gonisl. .commonly
                           prescribed for treatment ofhypettension, in. patiems urith unexplained severe sprueli!<e enteropathy.
                           Patients and Methods: All 22 patients included in this report were seen at Mayo Clinic in Rochester, MinneSota,
                           between August 1, 2008, and August 1, 2011, for eValuation of unexplatneci chronic diarrhea and enteropathy while
                           rakingolm<;sartan. Celi.ac ~lisease was 11.\led O\lt in<!U 17ases. To be included in the study,the patien~ ruse had to have
                           clinical improvement after suspension of olmesanan,
                           Results: The 22 patients (13 women)had a median age of 695 years (range, 47 •8.1 years). Most patients were taking
                          40 mgldofolmesartan (range, 10-40 mgldr The. clinical pre~entation was of chronic diarrhea and weight .loss (inectian,
                           !8 kg: range, 2. 5-57 kg) . whiCh required hospitaliZation in 14 patients (64%). Intestinal biopsies showed both villous
                          atrophy and vanable degrees of mu€0sal infl;Ul;lmation in 15 piltien~. and marked stibepidielial collagen deposition
                          (co!lagene>t~s sprue) in 7. Ti$Ue tran~glur::~minase amibf.)dies were not detected. A glucen4ree diet was not helpful.
                          Collagenous or lymphocytic gastritis was doi7Umented in 7 patients, and microscopic colitis was documented in 5
                          patients. Clinical response, with.a mean weight gain of 12.:2. kg, was demonstrated in all cases. Histologic recovery or
                          improvement of the duodenum after discontinuation cif olmesartan was confirmed in all IS plltiems who unde~·em
                          follow-up bi.opsies.
                          Conclqslon: Olmesa_rtan may be a$Ociated with a severe fom1 of spruelike enteropl!thy. Clinical response and histo-
                          logic recovery are expe~7ted after St,tSp~nsiOJ! of the dn.g.
                         . __ -···--···-·-~·----·------------- ~.2nt~.M~.o~Q~~al~~!~~edla!l_:d~ca~~nil R:_s~-~a~.?.~ Pro:; .~J2,~~~),732,?J9

                                       .~""'"'"\ lmesatt<.~n is one.of several angiotensin H             c~liac serelogy,    and lack ofnrsponse. to gluten ~xdu­
                                      (       } recepcor antagonists used for manage-                    sHm), a perceived assodat-ien betweetl these features
  F!"Om the D.r•ision of C-as,         "'~ ment of hypertension since 20.02. 1 Diar-                     and olmesartan evolved. lr also became clear- rhat
  l'o~e.terofogy an.d Hep<Jto!·      rhea ·iS a common adver-se effet:t of many li1edica-                thes.e patients were ~Jnlike!y tq have celiac d.isease, as
  ogy (A.R.·T., J.F.L. D.G.K.        tions, althol!gh dle me~ underlying di,1rrhe;a                      all laCk~d lgA tissue transglutamin:ise antibodies
  T.F.M, ).A.M.),. Depao11)1ent                                                                          and· had Rever responded to a gluten-free die.r. The
 oi intemal M~dicine (M.l.H.).
                                     remainundear inmosL case$. Enteropathy as a cause
 and Department oflaboJ4 .           of drug"indi.u::!!d diarrhea has b~en reporced. previ-              ditrlcal of!servatiot:\ ef Improvement ofgastrointeS'-
 tory Medicine and P.atoology        ously with lb¢ use Qf:tz.athioprin~ and rnycophen.o-                tinal syntp~oms and subs~quem demc:in5tration of
 (f.-T.Wc), Mayo Oinic,              late rnofetil.:z..... We first suspecu:d the possible con-          hiStologic n!cov.ery after olmcianan \vi'thdrawid
 R?<;he~er. MN; arn;o:a~ Epi-                                                                            prompted us to advise our patients With t.mex-
 demiplogy U,nit, Depa.-tment
                                    nectien between enteropaih}' and olrnesartan when
                                    2 consecutive patiencs rcletred w our institution for                plitined spruelike. eme.r.opathy to disc®tinue ol~
 of Medidn.e, !<arQiinslia Uhl-
                                                                                                         me~rtan. We reported our observation m USFoa_d
 versfty H6sp¢;;1 and "K;irOHO·     ev<~ltta.tion of pre~iimed refractory celiac disease.r.e-
 ska Institute!. S'tockhokn.        potted uhexplaitJed dink:al improvement during                       and Drug Administration officials and submitted re-
 S'''eden (J,ELj; and Depart·                                                                            ports U?ing the MedWatch system.
 ment o{ Pediiltrk.>, 6reb;-o       hd!iplt::ilization but prompt relapse folloM<ing hospi-
                                                                                                              Lii th.is article, we describe the dinical tn:lnifes-
 University Hospital, Q ...,br.q    ral discharge. They asked if the. disease cdurse could
                                                                                                         talions in 22 pa~ents v.ith unexplained spruelfke
 Univer<it~·· 6rebro. Sweden        11>\ve been due to their hypertensive medications,
 Q.F.L).                                                                                                 enteropathy iliac.lmprovl'!d clinically a!i;er diSc0lltin•
                                    \\;hich wen; withl;lelci on ho~pitJ;lli:zation because ·of
                                                                                                         uation of o:hnesanai1.
                                    hypotensi.on. At the saiife time, we wer~ stuclying a
                                    cohort; of p~tiehts With collagenous sprue and d.is-
                                    covered olmesanan llse in cine-third of the pati'ents               PATIENTS AND METHODS
                                    with a recertr diagnosis: of the disorder.' As ad:di-               This- study was approved by the Mayo Clinic Insti-
                                    lit!nal pa~ients were identified w(th similar dintcal               rutio'nal Re<;.ew Bo-<Jtd. Patterns were considered .for
                                    features (eg, chronic diarrhea, weight lo;;s. llileK~               tndusion in the study if they had chronic diarrhea
                                    plained sprw~ijke enrerop::~thy ~vi~h. or withom ab·                (>4 week$) while taking oln,tesanan<1nd mer 2 ad,..
                                    normal subepithelial coll?gen depositian, negadve                   ditiomd. criteria. F.irsr, the c~;~use of their enteropathy

 732       t.tayo Ctin Proc. • August 2012:8718):732"'138 • hi!P:Ii<ix,do!.org/11UOJ6~.mayocp.2012.U61l03 IIi 1!)201iMayo FQumtation for Medical Education and Research
                                                                                                                                        www..mayoclinicprocee.dings.org
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        QU'IESARTAN AND ENTEROPA\THY




        could not be esr.ablished after ? systematic diagnos-               ligated hy CD3 and COS immunostairling14 and
        tic evaluation that inchtded investigation for tfuor-               polymerase chain reaction, 15 respectively. Wl;ien
        ders,associated with nonresportsiv'e celiac disease as              mt1ltiple >mall bowel biopsies were performed as
        pteviously'repo(tecl by ow group. 5 Seeond, they                    part of the diagnostit ev::~luation and befure with·
        had to improve clinil;al!y afte·r discontinuation of                drf!~\7:11 of the dmg., tbe baseline· biopsy Wl!S consid-
        olmesartan ..Most. of these patients had undergone                  ered to he the small bowel biopsy perforrnecl closest
       .extenstve evaluation by their referring physicians                  to the date of suspension of elmesartan. FoHtwi-up
       and had had several therapeutic trials, Wiiho\n ben-                 biopsies were defuied as biopsies performed at least
       efit. The electronic medical records of 24 such pa-                  30 days after the dare of suspension of olme~an.
       tients seen at Mayo Cl;ii:lic in Roch~;stcr, Minnesota,              Other disorders of the gastrointestinal tract {when
       between August 1, ~008, and August 1, 20ll, were                     present) were diagnosed using accepted pathologic
       revie\ved by one phySician (M.LH.}. Two oi the 24                    criteria (eg, miCroscopic colitis). 1.;
       p~tients w~re excluded from the smdy, 1 who had
       tropical sprue artd 1 who improved clinically and
                                                                            Outcomes After Suspension of Olmesartan
       histologically v.i.th onl] budesonide before suspen-
       sion o(qlmesarran.                                                   Clinkal fespMSe was defined as the resolution of di-
                                                                            arrhea. Weight gain wa5 conSidered a positive find-
                                                                            ing. Remission required b.oih <1 ciinii:al response and
        Data Ab$tractian                                                    confirmation b.y normal findings •:m iru;estinal bic
        Clinical aitd laboratory data ~'ei:e abstracted from                opsy dt.1ring follow-up, All patienrs who had been
        the medical record. Oniy data that reilected ctmdi-                 on a gluten-free diet ;i;ere.follo\ved up after reimro-
        tions that existed befc;m; suspen!;ion of olmesal1f!J1              duction of gluten and withdrawal of corticosteroids.
       wer(! included as baseline datfl. We defined r;:atego-
       ries of body weight using body mass index and                        Medication Use
       World Health Organization criteria? Anemia was
                                                                            We reviewed >he medication history of a!! patients,
       defined lrt women as a hemoglobin level of less than
                                                                            including the tdutation oftteatnie·nr, dosage, and. re-
        12 gldl (to com·ert to gfL, multiply by 10) a:nd in
                                                                            sponse of diarrhea to a trial of o!mCS<!rt~n V.i\h-
       men as a h~moglobin lev~! of less ~han 1.3.5 glc)L.
                                                                            dra\\"\11. Alternative antih:vpenensive drugs used af-
       H>1Joalbuminemia was defined as an albumin value
                                                                            ter suspension of olmesanan are reported.
       lower than 3.5 gldL (to conven to giL. multiply by
       10). HV\-DQ typing, 8 celiac disease serology (tissue
       tmrsglutaminase antibodies or deamidated gliadin                     Statistical Analyses
       pepriile amibpdies by e.J:lZ,yrne-linked iml:nunosor-                Data \vere summarized uSing descriptive statistics,
       bent assay and endomysll)l antibodies on monkey                     including total nun:iber5 and percentages for cate-
      esoph~Jgus· by indirect immunofluorescence), 9"11                    gorical v-ariables and median or mean (range) for
      and assessment of response to a gluten--free diet                    cot)linuous variables.
      were investigated. AntH:nterl1<:yt.: _aiu:ibo.dies were
      teste¢ usipg prJ;uate intestine by ind~r_er;:t i.mmun.o-
      fluo.rescence. and w.ere pe.rfomted at The Children's                 Rt;SULTS
      Hospital of Philadelphia, as reponed by Akram et                      The 22 patients (13 women) had a median age of
      aL 12 Stiitie enteropathy was defined by the presence                695 years (range. 47-81 years), Twenty-one' of the
      of at least Pne pf the following criteria: (1). nee:dfor             pariemswere Mn-Hispanic white, and 1 patient was
     .hospit<JliziltiQn beca\lse 9Lsevere c!ehy.r:Jratton, dec•            black P~lietits \yete residents of 16 di(fei:eht US
      rrolyteimbalance, arid!or acUte renal fil,Uure,{2.)nt:ed for         states (fable 1).
     ·total parenteral nmtition, and (3) weight loss of                       · The JJ10S\ freqt\e)l.t clinical d:i;~gnoses at ti.me of
      more than 10 kg.                                                     r.efefn11 were norire5POI1Sh'e/reftactQl}' ca'liac dis~ase
                                                                           (n= 10) and unexplained sprue (n=6). Most pa~
                                                                           liettts were taldng     +o trtgtd. of :ohnesartan (range..
     Histopat!)Qlogy                                                        lP-40 m.gfd) for several mon~h$ or years before the
      Pathology materi~l (biopsy samples from the.gll,~tiO"                onset or diarrhea Deta:Hed iniorrnation abour che
     intestinal tract) was reviewed by one of the aitthors                 duration ofexposure to: oime$~ttim before onset. of
     (T.-T.WJ. The humber of imraepithelial l}~.npho­                      diarrhea W"<!S ayail;thle iJ1. the medical recbtd in 14
     .;:ytes per lQQ epiiheli!!l c;:ells, d~gree oi villous atto-          patientS (04%). Among these, ~Ji_e nie<iil dut~tlon
     phy graded with the modified MarSh clasSifica-                        ~viis 3.1 yeats (range, 0.5-7 years). Ah additional 5
     tion, 1 ~ !jresence of subepithelial collagen, degree of              patients were faking olmesanan fer at least l year
     lamina propria infiammatton; and ptesence·of acute                    be.fo.re the onset ·Of symptoms.. fnfoin'lation aboqt
     inflai!llllar:i,on were '!SSessed. The pr~enc~ of aber-               dura~ion o.f Cl>POSU~e to oln;t~artan before onser,of
     rant or donal intrae,pitheliallymphocytes·was inves-                  diarrhea wa$ not available in 3 patients.
     Mayo Cli11 Proc. • Augu,st2012:il711U:73~·731f • llllp;//dx.doi.()rg/I.O.IOlli/j,mayocp.2012.0~003                                   733
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                                                                                                                                                                                                         MAYO CLINIC PROCEEDINGS




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                                                                                         · ·· ..,,, ""~·--~-
                                                                    · · ·• "'' - ·R;;~]b~~"·---                   Metqprofo!
          'Yi'i.t;z.                               rJ                           Clln!(;ah:l:"sporr~                                                                                         None
          3/Fm                                    3!                            R~issfon, v~¢igl:it ~in ( 13~3 fi'.g)                                                                       Bisopl'l,)~o!'hydrochldriltliiazkle
          4/M(~~                                 I~                            Re~i$Sk.iil,wel~~il:l(l! -!<W                                                                                M~~~~l9l
         5/t-'!181                                2:5                          Remis>ion. weiglit loss (4. _I !<g)                                                                          lisinopril. metoprolol
         6ZW#                                   .f4                           ·OJIY,Cilfr¢~s~                                                                                               AQ\IO,#!pin~
         7/f/$?                                  i!                            Remi?Sklh. weight g;Un ('f;2 kg)                                                                             Amtodipin~. hydrochlorothiazide.
         8!11(1.6                                 12                           ~is5io!Y. wei~~~n:(IJ.4~W.                                                                                   A.m[Qdf~1f1f:, .Wdt.-Q¢16tiat'liai/diy)
         9/Mt64.                                 2();5                         REimi$Sion; wel&fltgilih 0 5.7i<g)                                                                           AifllodiPJi:1e~         fl}tdr-c>ehiorOthii!Zide
         H)/Fftl                                 3q•                           ~'rii~iiin•W!ii~gain (tB•\:ij)                                                                               AP!~dJplne, ii".ejJ~I~; hydr"!th!o:roifiiaZliile
         llltl/74                                 1,5                          dini~l ~pcinse                                                                                               Hydrocnidi'Othiazide
       · iitMI5a                                S't                            ~~s~lQn; Wetgfti:~h ~).4 !rg).                                                                             . NtJ!Q(f!PJne'; ~lol
         !31Fm                                   29                            Retni5Sion; weightg;Un (9.7~<g)                                                                              AtenCio~ h'!drodi!orqtWiii.~
         l4/Fl7~:                                7                            Reril!sf.PiJ; wihl#~n-~~9~)                                                                                   ~dr'o~ialri-Je
         15/Mtia                                 [8                           Rei'n!~!On,wei&flt:gain                                 (f4.9l<g)                                            Mtiil;i:iprolcl
        1•6Zft/i .                                9'.                        )~e'lJ1$5Jon; wei8ht ~ih (r t.? kg)                                                                           -'iMam~~. liy~~G!1r9r6~h~e
        vtrF.i6_ifl'                            _io.s                         Oinkai response. weight gain ( 13A kg)                                                                        Sp!t<:>liolactOne, car\iedilb!
        !'SIF/.6_4!"                            50                            Cr;nlciJI~cinse.weight~n.(4kiU                                                                               <AiiifdiliP.ine
        1'9/f/75_                               4I                            Remission                                                                                                    None
       i.QJM/;47                                si                            ~Wtii~n:: Wei~·~ tr~;; ~;-g)-                                                                              -· tt~~rol, a,ntodiiJ-\fi$;,;~sin
       if /Ffll                                  IS                           ~n. wei~ gain (I o.H,g)                                                                                      AtenciloJ, nydtalazin~


 .     WFi/'4
       _· ·.;·-~:,-.''.. ..   :   . .
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                                        . ... :.. ·.

   £W~"""~·~-,....,-,.,,_,.._.......,..,.,.,.~r·,_.
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                                                                             --~-•-_)lSS_'          tW¢1_'•.~'·$tit_·:_._-.----~_:::._<e.·_·-_·l_-~_-.-'-----
                                                                                      _ :_f1_,.,_._·__
                                                                                ------ --····· ., ..... .....,.._.,-..._ -. -- ------·
                                                                                                                                                                                                    N&ne                                                  .
                                                                                                                                                                ..- ~~-..;,~~~~~ ...... -...)':!'":'~~~::~:i:.-~~.,;.;.;.....~~~~...---~-.....,...;.~.....:.~,;~~~~




                                           Clinical Manifestations                                                                                                   weight, 4 were overweight, and l was obese. All but
                                           Diarrhea had been present for a median of t9.2                                                                            one patient (patient 16) met criteria for se-vere
                                           months (range. 3-53 months) bdore suspension oJ                                                                           emetopathy.
                                           the drug. At the time of presentation, all patients. had
                                           diarrhea and weight loss (median weight loss, t8 kg;
                                                                                                                                                                     Laboratory Findings
                                           mnge, 2.5•57 kg}. N<~usea and vomiting· wen: pres-
                                                                                                                                                                     Resuhs.of lg:'\ tissue ~ransgltitl!minase antibody test-
                                           ent in 15 patients (68%), al:)dominal 'pai11 in II
                                                                                                                                                                     itJg were negative in aU patients. !g,-\ endomysia[
                                           (50$). bloatin.gin 9 (:tl%),and fatigue in 15 (68%).
                                                                                                                                                                     antibody results were negative in all 9 patientS who
                                            The qn~t uf diarrhea \'(,15 stJdden (n 9 patients. The                                                                   undenvent testing. HlA~DQ typing was. performed
                                           srool frequency was e;<tr~mely abnormal, with a• me-                                                                      in 2J patient:S:DQ2 was present in 15 patlems, DQ8
                                           di;m of 6 <niacuations per day (range, 3-42 evac.tta·                                                                     in 2 patients, and neither DQ2 nor DQ8 ih 4 p:!.-
                                           tions per day). Among 8 plitiems with tin1ed sto-ol                                                                       t'tents. Anti-enterocyte antibody testing_was done In
                                           collection, tile mean sto_ol weight was 933-.1 gl24 h                                                                     19 patients ($6%), and results <.\'-ere negative in 1.6
                                           (range, 225-3125 g/24 h), and lnean fuca! fru; was                                                                        ('including 7 patients w'ho had a positive nonspecili<;
                                           2iD g/24 h {range. 8·§0 gf2+ h). Although time1.i                                                                         nuclear paitern of unknow·n Clinical sigrtific.ance)
                                           stool weight was not investigated in .all panems, 14                                                                      and positive with a ltnearlapical patrem i.n 3.
                                           patients (64%) required hospttal~lion be(:attse of                                                                               Fourteen p<uients (64%) had normocytic nor-
                                           severe dehydrati'pn (4 patients had acute renal fail-                                                                    mochromic anemia (2 had elevated red blood cell
                                           ure). Total parenteral nutrition was nec.essaiy in 4                                                                     di~triburion width suggesting anisocytosis): the
                                           pati¢nts. Al;.tlte time ofilie first v-isit a1 Mayo Clink,                                                               lo'\\->est hemoglobin levelv.oas 9.3 gtdL. Ten patients
                                           11 of the. patietns had nonnal weight, 6 were under-                                                                     {45%) had hypoalbuntinemia; the lowest albumin

 734                                                                                         Mi!YO Cli11 Proc.                      ti    Augusl20t2:.87(l!l:132.-?38 • hllp:lfdx,dol.orglt0.!016/j,mayocp.2012.06.003
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        OL1"1ESARTAN AND ENTEROPATHY




        lev~ was 2 g/dL Twelve patienrs (5.5%) ~aq one                     cop:raining diet. Fo!low-~tp bo.dy weight after sus.-
       (n =)) or rnu,l,riple (l'! =9) ele(:troiyte <Jbnpn:naliries.        pensicin of olmes~man Wl!S available in 17 pati~ts;
       Zinc deficiency was documented i'n 7 patients.                      16 had weighr gain, withqmean weight gain .ofl2"2
            Smali bowel bacterial overgrowth \vas co·n-                    kg (range, 2.9-28 kg). arid 1 patient (patient)) who
       firmed by culture of duodenal aspirate(> ltP co!o-                  had edem\1 at dhJgnosis.lost 4.1 kg dming follow"up
      ny-fomung units per milliliter) in 12.. pa.tients at                despite c:linic<\l rel;Uission.
      some point during clinical evolution. A n;ial of oral                    At the (ime of this repot'l, follow-up intestin.al
      aritihiotii:s was used fn lD pariems withour clinical               biopsies h;lve been performed in 1!3 patients (82%)
      benefit (tifaxhntn in 5, tetracycline irt 3, ciprofloxa-            after a mean of 242.3 days (range, 54-707 days)
      cin in l, and ciprofloxacin-metronida:o:ole in l). An               from the ck1te of su::;pension of olmesartan. H.isto·
      ~dditional 2 pat~ents n::cdved no therapy for small                 lqgic re.::.ovety of the duod!lnUnl was t:locumeQ.tedin
      bo.wd b<tcierial ovetgrowrh.                                        17 patients (.Figure}. Fecal parti;~l. villous ~trophy
                                                                          was observed in l case (patient 2) on a follow-up
                                                                          duodenal biopsy obtained 54 days after suspension
       Histologic Findings                                                of olmesartan. Fol!.ow-up gasni( biopsies were per-
       in all patients, br.seline intestinal biopsi·es demon-             fotm~d a.t th~ same time as repeated biop~y of the.
       strated villous atrop~y '"'ith variable degrees of m~­            duodenum in 6 of the 7 palientswirh ~ither lyli)pho-
       cos~l inflarnmation (Table 2). Total villous atrophy              C}'tic or collagenDus gasfrtds (no gastric biop.sy re·
       was observed in 15 paliems and panial villous atro-               suits we·re available for patient 11). Follow-up gas-
      phy hi 7 patients. A thick band of subepithelial col-              trfc biopsies showed normal mucosa i11 4 pali.ents
      lagen deposition. (coll)\genous sprue) was seen in. 7              and nonspecific mild c~ro)liC·gastriris in 2. patiems
      patients (2 cases had ·been reported pre'<iQuslf).                 (pat.ierits 20 and 22).. Follow-up celonoscopics with
      Activelacure inlla.mmation was observed in r). pa-                 biopsies of the eoloh were not p~rformed in the 5
      tients, and increased intraepithelial lymphocy<es                  patients vvith microscopic colitis.
      were fbt!nd in 14 patieri!s. Aberrant (or donaD in-
      traepitheliallymphocytes were nor detected among
      the 12 patients tested:                                      DISCUSSION
           Colof!-oscopy \vith random colonicbiop;;tes was        'Ne des.cribe.a group. of patients with unexplained
      performed tn 13 patients (59%). Microscopic colitis          severe spmeiike enteropathy while taking olmesar.-
     was found in 5 patients (2 had Lymphocytic colitis           tom. We also· provide eyidence ef beth dinical and
     and 3 had ct>llag~n:ous colitis).                            histologic imp-rovement after suspension of ol-·
           Biopsies of the stomach were available in l4           mesartan. Celi<!c disease was exdudecl by COOI'en-
     pa.tients (64%). Lymphocytic: gastritis ·\vas .:jiag-        tiomd methods of serology and the ab.Seriu of din-
     nosed in 5 patients and coUagenou;; gastritis in 2           ita! response to a gluten-free dlet.17 Orrer less common
     patients. Chroni.c gastritis Was diagno$ed in an addi-       enteropathies were excluded (Table 3).
     tiehal 7 patientS (1 had Helitt>bader pylmfinfef!tion).           We acknowledge that this case series !a(:ks all
                                                                  the informatio-n nece~ry to prov'e c;1usa!ity b11t
                                                                  rather reflects an ass(lcia:tion. No deliber<Ite recl-!iil-
     Treatment and Subsequent Course                              lenge test with ol.mesartan W<lS undertaken becat.ts.e
      Most of the patients in our study ·h~d undergone            of the life-rhrearening- nature of the syndrome, al-
     several. therapeutic trials, withoui apparent clinical       though 2 patient~ reported anecdotally that their
     benefit, before referral.to Mayo C,:linic, i).lduding t~~   symp\oms had wqrsened when ihey restarted ol-
     use .of a glt1ten-free d.ier f0r months (n"'<i!O), sys. · n~esartan before the pott;nti~l associ:ation was n;cog~
     temic corticostemids and/or budesonide (n=2Q),              nized, and 2 patients experienced imptovement
     opioicl•derived antidiarrhea.l agen,r.s (most Qf~t::ll \Q.- when olmesart.an wa;; stqpped whc;n th~y wer~ hos-
     permnideJ(n=lO}, pancreatic en,zymes (n=4), bile            pitalized (for dehydration and. hypotension) and
     add sequestrant (n=4~, metronidazole (ti=4), az~­           wo\'Se1\ed i'i1 the weeks followhig clikhiiige and re-
     thioprine{n=J); and ow·eotide (n=3).                        tmrodl.lct!ort of ·olmesanan. Resol1.1tion of the 1ore-
          ·dirtical respo:nBe was observed in all22: patients    senting sytnpt<;ims and subsequl'!m his~ologtc irn;-
     ~.fter su~pension of ol:m.~:~rtan ..B~jcles rapgring.of     prove.merg after suspension ()[ olm~rtl\n. fn. the
    corticosteroids, no medicatiOn was needed to con-            absence of clinical evidenQe of mher-di$eases:associ-
    trol diarrhea after clihlcal response >Vas achieved          ated w;th enteropathy, suggest thatthe association is
    \Vith s~ension af the drug.. Patients fqllowing a            not Ukely to b:e due to. c~n;:e.
    gluten-free diet were advised to abandon the diet                  Pathologic findings in the duodenall)iopsy !"an
    immediately if they lacked tl1e celiac susceptibility        mimic cellar::. disease or collagenous sprue. Clinico-
    gel'IOty.pes.or to gradually reintroduce gLuten ifthey       pathologic correlation is ad,'ised to confirm the di,.
    were H!.A-:OQ2 ·O.r PQS positiv.e. N.a P<tl.Jem h<~d         agl'!osis of olmes;trt:<m-associ;!led.eQterop;tthy. Patb:olog\c
    recurrent:e of symptoms aftecr restarting a. gluten-         evidence of involvement of other org!lns (eg, the
    MayoCJiil PrO!!. • Augu.sl2012,!17!8h13N38 • I\HpJti:fx.doi.org"llQ.ll,llo/i.maye:cp.2D12,0S.003                                735
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          to~                    !>JQq:         Yes        No      I\IA1NA NOrma!                                 54      NA                                                             Normal
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    7     P.nrtiiil              >109           NO          No      No!NO.        i'{i!f!llOi                    IS~      Nl\                                                           Ndr:i'NII
    ~-··-·r~f                   49'~­           Yes.       No      •N:NNA ·J'!O~                                 1:4-l'   l)'1ll~~i:ylic~•(HP"!'&.~e,.~os)ain)                          No~
    9    Totai                  ~ilo            y..,.      -No      NolN9        Nof!llOi                        rea      NA                                                            1:\iA
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         l'a,:ti;\1                 50          Yes
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   13.   T<t.al.                    40          Ye,        Y~s     N,O.iNA ~~                                .)71         A<:l:ive chrorit ll"'"itlS (HP· nega!lye. l<l1n]Ungs1ain) NA
   H.
         :~                     ?;Q,6Q:         No        ,'No     N~ -~                                         2!\~     l"liid;~:ciirbni<gi!ll~ (HPlJ~ailv~; ~rJ<;sta!h) Nil
   ~~    "total·               Norma!           N9         Ye>     NNNA NPrroal                                  181      Mild clirorucga;Jit!s <f::iP~ega1ive;no frh~no>t;iln)     Nor;ii;d
   I~    t~l                   ,NI;rr.w         Nh         Y.~;·   .l'i!OJN<i.   l\l(mr.ai                       Gilt     G>l~cllciUS·lf<lstiiti$   .,    ··                       ·    ¢olfa~."' C'oliL,
   17    r:o1~1                40'60            y;;.       Yes     'No!NO        :Ni\                       Nil.. Miid chr,;;,k;?astii~:(H~ ri~live; nainiili1lri6rtairl}               FQcal.aciJtc cQlhis
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        OLME;SARTAN AND ENTEROpATHY




                                                                              Finding SI!)f!l!bowel bac~erialovergrowth.in 12
                                                                         patients: is iiUrigui:ng and cofuiistent With prior ob-
                                                                         S~rvatiG.hS of asscf:iarion of slllilll bower bacterial
                                                                        ove.tgrowth and entetopath}' in. symptomatic p·a·
                                                                         tienrs ;vith cellae disca5e?0 ;21 The re;;tson for this
                                                                        association is un1::nown. Thus .. alt4ol!gh small bowel
                                                                        bacterial overgrowth is a weU-ri:cogrrized cause of
                                                                        chronic diarrhea in the right dini<;al setring,22 in this
                                                                        series. the lack t:Jf clinicai resp(mse to. oral antibimics
                                                                        sugge;;ts that gl!stroimestinal symp.Nms 11re not ex-
                                                                        plained by the effects of an increased number of
                                                                        bacteria in the small bowel.
                                                                             Then'iechanism:s underlying olinesartan-associ-
                                                                        ared enteropathy <1te unknown. The long delay.
                                                                        between onset of olmesartaQ th;;:rapy am;! the devel·
                                                                        opmenr of diarrhea (and ent~ropathy) suggests cell,
                                                                        mediated immunity damage rather than type I hy-
                                                                        persensitivicy:. Receruly, angiotetlSin :receptor blockers
                                                                        have been suggested to have inhibitory effects on
                                                                       transforming gmwth factor f3 aclion?·3 •2-t Tran.s-
                                                                       fomringgrowrh factor {3 is cmc;i;llly important in the
                                                                       ma!nremince of gm immune homeosllisis.25.26 01-
                                                                       niesartan is an orally admlnistrat!Jd prodrug (alm-
                                                                       esanan ntedoxomil) that is rapidly metabolized to
                                                                       the active eomponent {olmesartan) by esterases in
                                                                       the gastrointestinal mucoSa,. portal blood, and
                                                                       liver. 27 Nevertheless, the possibie roie of transform-
                                                                       ing growth factor f3 inhibition In olmesartancass.oct-
                                                                      ated enteropathy is a questton that requires inve$ti•
                                                                       gation. We do nor know if oth,e,r angiotensin IT
                                                                       receptor blo.¢ken; can be a5$0(,:i<!ted wi~h a similar
                                                                      form of enteropathy, but active investigation fot
                                                                      similar cases ainong patients ·using other drugs of
                                                                      the satrre dass is under v.•ay. All our patients with
                                                                      olmesanancasso.::iated emeroparlly r!!ceive:c) antihy-
                                                                      pertensive drugs from a d ifferem dass after susp~n­
                                                                      siori of olmesartan. HLA-DQ2 was present in 68% of
                                                                      patients with olmesartan-ilssodated enteropathy, a
                                                                      prevalence higher than the 29% to 30% expected for
                                                                      1he gener~! popql:,uion.28 .29 suggesting thaL perhjips
     stomach (lhd colori}sligg!!st$. that th~~ diso.r(jer mi)y
     affect the entire gastrotntestinal tract. We provide
     evidence of resolulidn of inflammation an:d!odibro-
    ·sis in the.stomach and duodenum aftel' suspension
     of olmesartan, i·mPi>ing tb;.~t the·se cha.nges are asso-
    ¢illted. with the use of olmesartan. Even thougit fol-              Gastroi~teSti!lai >Ymptoms· (eg. 'QWor](i; ·d~i'if,~ii.
     low-up cplonoscopies.were nor performed in the 5.                      y.teigh~ (q~s. ste<,~ton:tr~Y
     patients with documented microscopic colitis, clin~                N~ti\i~                · ··      ·· ·: ~e;antl~~ (ot
    leal remiSsi:ori was achieved in all of these parieiits. a             .,~®>

    ve\y unlikely omc:or.ile in the presence of persistent              Ev(denc~ ~f entetQp;l.thx· (~IIQ:u~ ~Pbi) With or
    lnfiammatlon o.r fibrosis of the colon. Recovery of                    Witflo\it. El;)li;\g,en 9~~o~jtion q(ir.itt.!e.pi,llieJia!
    duodenal mucosa in a relatively short time (mE:dian                    irl'liJ?.hOG)'tosi~       · · ·
    of 8 months from susperislon of olmesartati to [()1-
                                                                        ·4~ . gti$In~~~~iise'it:Qw~~aJu~l~iJ.
    low-up bi0psies) is a relevant clinkal obsen:atilln
                                                                        E~du~lo~ i:lf ~th§:r ~A~es of ¢i'it~®ly (!lg; <;eli~c
    beo;:ause mucosal recovery in other small bowel dis-
                                                                            dise~~,
    ordets·, such as tetiac disease, ml!)' take yea<S to oc-
    cur despl<i:!· !tdherenae t() ;a gh.tten~free c;!iet, e;;pe-
                                                                        Evtiierili~·Btdibikbiml · /           ·· .~.:ll¢~ :iM.~         ··
    cially in older aqults. 18' 19                                   •~c .: 5 ~~ffii$]~~tJ,~ ; •
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                                                                                                                                      MAYO CUNiC PROCEEDINGS




                     the pr~sence of HLA-DQ2 may in.crease the risk of                               11~      t..pd!ose B. ?.gs5if:Y11 E. Prtt._~~~e;e:- K Endom-r.:t~;m.an~q.qdfes ;..,
                     i~~une-mediar~d damage in these padenrs. This may                                        cce{iat dise~ ~, itnprovep rnEthoQ. Wt 1994;35{6):776-77a,
                     be anomer example of drug-associated enteropathy of                             12..     Ak"i!m 5, ~1vn•ay      JA. Pa<<:!.i 05, er ol Ad.Jit >wtoimrnu".e en•
                     which the medical community sho.tild be aware and                                   teropaihy; Mayo airiic Rochester experience. Oin Gasrf.:;En~
                     could .result ·[n the id.emifieation of several more CJSes.                        t,e;ol Hep9to!. 2007:.5{ I ! ).: r2B2~ 119-J; qui.z r245.
                                                                                                    13. Miltih MN. Gluten. maJor. histocompatibi~ty c::otnple:<. artdt~
                                                                                                        $-JTIZiil intestine: a. mo!ecul~t and lmnf\Jriobidlogic appiqa(h to
                     CONCLUSiON                                                                         the sp~ctrum. of glute~ sens1t)vit;1 ('Celiac sprue~j. G,str:enter-
                 We report a unique case series to support a novel                                      ology. 1991: I02( J):330-354.
                 association between sevet<! ~prueli.ke enteropathy                                 14. Patey·C"lar:a•.Jd o~ S&•-eN. Cel!ier C. jabri 3, eta!. Di!i'Jncliqn
                 anc\ olmesartan. Physicians who encoqmer patients                                      between ceeliac disease alid ref..-actOr.y sprue: a simp~~- immu-
                 With diarrheal syndromes should Consider ritedieil-                                    nehlSt.ochem]ca! rnethtct HJstcparhofogy. 2000:37~ I):70-77~
                 tions as a cause, although the potential role for ol-                              15. A>'lt.O'\·K~; 1"1. Dss TC, P,;,1 L D·J MQ, isaa= PG. Malecula-
                 mesctnan had not been considered in these palio;:nts                                        analysis .ofT-<:e!l.cfonaftty ki ulc~r.niv= jej~ and enteropathy,

                 by.any a[ the physicians prescribing the medications                                   associated T cclllymph<lma Am JPvtltDI. 1997; 15 I (~):493-49R
                                                                                                    16. Pardi DS. Kelo; CP. Mi<r<:j<eopic co/his. G<Jsrmei>temiagy. 201 \:
                 or treating the diarrheal illness.
                                                                                                              140(4):1155-116~.
                Grant Support, This·studyw-,s.supported by Nmionallnstb                            17. Rb'slom: >\ t1Umy )A; Ki!gnoff MF. A'l1Grican Gast:ue~rec­
                Mes of He~ith gra.'lt ROJ..OKS7892 QAM.); Amem:an Col·                                 o!ogical Associarion (AGA) Institute technical review on· t~e
                lege of Gastroenterology junior Faculty Developrnent Av.'<lfd                          diagnosis and management' of <'el'ac di.s.,;&;: Gasuuemerology.
                (AR.-T.): The Swed';s,'1 Society of Medicine. the S•Nedish Re-                         2006:! li (6j:['181-2002
                search Cauncil- Medicine (52£-1A09-1'95), the Sv;ed•s.'l Ce-                       18. Rubio-TaPia A, Rah.ith MW, See JA..i.,ohr BD. WrJ TT, MiJJT<J)'
                iiac SGJciety, and the Fulbright Commission q.F.L).                                    JA M~9sai ~aVe')' and mortaiiry.in adulis with celiac disease
                Corresprinderice, AQdress to Joseph A Murray. MD. Division                             after tfe:atr:nenl with a gluten.free. !:ti.~t A.m J Clas(IoenreroJ.
                of Gastroentemfogy and Hepato(c®r. Mayo Oni:. 200 Fir5t St                             2010:105(6):1~ 11·1420.
                SoN. Rochester, MN SS'JOS (m..,n-a.y.joseph@mayo.edu).                             19. Wahab Pj•. f·lcijcr r.tv. Mulde• C). Histo!oi;t io!IO.v-up of
                                                                                                       Pe:;tple with celiac d~ase crt ;~, g;uten.-free die;: slow and
                REFERENCES                                                                             incamp!ete roco'.le•)'· Am ] Girt Pa<hol. 20£n; I 18(3):459-463.
                 1. The Se,.enti> fl."9oi1 of tm joint N~tibrial Ccm.,;ttee on p, e-               20.      Tun;i A. Brandimarte G, Glor:gem G High ;!t""'i!IM•e of irtlall
                     v~mtion. Qetection, Ev~tq~Jon. a:Ki Tt~atme."t of Hig,~-t Bfood                        fntbi:inal bactedal ove.rgrcwti"i in !!eli~!(: pat!ems with persis-
                     ~e Betiies®, MP: National 11'\Stitutes of Heaiti1, Nati.oro.ll                         tence uf gas"l!Oint~.stina:f symptoms after glut!Y'l wfthdrawal.
                    Heart, ~ and BfOOd lnsmuie. US Depa-unent of Hea~h and                                  Am j Gostroemerol. 200~;9.8(4):839-B43.
                    HlSil:l-'1 E-er...ia!:;: ict.14. N!ff·Pubth:aiiqnl No. Oi-523Q.               21.       P.ubio-Tapia A. Ba<ton SH. Rose~blattjE. f"iu,.ray            JA.   Preva·
                 2. Zieglsr TR F'emandez-Esavatit C. Gu LH, Fr7ed MV-1, Leder                               lenc:f;: of small int~""tine baaedaf overgro<.vth diagno~d by·
                    G"l Severe ~illus·att'ophy a.~d ct.·onic rnalab!<o'Dtion iaduc!)d                        quantit.ati?.e !:Uiture of intertinal aspirate· in .cellae: disease. JO.n
                    by azathioprine. Gastrt.!mei'\iid!."i· 2003d:H(7):1950-f957.                             Gt:!stO>Er.terof. 2009:43(2):157-!61.
                 3. l<"""'r N, Faure P,. Dup:.ns E. et. .t. Villous atrophy· induced by           22.        Teo M, Chuog 5, Chitti L, et al. Small bowl!! bade~~~ ove•·-
                        myCopheno!ate: mofeti! in renal-tra.nSp.iarrt·patientr.. Tra'1~f)J fnt.              grtrMh is a ccmmon ·ca"vse·ofChronic diarrhea J GaSltr.enterof
                    20(}1;17(8):463·46.7.                                                                   Hepatol. i004: 19(8):9CA-969.
                4. Wecti!Wi.a!< H, Owld-Moi\2:ned A. 8o1,1met 8. et ai. D"ode~;;i                 23.       Matt P. Scho~nh.off •. Haba.<hi ), et al; Ger<TAC Coosortium.
                   viJlous atr:ophy: a cause or chronit:: diarrhea after ~fid-orga?                         Gr¢ulating transfoJming growih f.m91"·ileia· in i'larf'an· syn·
                   b<~splarita\ion, Am j Tror.spicflc 20 I l; II (3};575-58~.
                                                                                                            drorr"'· Orculatirm. 2.009: 12P(6);516-5l2.
                5. R<iliia-Tapoa A Taltey NJ, Gurudu SR. Wcr TT, l"lurray ]A.                     24.       l<a~arni S. &,,.de' WA. Miiler DE. Nos/e NA. ·A,giatensin ii
                   Gluten·f.~ diet and srerold lrewnel!t are e!fec;'J\le therqpy
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                   fer most patients wilh coilagenous Sprue. Oi(l 1:\ostroent>ll(l!                         tion o(transrorrning ~\vi_h factor.. Qeta expresSio..""l in rat giO.
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                          Exhibit D
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  EDITORIAL

 Sprue-Like Enteropathy Associated With Olmesartan:                                                                    (lcrossMark
 A New Kid on the Enteropathy Block
 Enteropatia Tipo Sprue lnduzida Por Olmesartan: Uma Nova Entidade no
 Campo Das Enteropatias

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 b Division of Gastroenterology and Hepatology, Mayo Clinic, Rochester, MN, USA




 Sprue-like enteropathy associated with olmesartan, first                  Severe sprue-like enteropathy associated with olmesar-
 identified by our group in 2012, 1 is characterized by chronic         tan appears to be rare although a spectrum of disease
 diarrhea (often severe) and weight loss that is unresponsive           severity may be possible. 2 The annual incidence rate of
 to a gluten-free diet. Laboratory work·up commonly reveals             enteropathy in a French population-based study among
 non-specific anemia, hypoalbuminemia, electrolyte imbal-               patients treated with olmesartan for at least 6 months
 ance, and vitamin deficiencies, consistent with a severe               was calculated at 1.3 cases per 1000 individuals per year
 malabsorption process. Histopathological findings include a            (95% confidence interval (CI) of 0.5-2.6). 3 This rate is not
 combination of duodenal villous atrophy, Increased intraep·            significantly different from the rate of 0.63 cases of inci-
ltheliallymphocytes, and a thickened subepithelial collagen            dent celiac disease per 1000 reported by the Mini-Sentinel
layer (collagenous sprue). Histologic changes can be limited            (95% Cl: .38-.99) (p=0.16). 4 The Mini-Sentinel reported that
to the small bowel, or may include the entire gastroin-                rates of incident celiac disease were of similar magnitude
testinal tract, with findings such as lymphocytic/collagenous          for all angiotensin receptor blockers with, for instance, a
gastritis and colitis. Individuals with sprue-like enteropathy         rate of 0.43 cases per 1000 (95% Cl: 0.33-0.55) for losar-
associated with olmesartan have negative celiac serology.              tan. Mini-Sentinel data therefore suggest that enteropathy
The majority may have either HLA-DQ2 or DQ8 haplotypes                 may be a class-related drug effect. Such a hypothesis is
(61-81%); 1 Diagnosis of olmesartan associated enteropathy             supported by sporadic case-reports of enteropathy possi-
should therefore be considered in cases of villous atrophy             bly associated with irbesartan, 5 losartan, 6 and valsartan.7
with negative celiac serology (so-called seronegative villous          However, a nation-wide case-control Swedish study failed to
atrophy). Confirmation of diagnosis requires clinical reso-            show any association between the use of either angiotensin
lution of symptoms after olmesartan withdrawal. Mucosal                converting enzyme blockers or non-olmesartan angiotensin
recovery is also expected within 3-6 months of olmesartan              receptor blockers and subsequent villous atrophy. 8 Thus,
withdrawal and a follow-up duodenal biopsy is reasonable.              there is clear predominance of published data relating olme-
                                                                       sartan to enteropathy (Table 1).
                                                                           Sprue-like enteropathy associated with olmesartan
   DOis of original articles:
                                                                       should be ruled out early in the investigation of patients
http:/ /dx.doi.org/10.1016/j.jpge.2015.10.007,                         with Seronegative villous atrophy. Indeed, a case-series
http://dx.doi.org/10.1016/j.jpge.2015.12.003,                          on n patients with seronegative villous atrophy found
http://dx.doi.org/10.1016/j.jpge.2015.09.005                           the most frequent etiologies to be seronegative CD
 • Corresponding author.                                               (28%), medication-related (26%), unclassified sprue (14%),
   E-mail address: rubiotapia.alberto@mayo.edu (A. Rubio-Tapia).       autoimmune enteropathy (4%), and giardia (4%). 13 Of the

http://dx.doi.org/10.1016/j.jpge.2016.02.005
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    Olmesartan and enteropathy                                                                                                               63

    medication-related seronegative villous atrophy, roughly                   provide further information to aid in diagnosis of this emer-
    84% were attributed to olmesartan. 13 Early identification                 gent disease.
    of individuals with sprue-like enteropathy associated with                     In their case-report, da Silva et al. outline a practi-
    olmesartan is clinically relevant as symptoms can be severe                cal algorithm to approach diagnosis of seronegative villous
    and/or life-threatening with expected clinical response                    atrophy that does not respond to a gluten free diet. 32 The
   within days of olmesartan withdrawal. 1                                     first proposed step following testing for celiac serology is
       In this issue of GE Portuguese Journal of Gastroenter-                  a review of the patient's medication list. In the four cases
   ology, case reports by da Silva et at. 32 , Carneiro et at. 33              reported in this issue, symptoms resolved within 48 h to one
   and Eusebio et at. 34 , highlight the importance of consider-               week of discontinuation of olmesartan. 32 - 34 Trialing a patient
   ing sprue-like enteropathy associated with olmesartan when                  off of a medication early on in the evaluation of sen.meg-
   approaching a patient with seronegative villous atrophy and                 ative villous atrophy could therefore provide both a rapid



                                                                                    Supporting evidence:
                                                                                     • Patient taking olmesartan
                                                                                     • Confirmation of small bowel histology findings
                                                                                       consistent with villous atrophy and/or
                           Suspicion of Sprue-Like Enteropathy         <~==::~I        collagenous sprue
                              Associated with Olmesartan                             • Negative EMA, tTGA or DGP serology at
                                                                                       some time during clinical course
                                                                                     • Absence of clinical or/and histological
                                                                                       response to GFD
                                                                                     • Presence of HLA DQ2/DQ8



                                                                       ==="v
                                                                      1C
                                                                                    IEvaluate for other causes of seronegative
                                                                                     villous atrophy'                                   I
                           Step 1: Olmesartan withdrawal
               Consider budesonide or IV steroid for severe clinical
                presentations, recurrent hospitalization, and partial
                              or slow clinical response
               Nutritional Assessment and lnte!Vention as Indicated




                                                     1 No Response 1

                Step 2: Liberalize diet &
                                                 I
                                                           !
                                                       Other cause?        j
                    monitor iJrogress
                  "Consider follow-up
                  duodenal biopsy to
                   document healing


                              l
                 Step 3: Understand the
                    clinical indication of
                         Ofmesartan
                  Reassess the need for
               alternative medication with
                 primary care physician2




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               Step 4: Ongomg Follow-up      I
 Figure 1 Proposed Management for Patients with Sprue-like Enteropathy associated with Olmesartan. 1. Differential diagnosis
 includes (but it is not limited to) seronegative celiac disease, other drug-related enteropathies, autoimmune enteropathy, tropical
 sprue, small-bowel bacterial overgrowth, hypogammaglobulinemic sprue, Giardiasis, refractory celiac disease, Whipple's disease,
 collagenous sprue, and unclassified sprue. 2. If there is a need for continuation of alternative therapy, we recommend to use a
 different class of medication whenever is clinically possible.
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Case 1:15-md-02606-RBK-JS Document 1069-3 Filed 03/31/17 Page 133 of 332 PageID:
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   Olmesartan and enteropathy                                                                                                              65

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                          Exhibit E
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               Protected Information13166 - Steven M. Lagana, M.D.

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                      2                                 FOR THE DISTRICT OF NEW JERSEY
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                                    IN RE:  BENICAR                                                                                 MDL NO. 2606
                      6             (OLMESARTAN) PRODUCTS
                                    LIABILITY LITIGATION
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                                                                                          February 7, 2017
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                                          Oral expert deposition of
         : 15                STEPHEN M. LAGANA, M.D., taken pursuant
         :


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      '
                             to notice, was held at the law offices of
      i 16                   Robins Kaplan LLP, 601 Lexington Avenue,
                             Suite 3400, New York, New York, beginning
      ! 17                   at 10:09 a.m., on the above date, before
                             Kimberly A. Cahill, a Federally Approved
      . 18
                             Registered Merit Reporter and Notary
                             Public.
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             21
             22                                     GOLKOW TECHNOLOGIES, INC.
                                                877.370.3377 ph I 917.591.5672 fax
     i 23                                                deps®golkow.com
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     Golkow Technologies, Inc.                                                                                                                                    Page 1
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                 Protected Information - Steven M. Lagana, M.D.
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      Golkow Technologies, Inc.                                                     Page 2
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                       Protected Information - Steven M. Lagana, M.D.

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               2                          I N D E X
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               5      Testimony of:  STEPHEN M. LAGANA, M.D.
               6       By Mr. Parker                 8
                       By Mr. Slater                 394
               7

               8
               9                      E X H I B I T S
           10
          11

                     NO.               DESCRIPTION                    PAGE
          12
          13            Lagana-1        Notice of                     8
                                        Deposition of
          14                            Stephen M. Lagana,
                                        M.D.
          15

                        Lagana-2        Packet of Bills               8
          16                            from Dr. Lagana,
                                        Beginning with
          17                            "Bill 9 - General"
          18           Lagana-3         Rule 26 Expert               53
                                        Report of Stephen
          19                            Lagana, M.D.
                                        Regarding General
          20                            Causation
          21           Lagana-4         Document Entitled            107
                                        "In re: Benicar
      • 22                              (Olmesartan)
                                        Products Liability
      !   23                            Litigation
                                        Supplemental
      : 24                              Reliance List for
      I
      i                                                                             I
      L.~- ·--··-------~-
                                                 ------------------------~
      Golkow Technologies, Inc.                                            Page 3
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          1               himself has come to the deposition
          2               room and said this patient has
          3               never touched olmesartan before
          4               this developed and then started
          5               taking olmesartan after that?                   Is
          6               that the situation that you're
          7               describing?
          8                        MR.   PARKER:       Well,     I didn't
          9               invoke God, but I'll make the
        10                question eas1er for you.
        11     BY MR.     PARKER:
        12                Q.       Is someone 1s diagnosed with
        13     unclassified sprue who has never taken --
       . 14    and let's just say his doctors say so and
        15     patients say so -- never taken
        16     olmesartan, they can continue to have
        17     unclassified sprue notwithstanding the
        18     fact that they're now taking olmesartan.
        19               A.        I think that's a possible,
        2o     although quite rare,             scenario, but I do
       : 21    concede that that 1s a possible scenario.
       ! 22    I would also just add to that, we don't

       ; ::    know in those patients if olmesartan                                J
                                                                                   1




       L~---c~o~~l~--c~~trib~_t_e___ or make -- or exacerbate .
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            1   their sprue.            For instance, we don't know
            2   ln -- there are patients who have                         just
       I    3   based on epidemiology, there are
            4   certainly patients who have true celiac
            5   disease and who have been prescribed
       I
       I    6   olmesartan.        We don't know if the
       I    7
                olmesartan affects those patients
            8   differently than patients without celiac
            9   disease.
           10             Q.       And there's no literature to
           11   suggest that it does.
           12                      MR. SLATER:          Objection.
           13                      You can answer.
           14                      THE WITNESS:           Or doesn't.
           15                      MR. PARKER:          Let's talk
           16             about the affirmative.                Nobody's
           17             published a paper of any type
           18             positing or proposing that a
           19             patient with celiac disease lS
           20             made worse if they start on
           21             olmesartan.
       i! 22                       MR. SLATER:          Objection.
       ' 23                        You can answer.
           24                      THE WITNESS:
                                           ~-
                                                          There's
                                                ----~------·----·----~-~~-~--~-
                                                                                  J   I

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                .. ·-···-·· - - - - · · · · · - - · - - - · · - - · - · ·   ·~----




            1                                      nothing in the published
                                                   literature to that effect yet.
            3       BY MR.                         PARKER:
            4                                      Q.                       Now, golng back to my
            5       question about unclassified sprue, it is
            6        reported in the literature that patients
            7       who have unclassified sprue, some number
            8       of them spontaneously resolve.
            9                                                               Have you seen that in the
           10        literature?
           11                                      A.                       That sounds familiar, but
           12       before I agree to that point,                                            I'd like to
           13        --           if you have something with you that
           14       documents that, I'd like to confirm that.
           15                                      Q.                       Sure, sure.
           16                                                               Have you ever seen that in
           17       your clinical practice, of patients with
           18       diagnosed unclassified sprue resolving
           19       spontaneously, or has it been reported to
           20       you by your colleagues in the GI section?
       ; 21
                                                  A.                        And for the purposes of this
           22       question, we're excluding the cases seen
       1
           23       at Columbia who were thought to be
       I

       ! 24
       !            unclassified and later categorized as
       I                                                                                                       I
       L-.-~·---------~----------~------·--------·--------·--- - -                                       ______j
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                                                                                                    ---------- ---------------------1


            1         olmesartan?
                                                                                                                                    I
            2                                Q.                 Yes,             I'm not involving
                                                                                                                                    !
       !    3         olmesartan at all.
            4                                A.                 Okay.                    I don't remember a
            5         case, but I don't think it sounds
       '
       '
       :    6         unreasonable.
            7


            8                                                    (Deposition Exhibit No.
            9                                Lagana-6, 2016 Original Article
           10                                "The clinical and phenotypical
           11                                assessment of seronegative villous
           12                                atrophy; a prospective UK centre
           13                                exper1ence evaluating 200 adult
           14                                cases over a 15-year period
           15                                 (2000-2015)" by Aziz, et al, was
           16                               marked for identification.)
           17

           18         BY MR. PARKER:
       ' 19                                 Q.                  Doctor, Exhibit 6 1s a copy
           20         of the study by Drs. Aziz and others,
           21         which your colleague, Peter Green, 1s a
                                                                                                                  .
           22         co-author on.
           23                                                   Do you see that?
                                                                                                                                    I
           24                               A.                  Yep.
                --- ----·---- ----·--- ------------ ·--·-·-------· -------------------   ~-~----------~------
                                                                                                                            __j
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                          Exhibit F
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                         ,     a.......          ...     •     ..... ••     ,.... ..........        I~            I    ~"'       ..   A.

                                                                                                                             ·             Coeliac disease

                                        'ORIGINAL ARTICLE

                                          The clinical and phenotypical assessment
                                          of seronegative villous atrophy; a prospective
                       JJ                 UK centre experience evaluating 200 adult cases
                                          over a 15-year period (2000-2015)
  ~-.w.-...--•lmran Aziz, 1•2 Mohammad F Peerally, 1 Jodie-Hannah Barnes, 1•2
                                        Vigneswaran Kandasamy, l.2 Jack C Whiteley, 1.2 David Partridge, 3 Patricia Vergani, 4
                                        Simon S Cross, 2.4 Peter H Green, 5 David S Sanders 1•2

    .- Additional material is            ABSTRACT
    published online only. To view        Background Seronegative villous atrophy (SNVA) is                 Significance of this study
    please visit the journal online
    (http:/ldx.doi.orgf10.1136/           commonly attributed to coeliac disease (CD). However,
    gutjnl-2016-312271).                 there are other causes of SNVA. More recently
     1
       Academic Department of
                                         angiotensin-2-receptor-blockers   (A2RBs) have been              What is already known on this subject?
     Gastroenterology, Royal             reported as an association but data on SNVA have been            .,._ Seronegative villous atrophy (SNVA) is a
     Hallamshire Hospital, Sheffield,    limited to centres evaluating complex case referrals and               diagnostic and therapeutic dilemma.
     UK
     2
                                         not SNVA in general.                                             .,.. The causes of SNVA are vast but can be
      University of Sheffield,           Objectives To provide dinical outcomes and                             broadly grouped into seronegative coeliac
     Sheffield, UK                       associations in a large prospective study overseeing all
    3
      Department of Microbiology,                                                                               disease (SNCD) and seronegative non-coeliac
    Royal Hallamshire Hospital,          newcomers with SNVA.                                                   disease (SN~non-CD).
    Sheffield, UK                        Design Over a 15-year period (2000-2015) we                     .,..   To  date no study has systematically evaluated
    4
      Department of                      evaluated 200 adult patients with SNVA at a UK centre.                 all newcomers with SNVA.
    Histopathology, Royal               A diagnosis of either seronegative CD (SNCD) or
    Hallamshire Hospital, Sheffield,                                                                    What are the new findings?
    UK                                  seronegative   non-CO (SN-non-CD) was reached. Baseline
    5
      Department of Medicine,           comparisons    were made   between    the groups,  with  343     .,.. SNCD accounts for 31% of SNVA cases, with
    Columbia University College of      seropositive CD subjects serving as controls.                           the remaining 69% due to SN-non-CD.
    Physicians and Surgeons,            Results Of the 200 SNVA cases, SNCD represented                  .,.. A positive human leucocyte antigen DQ2
    Celiac Disease Center,              31% (n=62) and SN-non-CD 69% (n= 138). The human                        and/or DQS status is seen in 61% of SNVA
    New York, New York, USA .
                                        leucocyte antigen (HlA)-DQ2 and/or DQ8 genotype was                    cases; its positive predictive value for SNCD is
   Correspondence to                    present in 61%, with a 51% positive predictive value for                roughly 51%.
   Dr lmran Aziz, Academic             SNCD. The breakdown of identifiable causes in the SN-            .,..   An   independent risk factor associated with
   Department of                       non-CD group comprised infections (27%, n=54),                          SN,non-CD is non-white ethnicity; suggestive of
   Gastroenterology,                                                                                           infective aetiology.
   Royal Hallamshire Hospital,         inflammatory/immune-mediated disorders (17.5%, n=35)
   Sheffield Teaching Hospitals,       and drugs (6.5%, n=13; two cases related to A2RBs).              .,.. Overall, almost one in five patients with SNVA
   Sheffield 510 2JF, UK;              However, no cause was found in 18% (n=36) and of                        will have no identifiable cause; reassuringly,
   imran.aziz@sth.nhs.uk               these 72% (n=26/36) spontaneously normalised                            the majority of these will spontaneously
                                       duodenal histology while consuming a gluten-enriched                    normalise duodenal histology despite
   Received 17 May 2016                                                                                        undertaking a gluten· challenge.
   Accepted 15 August 2016             diet.  Following  multivariable logistic regression  analysis
                                       an independent factor associated with SN-non-CD was             How niight it impact on clinical practice in
                                       non-white ethnidty (OR 10.8, 95% Cl 2.2 to 52.8); in            the fo.r¢seei!ble future?                  ·
                                      fact, 66% of non-whites had G! infections. On                    .,.. Individuals with. SNVA shouh;l not be prescribed
                                      immunohistochemistry all groups stained positive for                     a glutencfree diet prior to further investigations.
                                      COS-T-cytotoxic intraepitheliallymphocytes. However,                     This is because of the wide differential
                                      additional CD4-T helper intraepitheliallymphocytes were                  diagnoses and that a subgroup with no
                                      occasionally seen in SN-non-CD mimicking the changes                     obiiious aetiology spontaneously normalises its
                                      associated with refractory CD.                                          duddehal' histology while maintaining gluten
                                      Conclusions Most patients with SNVA do not have                          intake~
                                      CD, in particular those who are not white. Furthermore,
                                      a subgroup with no obvious aetiology will show
                                      spontaneous histological resolution while consuming
                                      gluten. These findings suggest caution in empirically          immune response to ingested gluten in genetically
                                      prescribing  a  gluten-free diet without   investigation.      susceptible individuals. 1 2 All patients with CD
   To cite: Aziz I, Peerally MF,                                                                          carry the human leucocyte antigen (HLA)-DQ2
   Barnes J-H, et a/. Gut
   Published Online First:                                                                                and/or DQS genotypes, although these alleles are
   (please indude Day Month           INTRODUCTION                                                        also present in approximately 40% of the general
   Year] doi:10.1136/gutjnl-          Coeliac.disease (CD) affects 0.7-1% of the popula-                  population. 3 A cast-iron diagnosis of CD can be
   2016-312271                        tion and can be defined as a state of heightened                    made on the basis of demonstrating duodenal
  BMJ                                                  Aziz I, eta/. Gut 2016;0:1-10. doi:10.1136/gutjnl-2016-312271                                   •        1
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          Coel~ac      disease
       villous atrophy in the presence of serum IgA endomysia! ancl/or                                MATERIAL AND METHODS
      tissue transglutaminase antibodies.-4-6 This mode of presentation                               Setting
      may be termed seropositive CD (SPCD) and following a system-                                    This study was carried out between the time periods of 2000
      atic review accounts for approximately 93% of cases with                                       and 2015 at the Royal Hallamshire Hospital, Sheffield, South
      villous atrophy/ although some international groups have                                       Yorkshire, UK. The hospital is located in northern England and
      reported a lower prevalence (table 1). 8- 15                                                   provides a secondary/tertiary-care service to a population of
         With this in regard, diagnostic and therapeutic dilemmas                                    500 000 people. The unit undertakes approximately 6000 oeso-
      occur when villous atrophy is found in the context of negative                                 phagogastroduodenoscopies per year.
      coeliac serology. s-15 This clinical entity is termed seronegative
      villous atrophy (SNVA), the causes of which can be broadly                                      Participants
     grouped into CD or non-CD related. 16 17 The reasons for sero-                                  Over the 15-year period we prospectively recruited 200 con-
     negative CD (SNCD) include patients who have reduced gluten                                     secutive adult patients presenting with SNVA. The identification
     intake prior to investigations, 18 lesser degrees of villous                                    of SNVA was based upon duodenal biopsies showing villous
     atrophy, 13 selective IgA deficiency, 19 immunosuppressive therapy                              atrophy yet with negative serum IgA endomysia! and tissue
     or those with long-standing advanced CD within the spectrum                                     transglutaminase antibodies from the outset.
     of ulcerative jejunitis/enteropathy associated T celllymphoma. 15                                  As for our control group we recruited 343 patients with
    The causes of seronegative non-CD (SN-non-CD) are vast                                           SPCD diagnosed within the same department between the years
     ranging from infective, inflammatory, immune-mediated and                                       2005 and 2011.
    drug-related. 16 17 Such examples include autoimmune enterop-
    athy,20 bacterial overgrowth, 16 common variable immunode.fi:                                    Histology
    ciency/ 1 Crohn's disease/2 gastroenteritis, 23 giardiasis/4 25                                   Throughout the study period the gastroenterology department
    graft versus host disease, 26 HN enteropathy, 27 mycobacterium                                    had a policy of taking four duodenal biopsy specimens from the
    tuberculosis, 25 28 peptic duodentitis±H. pylori, 17 29--32 radiation                             second part of the duodenum in those with suspected malab-
    enteritis,33 tropical sprue 25 34 and Whipple's disease. 35                                       sorption. All duodenal biopsy specimens were .fixed in buffered
   Medications include non-steroidal anti-inflammatory drugs, .36-.JS                                 formalin and embedded in paraffin wax. Standard 3 j.lll1 thick
   azathioprine,39 methotrexate,40 mycophenolate mofetil41                                           sections at three levels were stained with H&E. The duodenal
   and, most recently, angiotensin-2-receptor-blockers (A2RBs),                                       biopsies were routinely reported by one of a team of seven GI
   in particular olmesartan. 16 42--45 Finally, in some instances no                                 histopathologists. Agreement was then performed by one of two
   unifying cause can be found and such patients are classified as                                   expert GI histopathologists reviewing SNVA biopsy samples
   idiopathic/unclassified sprue, the natural history of which is                                     (coauthors SSG and PV). Intraepithelial lymphocytosis was
   unknown.16 17                                                                                     defined as >25 per 100 enterocytes: Villous atrophy was identi-
       Studies attempting to evaluate diagnostic outcomes in SNVA                                    fied according to the Marsh-Oberhuber criteria, using the most
  have thus far been limited to a US centre overseeing complex                                       severe lesion present: Marsh 3a (partial villous atrophy, PVA);
  case referrals from a wide catchment area. 16 In such circum-                                      Marsh 3b (subtotal villous atrophy, SVA); or Marsh 3c (total
  stances a high prevalence of SNCD and olmesartan-related                                           villous atrophy, 1VA).46 47
  enteropathy has been reported, the latter accounting for a strik-                                     The groups were also assessed for differences in immunohis-
  ing 22% of SNVA cases. 16 However, we hypothesise that this                                        tochemistry based on CD3 pan-lymphocyte marker and specific
  may not be reflective of SNVA as seen in routine GI practice.                                      CD8-T cytotoxic and CD4-T helper intraepithelial lymphocyte
  Furthermore, the clinical and histological phenotype of SNCD                                       expression.
  and SN-non-CD has not been established, nor how these entities
  contrast to the more conventionally seen SPCD. Such an evalu-                                      Coeliac serology
  ation may prove useful in understanding the spectrum of villous                                The initial panel of coeliac serology testing was IgA based, with
  atrophy while also aiding clinicians towards the correct diagno-                               endomysia! antibodies detected by immunofluoresence on
 sis when posed with the challenges of SNVA.                                                     primate oesophagus sections from The Binding Site
      In light of this, the aim of our study was to provide a large                              (Birmingham, UK). IgA tissue transglutaminase antibodies were
 comprehensive overview of all patients with SNVA seen at a UK                                   assayed by using ELISA kits (Aesku Diagnostics, Wendelsheim,
 centre over a 15-year period. Furthermore, we sought to iden-                                   Germany), with titres less than or equal to 15 U/mL taken as
 tify differences between SNCD and SN-non-CD, using SPCD as                                      negative. Of note, our immunology department does not auto-
 controls.                                                                                       matically test for immunoglobulin or total IgA levels when


    Table 1 Studies where coeliac serology have shown loiN sensitivities in viiious atrophy.
    FirSt aUthor         Year          Country                        No of villous atrophy cases.        Positive coeliac serology, I! (%) . . . ·. Negative ·coeliac serology, n (%)
                 8       1999         Netherlimds                     69                                   42 (61%)                               27(3S%)
    Rostami
    Dicker               2000         Northern· Ireland               89                                   69(78%)                                20 (22%)
    Dahele10             2001         Scotland                        53                                   42 (79%)                               11 (21%)
    Dahele11             :i.oor       5cQtland                       114                                   92 (81 %)-99 (87%)                     15 (11%)-22{19%)
    Clemerite1:i         2002         Italy .                        111                                   95.(86%)                               16(14%)
    Abrams 13            2004         iJSA                           1-15                                  74 (64%)                               41 (36%)
    Collin 1 ~           2005         European riltiliiceritl<!      126'                                 112 (89%)-118 (94%)                      8 (6%)-14 (11%)
    saiml 1 ~            2006         Finland'                       177                                  151 (85%)                               26(15%)'
     Caeliac serology as defined by endomysia! and/or tissue transglutamiflas'e ~ntibodies..

2                                                                                                                    Aziz I, eta/. Gut 2016;0:1-10. doi:10.1136/guqnl-2016-312271
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                                                                                                                                                      Coeliac disease
   processing coeliac serology. Rather, these have to be specifically                       gluten-free diet (GFD) followed by clinical and histological
   requested as does lgG coeliac serology.                                                   reassessment.4- 6 However, this can be fraught with uncertainty
                                                                                            given that up to 32% of patients with SN-non-CD report
   Baseline characteristics                                                                 favourable clinical response to a GFD. 17 Furthermore, mucosal
   We collected baseline characteristic data on the SNVA and                                recovery in adult CD is slow with histological abnormalities
   SPCD cohorts. Taking into consideration the potential aetiolo-                           often persisting beyond 2-5 years and in some cases never nor-
   gies and clinical manifestations this included age, gender, ethni-                       malising.48-50 Therefore, adopting such an approach in SNVA
   city, city residence, clinical symptoms, past medical history,                           could potentially lead to unnecessary delays given the wide dif-
  current medication, grading of villous atrophy, HLA-DQ2/8                                 ferential diagnoses. Hence, patients with SNVA in our study
  status, as well as laboratory parameters in the form of haemo-                            were asked to continue a gluten-containing diet until investiga-
  globin, ferritin, folate, vitamin B12, albumin, calcium, erythro-                         tions were complete and a firm diagnosis reached. This
  cyte sedimentation rate and/or C reactive protein.                                        approach is also useful in that it allows progression of villous
      All the data (other than age) were inputted as categorical.                           atrophy and detectable serum antibodies in some cases of
  This included converting numerical laboratory values into either                          SNCD.51
  within the normal or abnormal range, thereby overcoming the
  difficulties that arise over a 15 -year period with departmental                          Mortality
  changes in testing kits and reference values.                                             At the end of December 2015 mortality rates were calculated.
                                                                                            Overall survival was calculated in years and defined as the time
  Diagnostic workup for SNVA                                                                from diagnosis to death. Surviving patients were censored at the
  All patients with SNVA were investigated in line with a system-                           time of last follow-up.
  atic protocol, similar to that proposed by other expert groups,
  aiming to diagnose either SNCD or SN-non-CD (1igure 1). 16 17                             Statistics
  It is important to bear in mind that, despite several international                       Statistical analysis was carried out using SPSS V.21.0 software
  guidelines on CD, there is no consensus on how to -approach                               (SPSS, Chicago, USA), with significance set at a p value of
  subjects with SNVA.4-6 Some physicians may suggest a trial of a                           <0.05. A complete-case analysis approach was adopted to

                                                   Stepwise algorithm to Investigate seronegative villous atrophy {SNVA)

                                1.     Exclude immunoglobulin/selective lgA deficiency. Check for raised lgG coeliac serology If needed.

                                2.     Review chnical history and medication.

                                3. Seek opinion from expert Gl histopathologist i.e. neutrophils, granulomas, crypt abscesses, duodenitis

                                4. a) Check HLA·DQ2 and DQ8 status.

                                       b) Check HIV status, Tuberculosis quantiferon, antienterocyte and antigoblet cell antibodies.

                                      c) Check stool for giardia antigen, bacterial and viral enteritis.

                                      d) Repeat upper Gl endoscopy following a gluten-challenge of lOg/day for6weeks. Obtain further
                                      duodenal biopsies, Helicobacter pylori rapid urease test, small bowel aspirate, and Whlpples PCR.

                                      e) Consider lleo-colonoscopy with biopsies if lower Gl symptoms.

                               5.     Further investigations i.e. small bowel video capsule endoscopy at the discretion of clinician and
                                      depending on local availability.




                                              Diagnosis of SNCD                                           Diagnosis of SN-non-CD
                                         (any of the following criteria)                               (any of the following criteria)

                               1.     lgA deficiency with raised lgG coeliac                  1. HLA DQ2 and DQS negative.
                                      serology
                                                                                              2.   HLA 002 and/or OQS positive with confident
                              2. Coexisting dermatitis herpetiformls                               alternate cause identified. Subsequent
                                                                                                   treatment leads to clinical + histological
                              3.     First degree family history of coeliac disease                improvement.
                                     with subsequent response to a GFO.
                                                                                              3.   HLA DQ2 and/or 0Q8 positive with no
                              4.     HLA 002 and/or 0Q8 positive, no alternate                     alternate cause identified. Spontaneous
                                     cause found, persisting villous atrophy on                    histological resolution whilst stiU on a gluten-
                                     gluten-challenge. Subsequent clinical+/-                      containing diet.
                                     histological response to a GFD.

Figure 1 Stepwise proposed algorithm used to investigate and diagnose causes of seronegative villous atrophy (SNVA). GFD, gluten-free diet; HLA,
human leucocyte antigen; SNCD, seronegative coeliac disease; SN-non-CD, seronegative non-coeliac disease.
Aziz I, eta/. Gut 2016;0:1-10. doi:10.1136fgutjnl-2016-312271                                                                                                       3
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       Coeliac disease
    address the limited data which were mtssmg completely at                                             p value of <0.1 for entry into the analysis with all variables
     random. Categorical variables were summarised by descriptive                                        available for inclusion into the model. Finally, overall survival
    statistics, including total numbers and percentages, with compar-                                    was analysed using Kaplan-Meier curves and significance com-
    isons between groups performed using the x2 test or Fisher's                                         pared using the log-rank test.
    exact test. Normally distributed continuous variables were sum-
    marised by mean and SD with comparisons between groups per-                                         RESULTS
    formed using the unpaired Student's t-test. We performed                                            Characteristics of SNVA
    dichotomous logistic regression between the SNCD and                                                The baseline characteristics of the 200 patients with SNVA are
    SN-non-CD groups using a forward stepwise method with a                                             provided in table 2. The patient cohort comprised 83%


      Table 2 Baseline characteristics of SNVA subjects and SPCD controls
                                                                                                             p Value (between                              p Value (SPCD          p Value (SPCD
                                                  Total SNVA           SN-non-CD          SNCD (n=62;        SNCD and         SPCD controls                controls vs            controls vs
                                                  (n.,200)             (n=138; 69%)       31%)               SN·non-CD)       (n=343)                      SN-non-CD)             SNCD)

      Demographics
         Mean age±SD                              51.2±17.6            51.4:1:17.3        50.9±18.2           0.89                  43.5±17.3              <0.001                   0.002
         Female, n                                127 (63.5%)          84 (60.9%)         43 (69.4%)          0.25                  242 (70.6%)             0.04                    0.85
         White ethnicity, n                       165 (82.5%)          105 (76.1 %)       60 (96.8%i         <0.001                 307 (89.5%)            <0.00.1                  0.1
         Sheffield city resident, n               166 (83%)            116(84%)           so (80.6%)          0.55                  343 (100%}             <0.001                 <0.001
     Clinical symptoms
         Diarrhoea, n                            120 (60%)            84 (61%)           36 (58.1%)           0.71                  153 (44.6%)            0.001                   0.05
         Weight loss, n                          71 (35.5%)           52 (37.7%)         19 (30.6%)           0.34                  40 (11.7%)            <0.001                  <0.001
         Abdominal pain. n                       98 (49%)             69 (SO%)           29 (46.8%)           0.67                  121 (35.3%)            0.003                   0.08
         Bloating. n                             62 (31%)             43 (31.2%)         19 (30.6%)           0.94                  102 (29.7%)            0.76                     0.89
        Dyspepsia, n                             28 (14",(,)          24 (17.4%)         4(6.5%)              0.04                  19(5.5%)              <0.00.1                   0.79
        Reflux, n                                32 (16%)             24 (17.4%)         8(12.9%)             0.42                  27 (7.9%)              0.002                    0.19
        Nausea, n                                39 (19.5%)           i7 (19.6%)         12 (19.4%)           0.97                  22 (6.4%)             <0.001                    0.001
        Constipation, n                          32 (16%)             24 (17.4%)         8(12.9%)             0.42                  52 (15.2%)             0.54                     0.65
        Fatigue, n                               32 (16%)             19 (13.8%}         13 (21%)             0.2                   91 (26.5%}             0.003                    0.36
     Past medical history
        Autoimmunity, n                          37 (18.5%)           18 (13%)           19 (30.6%)          0.003                  72 (21%)               0.04                    0.09
        Family history of CD, n                  7 (3.5%)             0(0%)              7 (11.2%)          <0.001                  55 (16%)              <0.001                   0.34
        Recent gastroenteritis-type history,   n 23 (11.5%)           18 (13%)           5 (8.1%)             031                   8 (2.3%)              <0.001                   0.03
        Crohn's c{isease, n                      1 (0.5%)             1 (0.7%)           0(0%)                0.5                   1 (0.3%)               0.49                    1.0
        Lymphoproliferative disorders, n         4 (2%)               3 (2.2%)           1 (1.6%)             1.0                   2 (0.6%)               0.15                    0.39
        HIV, n                                   2 (1%)               2 (1.4%)           0(0%)                1.0                   1 (0.3%)               0.2                     1.0
       Tuberculosis, n                           2 (1%)               2 (1.4%)           0(0%)                1.0                   1 (0.3%}               0.2                     1.0
    Medication
       A2RB, n                                   8 (4%)              6 (4.3%)            2 (3.2%)            1.0                    8 (2.3%)               0.23                    0.66
       Aspirin, n                                29 (14.5%)          21 (15.2%}.         8(12.9%)            0.67                   29 (8.5%)              0.03                    016
       NSAIDs, n                                 19(9.5%)            16(11.6%)           3 (4:8%)            0.13                   11 (3.2%}             <0.001                   0.46
       Methotrexate, n                           2 (1%)              1 (0.7%)            1 (1.6%)            0.5                    2 (0.6%)               1.0                     0.39
       Mycophenolate; .n                         1 (0.5%)            1 (0.7%)            0(0%)               1.0                    1 (0.3%)               0.49                    1.0
       Azathioprine, n                          0 (0%)               0(0%)               o(o•A,J                                    3 (0.9%)               0.5.6                   1.0
    Bloods
       Anaemia, n                               611198 (30.8%)       4311 37 !31.4%1   · 18161 {29.S%l o.79                        154/343 (44.9%)         0.007                   0.03
       Low ferritin, n                          751190 (39.5%)       511130 (39.2%)      24/60 (40%)   0.92                        207/33.3 (62:2%)       <!>.001                  0.00.1
       Low folate, n                            3Sil92 (lil.3%)      28/131 (21.4%)      7/61 (11.5%)  0.1                         100/333 (30%)           0.06                    0.003
       Low vitamin 812, n                       311193 (16.1%).      21/131 (16%)        10/62 (16.1%) 0.99                        61/331 (18.4%}          0.54                    0.67
      Low calcium, n                            221186 (11;8%)       171126 (13.5%)     5/60 (8.3%)    0.31                        281332 (8.4%}           0.1                     0.98
      Low albumin, n                            21/198 (1D:6%)       191137 (13.9%)     2/61 (3:3%)    0.03                        16B36 (4.8}             0.001                   1.0
      Raised ESR and/or CRP, n                  51/192 (26.6%}       401.132 (30.3%)    11/60 (18.3%)  0.08                        821324 (25.3%)          0.28                    0.25
      Hi.A-OQl and/or DQ8 positive, n           1181193 (61 %)       58(133 (43.6%)     60/60 (100%) <0.001                        1121112 (1(){)%)       <0.Q01                   1.0
    Duodenal histology
      intraepitheliallymphocytosis, n           177 (88.5%)         116!84%1            61 (98.4%i           0.003                 343 (100%)             <0.001                   0.15
      Crypt hyperplasia, n                      1.77 (89%)          117. (84.8%)        61 (98.4%i           0.003                 343 (100%)             <0.001                   0.15
      Partial villous an:aphy, n                1.59 (79.5%)        120 (1!7%)          39 (62.9%)                                 82.(23.9%)
      Subtotal villous atrophy, n               25 (12.5%}          10 (1.2%}           15 (24.2%}         <0.001                  144 (42%)              <0.001                 <0.001
      Total villous atrophy, n                  16 (8%)             8 (5.8%)            8(12.9%)                                   117 (34.1%)
    Bold values are statistically significant                                                         .                                   . ..         . ..
    A2RB, angiotensin-2,receptor-blo~er; CD, coeliac disease; CRP. C r~lve protein:.E~R. ery\hrocy:te secji~ntation ratE; HLA, hum~.~ letjc(\cyte aNigen; NSJ\IDs, non,sterofdal
    anti-inflammatory drugs;· SNco, seronegative coeliac di5easidN-~on·CD, seronegatiilll non:o:OOiiac disease: SNVA; Seronegative villOUs atro~hy; SPCD, 'sa-cipositivl! toellac di5e;~Se.

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                                                                 ·                                                         Coeliac disease
    (n= 166) who were residents of Sheffield and thus classed as                inflammatory in nature. In total, there were 54 cases attributed
    secondary-care referrals. There were 17% (n=34) who were                    to an infection. This included Helicobacter pylori induced duo-
    referred from another city for a tertiary-care opinion. The mean            denitis alone (n=21) or in conjunction with Mycobacterium
    age was 51.2 years, with 63.5% (n=127) female and 82.5o/o                   tuberculosis (n=2), Mycobacterium avium intracellulare (n=l)
   (n= 165) of white ethnicity.                                                 and HN (n=1). Other causes included viral gastroenteritis
       The most frequently reported clinical symptoms were diar-                based upon clinical history (n=7), giardiasis (n=6), small bowel
   rhoea (60%, n=120), abdominal pain (49%, n=98), weight loss                  bacterial overgrowth (n=4), HN enteropathy (n=2), ascariasis
   (35.5%, n=71) and bloating (31%, n=62). Autoimmunity was                     (n=2), Mycobacterium tuberculosis (n=2), tropical sprue
   present in 18.5% (n=37) of cases, with 3.5% (n=7) also having                (n=2), Campylobacter (n=1), candidiasis {n=l), Whipple's
   a family history of CD. A recent history suggestive of gastro-              disease (n=1) and Mycobacterium avium intracellulare (n=l).
   enteritis was elicited in 11.5% (n=23) of cases. The use of                 There were 13 cases which occurred as a result of medication; 9
   A2RBs was seen in 4% (n=8), of which 7 were on candesartan                  due to non-steroidal anti-inflammatory drug-related duodenitis,
   and 1 was on irbesartan; no patient was taking olmesartan.                  and the others were a case each related to methotrexate, myco-
      Blood tests revealed anaemia in 30.8%, with associated hae-              phenolate mofetil, irbesartan and a possible association with
  matinic deficiencies ranging from 16.1% to 39.5%. A raised                   candesartan. There were 23 cases of non-specific peptic duoden-
  erythrocyte sedimentation rate and!or C reactive protein was                 itis, 6 cases of Crohn's disease and 4 cases due to systemic
  present in 26.6% of patients. The presence of positive                      immune-mediated disorders which included a case each of sar-
  HLA-DQ2 and!or DQ8 was seen in 61.1% (n=118/193).                            coidosis, graft versus host disease, autoimmune enteropathy and
      Finally, histological grading of duodenal biopsies showed               common variable immunodeficiency. There was a case each of
  intraepithelial lymphocytosis in 8 8 .5% (J?. =177), with the               radiation enteritis and eosinophilic enteritis. Following appropri-
  majority of patients found to have PVA at 79.5% (n=159). In                 ate treatment these showed clinical and histological improvement.
  contrast, SVA was seen in 12.5% (n=25) and TVA in 8%                            Finally, in 36 cases of SN-non-CD, despite extensive investiga-
  (n=16).                                                                     tions, we were unable to elicit any cause and these patients were
                                                                              labelled as idiopathic/unclassified sprue. Interestingly, 72%
                                                                              (n=26/36, 11 of whom were HLA-DQ2/8 positive) had spon-
  Aetiology of SNVA                                                           taneously normalised their duodenal biopsies when rechallenged
  Following systematic evaluation of 200 SNVA cases, we diag-                 with gluten, suggesting transient villous atrophy. This was seen
  nosed SNCD in 31% (n=62) of cases with the remaining 69%                    on average 9 months after the index biopsy had shown villous
  (n=138) due to SN-non-CD. The breakdown of all causes is                    atrophy. Of the remaining 10 cases, all HLA-DQ2/8 negative, 4
  shown in figure 2.                                                          required immunosuppressive therapy for persisting unexplained
    In the 62 cases identified as having SNCD, 14 were diagnosed              villous atrophy with the other 6 either lost to follow-up or
 with relative ease based on (1) selective lgA deficiency but with            refusing further endoscopic investigations given their clinical
 raised lgG coeliac serology (n=9, three also had associated first            stability.
 degree family history of CD), (2) first degree family history of
 CD alone with subsequent response to a GFD (n=4) and (3)
 dermatitis herpetiformis (n=1). The other 48 patients were
 diagnosed with SNCD on the basis of having positive                          Risk factors for diagnostic outcomes
 HLA-DQ2 and!or DQ8 status, no alternate cause found, persist-               Univariate analysis comparing the SNVA subgroups and SPCD
 ing villous atrophy following a gluten rechallenge, with subse-             controls are shown in table 2. In summary, the SNVA cohort
 quent clinical±histological response to a GFD.                              was older at the time of presentation and more likely to present
    A wide range of aetiologies was established in the 138                   with symptoms of diarrhoea, abdominal pain, nausea and
 SN-non-CD cases, commonly infective, medication-induced and                 weight loss.

 Figure 2 Causes of seronegative
 villous atrophy {SNVA) at a UK centre
 {n=200).




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          Coeliac disease
       In contrast, subjects with SPCD or SNCD were more likely                                              commonly H. pylori induced duodenitis; table 3. Only 2 of 35
     than SN-non-CD to have autoimmunity, family history, and                                                (5.7%) non-whites with SNVA had SNCD compared with 60 of
     HI.A-DQ positivity; however, the positive predictive value of                                           165 (36%) whites.
     HI.A-DQ2/8 for SNCD in the context of SNVA was only 51o/o
     (n=60/118). There was also a significant trend towards lesser
    degrees of villous atrophy from SPCD towards SNCD and then                                               lmmunophenotyping of intraepithelial lymphocytes
    SN-non-CD.                                                                                              Immunohistochemistry was performed in 19 SNVA cases of
       Factors significantly associated with SN-non-CD included                                             which 14 were SN-non-CD and 5 SNCD. Both groups showed
    non-white ethnicity, dyspepsia, negative HI.A-DQ status, lack of                                        CD8-positive T cytotoxic intraepithelial lymphocytes, similar to
    intraepitheliallymphocytosis/crypt hyperplasia and hypoalbumi-                                          that seen in SPCD controls. However, four cases of SN-non-CD
    naemia. Multivariable logistic regression analysis of the SNVA                                          also contained CD4-positive T helper cells among the intrae-
    cohort showed that an independent factor associated with a                                              pithelial lymphocytes; these cells are associated with refractory
    diagnosis of SN-non-CD was non-white ethnicity (OR 10.8,                                                CD within the context of CD but in other contexts, such as GI
    95% CI 2.2 to 52.8, p=0.003). Indeed, 23 of the 35 (66%)                                                infection, they are a normal component of the immune response
    non-white subjects presenting with SNVA had a GI infection,                                             (see figure 3 and online supplementary figure Sl).



         Table 3 Characteristics and diagnostic outcomes in non-whites with SNVA seen at a UK centre
                                                                                                                     Marsh             HIA·DQ218
      Case     Age/sex               Ethnidty         Symptoms                                                       grading           status                Aetiology of SNVA

               28/female              Pakistan       Abdominal pain, reflux, weight loss                            PVA                +                     H. pylori induced duodenitis
     2         29fmale               Oman            Diarrhoea, nausea, bloating, dyspepsia                         PVA                +                     No cause found-SNVA resolved
     3         30/female             Tunisia         Diarrhoea, anaemia, bloating                                   PVA                +                     Giardiasis
     4         33fmale               Ghana           Diarrhoea, weight loss, abdominal pain, cough                  PVA                +                     Sarcoidosis
     5         39fmale               Somalia         Diarrhoea, bloating, abdominal pain                            PVA                +                     Small intestinal bacterial overgrowth
     6        43fmale                Iran            Nausea, dyspepsia, cough, weight loss                          PYA                +                     Tuberculosis
     7        49/female              Pakistan        Anaemia, abdominal pain, bloating, reflux, fatigue,            PYA                +                     Small intestinal bacterial overgrowth
                                                     constipation
     8        49/female             India            Anaemia                                                        PVA                +                     H. pylori induced duodenitis
     9        49/female             Somalia          Diarrhoea, bloating, abdominal pain, anaemia                   PVA                +                     No cause found-SNVA resolved
     10       58/female             India            Abdominal pain, dyspepsia, bloating                            PVA                +                    No cause found-SNVA resolved
     11       65/femafe             Iraq             Abdominal pain, bloating, dyspepsia, anaemia                   PVA                +                    Whipple's disease
     12       82/female             Yemen            Abdominal pain, bloating, reflux                               PYA                +                    Peptic duodenltls
     13       18/male               Pakistan         Anaemia                                                        SVA                +                    Coeliac disease.
                                                                                                                                                            Associated Sjogren's and lgA deficiency
     14       31/female             Pakistan         Diarrhoea, anaemia, nausea, bloating                           SVA                +                    Mycobacterium avium, H. pylori
                                                                                                                                                            induced duodenitis
    15        53/female             India            Anaemia                                                        SVA               +                     NSA!Ds
    16        7llmale               Bangladesh       Anaemia, dyspepsia, bloating                                   SYA               +                     H. pylori induced duodenitis
    17        301mide               Iran             Dyspepsia, reflux, weight loss                                 SVA               +                     Coeliac disease
    18        22/female             Pakistan         Abdominal pain, nausea, fatigue                                PVA                                     H. pylori induced duodenitis
    19        26/female             Yemen            Anaemia, weight loss, abdominal pain. nausea;                  PVA                                     H. pylori induced duodenitis
                                                     bloating, fatigue
    20        35/female             Caiibbean        Diarrhoea, bloating, abdominal pain                            PVA                                     H. pylori indu>ed duodenitis
    21        361male               Iraq             Diarrhoea, abdominal pain, bloating                            PYA                                     NSA!Ds
    22        38fmale               Zambia          .Anai!mfa, abdomimil pain                                       PYA                                     Tuberculosis, H. pylori induced
                                                                                                                                                            du.odenitls
    23       381female              Bimglades~   Diarrhoea, anaemi.a, abdominal pain, fatigue                      PVA                                      H. pylori induced duodenitis
    24       45/female             Pakistan     AnaeriJia.                                                         PVA                                      H. pylori induced duodenitis
    25       47/female             Vi11tnam      Dy:Spepsia                                                        PVA                                      No cause found-lost to follow-up
    26       47imale               Pal<ista!i · AbOOrilinal'pain, Weight !(iss; bl()ating, reflux                  PVA                                      Peptic duodenitis
    21       47/female             l'aki!itan    Diarrhoea, bloatin!J .         ··                                 PVA                                      Ascariasis
    28       49/female             Bimgladesh   i:lia~oea; anaemia, f<Jti9ue. teve~, night sweats                  PVA                                      Tuberculosis
    29       50imale               carlhl\~a"n  Di<itrl\oe~; alxlom1n~l Pain, reflux.. .       .                   PVA.                                     H. pylori induced du.odenitis
    30       51/female             Yemen        Abilomiilal. pain, -.ve"ight lass                                  PVA                                      H. pylori induced duodenitis
    31       54/female             B;Jngiadesh. Diai'rhqea, w~lghtloss, abdomiiuilpilin, dy5pepsia,                PVA                                      No cause.found-SNVA resolved
                                                f<rtigue, co~stipation


                                   ;:~:~~~
    32       75/female                          Oi!li\1iciea, weight: lc;i$, an~~mia                               PYA                                      Sma.il intestinal bacterial overgrowth
    33       351male                            Reflu~ :Clyspiipsia; wei~ht loss                                   SVA                                      H. pylori induced duodenitis
    34       57/male                            Dli!rrhiiea, weight tos5           ·                               PVA                Not stated            H. pylori induced duodenitis
                                   caribbeaii   Pia;ib\l~a     ·· · ·· ··                                          SVA                Not stated            HIV enterppathy, H. pylori induced
    35       25/male
                                                                                                                                                            duodenitis
     HLA, human leucoCyte. anti~ri; ~SAIDs, ~on'sfeioid;JI antl'inflainn)ato!}i drugs; PYA, partial vlllous atroj:ily; SNVA, seronegative villous atroj:ily;. SVA; subtotal vlllous atrophy.

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                                                                                                                                   Coeliac disease
                                          H&Estaln               CD3 pan-lympl\otyt@ marker   cos- T·cytotoxlc stain




                        SNCO




                   SN-non-CD




  Figure 3 Plates A to D: SPCD control. A white female presenting with anaemia and positive serum lgA endomysia! antibody. Duodenal biopsy
 demonstrated subtotal villous atrophy when stained with haernotoxylin and eosin {H&E). It can also be seen that there is an increased number of
 intra-epithelial lymphocytes stained by the pan-lymphocyte marker CD3. Furthermore, staining of antibodies against different intraepithelial
 lymphocyte phenotype revealed that they are all of the CDS-T-cytotoxic stain and not CD4-T-helper cells. This is the classical pattern of coeliac
 disease. Plates E to H: SNCD patient Awhite female presenting with diarrhoea. Serum lgA endomysia! antibodies were negative but duodenal biopsy
 showed subtotal villous atrophy. There were increased intraepitheliallymphocytes noted following CD3 pan-lymphocyte stain, which on
 immunophenotypic differentiation revealed COS-T-cytotoxic cells but not CD4-T-helper cells. Her HLA-DQ2 was positive, no alternate cause was found,
 and she responded to a gluten-free diet Plates I to l: SN-non-CD patient. Bengali female presenting with diarrhoea, anaemia, night sweats and fevers.
 Her serum lgA endomysia! antibody was negative but duodenal biopsy showed partial villous atrophy with raised intraepitheliallymphocytes. She
 stained positive for CD8-T-cytotoxic cells but also for CD4-T-helper cells. This could have been mistaken for refractory coeliac disease. However, her
 HLA-DQ2/8 genotype was negative and on microbiology assessment her duodenal sample revealed mycobacteria {supplementary Figure S1). She was
 commenced on anti-tuberculosis therapy. Duodenal histology of seronegative villous atrophy {SNVA) and seropositive coeliac disease (SPCD) control.
 HLA, human leucocyte antigen; SNCD, seronegative coeliac disease; SN-non-CD, seronegative non-coeliac disease.



Survival analysis                                                                     used a systematic clinical algorithm we have shown that SNCD
There have been 19 deaths within the 200 SNVA cohort, of                              accounts for 31% of SNVA cases, with the remaining 69% due
which 7/60 (11.2%) were in the SNCD group and 12/138 (8.7o/o)                        to SN-non-CD related causes. Furthermore, HLA-DQ2 and/or
in the SN-non-CD group. In comparison there have been 11/343                         DQ8 genotype was present in 61% of SNVA cases, with a posi-
(3.2%) deaths in the SPCD controls. On Kaplan-Meier analysis                         tive predictive value of only 51% for a diagnosis of SNCD. This
there were no statistical differences in esriniated survival between                 is not surprising given that these alleles are common as seen in
the SNVA groups although this was less favourable compared                           approximately 40% of the general population. 3
with SPCD (figure 4: log-rank p=0.002).                                                 Importantly, we have identified that non-white ethnicity is a
                                                                                     risk factor to alert clinicians to the possibility of SN-non-CD, in
                                                                                     particular with regards to an infective aetiology. These findings
DISCUSSION                                                                           are the first to be reported outside of the tropics and in a
Main findings                                                                        Western society. 25 The clinical relevance of this also expands to
We believe that our findings represent a major conceptual                            the USA where results from a national pathology database have
change in the understanding and manag~ment of SNVA. Having                           identified that among patients undergoing duodenal biopsies it
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        Coeliac disease
               1.0
                           ~--·~ ...!      -, :                                                                  novel markers and can aid towards the diagnosis of CD. 54-56
                                    :........;....... !:        ~+-L
                                                      ...............h                             SPCO
                                                                                                                 Second, it may also be perceived that by identifying and includ-
                                                                                                                 ing IgA deficient patients who were subsequently found to be
                                                                                                                 IgG coeliac serology positive (n=9) is a weakness in that this
                                                                    ····-~::2                                   should be common knowledge. However, our findings are those
       j      0.
                                                                                                                 of real life practice and would be supported by other groups
       .,e:
        ::1
                                                                           t ...................   SN-non-CO     who have shown that inadequate evaluation of IgA deficiency
                                                                                                                occurs frequently when testing for CD.57 Nevertheless, had we
       u
        §     0.-4                                                                                              excluded such patients from our analysis then the prevalence of
                                                                                                                SNCD would have been 27.7% (n=53/19l) instead of the 31o/o
                                                                                                                (n=62/200) stated. Third, we have unanswered questions in
              0.2
                                                                                                                those in whom no cause was found (so called idiopathic/unclas-
                                                                                                                sified sprue) but spontaneously normalised duodenal biopsies
              0.0
                                                                                                                while consunting high-dose gluten. A recent case series has high-
                                                                                                                lighted that self-limiting enteropathies can occur in the context
                     .oo    2..00       ...oo    s.oo     e.oo   10.00   12.00      1-t.oo
                                                                                                                of GI infections,23 which raises the possibility that our patients
                                                        Years
                                                                                                                may have experienced a similar insult although this was not
     Figure 4 Kaplan-Meier estimated survival curves for seronegative                                           recalled from their clinical history nor isolated from stool cul-
     villous atrophy {SNVA) and seropositive coeliac disease (SPCD) controls.                                   tures. Furthermore, these individuals had their repeat biopsy
     SNCD, seronegative coeliac disease; SN-non·CD, seronegative                                                performed on average 9 months after the index case which had
     non-coeliac disease.                                                                                       shown villous atrophy. We do not know when their histology
                                                                                                                started improving and at what exact time point it had normal-
   is those from the Punjab region of India that constitute the                                                ised. Had the biopsies been performed earlier then these
   ethnic group with the highest prevalence of villous atrophy. 52 It                                          patients may still have had persisting villous atrophy and, in
   remains to be determined whether such patients had SNVA                                                     those with the correct HIA-DQ genotype, subsequently cate-
   given that the US National Health and Nutrition Examination                                                 gorised as having CD. However, our study was performed prag-
   survey has found positive coeliac serology to be rare among                                                 matically and is a reflection of routine outpatient clinical
   non-whites. 1                                                                                               practice. Nevertheless, future research studies should aim to
      In addition, in almost one in live cases of SNVA no identifi-                                            perform biopsies at sequential time points. Finally, of those car-
   able cause was found although, reassuringly, the majority spon-                                             rying the HLA-DQ genotype it could be hypothesised that these
   taneously normalised duodenal histology while being                                                         individuals may still belong to the spectrum of CD and have
  investigated on a gluten-enriched diet; had these patients been                                              simply experienced an unexplained GI insult transiently mani-
  commenced on a GFD at the outset instead, they would have                                                    festing as SNVA but having not yet reached the cumulative
  erroneously been diagnosed with SNCD and wrongfully sub-                                                     threshold required for CD to become apparent.58 Hence, longi-
  jected to a lifelong, restrictive diet. This, along with previous                                            tudinal follow-up data are now required in this particular group.
  studies showing an empirical trial of a GFD to be a poor pre-
  dictor of CD, 17 further supports the notion that clinicians must                                            Other studies
  not start a GFD in SNVA until investigations are complete and a                                               To our knowledge only one other study has evaluated diagnostic
  firm diagnosis of SNCD has been established.                                                                  outcomes in SNVA. 16 This was performed by the New York
     Finally, differences in survival outcomes between SNVA and                                                 group who evaluated 72 complex case referrals of SNVA over a
 SPCD controls were noted. A recent English study involving                                                     10-year period. The investigators found that 22% (n=16/72) of
 more than 10 000 patients with CD found no major excess risk                                                   their SNVA cases were due to olmesartan-related enteropathy. 16
 of cancer, digestive disease or respiratory disease related or car-                                            This novel association has generated substantial interest and is
 diovascular mortality compared with the general population.53                                                  of importance given its presentation may be that of a severe
 However, it is recognised that those with SNCD tend to be older                                                form of enteropathy necessitating hospitalisation for the man-
 and run a more advanced disease course than SPCD.15 With                                                       agement of intractable diarrhoea, weight loss, dehydration,
 regards to SN-non-CD this entity has a number of heterogeneous                                                 hypotension, acute renal failure and metabolic acidosis. 16 42-45
 disease associations (ie, HN, tuberculosis, common variable                                                   Yet, these findings are in contrast to ours where the use of ·
 immunodeficiency) which are associated with poorer outcomes.                                                  A2RB was seen in 8 of 200 SNVA cases, with A2RB a respon-
                                                                                                               sible cause for enteropathy in two patients; overall prevalence of
                                                                                                               A2RB enteropathy being 1% (n=2/200). In the .other six
 Strengths and limitations                                                                                     patients we found an alternate aetiology for SNVA with patients
 The main strength of this study is that it is the largest and most                                            well maintained on their A2RB; these include CD (n=2), giar-
 comprehensive to date, having prospectively evaluated 200 con-                                                diasis (n=1), eosinophilic enteritis (n=l), small bowel bacterial
 secutive adult patients with SNVA at a UK secondary/tertiary-                                                 overgrowth (n=l) and loss to follow-up (n=l). Given that
 care centre over a 15-year period. The cohort studied included                                                A2RBs, including olmesartan, are dispensed in the UK, the dis-
 both inner and outer city referrals. Moreover, systematic and                                                 crepancy in the results raises two main points. First, the high
 rigorous investigations were performed using testing modalities                                               prevalence of olmesartan-related enteropathy reported else-
 available among most gastroenterology departments. We there-                                                  where may not be reflecting SNVA in general but rather groups
 fore feel thar our findings can be used as a benchmark and gen-                                               overseeing and presenting the outcomes of cases referred from
 eralised to other physicians seeing similar patients.                                                         wide catchment areas with presumed 'poorly responsive/refrac-
    However, our study does have several limitations. First, we do                                             tory CD' .16 In fact, the initial case series highlighting this associ-
 not perform serum deamidated gliadin peptide antibodies or                                                    ation came from the Mayo Clinic where 22 patients with
 intestinal coeliac antibody deposits, both of which are relatively                                            olmesartan-related enteropathy were reported following
 8                                                                                                                           · Aziz I, eta/. Gut 2016;0:1-10. doi:10.1136/gut]nl-2016·312271
Case 1:15-md-02606-RBK-JS Document 1069-3 Filed 03/31/17 Page 151 of 332 PageID:
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                                                                                                                                                                   Coeliac disease
       referrals from 16 US states over a 3-year period.42 Following                                          a biopsy-proven European multicentre study. fur J Gastroenterof Hepatol
       on, a nationwide multicentre French survey identified 36                                               2005;17:85-91.
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      the crude incidence rates of olmesartan and other A2RB enter-                                           2006;55:1746-53.
      opathy in France has been calculated at 5.6 and 1.8 per 100 000                                   16 DeGaetani M, Tennyson CA, lebwohl 8, eta!. Villous atrophy and negative celiac
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  statistical analysis, wrote and edited the manuscript. MFP, J-HB, VK, JCW, DP, PV                   24 Levinson JD, Nastro U. Giardiasis with total villous atrophy. Gastroenterology
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                                The clinical and phenotypical assessment of
                                seronegative villous atrophy; a prospective
                                UK centre experience evaluating 200 adult
                                cases over a 15-year period (2000-2015)
                                lmran Aziz, Mohammad F Peeralfy, Jodie-Hannah Barnes, Vigneswaran
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                                Cross, Peter H Green and David S Sanders

                                Gut published online September 7, 2016


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                          Exhibit G
Questions
Case      and Answers on FDA's Adverse
     1:15-md-02606-RBK-JS      DocumentEvent Reporting
                                         1069-3        System
                                                   Filed      (F AERS)
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   Questions and Answers on FDA's
   Adverse Event Reporting System
   {FAERS)
   What is FAERS?

  The FDA Adverse Event Reporting System (FAERS) is a database that contains information on
  adverse event and medication error reports submitted to FDA. The database is designed to
  support the FDA's post-marketing safety surveillance program for drug and therapeutic biologic
  products. The informatic structure of the FAERS database adheres to the international safety
  reporting guidance issued by the International Conference on Harmonisation (ICH E28
  (IDrugs/GuidanceComplianceRegulatorvlnformation/Guidances/ucm065004.htm)). Adverse
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  How Does FDA Use the Information in FAERS?

   FAERS is a useful tool for FDA for activities such as looking for new safety concerns that might be
  related to a marketed product, evaluating a manufacturer's compliance to reporting regulations and
  responding to outside requests for information. The reports in FAERS are evaluated by clinical
  reviewers in the Center for Drug Evaluation and Research (COER) and the Center for Biologics
  Evaluation and Research (CBER) to monitor the safety of products after they are approved by
  FDA. If a potential safety concern is identified in FAERS, further evaluation is performed. Further
  evaluation might include conducting studies using other large databases, such as those available
  in the Sentinel S}!stem.{/Safe!x/FDAsSentinellnitiative/ucm2007250.htm} Based on an
  evaluation of the potential safety concern, FDA may take regulatory action(s) to improve product
  safety and protect the public health, such as updating a product's labeling information, restricting
  the use of the drug, communicating new safety information to the public, or, in rare cases,
  removing a product from the market.

  Who Reports to FAERS?

  Reporting of adverse events and medication errors by healthcare professionals and consumers is
  voluntary in the United States. FDA receives some adverse event and medication error reports
  directly from healthcare professionals (such as physicians, pharmacists, nurses and others) and
  consumers (such as patients, family members, lawyers and others). Healthcare professionals and
  consumers may also report adverse events and/or medication errors to the products'
  manufacturers. If a manufacturer receives an adverse event report, it is required to send the report
  to FDA as specified by regulations. The reports received directly and the reports from
  manufacturers are entered into FAERS.

  How Can I Report an Adverse Event or Medication Error to FDA?




https ://www.fda. gov/Drugs/GuidanceComplianceRegulatoryInformation/Surveillance/Adv... 3/29/201 7
 Questions
Case       and Answers on FDA's Document
      1:15-md-02606-RBK-JS      Adverse Event Reporting
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                                                         03/31/17                   Page 2 of 4
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   The MedWatch site provides information about Y..c:>.~.l:l':l.~.c:t.r.Y. .c:l':l.~.'!l~r:t.~~!c:>..rY. ..r.~P.<:>.~i.r:t9..J.!~c:tf~.~
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   Can Mandatory Reporters Submit Adverse Events Electronically?

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   anceComelianceRegulatorylnformation/Surveillance/AdverseDrugEffects/ucm115894.htm}
   site provides drug and therapeutic biological product manufacturers, distributors, packers, and
   other interested parties with information about FDA Adverse Event Reporting System (FAERS)
   electronic submissions and instructions on how to electronically submit postmarketing individual
   case safety reports (ICSRs), with and without attachments.

   Do FAERS Data Have Limitations?

  FAERS data do have limitations. First, there is no certainty that the reported event (adverse event
  or medication error) was actually due to the product. FDA does not require that a causal
  relationship between a product and event be proven, and reports do not always contain enough
  detail to properly evaluate an event. Further, FDA does not receive reports for every adverse event
  or medication error that occurs with a product. Many factors can influence whether or not an event
  will be reported, such as the time a product has been marketed and publicity about an event.
  Therefore, FAERS data cannot be used to calculate the incidence of an adverse event or
  medication error in the U.S. population.

  Are FAERS Data Available to the Public?

  FAERS data are available to the public in the following ways:

   • FAERS Statistics {/Drugs/GuidanceComelianceRegulator;xlnformation/Surveillance/Ad-
     verseDrugEffects/ucm070093.htm): provides numbers of reports that FDA has received for
     drug and therapeutic biologic products over the past ten years.
   • FAERS Data Files {/Drugs/GuidanceComelianceRegulatorylnformation/Surveillance/Ad-
     verseDrugEffects/ucm082193.htm): provides raw data consisting of individual case safety
     reports extractecffrom the FAE.RS.database. A simple search of FAERS data cannot be
     performed with these files by persons who are not familiar with creation of relational databases.


   • Individual case safety reports from the FAERS database can also be obtained by sending a
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  Where Else Can I Find Safety Information?

   • Potential Signals of Serious Risks/New Safe!¥ Information Identified from the FDA Ad-
     verse Event Reporting System (FAERS} (/Drugs/GuidanceComplianceRegulatorxlnfor-
     mation/Surveillance/AdverseDrugEffects/ucm082196.htm): quarterly reports on potential
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      l_c:t~<:>rY.I.Ilf.O.r.r.'.l~!i<:>..r:t!~li.I'Y~~~~~~~-~/~~111~~~~~1.~~-~~}: provides summary information about
      ongoing and completed postmarketing safety evaluations of adverse experience reports made
      to FDA for New Drug Applications (NDAs) and Biologic License Applications (BLAs) approved
      since September 27, 2007.



https ://www .fda. goy/Drugs/GuidanceComplianceRegulatory Information/Surveillance/Adv... 3/29/2017
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    • Center for Drug Evaluation and Research (COER): .'?.~':IJJ...~~!.~.~Y . ~.~-~.A."..I:I.i_l_j:l_~i_I_!~Y..
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      Spotlight


       • The Public's Stake in Adverse Event Reporting
         (/Drugs/GuidanceComplianceRegulatorylnformation/Surveillance/AdverseDrugEffects/ucm179586.htm)



      Contact FDA


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     (855) 543-3784~, or
                   "''
     (301) 796-3400~
     druginfo@fda.hhs.gov (mailto:druginfo@fda.hhs.gov)

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     10001 New Hampshire Avenue
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     Resources for You


      • MedWatch: The FDA Safety Information and Adverse Event Reporting Program
        (/Safety/MedWatch/default.htm)

      • Drug Safety and Availability (/Drugs/DrugSafety/default.htm)

      • Postmarket Drug Safety Information for Patients and Providers
        (!Drugs/DrugSafety/PostmarketDrugSafetylnformationforPatientsandProviders/default.htm)



    More in FDA Adverse Events Reporting System (FAERS)
    (!Drugs/GuidanceComplianceRegulatorylnformation/Surveillance/AdverseDrugEffects/default.htm)

    FDA Adverse Event Reporting System CFAERS): Latest Quarterly Data Files
    (/Drugs/GuidanceComplianceRegulatorylnformation/Surveillance/AdverseDrugEffects/ucm082193.htm)

    FDA Adverse Events Reporting System (FAERS) Public Dashboard
                                             I!        .....              I   ~         JL!




https ://www .fda. gov/Drugs/GuidanceComplianceRegulatory Information/Surveillance/Adv... 3/29/2017
Questions and Answers on FDA's Adverse Event Reporting System (F AERS)   Page 4 of 4
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     Potential Signals of Serious Risks/New Safety Information Identified from the FDA Adverse Event
     Reporting System (FAERS)
     (!Drugs/GuidanceComplianceRegulatorylnformation/Surveillance/AdverseDrugEffects/ucm082196.htm)

     FDA Adverse Events Reporting System (FAERS) Electronic Submissions
     (/Drugs/GuidanceComplianceRegulatorylnformation/Surveillance/AdverseDrugEffects/ucm115894.htm)




https://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/Surveillance/Adv... 3/29/2017
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                          Exhibit H
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          1                    UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY
          2

          3
              IN RE: BENICAR (OLMESARTAN)
          4   PRODUCTS LIABILITY LITIGATION
                                                    CIVIL ACTION NUMBER:
          5
                                                         15-2606
          6
                                                    STATUS CONFERENCE
          7
                   Mitchell H. Cohen United States Courthouse
          8        One John F. Gerry Plaza
                   Camden, New Jersey 08101
          9        September 30, 2015

        10    BE F 0 R E:             T~E HONORABLE ROBERT B. KUGLER
                                   UNITED STATES DISTRICT JUDGE
        11                         THE HONORABLE JOEL SCHNEIDER
                                   UNITED STATES MAGISTRATE JUDGE
        12
              A P P E A RAN C E S:
        13

        14
              MAZIE SLATER KATZ & FREEMAN
        15         Adam M. Slater, Esquire , Esquire
                   Tara Sutton, Esquire
        16         Lexi J. Hazam, Esquire
                   Peter J. Weinberger, Esquire
        17    PENDLEY BAUDIN & COFFIN
                   Christopher Luke Coffin, Esquire
        18    Attorneys for the Plaintiffs

        19
              DRINKER, BIDDLE & REATH
        20         Susan M. Sharko, Esquire
                   Michael C. Zogby, Esquire
        21         Daniel B. Carroll, Esquire

        22

        23

        24
                     Certified as true and correct as required by Title 28,
        25    U.S.C., Section 753.
                               /S/ Theodore M. Formaroli


                             United States District Court-------~
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             1             THE COURT:     Good morning, everybody.     Please be

             2   seated.   We're on the record.     This is In Re: Benicar MDL,

             3   Docket 15-2606.    Can we have the names of counsel for -- the

             4   lead counsel, anyway.

 10:06AM     5             MR. COFFIN:     Good morning, your Honor.     Chris Coffin

             6   for the plaintiffs.      We'll have a few different people who are

             7   speaking on the plaintiffs' side today,       so it might be worth

             8   them introducing themselves.

             9             MR. SLATER:     Adam Slater for the plaintiffs.

 10:06AM    10             MS. SUTTON:     Tara Sutton for the plaintiffs.

            11             MR. WEINBERGER:     Peter Weinberger for the plaintiffs.

            12             MS. HAZAM:     Lexi Hazam for the plaintiffs.

            13             MS. SHARKO:     Susan Sharko, Drinker Biddle, for the

            14   defendant.

 10: 06AM   15             MR. ZOGBY:     Michael Zogby,   Drinker Biddle,   for the

            16   defendant.

            17             MR. CARROLL:     Daniel B. Carroll, Drinker Biddle,     for

            18   the defendant.

            19             THE COURT:     Good morning, everybody.     We had a little

 10:06AM    20   hiccup this morning but it looks like we're going to have our

            21   power back on.    And Judge Kugler confirmed we're going to go

            22   ahead this afternoon, so it's a good development.

            23             This was oral argument on the motion.       Three general

            24   issues, discovery issues regarding the adverse event reports,

 10:07AM    25   foreign documents and the qui tam documents.        So we will



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            1   address those issues.       And then one of the follow-ups from

            2   yesterday was dealing with the custodians.        If we have time

            3   this morning, we'll touch on that.       And my preference would be

            4   that if we don't wrap that, wrap that up this morning, after

 10:07AM    5   we complete this afternoon's session we can continue with the

            6   discovery issues, and then of course we can discuss any issues

            7   that anybody wants to discuss regarding discovery, what have

            8   you.

            9               So let's start with the adverse event reports.     It

 10:07AM   10   seems to the Court, and correct me if I'm wrong, that there's

           11   two general issues, one is what adverse event reports have to

           12   be produced, and two, do the source documents have to be

           13   produced.     I think based on what I've seen, and please correct

           14   me if I'm wrong, that at least we're on the same page now,

10:08AM    15   that if additional adverse event reports are going to be

           16   searched for they are going to be searched for using the

           17   MedORA terms.

           18               Am I right about that, plaintiff?

           19               MR. SLATER:    Yes.

10: 08AM   20               THE COURT:    Okay, great.   So then why don't we deal

           21   with the first issue, which is what MedORA terms should be

           22   used.   But before we get to that, I think for background

           23   purposes I just had a couple of questions that I think would

           24   put this discussion in greater focus.

10: 08AM   25               Defendant, we had a question, if there are different



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            1   versions of the MedWatch form,    lS   it defendant's position that

            2   they're only agreeing to voluntarily produce the final version

            3   or are they also agreeing to produce any draft versions of the

            4   final MedWatch report?

 10:09AM    5             MS. SHARKO:    So, we do not agree to produce drafts.

            6   That would fall under the backup or source file.       When -- and

            7   I have a little longer answer to your question which I think

            8   will put it in context.    Every time the company gets new

            9   information on a particular patient, whether it's from the

 10:09AM   10   litigation or because of the company's investigation, they

           11   update the adverse event report and submit it to the FDA.       So,

           12   assume in a hypothetical case that happens five times, what we

           13   are producing is the most recent adverse event report, and

           14   that will contain everything that was in the earlier

 lO:lOAM   15   iteration.   And in fact, in the back section of the report

           16   you'll see usually date, this information added, whether that

           17   changes the evaluation, things like that.       So by producing the

           18   most recent, the plaintiffs are getting everything except the

           19   draft.   I don't even know if there are drafts, frankly, but

 lO:lOAM   20   they are getting the most recent iteration.

           21             THE COURT:    I used the word "drafts," I'm not sure if

           22   that's really the right word to use.      Maybe what I should have

           23   said was different versions of the MedWatch form other than

           24   the final version that you referred to, that's what I was

10: lOAM   25   referring to.



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             1               MS. SHARKO:    Okay.

             2               THE COURT:    "Draft" may not have been technically the

             3   right word.     We saw one involuntary report by some

             4   unidentified person, which was appropriately redacted under

 10:11AM     5   the regs.     Is Daiichi then required under some regulation to

             6   report that information to the MedWatch program?

             7               MS. SHARKO:    When the report goes to the FDA, the

             8   reporter information is not redacted, the FDA knows who the

             9   reporter is, but FDA regulations require us to redact the

 10: llAM   10   reporter information before we produce it.

            11               THE COURT:    Right.     But when Daiichi receives an

            12   involuntary report is it required to report that involuntary

            13   report through the MedWatch system?

            14               MS. SHARKO:    I'm not sure what your Honor means by

 10: 12AM   15   involuntary report.

            16               THE COURT:    Well, some of the forms say mandatory

            17   reporting, and I'll show it to you, this is one of the

            18   in camera documents.      Voluntary reporting of adverse events,

            19   product problems and product use errors.          That was one of the

 10:12AM    20   documents I think on the disk.

            21               MS. SHARKO:    Thank you.     Oh, that's just the title of

            22   the FDA form up here at the top, Voluntary Reporting, that's

            23   the name of the FDA form.          That's what they call it.

            24               THE COURT:    So there's a voluntary reporting and a

 10:12AM    25   mandatory reporting?



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             1              MS. SHARKO:    That's a good question.     I don't know

             2   the answer to that.

             3              THE COURT:    Because the next, the MedWatch form says

             4   mandatory.

 10: 13AM    5              MS. SHARKO:    During the recess I can talk to a

             6   regulatory person and see if I could get the answer.         I always

             7   thought the forms were all the same.         And in our production we

             8   are not looking at does it say voluntary or mandatory.

             9              THE COURT:    So let me ask you this question, and

 10:13AM    10   these are documents from the disk, this is the one with the

            11   stamp on top that says Voluntary Reporting.         Presumably this

            12   is a report, I'm surmising it's from some practitioner.            Okay?

            13   This is the report that went through the MedWatch program,

            14   right?    In Section 5 it says,      "Describe event or problem."

 10:14AM    15   Okay?    The language used in Section 5 from the person who

            16   reported this is not identical to the language in Section 5 on

            17   the report that plaintiff's going to get.         Do you know why

            18   there is a difference?

            19              MS. SHARKO:    I'd have to look at those.     Are you

10:14AM     20   saying those are the same report?

            21              THE COURT:    Correct.

            22              MS. SHARKO:    Okay.     May I look at them for a minute?

            23              (Handing.)

            24              THE COURT:    That Section 5, plaintiff doesn't get

10:15AM     25   this.



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            1             MS. SHARKO:    Yes, they would.    It is a MedWatch form,

            2   they would get that.

            3             THE COURT:    Okay.    They would get this too?   The one

            4   that I thought plaintiff didn't get, that was on the disk, and

 10:15AM    5   I thought everything on the disk plaintiff didn't get.

            6             MS. SHARKO:    No.    They would get the reports on the

            7   disk.   So I will have to ask the question, but I believe this

            8   is the one that came ln from the FDA through the Freedom of

            9   Information Act.

10: 15AM   10             THE COURT:    I think that's right.

           11            MS. SHARKO:     So what I believe, and I can confirm

           12   that, is that the second form is what went directly to the FDA

           13   because it'.s stamped received July, and then when it came to

           14   Daiichi, then Daiichi turned around and submitted a form

10:16AM    15   because it says here case description, this is -- it says here

           16   in Box 5, "this is an initial theory of case received from the

           17   Freedom of Information," etcetera.

           18            THE COURT:     Okay, that's my question.    Now, that

           19   document that is on the top, the one with the check in the

10:16AM    20   right corner, that's the page that plaintiffs got that was

           21   attached as an exhibit to their papers.

           22            MS. SHARKO:    Yes.

           23            THE COURT:     The one I showed you with the stamp that

           24   says Voluntary Reporting, that was on your disk.

10:17AM    25            MS. SHARKO:    So that would have been in the backup



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              1   file.

              2             THE COURT:     So let me ask my question again.     The one

              3   ln the backup file,     this page, does plaintiff get that?

              4   (Indicating)

 10:17AM      5             MS. SHARKO:     I don't believe they get this page.

              6             THE COURT:     See, previously -- there is no intent,

              7   obviously, to confuse or anything.      You said yes, because it's

              8   a MedWatch form, but ...

              9             MS. SHARKO:     I didn't read the document carefully

 10: 1 7AM   10   enough.

             11             THE COURT:     So my question is, the one that says

             12   "Voluntary Reporting," does plaintiff get that?        Does

             13   plaintiff get that?

             14             MS. SHARKO:     I'd like to check on that.

10:17AM      15             THE COURT:    Okay.

             16             MS. SHARKO:     I don't know the answer to that.

             17             THE COURT:     Do you want to ask them if they got it?

             18   Because it wasn't attached to their papers.

             19             MS. SHARKO:     I'd rather find out if we produced it.

10: 18AM     20             THE COURT:    Okay.

             21             MS. SHARKO:    Thank you.

             22             THE COURT:    But, Ms. Sharko, am I correct that the

             23   description in Section 5 on the voluntary reporting form is

             24   not identical to Section 5 on the copy plaintiff got?

10: 18AM     25             MS. SHARKO:     I would have to compare that



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            1   word-for-word.     Yes, Box 5 looks different but I think that

            2   may be a matter of how these are prepared.       The question, to

            3   me, would be is all the information in Box 5 on the FDA

            4   version in Box 5 and 6 on this version, noting that it

 10:19AM    5   continues onto the second page.

            6               THE COURT:    Do you know why it was, if it's -- it's

            7   not the exact same words, obviously.       My very strong

            8   supposition is Daiichi is going to say it's the same

            9   information, but it's not worded the same.       Do you know why

 10:19AM   10   Daiichi changes the wording?

           11               MS. SHARKO:    So, the second one which was submitted,

           12   it says submitted by a healthcare professional, that means

           13   that this healthcare professional filled out this form in his

           14   or her own way and sent it in to the FDA.

 10:19AM   15               THE COURT:    Right.

           16               MS. SHARKO:    Daiichi has a, has a strict way of how

           17   yo~   fill these out so they are consistent.     So they can't just

           18   cut and paste from what someone wrote, they have to follow the

           19   company procedures on how to complete this.       And I can confirm

10:20AM    20   it,   I mean I'll look at it now or during a break and make

           21   sure, the information should be the same.

           22               THE COURT:    Do you think plaintiff is entitled to

           23   know the wording that the initial reporter used?       Because

           24   again,   it may be the same information but it's not worded the

10: 20AM   25   same way.     Is it Daiichi's position that no harm, no foul,



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            1   they are not entitled to it?

            2               MS. SHARKO:    So, Daiichi's position is the plaintiffs

            3   asked for every backup and source file in existence.            And my

            4   position for all the reasons set forth in the papers was no.

 10:20AM    5   But I have said to the plaintiffs repeatedly slnce this

            6   discussion started, if there is a specific report about which

            7   you have a good faith concern and interest, let me know and

            8   we'll talk about it.      And so if they were to ask me that

            9   question about one report,         I would go to the client and look

 10:21AM   10   at that.

           11               THE COURT:    Okay.     I didn't want to delve too much

           12   into the source file issue.

           13               In Daiichi's brief, page six, it says something to

           14   the effect that the line listings of all adverse events were

10:21AM    15   produced, they were contained in the NVA.            Can you explain

           16   what that means, the line listings?

           17               MS. SHARKO:    Yeah.    Good question.     So FDA

           18   regulations specify the format of the report, and I could

           19   explain why it's one format or the other but that would take

10: 21AM   20   a while.     If it meets a certain standard it gets reported as a

           21   15 day report in one of those forms that you're looking at; if

           22   it meets a different standard, it goes in what is called line

           23   listings.     You just have a list of the report, that's pursuant

           24   to the FDA regulations.       And so we have given the plaintiffs

10:22AM    25   all the line listings,      line listings are in the NVA, and then



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            1   they are updated in regular intervals in a regulatory filing.

            2               THE COURT:    Is line listing deemed less serious than

            3   these 15-day reports?

            4               MS. SHARKO:    "Serious" is a regulatory term, and

 10:22AM    5   there is a regulatory definition for "serious," but using

            6   "serious" as in the lay sense, yes.       A line listing ln

            7   general, in very broad brush terms, and that would be a line

            8   listing if it's not quote-unquote serious under the regulatory

            9   definition, I believe; or it's already in the label, it's a

 10:23AM   10   label event.

           11               THE COURT:    I think I saw this in another portion of

           12   Daiichi's brief, it says "Defendant agrees to produce GI-based

           13   adverse reports not reported to a regulatory body."       What does

           14   that mean?

 10:23AM   15               MS. SHARKO:    So that was ln Mr. Slater's brief, and

           16   that's not true.     Mr. Slater, as your Honor knows by now, is a

           17   constant fountain of impromptu discovery requests, and at one

           18   time that was something that bubbled up in one of the

           19   meetings.     Our position is we have to have order to this chaos

10:23AM    20   and we need written, precise discovery requests.

           21               THE COURT:    Is there such a thing as adverse reports,

           22   GI-based adverse reports not reported to a regulatory body?

           23               MS. SHARKO:   No.

           24               THE COURT:    Does such a thing exist?

10:23AM    25               MS. SHARKO:   No.



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            1              THE COURT:    Okay.   Bear with me, I've just got some

            2   notes.

            3              Is there such a thing as a regulatory causality

            4   assessment?

 10:24AM    5              MS. SHARKO:    Yes.

            6              THE COURT:    Where would that be located?

            7              MS. SHARKO:    In the adverse event report that we gave

            8   to the plaintiffs.

            9              THE COURT:    It's one of the boxes?   What is a

10:24AM    10   regulatory causality assessment?

           11              MS. SHARKO:    So, going from memory, .we're required to

           12   have this assessment, usually it's at the very end of the

           13   narrative on the last page, make an assessment, and it changes

           14   over time, but if -- you have choices; related, not related,

10:25AM    15   some, at one point in time it was possible, things like that.

           16   And so the company checks that box when it submits it.        It's

           17   not      it's generally a rote decision, the default is to list

           18   everything related based on the information that's presented.

           19   It's not a causality assessment that an expert would do at

10:25AM    20   trial, it's not a legal determination.

           21              So,   for example, if someone submitted an adverse

           22   event report and said -- in 2015, and said I had sprue-like

           23   enteropathy, the company would more likely than not check

           24   "related," because it's in the label.      Whether that person

10:25AM    25   actually had it, whether it was caused by the product in the



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            1   legal sense of causation, is a subject that we would do

            2   discovery on and litigate.

            3            THE COURT:      Is Oaiichi contesting that Benicar causes
                                                                   ?

            4   sprue-like enteropathy?         Yes, my guess is yes in a particular

 10:26AM    5   patient, but what about generally?

            6            MS. SHARKO:      Yes.        We contest general causation.

            7            THE COURT:      Okay.        All right, let me turn to

            8   plaintiffs.

            9            MS. SHARKO:      I just -- if I could add one thing.         On

 10:26AM   10   the issue of the MedORA terms,           I have since the beginning of

           11   this, going back like to March or earlier, told the plaintiffs

           12   if you have additional MedORA terms you want us to search,

           13   we're open to that.      And the plaintiffs sent us earlier this

           14   month a list of terms finally, and I have answers to that.

 10:26AM   15            THE COURT:      That's where I was getting to next.

           16            MS. SHARKO:      Okay.

           17            THE COURT:      What    lS    the -- the issue has been joined,

           18   you got what you wanted.

           19            MS. SHARKO:      Yes.

 10:27AM   20            THE COURT:      You got plaintiffs' list of MedDRA terms.

           21   Based upon how things have gone in this case, you're going to

           22   say you are going to agree to search for reasonable additional

           23   MedDRA terms,   right?

           24            MS. SHARKO:      I am.

 10:27AM   25            THE COURT:      And now we're going to dispute what's



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           1   reasonable or not.        So what   lS   the dispute?

           2               MS. SHARKO:     Okay.    And I have not shared this with

           3   plaintiffs yet.     They asked for another 254 terms.        We agreed

           4   to 16 of these, and I will send them this in a letter.

10:27AM    5   Crohn's disease --and I'll write it out for the court

           6   reporter afterwards

           7               THE COURT:    We're going to resolve this right this

           8   morning.

           9               MS. SHARKO:     Okay.

10:27AM   10               THE COURT:      So if someone has a list, give it to me

          11   and we'll go one by one if we have to.

          12               MS. SHARKO:     Okay.    So, we have -- they have theirs

          13   in two groups.     In the more discrete group they asked for 20,

          14   we agree to 16; we disagree with three and I can explain why,

10:28AM   15   and one they said they wanted, but we already have it.

          16               The other group they have is they asked for

          17   everything under the system organ class of gastrointestinal

          18   disorders, and that system organ class contains 275 terms.              We

          19   are searching for 41 of those.           We can't agree to search for

10:28AM   20   the other 234, which          I mean among the things listed there,

          21   among those terms are tooth loss, chapped lips, dental

          22   cavities.     So if plaintiffs want to narrow the 234, we'll look

          23   at that list.

          24               THE COURT:    Well, we're doing it right now.      Does

10:29AM   25   anyone have a list for me, and we'll go down the list one by



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            1   one?

            2             MS. SUTTON:    Your Honor,    I have the list.

            3             THE COURT:    Okay.

            4             MS. SUTTON:    With respect to the system organ class

 10:29AM    5   gastrointestinal disorders.     But if I can request leave from

            6   you to explain why we wanted all of the preferred terms to

            7   fall under the gastrointestinal organ class.

            8             THE COURT:    Even things related to teeth?

            9             MS. SUTTON:    When the defendants -- for one thing,

10:29AM    10   it's very easy for them ln their Argus database, they organize

           11   systems by system organ class.     It's a push of a button to

           12   generate those reports.     When they report to the FDA, when

           13   they give the FDA their periodic safety update reports, they

           14   go through the events by organ class and then they look at

10:29AM    15   trend.   And I think during science day I      showed the Court

           16   examples of the six-month reporting periods and they, the

           17   company, would look at the gastrointestinal side effects and

           18   compare them to the previous to see if there was a trend, if

           19   perhaps their labeling needed to be changed.        They didn't

10:30AM    20   focus on a particular preferred term, which is what they want

           21   us to do, they look at the trend in the data then they discuss

           22   if there needs to be a labeling change.

           23             We want the benefit of seeing that same data, because

           24   that's the way they look at it.        They don't look at just

10:30AM    25   diarrhea alone -- I mean they do that too, but they look at



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             1   the trends.      And we saw in the periodic safety updates reports

             2   that there were upticks, and they were wondering about why

             3   that was.       So we want the preferred terms for all the

             4   gastrointestinal disorders.

 10:30AM     5               And Ms. Sharko said they're giving us 41 of the

             6   gastrointestinal disorder terms; they're actually only giving

             7   us 2 5.    And they've left off just absolutely critical

             8   preferred terms that you find in gastrointestinal disorders.

             9   We know, because they weren't warnings, that our clients were

 10:31AM    10   misdiagnosed.      They are willing to give us celiac disease, we

            11   know that's a common diagnosis.        But we also know from our

            12   clients' medical records that they were diagnosed with having

            13   food poisoning.      Are they going to give that us that preferred

            14   term?     No.   Irritable bowel disease, irritable bowel symptoms,

 10:31AM    15   not on their list.        Crohn's disease --

            16               THE COURT:     Does this relate to the issue that

            17   because this association was so new it was misdiagnosed?

            18               MS. SUTTON:     Misdiagnosed, exactly.   And we know from

            19   our clients' records, and from the scientific literature,

 10:31AM    20   Benicar affects the entire GI tract, it doesn't just impact

            21   the small intestine.        That's one of the reasons the whole

            22   system organ class is relevant in this litigation.        And it's

            23   really not -- they haven't said that it would be burdensome to

            24   produce those MedWatch reports.

 10: 31AM   25               THE COURT:     Right.



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             1               MS. SUTTON:    There's also other things that they've

             2   left off.     They want to give us diarrhea, but there's

             3   preferred terms for lots of different kinds of diarrhea; viral

             4   diarrhea, infectious diarrhea.        Do we get that?   No.

 10:32AM     5               THE COURT:    You got that, Mr. Court Reporter?

             6               MS. SUTTON:    Some of this gets pretty graphic.        A lot

             7   of our clients have rectal injuries from having persistent

             8   diarrhea for years.       Do we get any of the preferred terms

             9   dealing with anal or rectal injuries or hemorrhoids?          No.

 10: 32AM   10               THE COURT:    Can I ask you a question?     I do not want

            11   you to reveal work product.       Are these terms that you're

            12   asking to be searched that the lawyers got together and says

            13   we want this or are you working with consultants, experts,

            14   what have you,    so you can represent to the Court that there

10:32AM     15   was an informed and educated analysis to pick these terms and

            16   not just a bunch of lawyers sitting in a conference room who

            17   wanted to protect themselves?

            18               MS. SUTTON:    No, certainly we're working with

            19   experts.

10: 32AM    20               THE COURT:    Okay.

            21               MS. SUTTON:    I chair the Expert and Science

            22   Committee.     We're working with leading gastroenterologists.

            23   We're working from the literature, the published literature

            24   that describes the injury.        Like, for example, colon

10:33AM     25   perforation, there is a case report linking olmesartan to



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             1   colon perforation.      Do we get colon perforation under their

             2   interpretation?     No, we don't.      That's another -- there are

             3   all sorts of different perforations within gastric

             4   perforation.

 10:33AM     5             The preferred terms, the way they work in the

             6   gastrointestinal disorders system organ class, is there's all

             7   sorts of permutations.      Like their modifiers, we'll say,

             8   instead of saying gastritis we'll say gastric injury.             Do we

             9   get that, gastric injury?        No.

 10:33AM    10             So we think that given that it's not going to be

            11   burdensome for them to generate all of the gastrointestinal

            12   SOC, let's have it.      They analyze it, they analyze the trends,

            13   and they do it across the organ class.          They don't do it in

            14   just 25 terms, which is what they want us to do.

 10: 34AM   15             THE COURT:     Okay.

            16             MS. SUTTON:     You know,    I   could keep going through the

            17   list of things that they have left off.          Nausea.   I   mean

            18   they're going to give us vomiting, but they don't want to give

            19   us nausea, retching, regurgitation, these are terms that

 10:34AM    20   physicians would use to characterize the events when they get

            21   reported to the company.

            22             Abdominal pain.        That goes across probably all of the

            23   thousand clients.      Do we get that under their interpretation?

            24   No.   And again, that's in the gastrointestinal side effects.

 10:34AM    25             THE COURT:     So when these reports are produced to the



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            1   plaintiffs,   for example the ones, the 7,200 pages that you've

            2   already received, are you just getting two or three page

            3   MedWatch reports?

            4             MS. SUTTON:    Correct.

 10:34AM    5             THE COURT:    That's it?

            6             MS. SUTTON:    And it's about -- it adds up to

            7   somewhere around 2' 000 reports, and it's under their

            8   interpretation of using just the 41 preferred terms.       And then

            9   there are issues with those MedWatch reports that make them

 10:35AM   10   really not useful in the litigation.     I know that the

           11   defendants said the argument was sophistry, that we said that

           12   all the reports have the same date.     They are all dated

           13   12-4-2014.    And they say, well, that's the date they were

           14   generated from Argus.     But it's important for us to know what

 10:35AM   15   is the real date of that MedWatch form, because we need to

           16   know when they gave it to the FDA.     Because if it's a serious

           17   unlisted event, they've got to get it in ln 15 days.       But we

           18   have no ability to figure that out because the date of the

           19   report, for all of them, is the same.

 10:35AM   20             And I think your Honor noticed yesterday that they

           21   redacted where the report -- where the person that they're

           22   reporting on resides.     If it's a foreign report, they redact

           23   that.   I don't think where the person is located, located in a

           24   foreign country, that's personal identifying information that

 10:36AM   25   requires redaction.     So, there is a whole host of issues with



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            1   the MedWatch forms that we've perceived.          They're not useful

            2   and it's very difficult for us --Ms. Sharko had said, well,

            3   we've given you the PSURs, the NDA, but if we want to take the

            4   MedWatch forms and track them back in to look at how they

 10:36AM    5   discuss them in the PSUR.       We really can't do it.       It's just

            6   like a big maze, and it doesn't have to be.

            7               You know, I've been doing this litigation, kind of

            8   litigation for over ten years, and I've never been in a case

            9   where the defendants take the position that they don't have to

 10:36AM   10   produce the adverse event reports or the source documents.               I

           11   mean, that's something that gets agreed upon because in these

           12   types of cases it's the most critical information.            It goes to

           13   causation, it goes to notice, failure to warn; it's the

           14   fundamental discovery.

10:36AM    15               THE COURT:     I got your position.

           16               MS. SHARKO:    May I respond?

           17               THE COURT:    Let me turn to Ms. Sharko.       I understand

           18   the burden argument with regard to the source files, we'll get

           19   to that.     Where is the burden in the search through the Argus

10:37AM    20   database?

           21               MS. SHARKO:    The burden, the burden    lS   it's not just

           22   the push of a button.       You have to find the forms, and before

           23   they can be produced they have to be redacted.            But let me

           24               THE COURT:    What does that mean,    find the forms?      All

10:37AM    25   the forms are in the database.       You use the MedDRA search



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             1   terms.     Pick a number,    5,000 MedWatch forms, quote-unquote,

             2   hit.     What then is the burden to printing out those 5,000

             3   forms?

             4               MS. SHARKO:     The burden is to print out the forms and

 10:37AM     5   do the review and do the redaction.

             6               But let's back up, because I think we're missing an

             7   important point here.        Every form has multiple codes or

             8   multiple MedDRA terms, so if someone complained of an anal

             9   problem and vomiting and diarrhea, that form would have been

 10: 38AM   10   produced because we have "diarrhea" as the term.

            11               What I have been saying to the plaintiffs since this

            12   dialog started is let's have a discussion about this, one on

            13   one.     We can't have a discussion with Mr. Slater and 11 people

            14   on the phone

 10:38AM    15               THE COURT:    Those days are over.     We're deciding that

            16   this morning.     You had your time to decide this, so we're

            17   doing it right now.

            18               MS. SHARKO:     Okay.

            19               THE COURT:    Can I see the terms that are in dispute?

 10:38AM    20              MS. SHARKO:      Yes.    I'd have to -- I'd need a minute

            21   to write down the ones we agreed to.

            22              THE COURT:     We'll go through it.

            23              MS. SUTTON:      If I can approach,   I have the preferred

            24   terms for the system organ class gastrointestinal disorders,

10:39AM     25   and I highlighted the 25 terms that the defendants are willing



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             1   to --

             2              MS. SHARKO:    Can I have a copy of that report?

             3              MS. SUTTON:    Yes.

             4              THE COURT:     So on page one, you want everything that

 10:39AM     5   falls under gastrointestinal disorders.

             6              MS. SUTTON:    Right, for the reasons I've stated.     And

             7   then there's also another 20 or so terms that are outside this

             8   system class, they're described in Exhibit 1 to the reply

             9   brief.

 10: 39AM   10              MS. SHARKO:    And so I can give you an answer, like I

            11   said, we will agree to

            12              THE COURT:    The other, what did you say, 21 terms?

            13              MS. SHARKO:    Twenty.   They have 20.

            14              THE COURT:    Are they in here, those 20?

 10:39AM    15              MS. SUTTON:    Excuse me?

            16              MR. ZOGBY:    No, your Honor.

            17              MS. SUTTON:    No, they're ln Exhibit 1, my letter to

            18   counsel.

            19              THE COURT:    Okay.

10: 39AM    20              MS. SUTTON:    That we sent on September 9th, and we

            21   did ask to meet and confer with counsel but she never

            22   responded.

            23              THE COURT:    Well, we're going to do it right now.

            24              So the first issue before the Court is, I'm looking

10:39AM     25   at what you submitted to the Court, and the document is titled



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            1   "MedDRA Browser.    Gastrointestinal disorders     (1017947)   II
                                                                                    You

            2   want everything under that?

            3              MS. SUTTON:    Right.    For the reasons we've stated.

            4              THE COURT:    Right.

 10:40AM    5              MS. SUTTON:    This is the trends and the adverse

            6   events popping up ln this organ class are what the defendants

            7   track in order to decide if there is a warning, so ...

            8              THE COURT:    And you're representing to the Court that

            9   this isn't something that you're asking for because a bunch of

 10:40AM   10   lawyers decided that they think it's relevant to the case.

           11   And I'm not asking you to reveal work product, but you're

           12   representing that this request is derived from an informed

           13   analysis and discussions with appropriately qualified experts

           14   and consultants?

10:40AM    15              MS. SUTTON:    Right.   And our understanding, too, of

           16   the burden is if in Argus they search for this system organ

           17   class of gastrointestinal disorders, that all of the events

           18   underneath that that are in the          set out in these preferred

           19   terms are going to come up.        So it shouldn't be burdensome to

10:41AM    20   do.

           21              MS. SHARKO:    But look at the list, Judge,   "abdominal

           22   hernias and other abdominal wall conditions."        That is not

           23   possibly an issue here.      Diaphragmatic hernias, inguinal

           24   hernias.

10: 41AM   25              MS. SUTTON:    We can go through all the --



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             1              THE COURT:     I get your point.    Okay.   So, this   lS   one

             2   subset, the other is the 20 in your letter ...

             3              MS. SUTTON:     Of September 9th.

             4              THE COURT:     I have it here, it was attached as an

 10:41AM     5   exhibit but at least the version I think was on PACER didn't

             6   have the actual list, it just had the letter.          So do you have

             7   an extra copy of the list?

             8              MS. SUTTON:     It's just that I have the letter, I

             9   don't have a printout from MedORA of those terms --

 10: 42AM   10              MS. SHARKO:     The letter --

            11              MS. SUTTON:     -- described in my letter.

            12              MS. SHARKO:     The letter specified 20 and we agreed to

            13   16 of them.

            14              THE COURT:     Okay.   What are the four in dispute?

 10:42AM    15              MS. SHARKO:     The four -- well, there is only three in

            16   dispute.    One is listed, we're already searching for that, and

            17   that's abnormal loss of weight.        The three in dispute are

            18   renal failure -- acute kidney injury, renal failure, acute and

            19   renal transplant.       If someone reports that they had diarrhea,

 10:42AM    20   renal failure and dehydration, the plaintiffs will get that

            21   report.    What we're looking at here are reports of renal

            22   failure, acute kidney injury and renal transplant that have

            23   nothing to do with GI problems.

            24              THE COURT:     Plaintiff.

 10: 42AM   25              MS. SUTTON:     Well, that assumes that everything has



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            1   been coded correctly.        There are a number of cases that have

            2   been filed where people have experienced renal failure,        on

            3   renal transplant lists, that is a side effect of dehydration,

            4   so we would ask that we get those documents so we can look at

 10:43AM    5   those MedWatch reports because maybe the gastrointestinal side

            6   effect isn't properly reflected.        It doesn't seem like it

            7 would be that burdensome, given the --
            8               THE COURT:    What's the date of your letter?

            9               MS. SUTTON:     September 9th, it's Exhibit 1.

 10:43AM   10               THE COURT:    September 9, 2015, Exhibit 1, it's to

           11   reply.     So is the only issues regarding this MedORA search

           12   terms whether the whole system organ class for GI disorders           lS


           13   going to be searched, plus the 20 terms in your letter?

           14              MS. SUTTON:      Right.

10:43AM    15              THE COURT:     That's what we're down to?

           16              MS. SHARKO:      Yes.

           17              THE COURT:     Okay.

           18              MS. SHARKO:      And as to the three renal terms, I can

           19   tell you that there are 1,000 -- I'm sorry,        9 -- I'm sorry,

10:44AM    20   there are 950 reports for those three categories that are not

           21   GI related, that    don~t    have any GI terms.   And so that would

           22   be 950 reports that we would have to review, redact and

           23   produce.    This MDL is not about people who claim solely renal

           24   injury; in fact,    the JPML issued an order on that the other

10:44AM    25   day, reports of sprue-like enteropathy, etcetera, etcetera,



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            1   etcetera.

            2               What we're talking about here are people or doctors

            3   or lawyers or anybody who writes in to the company and claims

            4   renal failure.     There are many, many, many, sorry, causes of

 10:44AM    5   renal failure that are not associated with sprue or GI

            6   problems.

            7               MS. SUTTON:    Here's an example of why that limitation

            8   could become problematic.         They have excluded -- they are only

            9   giving us 25 of the gastrointestinal preferred terms, when

10:45AM    10   there are numerous terms at issue.         Gastric infections, we're

           11   not getting.     That term could be in conjunction with renal

           12   failure.     We're not going to get that person, and that's

           13   obviously a person that has a gastrointestinal side effect.

           14   Or somebody that they classified as irritable bowel disease,

10:45AM    15   which happened a lot, and had renal failure.         We're not going

           16   to get that adverse event form under their interpretation.

           17   That's why we think an independent search of the three,        just

           18   three categories regarding renal failure that we asked should

           19   be done.

10:45AM    20               THE COURT:    Okay.    Let's turn --

           21               MR. SLATER:    Your Honor, can I say one brief thing?

           22               THE COURT:    Yes, Mr. Slater.

           23               MR. SLATER:    Because I think we're dropping into the

           24   weeds.     It's very simple, and I think this example that we're

10:45AM    25   on now perfectly exemplifies why we need what we've asked for.



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              1   The system organ class will capture all of those terms.           To

              2   start to pick and choose between them will create the

              3   potential for important adverse event reports to not getting

              4   in our hands.     And this also ties together with the source

 10:46AM      5   documents, because if, for example, 950 renal claims were only

              6   classified as renal, but the source documents show the people

              7   also had diarrhea, also had stomach pain, that would have

              8   indicated this could be an olmesartan situation, but they

              9   didn't put it on the form.        That's incredibly important

 10: 4 6AM   10   evidence we need to prove our claims.        So that's why we need

             11   the system organ class, we need the source documents to prove

             12   our case.

             13               THE COURT:    Thank you.

             14               MS. SHARKO:    What Mr. Slater just said though, he's

10:46AM      15   arguing that Daiichi might have made a mistake, they might

             16   have made a mistake, he has no proof of that, and therefore,

             17   we should have to spend a million dollars to produce all the

             18   source files.     I submit that is unfair and inappropriate.

             19               THE COURT:    Okay.   Let's turn to the source file

10:46AM      20   issue.   Is it correct that Judge Johnson did not address the

             21   source file issue?

             22               MS. SHARKO:    Yes.

             23               MR. SLATER:    Your Honor, we think that Judge

             24   Johnson's order was incredibly broad because he said all

10:47AM      25   formal or informal reports of adverse events anywhere should



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             1   be produced.     And that includes everything.   A report of an

             2   adverse event is not just a report by the company in a form to

             3   the FDA, it includes an e-mail from a doctor to a sales rep,

             4   it includes a phone call to somebody in medical affairs, it

 10: 47AM    5   includes a conversation with a marketer at a convention of

             6   doctors.    It includes any form, and they are required under

             7   FDA regulations, no matter how this information comes into the

             8   company, to escalate that information to the quality assurance

             9   and the pharmacovigilance departments.

 10: 47AM   10              And I don't have their -- we don't have their

            11   internal protocols yet, but this would be the first

            12   pharmaceutical company in the world not to have standard

            13   operating procedures that follow the requirements to then

            14   escalate that up for the formation of a file,     for evaluation,

 10:48AM    15   to call the doctor or call the patient or call the pharmacist,

            16   whoever it is that gave this information, even if it was just

            17   a conversation on a street corner, and then to report it if

            18   necessary after they collect the information.      So it includes

            19   everything.

10: 48AM    20              THE COURT:    Okay.   Let me ask the question this way.

            21   Did Judge Johnson specifically address the source documents?

            22              MS. SHARKO:   No.

            23              MR. SLATER:   This issue was not framed in this way

            24   because he was so broad that it would include the source files

10:48AM     25   by definition.



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            1            THE COURT:    Okay.     I got your position.

            2            Ms. Sharko, an adverse event report that we've been

            3   talking about, can we agree that we'll consider that a formal

            4   complaint as opposed to an informal complaint?

 10:49AM    5            MS. SHARKO:    No,    I mean, not to be difficult, but an

            6   adverse event report is an adverse event report.         If someone

            7   calls the company and complains that Benicar gave them heart

            8   palpitations, we file an adverse event report or it goes into

            9   a line listing.    Any, quote-unquote, complaint of a medical

 10:49AM   10   problem goes down that track.      There is no alternative.

           11            THE COURT:    Judge Johnson's order requires Daiichi to

           12   produce "all formal and informal complaints or reports of

           13   complications or injuries to your clients."       We've been

           14   focusing on adverse event reports.       What is Daiichi doing

10:50AM    15   about producing the formal and informal complaints that Judge

           16   Johnson referred to in his order?

           17            MS. SHARKO:    Our interpretation of that is that, and

           18   there are probably complaint documents like there weren't

           19   enough pills in the bottle ...

10: 50AM   20            THE COURT:    Yeah, but later on he definitely limited

           21   it to the injuries that we're talking about, so that's not,

           22   that's not fair for you to say that.

           23            MS. SHARKO:    Right.    But I wasn't done,    I was going

           24   to say there are probably complaint files that are being

10:50AM    25   produced, but going to what Judge Johnson ordered, all reports



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            1   such that he described would be an adverse event report or it

            2   would be a line listing.         So we believe we have complied with

            3   that.

            4              THE COURT:    Okay.     The order says all adverse event

 10:51AM    5   reports, and, and all formal and informal complaints.          So it's

            6   clear to this Court that Judge Johnson was not equating

            7   adverse event reports with formal and informal complaints,

            8   they were different.      So my question is what, quote-unquote,

            9   formal and informal complaint information is Daiichi

 10:51AM   10   producing, and is it your position that the only responsive

           11   information to that part of the order is the line listings?

           12              MS. SHARKO:    The line listings and the adverse event

           13   reports.     Source files was never briefed or argued before him.

           14              THE COURT:    All right.     So, okay.   So I'm clear on

 10:52AM   15   that.    Just bear with me while I go through my notes on this

           16   issue.

           17              (Short pause.)

           18              MS. SHARKO:    I have an answer to one of your early

           19   questions.     You asked about mandatory versus voluntary.       The

10:52AM    20   reason there is a distinction -- thank you, Ms. Brennan-- is

           21   that reporting by Daiichi is mandatory as to the FDA,

           22   reporting by the public directly to the FDA is voluntary.

           23   That's why one form says mandatory and the other says

           24   voluntary.

10: 52AM   25              THE COURT:    Do you have an answer to the question



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            1   about whether plaintiffs got the voluntary reports?

            2             MS. SHARKO:     Not yet.

            3             THE COURT:     That is an important question.

            4             MS. SHARKO:     Okay.

 10:53AM    5             THE COURT:     So let's get into the source documents.

            6   Plaintiff, I -- I'm sorry, Mr. Slater, let me go back one

            7   question back to the defendants.        No,   I'm confusing this with

            8   another issue, I'm sorry.

            9             Let me come back to you, Mr. Slater.         I don't think

10:53AM    10   there can be any reasonable question that your request for all

           11   source documents, backup documents of all adverse event

           12   reports that are produced in the case is a monumental effort,

           13   with a capital M.      Is that necessary in that case?      The Court

           14   is very skeptical that you need all source documents for every

10:54AM    15   adverse event report, Mr. Slater.         I mean I can't conceive of

           16   how much money and time that will take.

           17             MR. SLATER:    They've documented, they've actually

           18   defined the number.     I believe they said hundreds of thousands

           19   of pages, and I'm trying to put my finger on it, but I thought

10:54AM    20   they said it would be about $1.6 million.

           21             THE COURT:    Well,     I'm not sure if that estimate

           22   would, if the Court accepts the additional MedORA terms that

           23   plaintiffs are proposing,       I'm not sure that that estimate

           24   sticks.

10: 54AM   25             MR. SLATER:    Well, they haven't argued that.      And



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            1   even though they didn't talk about the letter that we sent

            2   them,   they had our letter and knew what we were requesting.

            3   And for whatever reason, their brief was written as if the

            4   letter hadn't been received.

 lO:SSAM    5              Let me try to talk about the balance between the

            6   burden and the benefit to us.     Because I think they have

            7   defined,   they said, hundreds of thousands of pages in a case

            8   where they've told us that potentially tens of millions of

            9   pages of documents are going to be produced is a flyspeck.

 lO:SSAM   10   And we're now at the heart of the case.      This entire

           11   litigation, every time we ask for something, we're put in a

           12   position of having to ask for a broad range of things because

           13   we can't get the definition on.    When we talked about

           14   custodians yesterday, as an example.    This is not an area

 lO:SSAM   15   where we should be getting cut .back.    If there is one area

           16   where we shouldn't be getting cut back it's here.

           17              And let me give you an example.    I read the letter

           18   that counsel gave your Honor with the disk,     and it talks about

           19   the backup documents for those few MedWatch reports, and how

 lO:SSAM   20   in one of them all they have is two pages because it was a

           21   licensee, because they have these deals with other pharma

           22   companies to handle the marketing in specific countries.        So a

           23   licensee had the source documents and gave Daiichi two pages,

           24   and that's what they used to send in their MedWatch report to

10: 56AM   25   the FDA.   And we can't even get those other documents yet, we



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            1   don't know how we're going to get them.

            2            Number one, how they can have such a mess of their

            3   source documents ln light of the FDA regulation that says this

            4   has to be accessible if the FDA asks for it is beyond any of

 10:56AM    5   us at this side of the courtroom.    Because if they can't get

            6   those documents, they're in violation of federal regulations.

            7   The FDA requires that the backup be available, number one.

            8            Number two, the Argus database has the capacity to

            9   house all of this in specific fields based on the information

 10:56AM   10   we have which is publicly available, and our expert on the IT

           11   and the ESI issues -- why they have not been uploading this

           12   information as they get it so it would be fully accessible in

           13   a central location like we thought it would be is beyond us.

           14   If they created a situation where they're housing paper

10:56AM    15   documents around the world so that they'll be hard to get to,

           16   that's their problem that they created on their own.      And they

           17   should have to eat that burden now because they created it for

           18   whatever business purposes or for whatever future litigation

           19   purposes they may have thought about, or maybe somebody just

10:57AM    20   didn't think about it and is sloppy.    But whatever the reason

           21   is, we should not be burdened because they chose not to use a

           22   complex regulatory management system that's at their

           23   fingertips that they're using.    That's another point.   Any

           24   burden is their own -- by their own device.

10:57 AM   25            Now,   let's break this down a little.   They have told



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             1   the Court that for some of the adverse event reports to the

             2   FDA, that they do have the source documents on Argus.       We

             3   don't know how many; they said for some, for some small

             4   number.

 10:57AM     5               THE COURT:    They've said that to the FDA?

             6               MR. SLATER:    They said that in their briefs, they

             7   said that to us.

             8               So the starting point is whatever is on Argus should

             9   be produced.

 10: 57AM   10               THE COURT:    Mr. Slater, there is a lot of firepower

            11   on your side of the courtroom, you've undoubtedly been through

            12   this before, are there particular types or categories of

            13   documents ln the source or backup files that you're looking

            14   for?

10: 58AM    15               MR. SLATER:    I can tell you what we would expect to

            16   be there.     Number one, and I'm going to draw on one of the

            17   questions you asked counsel earlier today, the causality

            18   assessments.     They say, well, it's right there on the MedWatch

            19   form.     What there is is related or not related, okay.    What

10:58AM     20   really happens in the real world is as this gets escalated,

            21   the quality assurance and the pharmacovigilance departments

            22   and medical affairs will interact generally on evaluating

            23   these, and there'll bee-mails back and forth.        And there will

            24   be documents created where they're doing their causality

10:58AM     25   assessment and they're interacting.       That's very important.



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            1             And if there is any draft or if there's multiple

            2   forms of MedWatch form,     for example they may have filed one in

            3   2011, then gotten more information the next year from the

            4   doctor.   We need to see every one that was filed for a

 10:58AM    5   particular patient, we need to see any drafts and any of the

            6   backup information where it's being evaluated.      We need to see

            7   what the initial report was and what any other reports of

            8   information were.

            9             THE COURT:    So if we zero ln on why you need to see

 10:59AM   10   it, is it because you want to explore that they, that Daiichi

           11   should have known about this association/causation before this

           12   Mayo Clinic report came out?

           13             MR. SLATER:    Well, we already know they knew about it

           14   before that now, we have e-mails going back to '09 where

 10:59AM   15   they're concerned about celiac cases.      But what we want to be

           16   able to do, and it's for several reasons, one, we need to show

           17   notice; two, we need to show notice of the specifics.      And

           18   that's where the information in the source documents as

           19   reported is so critical, because how they chose to frame it

 10:59AM   20   and how they chose to describe it to the FDA is not what we're

           21   willing to rely on, for the reasons we've talked about which I

           22   think are very clear to the Court.      So, notice; are their

           23   warnings adequate?      Is the current warning adequate?   We say

           24   no, because all of these source documents we believe will show

 ll:OOAM   25   a great deal of information about what they actually knew and



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             1   the severity, and the different levels of severity, etcetera.

             2               So, again, we're talking here about signals, and

             3   signals are very important in this case.         What they chose to

             4   tell the FDA versus -- and the world in their labels versus

 11: OOAM    5   what they have internally is information about these adverse

             6   events that could be critical information in proving claims

             7   for plaintiffs in certain cases from certain states because

             8   the standards are different in certain states on what you need

             9   to have to prove a failure to warn case where there's an FDA

 ll:OOAM    10   approved label.     And in certain states the defendants will

            11   make the argument, we have to show conduct that's tantamount

            12   to directly defrauding or misleading the FDA of information

            13   they had.     The source documents could very well be the

            14   linchpin to certain plaintiffs being able to bring a cause of

 ll:OlAM    15   action to trial in those cases.

            16               The causality assessment, we -- frankly, we're

            17   stunned.     Counsel has taken the position they dispute general

            18   causation, they won't admit that it causes sprue-like

            19   enteropathy for anybody, that's what I heard counsel tell you

 11: OlAM   20   earlier.     That's what she said, we dispute general causation.

            21               THE COURT:    So if they dispute general causation,

            22   obviously they're going to dispute specific causation.

            23               MR. SLATER:    In every single case.   And all the

            24   information and all the offhand notes and all the offhand

 ll:OlAM    25   comments by the Ph.D.'s and the M.D.'S in that company who are


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             1   tasked with evaluating these are very important.         And I'll

             2   come back to the example I gave you that came out from their

             3   letter.     Let's assume that they got a two page document from

             4   France, some licensee in France or wherever that person was,

 11: OlAM    5   saying what's in this MedWatch form, or information that led

             6   them to put that in there.      We don't know what it was because

             7   we don't have the source document.      And let's assume that the

             8   quality assurance and pharmacovigilance and medical affairs

             9   people in the U.S. didn't see that and say whoa, we need to

 11: 02AM   10   see the rest of the information.      Because as of now, counsel

            11   has represented to the Court they can't get access to the

            12   underlying documents.      Does that prove a negligence claim?

            13   Does that prove potentially punitive damages are available?

            14   Is that a component to those claims?       Absolutely.    If they

 11:02AM    15   stuck their heads in the sand and said we don't want to see

            16   the rest of the information, I'd like to depose that person

            17   and ask why didn't you want to see the rest of the

            18   information?

            19               Now, we don't know when they reported any of these to

11:02AM     20   the FDA, but I believe that goes back to 2005 or 2007, those

            21   were the two reports.      So they have this information and

            22   they're not scrambling around the world and getting all that

            23   information and doing a very, very thorough evaluation of

            24   this?     This is the heart of our case.

11: 02AM    25               THE COURT:   Mr. Slater, how come if these source



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             1   files are so obviously relevant, why hasn't anyone produced

             2   case law to the Court where -- obviously I'm aware of cases

             3   where courts have said source files are discoverable, the one

             4   or two cases that defendants cite they are not discoverable,

 11: 03AM    5   but why isn't there just this body of case law that says this

             6   is so clearly discoverable despite the burden of producing

             7   these source files in these drug cases that you have to

             8   produce them?

             9              MR. SLATER:    Because it's so clearly obvious that it

 11: 03AM   10   gets produced and it gets agreed to in every case.        I mean you

            11   have a bunch of lawyers ln front of you who are telling you we

            12   can't think of a case we've ever worked on      --


            13              THE COURT:    Tens of thousands -- not tens, but

            14   thousands of adverse event reports

 11: 03AM   15              MR. SLATER:    Absolutely.

            16              THE COURT:    In your other case?

            17              MR. SLATER:    Absolutely.

            18              THE COURT:    Are there thousands of adverse event

            19   reports?

 11: 03AM   20              MR. SLATER:    Absolutely.   Absolutely.   I mean it's --

            21   I'm lead of counsel for New Jersey in the mesh, I'm

            22   interacting with the leadership, I mean that's a 70,000 case

            23   MDL.   These documents are routinely being utilized.

            24              THE COURT:    There is a fair amount of case law

 11: 04AM   25   dealing with medical devices.      Is there any reason the Court



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             1   shouldn't look to those as for relevant support for what the

             2   Court should do here, or is there some material difference

             3   between medical devices and these drugs that the legal

             4   authority in cases discussing medical devices shouldn't apply

 11: 04AM    5   here?

             6              MR. SLATER:    I couldn't give you a good reason to say

             7   you wouldn't generally look at the cases.       You have to look at

             8   the specific issues in the case.      But, you know, the answer to

             9   your question why there's not this massive body of case law        lS


 11:04AM    10   because defendants don't fight this.      There's very few cases

            11   where this is actually an issue because it's so obviously

            12   central to the case.      I mean if we're fighting about this,

            13   gosh, we're going to, we're going to be in bad shape going

            14   forward.

 11: 04AM   15              THE COURT:    Do you need the source files for the

            16   litigations like this?

            17              MR. SLATER:    No.

            18              THE COURT:    I wouldn't think so.   That was my answer

            19   as well.

 11: 04AM   20              MR. SLATER:    No, we have that, and we get that with

            21   the DFS, we get to see the adverse event report that was filed

            22   with the FDA, and the plaintiff presumably has their own

            23   documents.

            24              THE COURT:    There's not going to be anything in there

11:05AM     25   that you don't already have?



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            1            MR. SLATER:     I would hope not.      And if the case goes

            2   through discovery, I'd assume we'll talk about what other

            3   information to do cleanup on.       But if they have something, I

            4   assume they'll give it to us because, they're supposed to.

 ll:OSAM    5            THE COURT:     Okay.    Counsel.

            6            MS. SHARKO:     Four points.       First of all, there is no

            7   regulation that I'm aware of that says the company has to keep

            8   this information, quote-unquote, reasonably accessible.            The

            9   regulation the plaintiffs cite in their briefs, Section I

 ll:OSAM   10   deals with patient privacy and redactions, and specifically

           11   says, to go to one of Ms. Sutton's points, geographical

           12   identifiers and adverse drug experience reports are not

           13   releasable to the public.       The regulation on recordkeeping

           14   simply says the applicant, meaning the company, must maintain

 11:06AM   15   for a period of ten years all records related to it.          So

           16   that's what we're required to do, that's what we do.

           17            THE COURT:     So that's a license to keep the records

           18   in an inaccessible bin?

           19            MS. SHARKO:     Well, the records are not kept in an

11:06AM    20   inaccessible form.     Mr. Slater doesn't get to decide how

           21   Daiichi, who's never had product liability litigation before,

           22   stores their documents.     The company believes the documents

           23   are stored in a reasonable and logical way.         They're not

           24   required to say we might have litigation and we might have

11:06AM    25   litigation involving this product and so we need to keep these



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             1   a certain way.     And we're allowed, and there is nothing wrong

             2   with having licensees in other countries handle a product.

             3   That's routinely done.

             4               Number two, this information is not routinely

 11:06AM     5   produced.     I have never in 35 years of doing pharmaceutical

             6   and medical device work had a situation where we had to

             7   produce all the source files,      or even a large number of source

             8   files,   for all the reasons that we've argued here to the

             9   Court.   What always happens in these litigations, in my

 11:07AM    10   experience, is the offer I make to the plaintiff at the

            11   outset, if there is a particular file you think you need,

            12   we'll figure it out.

            13               With regard to your question about medical devices,

            14   the adverse event reporting regulations and scheme is

 11:07AM    15   different for medical devices.       Does that mean you can't look

            16   at a medical device case?       I don't know,   I'd have to see that

            17   case.

            18               THE COURT:    Is it materially different, though,     for

            19   purposes of the legal issues before the Court?         Is there

 11:07AM    20   something about the medical device cases that would

            21   distinguish it --because there's plenty of medical device

            22   cases out there in this area that touch on the issues that

            23   we're talking about.

            24               MS. SHARKO:   The answer is --

 11: 08AM   25               THE COURT:    So far I haven't seen a material



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             1   difference but, you know, you are the experts.

             2            MS. SHARKO:    Yes.   I'd have to look at, I'd have to

             3   look at the case and the issue.     I just note that it is two

             4   different reporting schemes.

 11: OBAM    5            And finally,   I would say, first of all, obviously the

             6   Court can't rely on Mr. Slater's testimony about how the

             7   pharmacovigilance department works, but these adverse event

             8   reports are chock full of information.      When we get

             9   information in, we have to tell the FDA what we know, and

 11: OBAM   10   there are multiple iterations of the report, as I described at

            11   the outset.   The company cannot just look at some information

            12   and say, oh, we're not going to tell the FDA this or that.

            13   It's actually for the most part verbatim reporting.

            14            THE COURT:     Thank you, Ms. Sharko.

 11: OBAM   15            Any last word for the plaintiff?

            16            MR. SLATER:    Yes, your Honor.    I think you're looking

            17   for a practical way to handle this.     Let me make a suggestion.

            18   First of all, any source documents that are on Argus for any

            19   of the -- any of the adverse event reports that are picked up

11:09AM     20   by the MedDRA terms should be produced.      I don't know how many

            21   there are, they haven't disclosed it.      But that's easy.   And

            22   that's -- there is no reasonable argument they shouldn't give

            23   us that, number one.

            24            As to the balance, they should be ordered to produce

11:09AM     25   the source documents, and the burden of proof should shift to



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             1   the defense that if there    lS    a particular one where they want

             2   to say we shouldn't have to give you the source document

             3   because it's tooth decay or it's toenail fungus,       and it's so

             4   obviously far afield, as opposed to someone with renal failure

 11: 09AM    5   or something like osteoporosis or cataracts which do relate to

             6   the sequelae from taking a lot of steroids or having

             7   malabsorption, then they can come to us on a form by form

             8   basis and say, look, you don't need these 50 or 60 or a

             9   hundred or whatever it is.        We don't know the volume because

 ll:lOAM    10   they haven't told us.     And they should have the burden at that

            11   point to meet and confer with us and explain why we shouldn't

            12   get the source documents for that.

            13            And if it's something that's so far afield like those

            14   examples they've given like tooth decay, and you know what,

 ll:lOAM    15   tooth decay might be a sequela of malabsorption, if you have

            16   malabsorption for eight or nine years, maybe your teeth start

            17   to fall apart.    I'm not going to say that it's not, but I'm

            18   using this colloquially at this time in the argument.        The

            19   full system organ class, plus the other terms we had, should

11: lOAM    20   be searched, and --

            21            THE COURT:     If we do that, Mr. Slater, isn't it fair

            22   to state right now we don't know how many adverse event

            23   reports will be identified?

            24            MR. SLATER:    Well, I would think defense counsel

ll:lOAM     25   should know,   I would assume they've done their homework on



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            1   this and have a pretty good idea.       They never actually told

            2   the Court how many didn't get captured by their 41 terms, but

            3   that would be captured with this other search.        I would think

            4   somebody could have done that search in Argus the whole time

 ll:llAM    5   this issue's been before the Court and has been getting

            6   framed.     Because we don't even know if there really is that

            7   many more.     We tend to think there probably are.

            8               THE COURT:    Well, if there's 950 regarding these

            9   three renal categories, I don't know either, but something

 ll:llAM   10   tells me that there's going to be a lot of hits with the GI

           11   category.

           12               MR. SLATER:   And that would help to prove our case.

           13   I mean, that's what we're talking about here is this is

           14   we're now in the eye of the storm.       And, you know, we

 ll:llAM   15   understand the Court is constantly having to balance burdens,

           16   and we did that yesterday.      We're still --we're excited to

           17   get the defendants' response to our custodian lists, so we can

           18   talk about that at some point today.       But this is not an area

           19   in a case like this where they're disputing general causation,

ll:llAM    20   despite the fact that there's all this overwhelming evidence

           21   of general causation, where they acknowledged it I believe at

           22   science day.     I guess we're in a different world now.     But

           23   they say it's rare, it's only a few different things that

           24   happen, and general causation is disputed.       We know they're

11:12AM    25   going to fight every issue, to tie our hands on this one I



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           1   think would be devastating to us because again, the Court

           2   doesn't know what we don't know, we don't know.        And the most

           3   important thing is they have all of this information to work

           4   with, they've had it for years.

11:12AM    5             On the native versus TIFF, your Honor made a decision

           6   and said okay, you don't have to have the same ability to use

           7   this.   Our feeling was at that point, okay, we understand the

           8   ruling, but when it comes to the actual evidence I think that

           9   to give us any less than what they have could be potentially

11:12AM   10   dispositive of this litigation.

          11             THE COURT:    Okay.     Before I rule on the adverse event

          12   reports, there's a third sub-issue that I wanted to touch on.

          13             Counsel, that's your letter asking for additional

          14   information regarding the adverse event reports, database

11:13AM   15   reports, what have you.

          16            MR. SLATER:     Right.

          17            THE COURT:      Do you have a resolution of how you are

          18   going to handle that?     The Court's view is this is a very

          19   important part of the case, and many, many times I've said to

11:13AM   20   the plaintiffs or indicated or hinted to the plaintiffs, stop

          21   nibbling around the edges and let's get to the heart of it.

          22   This is the heart of it, I agree.       So, plaintiffs have to get

          23   answers to these questions.       Are you going to get it from a

          24   meet-and-confer, are you going to get it from a 30(b) (6)

11:13AM   25   deposition, how do you resolve this issue?



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             1               MS. SHARKO:    So what I told -- what I told Mr. Slater

             2   back in the beginning of August is if you want these

             3   documents, serve us with a discovery request, send us a

             4   discovery request under the federal rules as to what you want.

 11: 14AM    5   Because, Judge, you've seen it in this courtroom, it occurs in

             6   the space outside of the courtroom, it's constantly, I want

             7   this,   I want that, send me this, and then the next day a

             8   different form.

             9               THE COURT:    Well, you have ln plaintiffs' letter what

 11: 14AM   10   they want.     You have plaintiffs' -- I'm not going to bless a

            11   system where every time the plaintiff wants something in this

            12   complex case they have to send an interrogatory or an RFP, we

            13   have to wait 30 days for a response, there's an objection, you

            14   meet and confer, and then 60 days after the request is made

 11: 14AM   15   the issue is before the Court.       That is impractical, and

            16   that's not going to happen.      We have to deal with these issues

            17   ln a more prompt fashion.

            18               I agree with you, you shouldn't be bombarded with

            19   requests.     That's a no brainer.    You have plaintiffs' letter.

 11: 14AM   20   You have the questions that plaintiffs want answered.         Now,

            21   how are they going to get answers to those questions?         Do you

            22   sit and talk about the questions and answers or does the Court

            23   say take a 30 (b) ( 6) deposition, plaintiffs?    This is a

            24   critical area of the case.

 11: 15AM   25               MS. SHARKO:   We have Ms. Sutton's letter that came ln



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             1   in the middle of briefing.     I understand what your Honor is

             2   saying, and we will get a response to that letter within two

             3   weeks.

             4            THE COURT:    Okay.   Mr. Slater, put this on the agenda

 11: 15AM    5   for our next two-week phone call.      If you don't get

             6   satisfactory answers to your questions, ralse the issue and

             7   the Court is inclined to say, take a 30 (b) ( 6) deposition on

             8   this issue and let's just cut to the chase.       Why we have to go

             9   back and forth with letters on a clearly basic critical area

11:15AM     10   of the case, I don't think it should be necessary.        But this

            11   is so important that I think you are entitled to this

            12   information sooner rather than later.       So put that on the

            13   agenda for the next call.

            14            MR. SLATER:    Thank you, Judge.     And counsel has --

11: 16AM    15   again, Ms. Sutton's letter was a summary.       We had requested in

            16   writing actually prior to that,    if they want to speak and

            17   confer with us about the scope of it, we're more than happy to

            18   have that conversation.

            19            THE COURT:    Wouldn't it be easier just to sit at a

11:16AM     20   conference table and talk about the answers to these questions

            21   rather than have someone wordsmith an eight page letter?

            22            MS. SHARKO:    So here's the problem

            23            MR. SLATER:   We agree, and

            24            MS. SHARKO:   Here's the problem, Judge.      It's not --

11: 16AM    25   it doesn't come out like that.     It's a letter here, an e-mail



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              1   there.     You sit in a room with Mr. Slater and a large group of

              2   people, and it's like he's taking your deposition.         I

              3   understand your point about there shouldn't be formal

              4   discovery requests for everything, but at the same time it

 11: 16AM     5   can't be any time he has an idea, you know, he says it in a

              6   meeting, and we have to jump and do the answer.        Many of

              7   these, most of these things I can't answer these questions, I

              8   have to go back to my client.        So a meet-and-confer with me or

              9   Mr. Zogby or Mr. Carroll or Ms. Brennan answering his

 11: 1 7AM   10   questions doesn't work.

             11              THE COURT:    So maybe that counsels for a 30 (b) ( 6)

             12   deposition so plaintiff has one shot at asking their

             13   questions, they get their answers, and that's the end of it.

             14              MR. SLATER:    I'll define it for the Court right

11:17AM      15   now --

             16              THE COURT:    Maybe we'll do it.

             17              MS. SHARKO:    I submit that there is a middle and a

             18   fairer ground, which     lS   to give us the questions in writing,
                                                          1
             19   give us time to talk to the client and find out the answers

11:17AM      20   and to give us a person to talk to, not an army of people.

             21              MR. SLATER:    Your Honor, if I could, if I could, your

             22   Honor --

             23              THE COURT:    I think we resolve this, if you don't get

             24   a satisfactory answer in two weeks, raise it in the phone call

11:17AM      25   and you are just going to get a 30(b) (6) deposition.



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            1              MR. SLATER:     Thank you.

            2              THE COURT:    And that will be the end of it.     It seems

            3   to me that's the most direct, simple, straightforward,

            4   efficient way to handle this issue.       This is such a discrete

 ll:lBAM    5   topic that it's so appropriate for a 30(b) (6) deposition.

            6              MR. SLATER:     Thank you, your Honor.   And I will,   just

            7   so the Court knows,      I will send an e-mail to Ms. Sharko as we

            8   walk out of the courtroom for the lunch break, defining

            9   exactly what we're asking for so there's no question.         It's

 ll:lBAM   10   what's in all of our letters.       And I would intend to also

           11   include the scope of Argus because I think your Honor

           12   expressed yesterday, we've asked for that since early August

           13   in the ESI meet-and-confers.       That's obviously part of it, and

           14   all it's going to say is the procedures, protocols and

 ll:lBAM   15   standard operating procedures for the intake evaluation and

           16   analysis of adverse events and the full scope of how Argus is

           17   used and what its capabilities are.       And that's it.

           18              MS. SHARKO:    But, see, your Honor, this is the

           19   point --

11: lBAM   20              MR. SLATER:    That's what the letters all say.

           21              MS. SHARKO:    This is the point.   The requests from

           22   Mr. Slater mutate like bacteria on a substrate.        Ms. Sutton

           23   sent this letter, we got it when we were doing the briefing.

           24   Your Honor said you thought they were fair questions, you

11:19AM    25   asked me to answer them.       I know what they are, and I think



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             1   that I can get the answers from the client within two weeks.

             2            Now Mr. Slater says, well, when he leaves the

             3   courtroom he's going to send me another list of homework

             4   assignments for two weeks.      I can't commit to these future

 11: 19AM    5   homework assignments,    I mean this is what I'm talking about.

             6   I'm trying to be cooperative

             7            MR. SLATER:     What I just, said   lS   in writing already.

             8            THE COURT:     Okay.

             9            MS. SHARKO:     This is the letter, we will answer it

 11: 19AM   10   within two weeks.

            11            THE COURT:     Just put that on the agenda, the adverse

            12   event reports, and I think it does fairly include the Argus

            13   database is a discrete area that is critical to the case and

            14   it's something that if the plaintiff gets the answers to the

11:20AM     15   questions will help advance the ball on the entire case.

            16            MR. SLATER:     Thank you, your Honor.

            17            THE COURT:     I think it's something we're going to

            18   move to the front of the list.

            19            This is what the Court's order, and I'll write an

11:20AM     20   opinion on it so you'll have all my reasoning, but I'm just

            21   summarizing what the Court's ruling is going to be on the

            22   adverse event report issue.     And I just said it, you know,

            23   many, many times in this case I've asked plaintiffs to focus

            24   on the meat of the case, the heart of the case.         And when we

11:20AM     25   get to this adverse event report issue, I think that's exactly



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             1   what they are doing.     So, as opposed to some other discovery

             2   issues, it just seems to the Court that this area is so

             3   important to the case and so critical, and I'm not the expert,

             4   you are, but thus far this is the most important background

 11: 21AM    5   information that plaintiffs need in discovery.      That if

             6   there's a doubt I'm going to balance it in favor of the

             7   plaintiffs.

             8             So, with regard to the MedDRA search terms, the Court

             9   is going to grant plaintiffs' request, they're going to get

 11: 21AM   10   the system organ -- the GI system organ class MedDRA terms,

            11   plus the 20 terms that they asked for.     I know defendant

            12   raised this issue about the three renal issues, I accept

            13   plaintiffs' representation that they didn't pull these terms

            14   out of whole cloth, that they've been working with

11:21AM     15   appropriately qualified people, and as the Court has asked

            16   them to do, they have sharpened their pencil.     And if the

            17   plaintiffs legitimately need it, I think they are entitled to

            18   it.   So the plaintiffs are going to get the MedDRA search

            19   terms that they want.

11: 22AM    20             With regard to the source files, after reviewing the

            21   files last night and this morning, there is no doubt in this

            22   Court's mind that these source files are relevant for

            23   discovery purposes.     Absolutely no doubt.   In the short amount

            24   of time that we had to review the files, and we spent a lot of

11:22AM     25   time looking at them overnight, it just was just apparent to



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             1   the Court that for discovery purposes, these source files are

             2   relevant.

             3               The one example I brought to your attention, counsel,

             4   really struck the Court, that it's my understanding, and I

 11: 23AM    5   could be wrong, that the MedWatch for the 77-year-old, the

             6   final version was produced to plaintiffs.      I'm surmising that

             7   the voluntary report was not produced to plaintiff.        I could

             8   see how someone could make a very good faith argument that the

             9   same information is in both reports, but I looked at it and

 11:23AM    10   it's worded differently, and someone can make an argument

            11   that, you know, why didn't you word it like the original

            12   doctor worded it and why did you change the wording even

            13   though the information is essentially the same.      Maybe it was

            14   completely innocent, I don't know, that's not my job.       But for

 11:23AM    15   discovery purposes,    I think plaintiff is certainly entitled to

            16   it.

            17               We saw, to my uninformed analysis, different versions

            18   of MedWatch forms,    I think plaintiffs are entitled to

            19   understand and know why there's different versions.        It may or

 11:24AM    20   may not be because additional information was produced, but

            21   plaintiffs being plaintiffs, they might have a more cynical

            22   view, that they're trying to put the best flavor or color on

            23   the language submitted to the FDA and that's why the wording

            24   was different.     I don't know.   I can't read their minds.    So

11:24AM     25   in the Court's view, the source documents are unquestionably



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            1   relevant to the case.     There is case law that supports that

            2   view.

            3               On the other hand, the Court is not prepared to say

            4   at this point that all source files should be produced in

 11:25AM    5   discovery.     This will be a monumental effort.   But it also

            6   seems to the Court we do not know at this time how many

            7   adverse event reports are going to be at issue in the case

            8   because defendants have to do their search with these new
                                                                                     \
            9   terms, they have to produce the MedWatch forms to the

 11:25AM   10   plaintiffs.     And it just seems to the Court that the decision

           11   as to how many and which source files should be produced

           12   should await plaintiffs' receipt of the final list of adverse

           13   event reports that are identified in discovery.      So,

           14   unfortunately we're going to be back here regarding how many

 11:25AM   15   source files have to be produced.

           16               It would, Mr. Slater, it will take a very, very

           17   unexpected turn ln the case for the Court to say that the

           18   source file for every single adverse event report has to be

           19   produced.     That just -- that would be a very surprising

 11:26AM   20   development if we got to that, but unquestionably these

           21   documents are important, they are critical to the case,

           22   plaintiffs' case.    We're not nibbling around the edges now,

           23   we're getting to the heart of the case.     So some reasonable

           24   number of source files are going to be produced, but it just

 11:26AM   25   seems to the Court that plaintiffs cannot make an informed



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             1   decision about which source files to ask for until you get the

             2   final list.     Okay?     That's what the Court's ruling is going to

             3   be.

             4               The next issue I want to get to is the foreign

 11: 27AM    5   document issue.     I'm okay to proceed.       If you all want to take

             6   a break -- Mr. Court Reporter, do you want to take a break.

             7               THE REPORTER:     I'm fine,   Judge.

             8               MR. COFFIN:     Your Honor, on this issue before we move

             9   on,   just a question about timing.        I understand there's a lot

 11:27AM    10   going on, but in order for us to get to this identification of

            11   source documents that are going to be produced, would we need

            12   some deadlines on this?

            13               MS. SHARKO:     We have produced --

            14               THE COURT:     72 something, something pages of AERs.

 11: 27AM   15               MS. SHARKO:     Right.   And you now have ordered us to

            16   do searches under the 254 new terms.          It will take a while to

            17   do that.

            18               THE COURT:    Actually wouldn't it be one?     Because

            19   don't you have to do a search just under gastrointestinal

 11:28AM    20   disorder?     If you do a search on that one, however you

            21   classify that, doesn't it subsume everything underneath that,

            22   so is that a little bit misleading, that you have to do 250

            23   more searches?

            24               MS. SHARKO:     I don't think it's misleading, your

 11: 28AM   25   Honor.     It's not a press of the button, but in addition to



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             1    getting all these they have to be reviewed and redacted and

             2    processed and Bates numbered and put in line.     And to answer

             3    the question as to how long we need to do that,    I'd really

             4    like the opportunity to talk to the company and the discovery

 11: 28AM    5    people, the people who are doing the discovery.     I think

             6    that's the only fair way to give an answer.

             7             THE COURT:    So how long will it take to tell

             8    plaintiffs how many reports are going to be produced after the

             9    person puts the GI number in, plus the 20 additional terms,

 11:29AM    10    presumably the computer will spit out a number, we're going to

            11    produce x-number, we've identified x-number of reports, how

            12    long will that take?

            13             MS. SHARKO:   But knowing -- I'd like time to find out

            14    how long it will take because, your Honor, it's not just

 11:29AM    15    getting all those reports, they then have to be de-duped

            16    because we've produced over 2,700 reports.    Presumably at

            17    least some of those will have the hit terms on these new

            18    terms, and we don't have to produce those again.     So we're

            19    going to have to sort through all of that.

 11:29AM    20             THE COURT:    If you want to save money, why don't we

            21    just produce duplicate copies?    So you don't have to go

            22    through it again.

            23             MS. SHARKO:   Maybe we'll do that.

            24             MR. SLATER:   We accept that.

 11: 30AM   25             MS. SHARKO:   Could I have a couple days to talk to



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             1   the client so I can get you a reasonable answer?         Can I have

             2   until Monday, or Tuesday I guess?

             3              THE COURT:    Okay.   What the Court is going to say   lS


             4   this, and if there's a reason to change the Court's order

 11: 30AM    5   we'll change it, if there is good cause we'll change it.

             6   Within ten days, defendant is going to tell plaintiff their

             7   best estimate of how many additional AER reports were

             8   identified in this search.       If you say 1,011 and it turns out

             9   to be 975,   I think that's within the range of reason.       We're

 11:30AM    10   not asking for an exact number,      just a ballpark, and these

            11   have to be produced within 30 days.       And if there's good

            12   cause, you come to the Court and you'll get an extension.

            13   Okay?    So that's what the presumption is going to be.

            14              MS. SHARKO:    I was going to ask for 60 days, your

11: 31AM    15   Honor.   This is going to be an enormous undertaking.       We know

            16   that there are close to a thousand renal failure reports alone

            17   and now we have three other terms, tooth cavities --

            18              THE COURT:    Can you go back to your client, tell them

            19   what the Court ordered, if there is good cause you'll get more

11: 31AM    20   time.    I can't say it any more clearly.     Write me a letter

            21   saying this is what it's going to involve, Judge, we can't do

            22   it in 30 days, we need these days, you'll get them.        Simple as

            23   that.

            24             MS. SUTTON:    Your Honor,   just one issue.   Ms. Sharko

11:31AM     25   brought up the concept of de-duping, that they're not going



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             1   reproduce MedWatch forms.       But the 27 forms that were produced

             2   to us, the date of the report was altered in all of them, so

             3   they all bear the same date.      We would like them to be

             4   reproduced with the actual true date that the report was made,

 11:31AM     5   not a computer generated date.

             6             THE COURT:    Is there really any reasonable question

             7   that the plaintiffs are entitled to that information?

             8             MS. SHARKO:    I don't know if it's possible to do it

             9   that way, Judge.     I will look into that and get back to them.

 11: 32AM   10             THE COURT:    Okay.

            11             MS. SHARKO:    Thank you.

            12             THE COURT:    That's one of the issues you are going to

            13   meet and confer about in the next two weeks, and if you can't

            14   get it resolved we'll take a 30(b) (6) and end it.       Okay?

 11: 32AM   15             MR. COFFIN:    Thank you, your Honor.

            16             THE COURT:    Why don't we take then a ten-minute break

            17   and then we'll go to the foreign issue and the qui tam issue.

            18   All right?

            19             THE DEPUTY CLERK:     All rise.

 11: 32AM   20             (Brief Recess at 11:32 a.m.)

            21             THE DEPUTY CLERK:     All rise.

            22             THE COURT:    Good morning, everyone, again.     Please be

            23   seated.   We're back on the record.     We're going to proceed to

            24   foreign documents.

11: 49AM    25             Counsel, I have a question for you before we start on



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              1   the defendant's foreign document issue.

              2            MR. COFFIN:    Your Honor, excuse me, before we go to

              3   that issue can I just interject one thing?

              4            THE COURT:    Sure.

 11: 4 9AM    5            MR. COFFIN:    That is, on the custodian issue, as your

              6   Honor asked, we stayed late last evening and provided the

              7   defendants with our custodian list.       My concern is the flight

              8   times that some of us have after the status conference, and we

              9   haven't heard --

11: 50AM     10            MS. SHARKO:    I can solve this.     We got the list after

             11   6 o'clock, it took some time, he said we could have until the

             12   end of the day.    We've been working on it.     We accept the

             13   plaintiffs' list, if those are the custodians they want, then

             14   we will produce those custodians with one note, and that is

11:50AM      15   that your Honor said 75 and they gave us 76 names because one

             16   person works for Daiichi and for Forest.       So we'll do 76 I

             17   guess in the spirit of good will, but it was 76.

             18            MR. COFFIN:    Thank you, your Honor.

             19            THE COURT:    Thank you.

11: 50AM     20            Foreign document issue.       Counsel, a question for you.

             21   As I read the papers, plaintiffs sharpened their pencil, I

             22   have it here, I'll pull it up.       I think they're now asking for

             23   six or seven categories of information, most of which is

             24   focused on the GI issue.       Hypothetically, let's pick a

11:51AM      25   country, it doesn't matter to me, let's say Germany.



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             1   Plaintiffs are objecting, if there's responsive documents to

             2   one of the categories that are in Germany, plaintiffs are

             3   objecting to producing it.      Hypothetically.

             4             MR. SLATER:    Defendants you mean?

 11: SlAM    5             THE COURT:    Defendants.    Let's take an easy one,

             6   label or label changes, those documents are in Germany,

             7   defendants object to producing them.       Suppose hypothetically

             8   there is a file in Daiichi U.S., Parsippany, wherever they

             9   are.   German label changes.      Does defendant object to

 11:52AM    10   producing that folder?     In other words,   if instead of these

            11   responsive documents being located in a foreign country, if

            12   responsive documents are located in the United States or with

            13   Daiichi Japan who are parties to the case, do defendants

            14   object to producing those documents?

 11: 52AM   15             MS. SHARKO:    No.    And I told the plaintiffs back in

            16   August, and in fact they've been getting documents like that.

            17   When you look at the exhibits to their papers, many of them

            18   are in fact documents from other countries.

            19             THE COURT:    So let's --the letter would be in

 11:53AM    20   plaintiffs' reply brief I think is where they, if I'm right,

            21   where there is a copy -- is that where the new letter is,

            22   plaintiffs?

            23            MS. SHARKO:     Yes.

            24            THE COURT:     Where you -- which exhibit is it.

11: 53AM    25            MS. HAZAM:     Are you talking about our most recent



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            1   list, your Honor?

            2              THE COURT:      Yes.

            3              MS. HAZAM:      It's actually ln the brief itself, it's

            4   in our reply brief on page five.

 11:53AM    5              THE COURT:      Okay.

            6              MS. SHARKO:      Yes, we got that Friday night.

            7              THE COURT:      Great.     Fantastic.

            8              So let's look at those five requests.         If documents

            9   responsive to those five requests, even though they relate to

 11:54AM   10   the one, two, three, four,          five, six countries listed, if

           11   those documents are in the United States or in Daiichi Japan,

           12   is there an objection to producing those?

           13              MS. SHARKO:      The answer to that question is no, for

           14   the first three categories.          There is an objection as to

11:54AM    15   number four.

           16              THE COURT:      How about five?

           17              MS. SHARKO:      Five, no, as to researchers or

           18   academics, but communications with healthcare providers ln

           19   Japan, if a Japanese doctor calls or writes to Daiichi in

11:54AM    20   Japan and has a question that's unrelated to an adverse event

           21   report I think that's, A, not relevant and, B, burdensome.

           22   But as to the other things ln one, two and three, the rest of

           23   five,   yes,   if that's

           24              THE COURT:      So let's take hypothetically

11:55AM    25   category one, labels, package inserts, drafts, etcetera.             If



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            1   there is a folder in Daiichi Japan regarding labels, inserts,

            2   drafts from France, there would be no objection to producing

            3   that?

            4            MS. SHARKO:    Correct.     We'll produce that.

 11:55AM    5            THE COURT:    Okay.     Let me turn to plaintiffs.     Why

            6   isn't that a satisfactory first step?       Let's agree on, you

            7   know, whatever objections there are to the five categories,

            8   and start with you'll get what's in the possession, custody

            9   well, I don't want to say that.       You'll get what's ln the

 11:55AM   10   United States and you'll get what's in Japan, even though it

           11   relates to these other countries.       Why can't we start there,

           12   see what you get, you know, maybe there will be nothing in

           13   there that really is material.      Why do we then have to require

           14   defendants to go to Germany, Canada, France, Australia and

 11:56AM   15   Spain for documents?

           16            MS. HAZAM:    Yes, your Honor.     Lexi Hazam for

           17   plaintiffs.   First of all,     I don't think what defendants just

           18   said is that they will produce all those documents that are ln

           19   those U.S. or Japanese custodial files.       We thought in fact

 11:56AM   20   they had agreed to do that, that if there were documents found

           21   in defendant's own files,      then they would not object to

           22   producing them solely on the basis that they could be cast as

           23   foreign or relating to events abroad.

           24            What I just heard Mr. Sharko say was to the contrary

 11:56AM   25   as to some of these categories on our narrowed list.          And I



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             1   think what she's saying is that even if they are in the files

             2   of agreed upon and ordered custodians, and identified by

             3   agreed upon or ordered search terms, that they could still be

             4   withheld fully on the basis that they are foreign.

 11:57AM     5            THE COURT:    I'm not sure that's what I heard.

             6            MS. HAZAM:    Okay, we will clarify.

             7            MS. SHARKO:    No, your Honor, that's not what I said.

             8   I said the question they asked me back in August was if a

             9   document was otherwise relevant would you withhold it because

 11:57AM    10   it came from another country, and I said no.      And the exhibits

            11   proved that.    Your Honor then asked me, looking at these

            12   lists, if there -- which is a different question.

            13            THE COURT:    I heard what you said.

            14            MS. SHARKO:    Okay.

 11:57 AM   15            THE COURT:    And I think I understand what you said,

            16   there was no misunderstanding on my part.       As to one, two and

            17   three, apparently there's no dispute if these documents are in

            18   Daiichi U.S.,   Daiichi Japan, you're going to get them.     There

            19   is an issue about number four and part of number five, that's

11: 58AM    20   what I heard.   So why isn't that a reasonable way to proceed

            21   on this foreign document --

            22            MS. HAZAM:    Putting aside that issue, your Honor,

            23   this is obviously a global corporation that operates in over

            24   80 countries, it had a global clinical safety and

11: 58AM    25   pharmacovigilance committee.    Documents we've already seen



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             1   indicate that that committee plans global objectives and tries

             2   to harmonize views on clinical safety as a global unit.

             3            THE COURT:   Where are they located?

             4            MS. HAZAM:   The employees are in Germany, the U.K.,

 11: 58AM    5   Japan and the United States.

             6            THE COURT:   Wouldn't you surmise, I'm not an expert,

             7   but wouldn't you surmise that if the headquarters is in Japan,

             8   that someone on that committee is going to be in Japan and

             9   that the person in Japan is going to get a copy of these

 11: 58AM   10   documents?   So you're going to get the documents.

            11            MS. HAZAM:   Perhaps, your Honor.   But I would also

            12   surmise that there are going to be communications between the

            13   U.K. and Germany which we would not get because they would not

            14   be in those files that your Honor just described.    We have

11:59AM     15   seen documents in the files already produced that we think

            16   show the relevance of foreign documents, but those files are

            17   certainly not sufficient in our view.   We have identified, as

            18   your Honor has seen, a very narrow list of categories of

            19   documents that go to critical issues of relevance in this

11: 59AM    20   case, notice and knowledge.

            21            We have limited it to six countries that we chose

            22   both because they were the most relevant countries where the

            23   defendants had their primary operations brought, and to

            24   minimize the burden on defendants both because these are where

11:59AM     25   they have their primary operations and they're frequently in



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             1   touch with them based on documents we've seen, and because

             2   most of them are English speaking countries.

             3              THE COURT:   Have you seen, and I take for granted you

             4   didn't have a complete production, you've seen relevant

 12:00PM     5   foreign documents, we're not contesting that.      Have you seen

             6   any communications thus far,     in the production thus far

             7   between, hypothetically, Germany and France that you otherwise

             8   wouldn't get through Japan?

             9              MS. HAZAM:   Well we wouldn't, because they are not

 12: OOPM   10   being produced.     In other words, what's in the U.S. custodial

            11   files are precisely documents that someone from the U.S. is

            12   copied on.

            13              THE COURT:   Right.

            14             MS. HAZAM:    To give your Honor an example, there is a

 12:00PM    15   2006 e-mail from Stefan Freudenthaler, who is the director of

            16   risk management.

            17              THE COURT:   In Germany?

            18             MS. HAZAM:    He's located ln Germany, he is the

            19   director of risk management at the European subsidiary of the

 12:00PM    20   company, it's an e-mail that attaches an annual safety report

            21   on a study, and that report contains adverse events of a

            22   gastrointestinal nature.     If the U.K. person he copied on this

            23   e-mail were to reply just to him and not to everybody, we

            24   would not see that.     Your Honor, notice is notice, wherever it

 12: OlPM   25   takes pla:::e.



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             1            THE COURT:   Do you have that e-mail there?

             2            MS. HAZAM:   I do have a copy, yes.

             3            THE COURT:   All right.   Is there -- is it a chain

             4   e-mail, is there a bunch of people who get it?

 12:01PM     5            MS. HAZAM:   Yes.

             6            THE COURT:   Do I take it one of those people is going

             7   to be in Japan and/or the United States?

             8            MS. HAZAM:   Yes.

             9            THE COURT:   So you are going to get that document ln

 12: OlPM   10   discovery.

            11            MS. HAZAM:   We already got it.   What we're seeking,

            12   your Honor, is any internal communications between foreign

            13   subsidiaries.   Again, if someone in France or the U.K.

            14   responded to that e-mail without copying everyone on the

 12:01PM    15   chain, which we know happens frequently, we would not see it.

            16            THE COURT:   Do you have any reason to believe right

            17   now that there is such a document?    Obviously you can't know

            18   for sure, but if someone sends an e-mail attaching an

            19   important report, copies a bunch of people all over the world,

 12:02PM    20   do you have any reason to believe that someone would respond

            21   to that in a foreign country and not copy other people?

            22            MS. HAZAM:   Your Honor, we can't know what we can't

            23   know, but I do it all the time.    We've certainly seen it in

            24   many other mass tort cases like this, which is precisely why

12:02PM     25   courts in those other cases have recognized the relevance of



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            1   these documents and ordered them discoverable and admissible

            2   for that matter.   It's precisely why.       And we've supplied the

            3   Court with an example of a document that was used at trial

            4   that would not have been obtained if not for allowing for this

 12:02PM    5   kind of foreign discovery.

            6            THE COURT:     Okay.   So if we get to your list,

            7   counsel, number four,    and I have to tell you in my notes I do

            8   have a question mark next to that request, because it wasn't

            9   clear to the Court what precisely you are looking for,

 12:03PM   10   communications with and among marketers regarding GI side

           11   effects of olmesartan.     What is it precisely that you are

           12   looking for, and is there a way that you could give greater

           13   focus to that document?

           14            MS. HAZAM:     What we were looking for there, your

 12:03PM   15   Honor, and again, this request like all of them is now limited

           16   to only GI side effects of olmesartan, but not the drug

           17   generally.   So what we're looking for there would be, for

           18   example, a marketer e-mailing Mr. Freudenthaler in Germany and

           19   saying

12: 03PM   20            THE COURT:     What's a marketer?

           21            MS. HAZAM:      It's a licensee, a company that develops

           22   brochures, a sales rep who interacts with physicians.        If they

           23   e-mail Mr. Freudenthaler, who's the head of a global

           24   committee, and say I was talking to a doctor who mentioned

12:04PM    25   that he believes that this drug causes this problem, or he had



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            1   this report of a patient who had this problem, and again it

            2   would be limited to GI side effects.

            3              THE COURT:     Let me ask you this question.    So we're

            4   looking at this holistically, everything total, right?

 12:04PM    5              MS. HAZAM:     Yes.

            6              THE COURT:     You got what you want with the

            7   custodians, so you have 76 new custodians in addition to

            8   whatever it was,    86, that we talked about yesterday.      So now

            9   you have 150 custodians.         You have all these new search terms,

 12:04PM   10   right?    What are the chances that something of the sort that

           11   you just mentioned is not going to be picked up in that

           12   search?

           13              MS. HAZAM:     Based on prior litigation, your Honor, I

           14   could not say that chances are low, in fact I think the

 12:05PM   15   chances are reasonably high.         That's precisely why we want

           16   this information.       We are willing to agree to a limited number

           17   of foreign custodians, we're assuming that this searching will

           18   be done by a custodian as other searching was, we're assuming

           19   it will be using the same search terms.         We're not looking to

12:05PM    20   have those search terms translated or have the documents

           21   translated.    To the extent there are documents that are

           22   duplicative, they obviously can be duped or produce them

           23   again.    We think that there is a limited burden involved here,

           24   and they haven't demonstrated one, whereas we have

12:05PM    25   demonstrated the relevance of this, including the specific



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             1   examples.

             2               THE COURT:   I know it's relevant, but why isn't this

             3   going to be picked up in the search that's already going to be

             4   done?

 12:05PM     5               MS. HAZAM:   Because we know that there are people

             6   abroad, and we're only talking about this limited set of

             7   countries here, who are talking amongst themselves and to

             8   doctors in their country and to regulators in their country

             9   about these issues, and they weren't ending up in the U.S.        In

 12:06PM    10   other words, no one from the U.S. was copied on this document,

            11   or perhaps the e-mail to the U.S. person no longer exists, and

            12   so we don't get it.      And in many cases those documents

            13   actually have been key documents.        Not only relevant to

            14   finding other documents, but even key trial exhibits.

 12: 06PM   15               THE COURT:   What about counsel's comment on number

            16   five,   there appears not to be a dispute about researchers or

            17   academics, but there is a question about communications with

            18   healthcare providers.      So I suppose this would be a

            19   communication with a doctor in Germany about GI side effects.

12: 06PM    20               MS. HAZAM:   Yes,   I think it is quite within the realm

            21   of contemplation that a German doctor would e-mail

            22   Mr. Freudenthaler and no one in the U.S., and say I have a

            23   patient who's experienced this, or just I am concerned about

            24   these effects generally.        That would be noted.

12: 07PM    25               THE COURT:   I'm going to try and read defense



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             1   counsel's mind here.     Tell me if I'm reading your mind

             2   correctly, counsel.     That if such an e-mail was sent, wouldn't

             3   that be reflected ln one 'of the adverse event reports you are

             4   going to get?

 12:07PM     5            MS. HAZAM:     If it's specific

             6            THE COURT:     Am    I right?

             7            MS. SHARKO:     Yes, sir.

             8            MS. HAZAM:     It should be, if it's specific to a

             9   patient, we agree.     But those e-mails won't necessarily be

 12: 07PM   10   specific to patients.        I've seen plenty of e-mails in other

            11   litigations that just talk about, I am concerned about this, I

            12   have observed problems with it, I have -- I'm working on a

            13   study that may show it.       They're not always about a specific

            14   patient, and therefore they wouldn't necessarily trigger the

 12:07PM    15   obligation to make an adverse event report, if that obligation

            16   lS always carried out.

            17            THE COURT:      Okay.     Let's hear from the defendants

            18   about this.

            19            MS. SHARKO:     Four points.     Number one, this is

 12:08PM    20   hypothetical.   We can't drive burdensome, peripheral and

            21   extraordinarily expensive discovery on a hypothetical, or

            22   references to it happened ln another litigation.        We have to

            23   have specifics in evidence.        Three, your Honor gets what I was

            24   going to say.   And four --

 12: OSPM   25            THE COURT:     Educated guess.



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            1             MS. SHARKO:    But a good guess.

            2             Four, we can't agree to do European custodians.         If

            3   we're going to have to go down that road, then we'll      hav~    to

            4   litigate custody and control and all those issues.       I've tried

 12:08PM    5   to cooperate and compromise here, but for example Australia,

            6   there is no Daiichi subsidiary in Australia, and I told the

            7   plaintiff this.     In Australia the product is marketed by

            8   Merck, which is a licensee.     So if you were to say produce

            9   Merck's --produce Australian custodians, we would have to go

12:09PM    10   to Merck and say, Merck, we want the computers of these

           11   people.

           12             Same thing is true in Canada.      There is a Daiichi

           13   subsidiary ln Canada, but they don't market the product, the

           14   product lS marketed in Canada by Pfizer, which is a licensee.

12:09PM    15   I don't see how I can go to Pfizer, say turn over the

           16   custodians's laptops.     France has a licensee called Menarini,

           17   and they handle part of it.     So it's not as easy as it sounds,

           18   it's burdensome, and I submit that it's not necessary.

           19             THE COURT:    Last word, plaintiff.

12: 09PM   20             MS. HAZAM:    Yes.   I would just say first of all that

           21   as to the issue of custody or control, as plaintiffs' motion

           22   set forth,   the standard lS not that it's in the possession of

           23   the pafty, the standard is is it something that's accessible

           24   to them in their regular business practice.      We clearly have

12:10PM    25   evidence of that, which we've submitted with our motion, they



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             1   were regularly in touch with people at Merck with regards to

             2   Australia and with regards to Canada.         Many of these entities

             3   are also wholly-owned subsidiaries, and this Court itself has

             4   indicated that that constitutes sufficient control.

 12:10PM     5               We would also say that there are obviously reasonable

             6   limits that we can agree to, and we've tried to talk to the

             7   defendants about this.      Ms. Sharko raises laptops.     We can

             8   agree that we don't have to, as a starting point at least, get

             9   laptops from a very limited list of foreign custodians.           We

 12:10PM    10   can agree that we don't have to get paper documents.         But as

            11   far as e-mail files, there should not be any type of a burden

            12   involved.     There hasn't been one demonstrated, the defendants

            13   don't provide anything other than a reiteration of their per

            14   custodian cost for the United States.

 12: llPM   15               Finally, I would say that some of these documents on

            16   this list may not be in custodian files but in databases, it

            17   would also be readily produceable.

            18               THE COURT:   Okay.   Thank you.    This is what the

            19   Court's ruling is going to be on the foreign document request.

 12:11PM    20   I have to give plaintiffs credit here, because I think they

            21   really did take the Court's direction to heart.         In this

            22   September 25th letter, there are five requests for documents.

            23   They really did I think to their credit hone in on the

            24   relevant issues in the case.       So, that's really a step forward

12:11PM     25   from where we originally started.



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            1             Like the Court said, it's looking at this

            2   holistically and the Court, the Court has granted plaintiffs a

            3   tremendous amount of leeway with the custodians, a tremendous

            4   amount of leeway with the search terms, but they agreed upon

 12:12PM    5   that.   Unquestionably in the Court's view, the adverse event

            6   report issue is, if not the most important, one of the most

            7   important issues ln the case and that's why the Court gave

            8   plaintiffs a tremendous amount of leeway there.

            9             But I think we're drifting away from the core of the

 12:12PM   10   case when we start talking about documents in the United

           11   Kingdom, Germany, Canada, France, Australia and Spain.      The

           12   Court does not doubt that documents in these countries could

           13   be relevant, or are relevant, I mean it doesn't take a genius

           14   to surmise that.    But then the Court has to evaluate what is

 12:13PM   15   the likelihood that there are going to be documents in these

           16   countries that are not picked up in all the other searches

           17   that the Court is permitting in this case, the searches in the

           18   United States and Japan.    And frankly,   I think the chances of

           19   that are slim.     Is there, of course, a chance that there is

 12:13PM   20   some document in France or Spain that lS not going to be

           21   picked up in some of these other searches?     Of course the

           22   answer to that is yes, because no one could be sure with

           23   certainty.   But I think the likelihood of that lS slim.

           24            I think a very, very fair compromise of this issue at

 12:13PM   25   this point is that if the documents are located in the United



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            1    States or Japan, even though they relate to the United

            2    Kingdom, Germany, Canada, France, Australia and Spain, they

            3    have to be produced.     The Court agrees that categories one to

            4    three are relevant.     The Court agrees with defendants that

 12:14PM    5    category four is objectionable, it's vague in the Court's

            6    mind, and based upon what we've been talking about, the

            7    likelihood that there is going to be something that's not

            8    picked up someplace else is small.     So the objection to number

            9    four is sustained.     And I also agree with defendants that the

 12:14PM   10    category in number five, communications with healthcare

           11    providers, is an appropriate objection because I think based

           12    upon what we talked about, that's going to be picked up in

           13    other places.

           14              So, the Court's order is going to provide that

 12:15PM   15    documents in Daiichi United States, Daiichi Japan, that are

           16    responsive to request one, two, three and five, except for

           17    communications with healthcare providers, even though they

           18    relate to the United Kingdom, Germany, Canada, France,

           19    Australia and Spain, have to be produced.      And that's what the

 12:15PM   20    order is going to say with regard to the foreign document

           21    issue.   Everything the Court is saying   lS   without prejudice,

           22    if there's good cause in the future to go back, if there's a

           23    particular custodian in some foreign country, the Court will

           24    hear the application.     But in the Court's view, this is an

 12:15PM   25    eminently fair and reasonable compromise of this discovery



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             1   dispute.

             2              MS. HAZAM:   Your Honor, could I just ask a question

             3   to clarify your ruling?

             4              THE COURT:   Yes.

 12:15PM     5              MS. HAZAM:   I assume that your ruling is only as to

             6   documents that although they are in the possession of Daiichi

             7   Japan or Daiichi U.S., relate to foreign doctors,         for example?

             8   I assume that the Court is not ruling that --

             9              THE COURT:   No, right.

 12: 16PM   10              MS. HAZAM:   -- that e-mails from U.S. doctors that

            11   are in the custody of --

            12              THE COURT:   No, no, no, no, no, no, no.

            13              MS. HAZAM:   Okay.     It just wasn't clear to me,   I

            14   wanted to confirm on the record.

 12: 16PM   15              THE COURT:   We're only talking about doctors related

            16   to the United Kingdom, Germany, Canada, France, Australia and

            17   Spain.

            18              MS. HAZAM:   Okay.     Your Honor,   I'm not sure if this

            19   is the appropriate time to make this submission, we can do so

12:16PM     20   later, but Mr. Freudenthaler is definitely a custodian who we

            21   would like to have added based on his position as director of

            22   risk management and head of the Global Clinical Safety and

            23   Pharmacovigilance Committee.

            24              THE COURT:   Request denied.      We've done it.   You had

12:16PM     25   your chance, you got 76.        Done.   Finished.



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              1             MR. SLATER:    Can I ask one question, your Honor?

              2   Academics and reviewers, which your Honor has ruled are

              3   discoverable.

              4             THE COURT:    Researchers or academics.

 12:17PM      5             MR. SLATER:    Researchers or academics.   Our

              6   definition would include investigators that work with the

              7   company, consultants and key opinion leaders that they

              8   actually pay as consultants and consult with regularly as

              9   academics and within that category.      I just want to say that

 12:17PM     10   if that's acceptable to your Honor, we would appreciate that

             11   because they would routinely consult with doctors that they

             12   pay as consultants on issues like this, as opposed to an

             13   independent doctor who just calls up to say, hey,     I have an

             14   issue.

 12: 1 7PM   15             MS. SHARKO:    I mean, no.   This is the point I keep

             16   making.   These requests mutate and expand spontaneously.      The

             17   plaintiffs gave us this, we've been working on it, we've been

             18   talking to the client, and now it's something else.

             19             THE COURT:    How would you interpret the term

 12:17PM     20   researchers or academics, counsel?     Communications with

             21   researchers or academics.

             22             MS. SHARKO:   A researcher is somebody who is doing

             23   research, whether it's a clinical trial or they are doing

             24   research, and they ask a question.

 12: 18PM    25             THE COURT:    Could it be an internal person?



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             1               MS. SHARKO:     An internal person?

             2               THE COURT:     Someone who works for the company in

             3   Germany?

             4               MS. SHARKO:     Somebody who works for the company,

 12:18PM     5   somebody who works for the German subsidiary and sends an

             6   e-mail to Japan about a study he or she is doing?          Yes, I

             7   think that falls within what we've been discussing.

             8               THE COURT:     Okay.   That's the definition the Court

             9   accepts for responding to number five.

 12: 18PM   10               Qui tam.     Defendants, let me start with you with a

            11   question.     It sounds like Daiichi produced a lot of documents

            12   to the government ln connection with their investigation.            Is

            13   that right?

            14               MR. CARROLL:     I can't state that is correct or not,

 12: 19PM   15   your Honor.     I can't state with certainty that that's correct.

            16               THE COURT:     Well, counsel, can you tell me if Daiichi

            17   produced any documents to the government in response to their

            18   investigation?     Isn't that why we're here, because the

            19   plaintiffs asked for all the documents that Daiichi produced

 12:19PM    20   to the government, so how could you not know what they

            21   produced?

            22               MS. SHARKO:     We did produce documents,   I think

            23   Mr. Carroll is troubled by a lot.

            24               MR. CARROLL:     I am troubled by a lot.

12: 19PM    25               THE COURT:     Okay.



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             1              MR. CARROLL:     I am also troubled by the fact that

             2   plaintiffs are not asking for just what was produced to the

             3   Department of Justice, their requests are extraordinarily --

             4              THE COURT:     Okay, Mr. Carroll,   let's focus on what

 12:20PM     5   the Court is interested in, the documents produced to the

             6   government.    The documents produced to the government, were

             7   they produced in response to subpoenas?

             8              MR. CARROLL:     To a subpoena, yes.

             9              THE COURT:     Only one subpoena?

 12: 20PM   10              MR. CARROLL:     A subpoena by the Department of Justice

            11   seeking documents; the documents were produced in response to

            12   that subpoena.

            13              THE COURT:     Go ahead, I'm sorry.

            14              MR. CARROLL:     Go ahead.

 12:20PM    15              THE COURT:     No,   I'm sorry, go ahead.

            16              MR. CARROLL:     There are also state court actions, and

            17   I don't know off of the top of my head if documents were

            18   produced in addition ln those state court actions, what

            19   resulted from the --

 12: 20PM   20              THE COURT:     The state court qui tam actions?

            21              MR. CARROLL:     Yes, sir.

            22              THE COURT:     You don't know if they were produced?      I,

            23   maybe I   saw depositions.      Were there depositions taken in

            24   those state court actions?

 12:20PM    25              MR. CARROLL:     I don't believe so, sir.



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            1            THE COURT:     Okay.   Was there only one production of

            2   documents by Daiichi in response to a subpoena, or were there

            3   supplements?

            4            MR. CARROLL:     I would suspect, Judge, that there were

 12:21PM    5   more than one production.

            6            THE COURT:     Can you give me a guesstimate of how many

            7   documents were produced and whether they were produced in hard

            8   copy format or electronic format?

            9            MR. CARROLL:     To the former, no; to the latter, both.

12: 21PM   10            THE COURT:     Do you have any sense of how many

           11   documents were produced?

           12            MR. CARROLL:     No.

           13            THE COURT:     Is there an index to the documents that

           14   were produced?

12: 21PM   15            MR. CARROLL:     I believe there is.

           16            THE COURT:     Okay.   Was that index produced to the

           17   government?

           18            MR. CARROLL:     No, I believe that's internal work

           19   product, Judge.

12: 21PM   20            THE COURT:     When Daiichi produced the documents to

           21   the government and when they produced their supplements to the

           22   government did they say, here's our documents in response to

           23   your subpoena, or was there some sort of letter explaining

           24   what documents they produced?

12: 21PM   25            MR. CARROLL:     Unknown.   What I can say, Judge, that



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             1   any documents that were produced were part of a process that

             2   ended with a settlement agreement between Daiichi and the

             3   Department of Justice, so there were meet-and-confers, there

             4   was negotiation.

 12:22PM     5               THE COURT:     Is it Daiichi's position that if the

             6   plaintiffs served a Freedom of Information Act request that

             7   they would not be able to obtain the documents that Daiichi

             8   produced to the government?

             9               MR. CARROLL:     I don't know the answer to that

 12: 22PM   10   question.

            11               THE COURT:     I'm asking a lot of questions, counsel,

            12   that you don't know the answer to.

            13               MR. CARROLL:    Well, I can answer other questions.

            14               THE COURT:     There was an argument in your brief to

 12:22PM    15   that effect, there was an argument in the brief that

            16   defendants should not have to produce their documents because

            17   they wouldn't be produceable pursuant to FOIA.        So there was

            18   an argument ln your brief I think, if I'm wrong about this I'm

            19   sorry, that it would be burdensome to produce these documents.

 12: 22PM   20               MR. CARROLL:    They are not

            21               THE COURT:     I'm asking you how many documents there

            22   are, and you can't tell me, so ... I'm asking a lot of relevant

            23   questions that I'm not getting an answer to, counsel, I'm

            24   sorry.   This is basic information.

 12: 23PM   25               MR. CARROLL:     I apologize for not being able to



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            1   answer your question immediately, Judge.           However, it lS

            2   Daiichi's position that the documents would not be

            3   discoverable under FOIA.

            4               THE COURT:     Why?

 12:23PM    5               MR. CARROLL:     Because FOIA has an exception, the

            6   Freedom of Information Act Exception 4 treats with only the

            7   trade secrets and commercial or financial information.

            8   Documents are commercial or financial for the purpose or the

            9   exception stated in our brief, if it discloses information

12:23PM    10   likely to have either of the following effects:           To impair the

           11   government's ability to obtain necessary information in the

           12   future,   or to cause substantial harm to the competitive

           13   position of the person from which the information was

           14   obtained.

12: 24PM   15               THE COURT:     We have a discovery confidentiality order

           16   ln this case that bars the plaintiffs from using any of the

           17   discovery that Daiichi produces for anticompetitive purposes,

           18   so how if these documents are produced in this case             I'm

           19   sorry.    Let me go back.         How would production pursuant to a

12:24PM    20   FOIA to the plaintiffs for litigation purposes be an

           21   anticompetitive burden?

           22               MR. CARROLL:     So plaintiffs ask for FOIA --

           23               THE COURT:     The argument that Daiichi made was that

           24   if plaintiffs served a FOIA, they couldn't get these documents

12:24PM    25   because there is a trade secret production under the FOIA



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            1   regs.

            2               MR. CARROLL:     Correct.

            3               THE COURT:     And I'm asking, how in the world are

            4   these plaintiffs going to use this information for

 12:25PM    5   anticompetitive business purposes?

            6               MR. CARROLL:     Well, that's not the purpose of the

            7   protective order, the purpose of the protective order is to

            8   keep documents that are protected from the public purview.

            9               THE COURT:     And there is a discovery confidentiality

12:25PM    10   order in this case that bars the plaintiffs from using the

           11   information and from distributing it to any unauthorized

           12   person.     So why wouldn't that, I guess I'm trying to get to

           13   the bottom of this argument that they couldn't get this

           14   pursuant to FOIA because of some trade secret protection.

12: 25PM   15               MR. WEINBERG:     Your Honor, one point of

           16   clarification.     They only argue this FOIA exception with

           17   respect to the reporting requirements under the corporate

           18   integrity agreement, not with respect to the other documents

           19   that we've requested.

12: 25PM   20               THE COURT:     Okay.   Counsel, this is what I want to

           21   do.     I want to take a one-minute break and I want you to

           22   confer with your colleagues.         I want an answer to the question

           23   about how many documents have been produced, okay?         That is a

           24   basic question.     It is unfathomable to this Court that there's

12:26PM    25   not an answer to that question at this table.



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            1            MS. SHARKO:     We have the answer.     Thank you,

            2   Ms. Brennan.

            3            There were 58 productions which totaled about a

            4   million pages.    It's important to recognize that the documents

12:26PM     5   in that production fall into a couple categories.          The first

            6   category is that many of those documents related to a product

            7   that's not at issue in this litigation.        The second category

            8   or fact is that if the documents were otherwise relevant and

            9   discoverable, they have been produced or will be produced.

12:2 6PM   10            So, there were a lot of Benicar       mark~ting   documents

           11   presumably in those million pages, those documents either have

           12   been or will be produced here.     Whether we gave them to the

           13   Justice Department, our position is that that's irrelevant.

           14            THE COURT:     Is there an objection to producing to

12:27PM    15   plaintiffs the subpoena that the government served on Daiichi?

           16            MR. CARROLL:     That would be a one-minute break

           17   question and answer, sir.

           18            THE COURT:     And I'm also going to ask is there an

           19   objection to producing to plaintiffs the index to the

12:27PM    20   production and copies of the enclosure letters sent to the

           21   government.    Okay?   I'm not talking about the underlying

           22   documents.

           23            MR. CARROLL:     Understood.

           24            THE COURT:     Because let me just turn over the cards,

12:27PM    25   what I'm thinking, okay?    This is -- it just seems to the



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            1   Court, and correct me if I'm wrong, that the plaintiffs are

            2   going to get all of the documents, information, what have you,

            3   that the marketing people provided to the doctors at issue in

            4   this case.   Okay?    They are going to get that pursuant to the

 12:28PM    5   fact sheet, that's my understanding.

            6            MR. CARROLL:     That's correct, sir.

            7            THE COURT:     And plaintiffs want everything on a

            8   corporate level, okay?     I think you know where I'm going.     At

            9   least at this time in the case, my leaning is we don't have to

 12:28PM   10   go that far in this case at that point.     Let plaintiffs get

           11   everything regarding the doctors at issue in this case, let

           12   you all pick your bellwethers, and then we can revisit the

           13   issue about whether we have to go further.       But, it just seems

           14   to the Court plaintiffs ought to know what's out there, and if

 12:28PM   15   they know, if they have a copy of the subpoena, they have a

           16   copy of the index and they have copies of enclosure letters,

           17   at least they know what exists.     And then later on in the case

           18   they can sharpen their pencil, and if there's something that

           19   they didn't get that they want, they can ask for it.       That's

 12:29PM   20   where I'm heading.     Let's take a five-minute break.

           21            MR. CARROLL:     Five minutes, Judge?

           22            THE DEPUTY CLERK:     All rise.

           23            (During the recess, the proceeding was adjourned.)

           24

           25



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                           Exhibit I
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                        A method             tor estimating the               probability of adverse
                        drug reactions

                        Till' I.'Stimlllion <!!'the probability cfwr u dmg caused   WI   udl'f!rse dinkal ewnt is usually based
                       au diuicul judgmmt. Lack t!( a method .fi'r establishing c·ausality gt•lfi:rmes lm:~(' betll't'c'/1-riller.\
                       and wiJhin-mrers \'llriabiliry in usst!ssmt</11. Using the cmm•!rliona! categories and definitions (}/'
                       <h:finile, tJrolmblt•, possible, m1tl doubtjitl atl•·erse drug l't't'tcriom (ADRs). the between-rarers
                       ugrt'l'IIU'IIl of 1wo physicians mu/j(lllr pharmacists who indeJiendenl!y assc•ssnl 63 randomly
                       .H•h•cred ulh•ged ADRs was 38% to 63?1', kappa ( K, a chmJct•-correCied index of agreement)
                       \'ariedti·om 0.21 ro 0.40, and the iltlradass correlation l'o<1fidmt of reliability (R[esr]) was
                       0.4Y. Six (testing) and 22 ll'k (rere.rting) lata the saml! ob.H'rl'ei'S indepmdently reanalyzed the
                       63 t'ases by assigning a weighted scare I ADR probabi!iry scale) to each uf the cc>mponents that
                       nw.sT be mnsidered in establishing causal trssodarions bl'fll't't!ll drug( s) and adl'crse ewmrs (e.g ..
                       rempoml seque11ce). The eases wae mndomi::.ed ro minimi;:e the injlueuce (}/'lrmming. The             f!\'e/11

                       was assigm•d a pmbabiliry mregory fmm the tow/ Jt·ore. The benw·en-raters rl!liabilio• (range:
                       perce/11 agreement = 83% to 91%: 1<. = 0.69 to 0.86: r = 0.91 tu 0.95; R(estl = 0.92) and
                       wi!lrin-mters reliability (range: percem agreement = 80% fil 97%; K = 0.64 ro 0.95; r = 0.91
                       10 0. 98) imprm•t•d (p < OJJOI ). The bem·et?H'aters reliabiliry was mailllainl'd on refi'Sfing

                       (rangt•: r = 0.84 ro 0.94: R(est) = 0.87). The betwt•en-rarers rdiabiliry t?f'three atrending
                       physidans who itukpendemly assessed 28 ,nher pmspecfh•t4y colleC!ed cases '!!'alleged ADRs
                       ll'as \'ery high (rcmge: r ""'0.76 to 0.87; R(est) = 0.80). lr was a/~o shown rliw rhe ADR
                       probability scale has COI1St'I1Stllll, contelll, and ernttlll'l'enl validity. This sysremmic method t!f.fers
                       a sensilil'e \i'ay w monitor ADRs and may be applicable to po.,·tmarkelfng drug sun•!!illunce.




                        C. A. Naranjo, M.D., U. Busto, Pharm.D., E. M. Sellers, M.D., Ph.D., P. Sandor, M.D.,
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                       Depurtmems tif Medicine <111d Pharmacology. Unit•crsity of Torrmw




         Received for publicmion April 15. 1980.                                 The most important problem in assessing ad-
         Accepted for publication March :w. 1981.                             verse drug reactions (ADRs) is whether there is
         Reprint requests !o: C. A. Naranjo, M.D .. Clinicnl Pb>UT!lacology
       Progr:un. Addiction Research Foundation Clink a! Institute, 33 Rus-
                                                                              a causal relationship between the drug and the
       sell St.. Toronto, Ontnrio M5S 2S l, Canada,                           untoward clinical event. The use of the con-
          'Clinical Pharmacy Group, Faculty of Chemica! Sciences, Uni-        ventional definitions and probabilities of de-
       vcrsidad de Chile, Santiago, Chile.
         .. Division of Clinical Pharmacology. New England Medicnl
                                                                              finite, probable, possible. and doubtful ADRs''
       Centre Hospital, Boston. MA.                                           generates wide variability in assessment. Koch-

       0009-9236/81/080239+07500.70/0            © 1981 The C. V. Mosby Co.                                                    239
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        240 Naranjo eta!.                                                                                             Clin. Plumnaco/. Tflcr.
                                                                                                                                AllgiJSl/98/




        Table I. ADR probability scale
        To assess the adverse drug reaction. please answer the following questionnaire and give the peninerzt score.

                                                                                  Yes         No          Do not know             Score

            I. Are there previous conclusive reports on this                       +I            0                0
                 reaction?
           2.    Did the adverse event appear after the suspected drug             +2          -1                 0
                 was administered?
           3.    Did the adverse reaction improve when the drug was                +!            0                0
                 discontinued or a specific antagonist wa.~ admin-
                 istcred?
           4.    Did the adverse reaction reappear when the drug was               +2          -I                 0
                 readministered'l
           5.    Are there alternative causes (other than the drug) that           -I          +2                 0
                 could on their own have caused the reaction?
           6.    Did the reaction reappear when a placebo was given'?              -I          +I                 0
           7.    Was the drug detected in the blood (or other fluids) in           +I            0                0
                 concentrations known to be toxic?
           s.    Was the reaction more severe when the dose was in·                +l            0                0
                 creased, or less severe when the dose was decreased'?
           9.    Did the patient have a similar reaction to the same or           +I             0                0
                 similar drugs in any previous exposure?
          1.0.   Was the adverse event confirmed by any objective                 +I             0                0
                 evidence?
                                                                                                                Total score


        Weser et al. a found that clinical pharmacolo-               assessed 63 randomly selected alleged ADRs.
        gists frequently disagreed when analyzing the.               These cases composed a stratified random
        ~.·ausality of ADRs, and others 1• 7 have come to            sample (18.8%) of 335 cases of ADRs pub-
        similar conclusions. Manifestations of ADRs                  lished during 1978 in the British Medical Jour-
        are nonspecific. The suspected drug is usuaily               nal (22 cases), Lancet (17 cases), Annals of
        confounded with other causes, and often the ad-              Internal Medicine (12 cases), Journal of the
        verse clinical event cannot be distinguished                 American Medical Associalion (8 cases), and
        from manifestations of the disease. Recently                 New England Journal of Medicine (4 cases).*
        there have been attempts to systematize the as-              The cases were randomized to minimize learn~
        sessment of causality of ADRs, applying oper-                ing, and the sequence was kept blind to the
        ational definitions such as those proposed by                observers.
        Karch and Lasagna 9 and by Kramer et aL 9 The                   In the first assessment (phase I) an "adverse
        application of these methods in routine clinical             drug reaction" (ADR) was defined as any nox-
        practice has been limited, perhaps because they              ious, unintended, and undesired effect of a drug
        are too detailed and time consuming. We devel-               after doses used in humans for prophylaxis,
        oped a simple method to assess the causality of              diagnosis, or therapy. This definition excludes
        ADRs in a variety of clinical situations, and its            therapeutic failures, intentional and accidental
        systematic application to different cases of al-             poisoning, and drug abuse. 16 The probability
        leged ADRs has provided reliable answers.                    that the adverse event was related to drug ther-
                                                                      apy was classified as definite, probable, possi-
          Materials and methods                                       ble, or doubtful. 5 • 12 A ''definite'' reaction was
           To test the reliability and validity of the ADR            one that (l'J followed a reasonable temporal se-
        probability scale (Table I) several studies were              quence after a drug or in which a toxic drug
        conducted. In the main study, on three occa-                  level had been established in body fluids or tis-
        sions (phases 1, 2, and 3) six observers (two
        physicians and four phannacists) independently                     'A list of the reportS will be provided on rc'luest.
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          l'o/11111~ 30
         .'lumber ?
                                                                                    Method for as:s11ssing probability of ADRs     241



         sues, (2) followed a recognized resp•)nse to the                            and Pc = proportion of agreement expected by
         suspected drug. and (3) was confirmed by im·                                chance. Kappa ranged from ·-1 (complete dis-
         pnwement on withdtawing the drug and reap-                                  ugrecment) to t 1 (perfect agreement). Correia··
         peared on reexposure. A "probable" reaction                                 tion coefficients between ADR scores were also
         (!) folio wed a reasonable lcmporai sequence                                used to test between-raters and withln-raters re-
         after a drug. (2) followed a recognized response                            liability in phases 2 and 3. The intraclass corn~­
         to the suspected drug, (3) Waf. confirmed by                                lation toeftldem oi' reliability (R[est)) was also
         withdrawal but not by exposure to the drug. and                             calculated:
         (4) could not be reasonably explained by the
         known characteristics of lhe patient's dinical                                           R(es!} = -        S'"-·- -
                                                                                                                .......
         state. A "possible'' reaction (I) followed n                                                      S~   +   S;' + S~
         temporal sequence after a drug, (2) possibly fol-                           where s; = variance from !he cases, s~ =
         lowed a recogni?.ecl pattern to the suspected                               variance generated by the raters, and S~ = re-
        drug, and (3) could be explained by charac-                                 sidual variance or error. This coefficient is the
        teristics of the patient's dise\tSe, A reaction was                         ratio of the variance associated with true case-
        defined as "doubtful" if it was likely related to                           to-ease variability to the sum of all the compo-
        factors other than a drug.                                                  nents of variance. R(est) varies from zero (i.e.,
           Six weeks later the 63 cases were reordered                              no intercase variation is detected by the ratings.
        randomly and reanaly;zed (phase 2). The observ-                             the ratings are the result only of measurement
        ers independently assigned a weighted score w                               error and betWeen-rater diff~rences) to a maxi-
        the components used to establish a causal asso-                             mum of unity (i.e .• intercase variation is cor·
        ciation between drugs and adverse events (tem-                              rectly detected by the ratings, there is no contam-
        poral sequence, pattern of response, withdrawal,                            ination by measurement error or rater-to-rater
        reexposure. alternative causes, placebo re·                                 variation). 14 The R(est) was calculated in phase
        sponse, drug levels in body fluids or tissues,                              1, assuming a score of I (doubtful), 2 (possi-
        dose-re.sponse relationship, previous patient ex-                           ble), 3 (probable), or 4 (definite). Tl1e actual
        perience with the drug, and confirmation by ob-                             ADR scores were used in phases 2 and 3.
        jective evidence). These factors were analyzed                                 To determine whether the improvement in
        and scored using the ADR probability scale                                  reliability found in phase 2 had occurred by
        (Table 1). Ea~~h questio11 could be answered                                chance the cases were again reordered randomly
        positive (yes), negative (no). or unknown or                                and reanalyzed independently by the six raters 4
        inapplicable (do not know), The raters were in-                             mo later (phase 3), This allowed us to assess
        structed to use the questionnaire for about 20                               within-rater and between-rater retest reliability.
        min.* The ADR was assigned to a probability                                 The between-rater reliability of practicing phy-
        category from the total score as follows: definite                          sicians was also tested. Three attending physi-
        ;;:9, probable 5 to 8, possible 1 to 4. doubtful                            cians independently rated 28 other prospec-
        sO. The between-raters reliability to use the                               tively collected cases of alleged ADR observed
        categorical classification of A DR probability                              in the Toronto Western Hospital.
        was measured using percent agreement and                                       Validity. To e.;;tablish validity comparison
        kappa (K, a chance-c:onected index Clf agree-                               with a standard is necessary. Because there is
        me.nt). 14 Kappa was calculated as follows;                                 no method that can determine which adverse
                                                                                    events are truly ADR, we studied the validity of
                                                                                    the ADR probability scale in several ways.
                                                                                    Consensual validity was tested as follows. (l)
        where P0          ~   proportion of observed agreement                      The consensus assessment of three · 'experl<> · •
                                                                                    (C. A. N., E. M.S., D. J. G.} using the con·
            • An appendix with instructio~s (or usi11g our ADR pnJballility
                                                                                    ventional categories of ADR probabilities was
        s:cal<' wlll b<" supplied with. reprint> anJ will u!so b.: avatl<~ble twm   the external standard with which physicians·
        the National Auxiliary Publicotion Service, American Society uf
        lnfo;mation Services, 1010 I!Sm SL N.W., Wa.ohingiun, l).C.
                                                                                    pharmacists as:;essmcnts wer\! compared. Their
        20036.                                                                      expertise is supported by publication!>. k, to. a
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                                                                                                                                                Ang11st 1981




        Table II. Between-raters agreement
                                                                             Phase 1                           Phase 2                     Phase 3

                       ··-
                              Pairs of raters
                                                             -   ·-
                                                                      -;;-r            K
                                                                                           ·-
                                                                                                   %    j        K
                                                                                                                 ·-      I      r             r

                                 ROI-R02                                52           0.35          83          0.69            0.93         0.85
                                     R04                                56           0.37          83          0.70            0.93         0.84
                                     R06                               44            0.22          86          0.75            0.92         0.94
                                         ROS                           49            0.32          87          0.77            0.94         0.89
                                         RIO                            54           0.35          84          0.72            0.93         0.91
                                 R02-R04                                54           0.31          83          0.71            0.91         0.87
                                         R06                           49            0.29          89          0.80            0.94         0.87
                                         R08                           48            0.32          86          0.75            0.93         0.89
                                         RIO                           52            0.29          90          0.83            0.95         0.90
                                 R04-R06                                54           0.35          84          0.72            0.91         0.87
                                     ROS                               48            0.36          83          0.70            0.93         0.87
                                         RJO                           57            0.36          83          0.71            0.91         0.86
                                R06-R08                                46            0.27          92          0.86            0.94         0.91
                                         RIO                           54            0.35          90          0.83            0.92         0.93
                                R08-Rl0                                41            0.21          86          0.77            0.94         0.93

            lntrac!ass conelation coefficient                          R(est) = 0.49                        R(est)    = 0.92           R(est) "" 0.87
               of reliability

        Table III. Within-raters agreement                                                        Results
                             Phase 1           Phase]                 Phase2                        Table II shows that there was poor between-
                               vs.               \'S.                   vs.                     raters agreement when the conventional deftni·
                             phase 2           phase]                 phased                    tions of ADRs were used (phase 1). Percent
         Rater           %1       I(       %1           I(
                                                                 %l    K
                                                                             Ir                 agreement ranged from 41% to 57% (kappa=
                                                                                                0.21 to 0.37, R(est) = OA9). When the ob-
           ROl          43      0.23      38      0.16           92 0.85      0.96              servers applied the ADR probability scale (phase
           R02          67      0.47      63      0.50           86 0.75      0.91
                                                                                                2) there was a rise in percent agreement (83% to
          R04           54      0.28      48      0.19           80 0.64      0.94
          R06           44      0.22      44      0.22           97 0.95      0.98              92%), K (0.69 to 0.86), and r (0.91 to 0.95)
          R08           36      0. .17    43      0.25           87 0.78      0.93              (sign test, p < 0.001). The intraclass correla-
           RJO          51      0.26      57      0.38           87 0.79      0.97              tion coefficient of reliability (R[est) = 0.92)
                                                                                                indicates high reproducibility. The between-
                                                                                                raters reliability was maintained on phase 3 re-
                                                                                                testing (r = 0.84 to 0.93, R(est) = 0.87). The
        (2) One of the expe.rts (C. A. N.) assessed the                                         high within-raters reliability using the ADR
        reactions using the ADR probability scale, and                                          probability scale (phase 2 versus phase 3) is
        his ratings were compared with those by the                                             shown in Table III. The percent agreement
        physicians-pharmacists in phase 2. Content va-                                          ranged from 80% to 97% (K = 0.64 to 0.95,
        lidity was tested in the 63 reported cases and in                                       r = 0.91 to 0.98). The between-raters reliabil-
        the 28 prospectively collected cases, comparing                                          ity of the three attending physicians who rated
         the variations in the ADR scores of reactions                                           the 28 prospectively collected ADRs was also
        considered possible, probable, or definite and                                           high (r = 0.76 to 0.87, R[est] = 0.80).
        those classified as definite nondrug adverse                                                Validity. Percent agreement between the con-
        events. Concurrent validity was tested by com-                                          sensus of experts and the physicians-pharma-
        paring the correlation of the scores of the 63                                          cists assessments ranged from 79% to 84%
        ADRs obtained by our method with those de·                                              (K = 0.64 to 0.7t). Percent agreement with the
        rived by the algorithm described by Kramer                                              expert (C. A. N.) who used the ADR probabil-
        et al. 2 • 9                                                                             ity scale ranged from 86% to 95% (K = 0. 75 to
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        Volume JO                                                Method for assessing probability ofADRs                   243
        Nwnber 1




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                                                             Cases

                              Fig. 1. Distribution of ADR swres in 63 cases of alleged ADRs.


       0.91, r = 0.94 to 0.96). The ADR scores ob-               were within the same diagnostic category or
       tained rating the 63 reported cases with our              only one category apart. When there was dis-
       method correlated with those derived using the            agreement it was usually not substantial, as in-
       algorithm described by Kramer et al. 2 (r ,.,.            dicated by the small standard deviation of the
       0.82, p < O.OOl).                                         ADR scores (Fig. I) and the high correlation
                                                                 coefficients between scores (TabJes II and III).
          Discussion                                             A 3-point between-raters disagreement occurred
           Our data indicated a marked improvement               in only one very complicated case.
        in between-raters and within-raters agreement               It is possible that high reproducibility could
        when the adverse events were assessed with our           occur without using the ADR probability scale,
       ADR probability scale. The intraclass correla-            but the poor within-raters (phase I/2 and phase
       tion coefficient of reliability (R[est] = 0.92)           1/3; Table III) and between-raters agreements
       suggests that the method can discriminate                 (phase I; Table H) using the conventional
       ADRs of different probabilities. The repro-               definitions rule out this possibility. Perhaps the
       ducibility was maintained on retesting, and re-           high agreement occurred because the 63 ca~es
       sults of the same order were obtained when                were selected from published reports and in-
       physicians rated a different set of prospectively         cluded only three ADR categories (possible,
       collected cases of ADR. The ADR probability .             probable, and definite), which generated spuri-
       scale is a simple questionnaire that can be an-           ously high reproducibility, but this seems un-
       swered rapidly.                                           likely. Fig. 1 shows that the cases represented a
          A major problem in drug-monitoring studies             broad spectrum of ADRs (scores ranged from
       is lack of a reliable method of assessing the             -2 to + 12). The good correlation between the
       causal relation between drugs and adverse                 actual ADR scores reflecting between-raters re-
       events. Such a method is needed because the               liability (r"" 0.91 to 0.95; Table U) and with-
       incidence of adverse events can be estimated              in-raters reliability (r = 0.91 to 0.98; Table III)
       only from cases identified a~ definite or prob-           and the high K values suggest that the ADR
       able ADRs." Our data and those of others have             probability scale was the basis of a genuine
       demonstrated large interobserver variations               improvement in reproducibility. When attend·
       in assessments when the conventional cate-                ing physicians used our method to rate a differ-
       gorical definitions of probability of ADRs                ent set of reactions the between-raters agree-
       were used. 1• 7 • 8 Our ADR probability scale led         ment was good (R[cst]          =
                                                                                              0.80).
       to improved reproducibility in assessments.                  Using the ADR probability scale we were
       Using our scale, pairs of raters had scores that          also able to identify the origin of the interrater
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         244 Naranjo et al.                                                                     CliH Plu!YflltJN] T~n
                                                                                                          .-!UgtiJI /98/




         disagreements. The assessment of question 5           t'equired in special circumstances. In analyzing
         (alternative causes) Jed to the most disagree-        adverse drug interactions suspect interacting
          meoc. In view of the complex clinical situations     drugs rather than a particular drug must be as-
          alld the differences in training of the observers.   sessed. When a patient receives several drugs at
          this :should have been anticipated. Pharmacists      the same time the. ADR scale must be applied to
          in general were more likely to answer "I, do nol     each of the possible causes; the most likely Will
          know'' to this question. Hutchinson et al. t         be the drug with the highest score. In reactiOns
          found that this could be a major source of dis-      that appear during drug withdrawal, withdrawal
          agreement even though very detailed instruc-         corresponds to reinstituting treatment and rep-
         tions were given. In some complicated cases no        etition cortesponds to discontinuing the suspect
         algorithm can substitute for clinical experience.     drug.
             Even though the reproducibility of an instru-        The conventional classification of definite.
         ment is important, its validity must also be          probable. possible, and doubtful ADRs, as pro-
         considered. The observers could agree among           posed by Seidl cr al. t:l in 1966, assumes four
         themselves, but they could also all be wrong. In      discrete categories for which there is no empiri-
         cases of adverse events there is no definite st<m-    cal demonstratirm. h is therefore reasonable to
         dard against which to test the validity of new        postulate that some of the unreliabili1y of the
         operational definitions of ADRs. We therefore         conventional definitions or operational defini-
         assessed the validity of our ADR probability          tions of ADRs could result, because such cate-
         scale in several ways. The agreement of the six       gories are not unique (i.e.. the unreliability
         raters with the consensus of three experts was        could reflect the overlap between nondiscrete
         very high, suggesting that our instrument has         categories). Thus the higher correlation co-
         consensual validity. Although the experts may         efficients of the actual ADR scores (r = 0.9lto
         not always accurately classify reactions, the         0.94), as compared with the kappa values when
         probability that the consensus of three experts                                  =
                                                               using four categories (K 0.69 to 0.83) (Table
         would be completely wrong all the time is             Il), support this view and indicate the need to
         small. The high agreement between the physi-          characterize the probability spectrum of ADR$
         cians-pharmacists and one of the experts using        empirically. We suggest that it is preferable
         the ADR probability scale also indicates con-         to classify the probability using the actual
         sensual validity. The concurrent validity of our      ADR scores by our and similar operational
         instrument is suggested by the good correlation       methods. 11
         between the ADR scores generated by our                  Notwithstanding our encouraging results, it is
         method and those of another recently published        unrealistic to expect that our relatively simple
         algorithm.a The negative scores in the definite       procedure will solve all the complex problems
         nondrug adverse events and the positive scores        of identification and classification of ADRs.
         in the ''true'' ADR indicate that our method had      Further experience will provide the rationale fol'
         content validity. Our findings indicate that our      refinements and improvements and will confirm
         ADR probability scale is reliable and valid.          its utility in clinical practice. Our findings sug·
            Important potential applications of the ADR        gest that its systematic application can improve
         probability scale are the analy~is nf adverse         the quality of the assessment of ADRs in a va-
         drug-related events published ln medical jour-        riety of clinical situations.
         nals as we.ll as the assessment of reports submit·       The collaboration of Doctors M. Spino, H. Wang.
         ted to national drug rnonitoritlg centers. Many       and M. Rudykand ofS. Schachter, B.Sc., in S<lmcnf
         countries are interested in developing postmar-       the phas>:s of the study !s gratefully acknowledged.
         keting drug surveillance programs.:1 The reli-
         ability of the ADR assessme.nts in case studies       References
         could improve if operational definitions such as       l. Blanc S, Leuenberger P, Berger JP, Brooke EM,
         ours and similar procedures are used. 13 Advan-           Schelling JL: Judgments of tral.ned observers on
         tages of our method are simplicity and wide               adverse drug reactions. CLIN PHAl\MArot. THL'I!.
         applicability, Some minor modification!> may be           25:493-498, 1979.
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                           Exhibit J
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          The use of the WHO ... UMC system
          for standardised case causality assessment

          Why causality assessment?
          _-\n wbn.en1 problcrn in phann:Kovrgrlancc 1~ rha; n1ost OSl~ reporrs concern susp.::crcd
          adverse drug reactions. ;\dver~.e reactlo!H an: rnrdy ~pet:1C1c for the dntg, di;•tJ;;1lOSHc tests
          :nc usu-al1v absent nnd a rccha.l!enge                   1s   rarely <::t.hJc>lly jusr.J!:,ed. In practice few adverse
          reactions are 'certain' or 'unlikdy'; most are .snrn<:wbere in berxvcen these c:w:emes, i.e.
          'pos,;ibk' ot' 'pmbnbk'. In an ntrctnpt to solvt th15 pmbkm many systems hnvc been
          dc\'doped for a ;;tructnrvd ;wd harmnnised ato;~.:sstncnt of c;rusality (!;,Nom:. of tht.~c
          s;·5tcms, however, h>1ve: been shown to produce a precise- and reliable qnant:imdve
          esumanun uf n:·btionship likelihood. Nevertheless, causahry assessment h;w become                                                              ;l

          common routine procedure 1n phann:Jcovtgibnce. The advances and iimirnuons of
          c;IUS>Ilitv as·:;<:rsmvnt nrc reviewed in t({h/e fill



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             L)ecre-ase disJg·n.:<-~rncnt       h.ct\Vt:t!n   asscs:-;nt:s   N~''""."' Give     at.'O.Jtat-:;·   quantiL1H';~~l~~e~1}:\...lrt:nv;;n~~;""{-- 1
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            ··-~c:~E~~r:ie-~·;·~:~i~~,~·~~~-~~JIF~f;E·c~~:a--··                     v   •   •                                      •   d ca~~t!i                        I
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             <.:-:.. h. .~e~ntun~d                                                                           of v.n ~nJversc. t~....:'e-nt



          The WHO-UMC causality assessment system
          fhc \'(-'110--UivlC system ha~ been ckvc.loped in consultation \V!th the Nntionnl Ct:nlrcs
          pnrticipaung w the Prog;ran1mc for Inrcrnatlonill Drug fvtonitonng and is meant as a
          prau:.icnl tool for the nsscssmcm of case reports. It i~ basically n combined assessment
          raking into accnum the dinicnl--plurrnan.,Jogical asptocts of tbc case histut:y and the qualiry
          of the documcntnt.ion of the obsctvation. Since phm·~nat:ovigihmcc is pardcnlndl' concerned
          with the cktecnon of tmkno\vn and unexpected ~1dvcrse re:tctinns, other cdteda such :1s
          prn·wns knowledge nnd stausticRl chance play n less prominent role trl the system. It is
          r<;cognis<.:d thrlt the .semantics of the dd1nwons nrc ctirica! nnd that 1nd.ividunl judgements
          tlH!\' tb(:refon: differ. Thl'tc arc othct algoritbrrb th::~t an: dther yery complex or too
          ;;pccific fnr general use. This method           gti!dnncc tn the g:cn<:;ra! argument5 wluch should
          he usee! to select one cntcgorv over anoT.hcr.



                    ;n-c ;;hc•\Vil tn n pntnl wL>c w:w, as ln> been dcv-dopcd for pr,tnxal u-am1ng
          dunng the l:l'·,JC Tr:untng c<ntr:;t,..
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           Tr/J!e?   rn 10-UMC
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          Causality term          Assessment criteria*
          1--------+-----------------·-----·--------··-"·"-"
                                  • t::vcnt or labocuorj' rest nbnormalit:y, with pl:msiblc time
          Certain
                                    relatiomh.ip to drug inwkt
                                  • Cannot he explilincd by chseasc. nt other dmgs
                                  • Rc·spon:H:: to Wlthdt>lwal phmsibh: (pharm;Kolo~.:~cn!Jy,
                                      p<lthologically)
                                  • Evcnr definitive phamh!Cologicaliy or phenomenolog1cRtly (i.e. an
                                    objective and .spe.dt1c medical disorder or a rc:cogni:K:d
                                    phannacological phenomenon)
                                  • Rech::t!Jengt~ ~au;;factory, if necesgnry

                                  • f~VC!ll or \nboratory lC~t :1bnorm:dm·, \\'llh fCibOtlabJe time
          Probable/
                                    rebti(>mhtp to dwg tot>~kc
          Likely
                                  • l)nL!kdy robe aanbute.d ru cbcasc or other dr1.1g$
                                  • Response to wnhdrawal climc:tll)· reasonable
                                  • Rechal.lenge not rec1uircd

                                  • E\·ent o.r bboratcay test ahno.rmal:tt:y, with reasonable time
          Possible
                                    rdationship to drug imnke
                                  • Could also be explained by disease or oLher drLJgs
                                  • lnfm:mntion on drug withdrawaltnay be lacking or unclel1r

                                  • Event or laboratory test abnorrnal:ity, with :t timt: to drug intaln:
          Unlikely
                                    that makes a tcbtionsh!p improbnble (but not impossible)
                                  • Dise;u;e or other dr<.tgs provide pbusible explanations

                                  • Event ur !aborarory test abnonnal.ity
          Conditional/
                                  • fvlore d;na for proper assc%ment needed, oi-
          Unclassified
                                  • :\ddtlion;ll dara under cxamin;Hion

                                 • Report sugg,e5nng an adverse reaction
          Unassessable/
                                 • Cmmot be {udged because inforrnatton 1s inwfficJent or
          Unclassifiable
                                   conrradictory
                                 • Data cannot be Stlpplcmcnted or verified
                                                         ••All pomts should be reasonably compiled wJth

          The use of the       WHO~UMC            system
          ·1·o iUusuatc how the syst:ern works, \\T suggest to Gtst making a comparison of the criteria
          and wording   or  'Probable' and Certain'. First of all r:hcre is one more criieticm in rhc
          category 'Certain', the fourth: 'Event defmitive pbarmacolog1cally rn phenonwnologically',
          i.e. ;m obJccuve m1d specific rnedical disorder ot a recognised phnrrnacological
          phenomenon (for instance 'grey bilb)l syndrome' nnd chlor;unphenicol, or anaphylAxis
          i.tm1Hxhately after the administration of a drug rhat had been given previuusly). This mcm1s
          th:1t any orheJ: event is automadc:11ly excluded and can never (1w1lify for 'Certain' (even in
          the C<Jse of a positive rechalkngc observation). For 'Certain', rechallenge informntion with ;1
          satisfactory outcome 1~ requested (i.e. what has happened wben the dtug was Erst st.opp<~d
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           nnd lawton resurncd), unless the ev:dencc .i.n r he reputt is alreadv convincing without                                       ;1   .re·
           t:xpoture.

           For 'Vrobabk', em the other hand. a rech:1llengt: is not requited. To qualify a;; 'Cenam' the
           !!1\t:f\'21 bcr\Vl't:Jl t.ht: SUU:l Uf        ihe d.rug and the OHSet         or the <;;Vl'!ll ill \1St be 'pbustbie'; thi~
           [11('{\r}S th;1i   rhcn;   lS .Hl   sufficit:nt dct;{L} ~i   p0S1t"!\VC arg_.'lHnCnt 1!1 SUFlpOr!. o(   tht   Vj(~\V th~.ll   the
           drug 1~ cans;d.iy irwolvcd, pll!!rnl;lcolog:icallv or pmhoiogtcnHy. For 'Probable' the ume
           rcbnonsh1p should be 'rcnsorumk'; rhi:; is :1 more ntuu·al term covering evcrythmg that is
           not \mre;tSonnhlc ..•\lso, \Vith regard to the >cc:ond criterion, 'altcrnn1ivc                          clUScl>',   the
          w'o:.nllng 1' different in 'Probabit•'. For 'Cc.rtnin' the occurrence of rhc cn:nr cannot be
          explained by anv chseasc the patient is known to h,we or anv other dmg mkcn. For
          'Probable:', on the other hand, the evcnr is 'unlikely' to be nnnbutahle ro another cause.
          ,\!so the ckchalkngc s.itu.ations (i.e. what hnppcned after stopping) are different. ln ~l
          'Cc·rtmn' case report. the coun•c of event~< con,;ritu!(·> a posiuve argument in favour of
          holding the su;<pccted drng t-csponsibk, in pharmacologtcal or pathologtcal respects,
          whcrens ma 'Probabk' Ci\SC a 15 sufftcH!nt if it is 'chnlcallv reasonable' (i.e. tlC>l
          unreasonable).

          'l"hc essenual distinct:ions bet\vecn 'Probable' and 'Possible' ate rhat in the latret cnBe r.hcre
          rnay be Mloth<.·.t t~<1ttnlly hk<:ly cxphnatkm for the event -;md/or thne is no informr1tion nt
          wJCnt:unty wJth             rt·g~lrd      to what has happened !lfttr stopping.

          The crnena that rnn\' ru1da the cunnecrion 'l'nlikdv' ;nc Ctr>ll,r rhc time rcbtiun~lup                                        1>

          tmprulh•hlc '":lth the kno·xkdg,e: ill rhc ti.tT•c:L ;mel/or ·AnC•thcr c:-;pbnatv;n is more hke.ly.
          The term 'UncbssJtkd/C:ondJnmial' is of a prclinunnry mHute nnd 1s appropriate when, f(n
          "proper assessment, there is rnore data needed and 5t!Ch dat;l are being sought, or :m:
          alrcad:: under cxarmnanon. Finally when rhe Information in ~ rcpon 1s incornph:te or
          contradictor~/ and cAnnot be complemented or vcnflt:d, the verdict is 'Und:\stlfi?.ble'.


          Since by' far the mo5t fn::qucnt categories in ca,<;c reports nrc 'Possible' and 'Probable', the
          usual <lppw:h.:h to using the system is to choose one of these categories (dcpendmg on the
          trnprc;;sion of th•:: asscsscn-:1 H.nd to ttst tf the vntiuus cnteria Et w1th the cuntt:n\ of th<~ case
          report. lf the report sc:erns stronger one um go one step 'higher' (e.g. from 'Possible' to
          'Prob;,ble'), if the evidence ,;eems <:velket on<: should try;; 'lower' catcgmY To sec if thar
          c:;tegory is rhe right one or lf it does            not seem \Q G.t, the next ndpKent tcnn is ttird.

          For drug-drug mtefi!(:t.tono rhr: \\!'flO-Ui'v!C sy;;tetn can be used by a:<,;essing the ;ictor drug,
          which m flu<:nce~ 1he ];me ucs or dnnrn.ic, u f the                      nl her   drug (whtch hn3 usunlh: been taken
          <WCl'   n Jrmgu pcnnd),              In   the nwdJCnJ   Ce>!llc:.;! of   the   f1;H1V\1L
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             Summary description of Causality Assessment

                                                                                                                                      ---···-----·-·······--~
         i



                   Term                                          Description                     I                  Comment
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                         ...................... .....
                                            -~          ~-~-·-··-·-·-----""'"''HoU~Ouk<OffOu"U
                                                                                                 -·-·----·------------·--------
             Certian                                       A clinical event, including               It IS recognized that this stringent definition
                                                           laboratory test abnormality,              will lead to very few reports meeting the
                                                           occurring in a plausible time             criteria, but this is useful because of the
                                                           relationship to drug                      special value of such reports. It is considered
                                                           administration, and which                 that time relationships between drug
                                                           cannot be explained by                    administration and the onset and course of
                                                           conoJrrent disease or other               the adverse event are important in causality
                                                           dwgs or chemicals. The                    analysis. So also is the consideration of
                                                           response to wJtt·Jclrawa! of the          confounding features, but due weight rnust
                                                           drug {dechaHenge) should be               placed on the known phannacologica1 and
                                                           clinically plausible. The event           other characteristics of the orug product
                                                           must be definitive                        being considered. Sometirnes the clinical
                                                           pharmacologically or                      phenomena descnbed wit! also be suffidently
                                                           phenomenologically, using a               specific to allow a confident causality
                                                           satisfactory rechallenge                  assessment in the absence of confounding
                                                           pmcedurc if necessary.                    features and with appropriate time
                                                                                                     relationships, e.g. penicillin anaphylilXIS.
         I                                       ··r                                             I
             Probable/ Likely                              A clinical event, including               Thrs def1nition has less stringent wording than
                                                           laborataty test abnormality,              for "certain" and does not necessitate prior
                                                           with a reasonable time                    knowledge of drug characteristics or c!iruca!
                                                           sequence to administration of             adverse reaction phenomena. As stated no
                                                           the drug, unlikely to be                  recha!lenge information is needed, but
                                                           attr·i buted to concurrent                confounding drug adrn.inistration underlying
                                                           disease or other drugs or                 disease must be absent.
                                                           chern1cals, and which fol!o;vs
                                                           a cHnically reasonable
                                                           response on withdrawal
                                                           (dechallenge). Rechallen9e
                                                           information is not required to
                                                           fulfil this definition.

             Possible                                      A clinical event, including               This is the definition to be used '.vhen drug
                                                           laboratory test abnormality,              causality is one of other possible GlUSBS for
                                                           with a reasonable tlme                    the described clinical event.
                                                           sequence to adminrstration of
                                                           the drug, but whid1 could also
                                                           be exp!atned by concurrent
                                                           disease or other drugs or
                                                           chemicals. Information on
                                                           clr-ug withdrawal may be
                                                           1ack.rr1g or unclear.

             Unl.ikely                                    A clinical event, Including                This det!nition rs intended to be used when
                                                          laboratory test abnormality,               the exclusion of drug causality of a clinical
                                                          with a temporal relationsl1rp to           event seems most
                                                          drug adrninistmt'1on Whlcl1
                                                          makes a causal
                                                          improbable, and in wt1tch
                                                          other drugs, chern•cals or
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                                                                       !Iii! UPPS:\I.A
                                                                       MONl'fORING
                                                                       CENTRE

           r
          I                          underlying disease provide
                                     plausible explanations.


               Conditional/          A clinical event, including
               Unclassified          laboratory test abnormality,
                                     reported as an adverse
                                     reaction, about which more
                                     data is essential for a proper·
                                     assessment or the additional
                                     data are under examination.


                    Unassessible/    A report suggesting an
                    Unclassifiable   adverse reaction which cannot
                                     be judged because
                                     information is insufficient or
                                     contradictory, and which
                                     ca.nnot be supplemented
                                     verified.
          1•• ·········-·-··
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                          Exhibit K
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                                                            T-\RA D SI_TTO'.




       November 30, 2016                                    Via Electronic Service


       Susan Sharko, Esq.
       fJnn..k:er Biddle & .Reath LLP
       600 Campus Drive
       Florham Park, New Jersey 07932-10L~7

             Re:
                   MDL No. 2606
                   NJ MCL Case No. 299

       Dear l\!Is. Sharko:
            Please find attached the Expert Report of Daniel LcHlcr, 1VtD., served on
       behalf of Plaintiffs in the above-·referenced litigations.
                                                            Sincerely,



                                                            Tc-na D. Sutton


      cc:     Jessica Brennan, Esq. (via electronic mail)
              Michael Zogby, Esq. (oin eleclnmic nwil)
              Adam Slater, Esq. (vin electronic nwil)
              Chris Coffin, Esq. (uin electronic ruail)
              Ra yna Kessler, Esq.

      Attachment
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                       EXPERT REPORT OF DANIEL LEFFLER, M.D.
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       I.        EDUCATION AND EXPERIENCE

                       l.    1 am the Director of Research at the Celiac Center and the Director of Quality

            Improvement for the Division of Gastroenterology at Beth Israel Deaconess Medical Center.

            in Boston, Massachusetts. I am an Associate Professor of Medic inc at Harvard Medical

            School and serve as the Associate Director of Research for Quality Improvement, Department

            of Medicine. I am the Associate Firm Chief in the Department of Medicine at Beth Israel

            Deaconess Medical Center. I am ceJiified in Gastroenterology by the American Board or

            Internal Medicine since 2008 and serve on the Intestinal Disorders Section for the American

            Gastroenterological Association.

                  2.        In July, 2016 I accepted a position as a Medical Director in the Gastrointestinal

        Therapeutics Area at Takeda Pharmaceuticals. In this role, I assist in the evaluation of the

        clinical efficacy and safety of novel therapies for gastrointestinal diseases.

                  3.        Over the past decade I have worked extensively in intestinal diseuses, focusing

        on celiac disease and related intestinal malabsorptive disorders. I have treated hundreds of

        patients with chronic digestive disorders and routinely perform endoscopic procedures for

        diagnosis and management. I have served as a clinical investigator in studies involving a

        number of issues. including: gastrointestinal endoscopy safety; gluten free diet adherence;

        HLA testing in celiac disease; mesalamine as a treatment for celiac disease; celiac disease

        biomarkers; and celiac disease diagnosis education. l am a founding member and past

       Secretary for the North American Society tor the Study of Celiac Disease, on the medical

       advisory board for the National Foundation for Celiac Awareness and the Celiac Disease

       Foundation and served on the Steering Committee Member for the FDA Gastrointestinal

       Regulatory Endpoints and Advancement of Therapeutics Conference on Celiac Disease.




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                4.     I have authored and edited more than I 00 scientific publications on

        gastroenterology topics, predominantly on celiac disease and related small intestinal disorders

        including clinical presentation, diagnosis, management aryd pathophysiology. I have also

        authored multiple textbook chapters including one on celiac disease for the 2015 Yamada's

        Textbook of Gastroenterology, 6th ed, and one on small intestinal diseases including celiac

        disease for the Digestive Diseases Self-Education Program (DDSEP) 8 for the American

        Gastroenterology Assocation. I am currently on the editorial board for Clinical

        Gastroenterology and llepatology and the World Journal of Gastroenterology and serve as an

        ad hoc reviewer for more than 20 other peer reviewed journals including the New England

        Journal of Medicine, the Journal of the American Medical Association, and Gastroenterology.

        My curriculum vitae is attached.

               5.     I have received numerous honors and awards in my career. I have, for example,

        received: the Presidential Poster Award from the American College of Gastroenterology

        (2006); AstraZeneca Senior Fellovv Abstract Award, American College of

        Gastroenterofogy(2007); PCIR Junior Investigator Laboratory Support Avvard, Harvard

       Catalyst (20 I 0); Irving \V. and Charlotte F. Rabb Prize for Gastroenterology Research (20 12):

        Dvorak Young Investigator Award for Health Services Research (2013); Journal Author

       Excellence Award, American Society for Hea!thcare Risk Management (20 13); and the Nezam

       Afdhal Outstanding Achievement tor Innovation in Gastroenterology Award (20 15).

              6.      I received a Master's Degree in Nutrition at Columbia University in 1998

       followed by an MD from the combined program though Columbia University and Ben Gurion

       University. I subsequently completed my internship and residency in Internal Medicine in

       2005 and my fellowship in gastroenterology in 2008, all at Beth Israel Deaconess Medical




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        Center in Boston. I was supported by an Nil f clinical investigator career development award

        from 2009-2014.

                7.      I have been asked to review the scientific literature and certain adverse event

        information in the possession of the defendants in these cases, to determine whether otmesartan

        can cause innammation and damage to the small intestine resulting in malabsorption, diarrhea,

        abdominal pain, weight loss, vomiting and related symptoms. Relevant to this, I have cared for

        patients with severe malabsorption due to olmesartan induced inflammation in the lining of the

        small intestine, referred to below as ·'olmesartan enteropathy" but also previously kno\vn as

        ·'sprue-like enteropathy.'' "Enteropathy" is the preferred medical terminology for pathologic

        changes in the lining (mucosa) of' the small intestine. The term "sprue'' \Vas historically used to

        denote poorly understood intestinal disorders, but lacks a concrete medical definition. As the

        link between o!mesartan and enteropathy has become accepted, ''olmesartan enteropathy" has

        largely replaced "sprue-like enteropathy'' in the medical literature. O!mesartan enteropathy. in

        my practice, was often misdiagnosed as one or a combination of celiac disease, refractory

       celiac disease, inflammatory bowel disease, collagenous colitis, microscopic colitis,

        lymphocytic colitis, autoimmune enteropathy or irritable bovvel syndrome. The severity of

       symptoms I have observed in clinical practice range from chronic diarrhea and abdominal pain

       without weight loss. to severe malabsorption requiring multiple hospitalizations, and in one

       case cardiac arrest due to dehydration and electrolyte disturbances from severe diarrhea. All of

       the patients I have treated have had resolution of clinical malabsorption after cessation of

       olmcsartan. In particular, looking back at a publication from my research group on refractory

       celiac disease, two patients were on olmesartan and likely had olmesartan enteropathy rather




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         than true refractory celiac disease and one of these patients eventually had olmesartan stopped,

         after which her gastrointestinal disease resolved, the second patient was lost to follow up.

                 8.      I express each opinion to a reasonable degree of medical certainty. In making

         these determinations, I have followed the same procedures that I employ in my clinical

         practice. I have also used the same procedures that I employ in the clinical study of celiac

         disease and related gastrointestinal diseases.

       II.    RELATIONSHIP BETWEEN S:WALL INTESTINAL INFLAMMATION,
              GASTROIYf'ESTINAL SYMPTOMS AND MALABSORPTION

                9.      The normal small intestine is lined with tiny tingerlike projections calted "'villi."

         Vllli dramatically increase the absorptive surface area of the small intestine and produce many

         enzymes necessary f(w digestion. Between the villi are pit-like "crypts" which are responsible

         for regenerating damaged villi. In the normal intestine the villi are approximately 4 times the

         length of the crypts. As the intestine is damaged, the villi become shorter and the crypts

        become deeper as they hypertrophy to maintain sufficient villous structure. The healthy

        intestinal lining also contains all types of inflammatory cells at low numbers. The most

        prevalent inflammatory cell in the small intestine is the lymphocyte, often referred to as the

        ·'intra-epithelial lymphocyte'" or TEL. A picture of normal intestinal lining can be seen in

        Figure I.

                I 0.    Inflammation of the small intestine can be caused by immune mediated diseases

        such as celiac disease or Crohn's disease, allergic/eosinophilic conditions. infections such as

        giardia or norovirus, immune deficiency syndromes such as Common Variable Immune

        Deficiency, and drugs including olmesartan. Histologic characteristics of small intestinal

        inflammation, also known as enteropathy, can include one or more of the following features: I)

        increase in intraepithe!ial lymphocytes, 2) architectural disruption of the lining of the small



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        intestine vvith shortening, blunting or atrophy ofvilli, 3) lengthening of crypts between villi, 4)

        increase in subepithelial collagen deposition, 5) neutrophil infiltration with or without crypt

        abscesses or granulomas, 6) loss of goblet and paneth cells, and 7) increased eosinophils.

        These changes are not mutually exclusive; patients will often have more than one of these

        findings, and changes may be similar across different diseases. Changes are sometimes patchy

        in nature with areas of severely affected intestine in close proximity to areas which are normal

        or near normal. This patchy nature of inflammation occurs across many immune mediated
                                                                           1
        disorders both inside and outside of the gastrointestinal tract.       A picture of damaged intestinal

        lining can be seen in figure 2.

                11.    The di\~gnosis of olmesartan enteropathy is currently made clinically based on

        the presence of typical gastrointestinal symptoms and signs of malabsorption in patients taking

        olmesatian. Biopsy of the small intestine is not necessary ifthc presentation is typical for

       olmesartan enteropathy and the patient responds to olmcsartan cessation. However, biopsy can

       be helpful in ruling out other disorders or to confirm response to withdrawal of olmesartan.

       While biopsies of' the small intestine may diagnose enteropathy, biopsies are able to evaluate

       less than one 10,0001h of the lining of the small intestine and we arc unable to quantify the

       overall burden of damage over the entire intestine. This is one reason why the degree of

       enteropathy on biopsy is often not well correlated with severity of signs and symptoms of

       disease, and biopsy abnormalities can be minimal or non-existent, even in cases of clinically

       apparent olmesartan enteropathy, due to patchiness of disease. 2•3 Lack of awareness by doctors

       about olmesartan enteropathy may delay evaluation and diagnosis, as may the presence of only

       mild to moderate symptoms. Some studies suggest that patients without severe symptoms or




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         severe enteropathy on biopsy are still at risk for complications of malabsorption, including

        ane1nia. osteoporosis and complications of chronic inflammation including lymphoma. 4 ·5·6·7S

                12.     As the relationship between olmesartan and gastrointestinal symptoms and

        malabsorption has become more established, my current medical treatment is discontinuation

        of olmesartan and clinical observation. If patients do not respond to withdrawal of olmesartan.

        then further evaluation including endoscopy should be considered. This approach was recently
                                                                                           4
        set f'lllth in the international 'Bucharest Consensus on Microscopic Enteritis'.

                13.     Some adults with olmesa11an enteropathy will be symptomatic without

        malabsorption. These individuals may have a range of symptoms including bloating,

        abdominal pain, vomiting, diarrhea, nausea, constipation, fecal incontinence and fatigue.

        These symptoms may wax and wane or be progressive over time, and are often attributed to

        irritable bowel syndrome before olmesartan enteropathy is diagnosed.

                14.    Other patients with olmesartan enteropathy will progress to malabsorption,

        defined as lack of proper absorption of food in the small intestine. Malabsorption can be

        caused by deficiencies in digestion, as with pancreatic exocrine insufficiency. where there is a

        lack of necessary digestive enzymes, or by decreased absorption due to olmcsartan

        enteropathy. Symptoms of malabsorption can be acute or chronic. Acute symptoms include

       diarrhea, steatorrhea (fat malabsorption), weight loss. neuropathy and weakness/fatigue, and

       acute signs and laboratory manifestations include weight loss, anemia, rashes, dry skin, hair

        loss, kidney or liver injury and osteoporosis. While some of these issues. such as diarrhea.

       generally resolve with cessation of olmesartan, adverse health effects of moderate to severe

       malnutrition may persist. Chronic health effects which may persist even after normalization of

       nutritional status include neuropathy, weakness and fatigue. kidney injury. liver injury from




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         TPN (intravenous nutritional support), irritable bowel syndrome, fecal incontinence,

         neuropathy and osteoporosis. Each of these health outcomes may be caused by one or more

         issue related to olmesat1an enteropathy. For instance, diarrhea in these cases is caused by a

        combination ofthe osmotic effects of unabsorbed food as well as active secretion related to

        inflammation. Anemia may be related to one or more vitamin deficiencies including iron, B 12

        and folate as well as direct etTects of chronic inflammation. Renal injury is related to low

        blood pressure as well as electrolyte deficiencies. Acute liver injury may be caused by

        malnutrition itself, while chronic liver injury is a common consequence ofTPN. Neuropathy,

        hair and skin changes are generally directly related to nutritional deficiencies such as B 12 and

        zinc. Osteoporosis can be related to systemic inflammation as well as vitamin D deficiency,

        and often will not improve in older adults once bone mass is lost.

                15.     Even after clinical malabsorption and malabsorptivc symptoms including

        diarrhea resolve after cessation of olmesartan, gastrointestinal symptoms including chronic

        abdominal pain and altered bowel habits consistent with irritable bowel syndrome may persist

                                                                         9
        for years, as is seen after acute gastrointestinal infections.       This post-int1ammatory irritable

        bowel syndrome is differentiated from enteropathy by the lack of malabsorption and, ir done,

        normal intestinal biopsies. It is notable that all the symptoms and medical issues discussed

       above are directly related to the enteropathy and malabsorption.

                16.     In addition, there may be multiple severe complications of therapy for

       malnutrition. As mentioned above, TPN can lead to permanent liver damage, and can also lead

       to severe, lite threatening infections. Hospitalization and the need for intravenous access for

       t1uids. electrolytes and nutrition can increase the risk of blood stream infections and blood




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         clots. Medical treatment and the illness itself results in significant economic and social

         consequences with missed work, loss of livelihood and social isolation.

                   17.          These issues are compounded by frequent misdiagnosis of celiac disease in

         patients vvith olmesartan enteropathy and prescription of a gluten free diet. The gluten free diet

                                     ··
        has been reporte d to bc nutnt10na      J r-rcrent
                                           11 y oe    · ·m severa 1stu d.res. 10 · ' 1· 11~        spec1·fi1c nutnt10na
                                                                                                                  ··    1

        issues commonly found in the gluten free diet include weight gain related to high-calorie

        gluten free substitute foods. elevated homocystine related to lack of b vitamins, and low

        calcium and iron. 10 .1 3J 4 •15

               18.               Quality of life is also significantly compromised, both by chronic

        gastrointestinal symptoms and, where celiac disease is misdiagnosed, by the burden of constant

        dietary restriction. A number of studies have reported a diminished quality of life associated

         . I1 both ce 1·1ac d'rscase an d t 11e g I uten f ree d'1et. 16· 17··18· 19 Data ovcra II con fitrm tI1at d'~agnosrs
        wit                                                                                                                 . o f'

        celiac disease has a significant psychological impact and that anxiety and depression may be

        ongoing issues in patients with celiac disease, affecting treatment adherence and overall quality

                   19
        of life.

                        19.      In addition to the specific quality of life impact of celiac disease diagnosis,

         there arc also clearly documented effects of chronic gastrointestinal symptoms on quality of
                                         20
         life and social function.            The burden of chronic gastrointestinal symptoms can be quite

        severe, with quality of life in affected patients similar to those with end stage renal disease or

        diabetes mellitus. 2 !.22

              20.             Beyond these acute consequences of olmesartan enteropathy, there are also

       significant long term sequelae of malnutrition which can affect nearly every organ system.

       Complications commonly seen in malnutrition include:




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             Cardiovascular                       Hypotension, mitral valve prolapse. arrhythmias, heart failure
             Dermatologic                         Dry skin, alopecia, lanugo hair, pruritus
             Gastrointestinal                     Constipation, delayed gastric emptying, hepatitis, dysphagia
        1---c----:---,---------,-----,----:-:-----t------,----:-::- ~--·--··----······· · · · · · · · · · · - - · · - - - - - - - - - - - - - !
             Endocrine and metabolic              Amenorrhea, infetiility, osteoporosis, thyroid and cottisol
                                                  abnormalities, hypoglycemia
             Hematologic                          Pancytopenia (anemia, immune suppression, increased bruising
                                                  and bleeding)
        1---c----,-----,---:----------t---:---:---:---:----:--------·-··----··-··--------------l
             Neurologic                           Cerebral atrophy
        ~~~;---------··-                          Aspiration pneumonia, emphysema related to vomiti;~g-------1
             Psychological                  -----Depressio_n, irritabi Iity, apathy                                             -          J
        Table J.--·-'

        A few of the more common and clinically significant ef'fccts of malnutrition include bone

        disease and immune suppression. Malnutrition causes impaired immune response though a

        variety of mechanisms including decreased number and function of immune cells leading to

        infection. ~ 25 Poor nutrition also can impair gut barrier function and increase intestinal
                      2




                                                                                                                                         25 2627
        permeability, which can lead to infection, liver damage and constitutional symptoms.

      III.       IMMUNOLOGY AND PATHOGENESIS OF OLMESARTAN ENTEROPATHY

                    21.        Enteropathy results from an inf1ammatory process with several etiological

         triggers. Recruitment and activation of intra-epithelial lymphocytes is pivotal and it is likely

         there arc etiology-specific factors with a unique pro-inflammatory cytokine profile and

         triggering antigens. Enteropathy in celiac disease appears to be the closest match for the

         changes seen with olmesartan and is the best-understood related disorder. Celiac disease and

        olmesartan enteropathy are similar in that both involve the following: 1) stimulation of

        antigen-presenting cells to mature and express increased co-stimulatory molecules; and 2) a

        key cytokinc in both celiac disease and olmesartan enteropathy is inter!eukin- I 5.

                   22.         IL-15 is a central mediator in the innate to adaptive immune pathway. IL-15 is

        present in the epithelium and submucosa of the intestine and acts on multiple cell types ·


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                      . Ie rnec hamsms
         t hough mu It1p           .   to cause .tn tl ammatton.
                                                            . 28 '29          In the normal immune system TGF

         beta is an important regulator of immune surveillance and prevents autoimmunity though

         suppression ofT helper cells and promotion of regulatory T cells. llowever, elevated levels

                                                                 30
         of IL- I 5, as described in olmesartan enteropathy           as well as celiac disease, leads to loss of

         ·
         Immune homeostasts.~              . can occur even .m t l1e presence o f norma I 'l'C', r·· beta Ieves,
                          · 18 ·31 ·31~ Tl11s                                                                 I

         either though TGF beta independent mechanisms, or though disruption of TGF beta

         signaling. 29 •32

                 23.         Substantive differences between celiac disease and olmesartan enteropathy

        include the following: 1) in celiac disease, environmental triggers such as viruses, bacteria and

        possibly gluten itself activate antigen-presenting cells including dendritic cells and epithelial

        cells. In olmesartan enteropathy, permissive environmental triggers may in some cases trigger

        the onset of enteropathy vvhich is not dependent on gluten. 2) In celiac disease,

        Transglutaminasc 2 and gluten peptides form complexes, \Vhich I3 cells internalize and then

       present the complexes on the I ILA-DQ2 or HLA-DQ8 molecules on their surface. These

       gluten-specific B cells can bind with gluten-specific CD4 1 T cells and stimulate differentiation

       of B cells into plasma cells, which produce antibodies both to gluten peptides and to the self-

       protein Transglutaminasc 2. In olmesm1an enteropathy, there docs not appear to be cross

       reactivity with Transglutaminase 2, and no subsequent production of anti-transglutaminase

       antibodies, as in celiac disease. Additionally, while there does appear to be an association

       between HLA DQ2/DQ8 and olmesartan enteropathy, this is not nearly as strong as in celiac

       disease. This suggests that. unlike celiac disease, olmesartan enteropathy is either not HLA-

       dependent or is able to bind to a wider range of HLA molecules.




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                24.     To summarize, olmesarian causes an enteropathy which is pathologically highly

        similar to celiac disease and appears to share key mechanisms triggering an interleukin 15-

        mediated inJlammatory response. At the same time, there are notable differences between

        celiac disease and olmesatian enteropathy, including dependence on Transglutaminase 2 and

        HLA DQ2/DQ8 in celiac disease but not olmesmian enteropathy. In clinical practice,

        olmesartan enteropathy rather than celiac disease is suggested by response to withdrawal of

        olmesartan and lack of response to a gluten free diet and may be supported by the absence of

        celiac disease serologies such as tTG and DGP, and testing negative for HLA DQ2/DQ8.

        Family and personal medical history can also be supportive as many patients >vith celiac

        disease have a personal and/or family history of celiac disease or other autoimmunity, where

        this is uncommon in patients with olmesartan enteropathy.

               25.     In my clinical work and research studies, I often assess the relationship between

       exposures (to foods, medications and infections), gastrointestinal symptoms, and

       endoscopic/pathologic findings. In determining a potential causal relationship, I frequently

       take into account the following f~1ctors 33 :

                  •   Is there a plausible biological mechanism tor this adverse effect;

                  •   Is there evidence of withdrawal and challenge effects such that the
                      symptoms/enteropathy improve with removal of the suspected agent and relapse
                      with repeat exposure;

                  •   Is there a temporal or dose response relationship between the exposure and the
                      symptoms/disorder;

                  •   Is there a known relationship between the exposure and the symptoms/disorder.
                      either in medical literature or on the drug label;

                  •   Are there other likely alternative explanations for the adverse effect.




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       IV.     OLMESARTAN CA(JSES ENTEROPATHY

                 26. It is my opinion, held to a reasonable degree of medical certainty, that ohnesartan

        causes enteropathy with related gastrointestinal symptoms and malabsorption. I base my

        opinion on the following evidence:

              A.         Plausible Biologic Mechanism

                   27.     While studies into the pathogenesis of olmesartan enteropathy are ongoing,

                                        .
         data suggest t hat tI1e mee hamsm . s1m1
                                           JS . 'I ar tot hat o t' ce I'mc d'tsease. >o ··l4 ··Js· I n o I mesartan

         enteropathy, as with celiac disease, it is clear that there is a profound increase in cytotoxic

         CD8+ T cells, which together with granzyme B+ cells are the main mediators of damage to

         the intestinal epithelium. Olmcsartan also appears to increase expression offLJS and !Ll5R.
                                                                            30
         w·hich are key regulators of intestinal immune function.                Indeed, !LIS has been considered

        to be a 'master regulatory cytokine', and overexpression of ILlS promotes the initiation and

                                                                                      36
        perpetuation of destructive T cell responses as described above.                   Additionally, it was shown

        that olmesartan, but not related medications telmisartan and losartan, increased production of

        interleukin 15 with subsequent increased numbers of local CD8+ T cells, and resulted in

        disruption of the tight junctions between enterocytes lining the intestine, consistent with this

        mechanism. 30

                28.       In addition to the documented direct effects of olmesartan on key lymphocytes

       and cytokines, across multiple case series, 68-92% of patients diagnosed with olmesartan

       enteropathy have been found to be I fLA DQ2 or HLA DQ8 positive, compared to 30-40'% of

       the general population and 99% of patients with celiac disease. uns While the HLA linkage is

       not as strong as with celiac disease, this, in combination with the fact that celiac disease is

       histologically highly similar to olmesartan enteropathy, suggests that there may be olmesaJian-

       related compounds which bind with high affinity to certain HLA molecules and further


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         promote the inflammatory reaction described above. In this model, olmesartan has the innate

        ability to upregulate mediators of intestinal inflammation with variable penetrance facilitated

        by. but not reliant on. environmentaL liLA and likely other genetic factors. This immune

        activation leads to the increase in intraepithelial lymphocytes and villous destruction seen in

        olmesartan enteropathy. and is generally distinct from the findings in allergic/eosinophilic

        disorders or Crohn's disease.

              B.       Evidence of Temporal Response, Withdrawal and Rechallengc Effects

                 29.    As is expected with autoimmune conditions, there is significant variation in

        time to onset of olme.sartan enteropathy, and overall risk increases with duration or use. As

        reported in a study of the French National Health Insurance claim database evaluating all adult

        patients initiating ARB or ACE! between I January 2007 and 31 December 2012, the risk of

        olmesartan enteropathy increases with duration of exposure to olmesartan. 39 This is the pattern

        expected of intestinal adverse reactions from medications. Either a cumulative dose effect

        which triggers olmesartan enteropathy or a second environmental trigger could explain these

        epidemiological findings. This need for a ·second hit,· where an individual is predisposed to

        an inllammatory condition but does not manifest it until the immune system is primed by a

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       secon dary st1mu                       . or stress, .1s common .m a II ergy an d aut01mmumty.
                                                                                            .    . 40 ·41 Th e

        lack of differential risk or olmesartan enteropathy by daily dose suggests that all clinical

       regimens arc above the threshold for reactivity. This is similar to celiac disease where the

       threshold for reaction to gluten is well below common daily intake such that the amount and

       timing and gluten exposure is not a clear risk factor for individual development of celiac

       disease. 41

                30.     As confirmed by multiple published case reports and in my clinical practice,

        olmesartan enteropathy is characterized by positive dechallenge and rechallenge effects, a


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           pattern of great clinical significance for causation. Once olmesartan enteropathy is identified

           and olmesatian is 'vvithdrawn, there is gradual improvement in both symptoms and intestinal

           inflammation. The rate of improvement can vary between individuals such that some patients

           are markedly better within days of stopping olmesatian and others take weeks or even months

           to substantially improve. This variability in response to withdrawal is commonly seen in

           other gastrointestinal disorders including celiac disease and may. in pa1t, relate to degree of

           nutritional compromise at diagnosis. Finally, when rechallenge is attempted, most reports

           note very quick recurrence of gastrointestinal symptoms, usually within hours or days of

           exposure. This is also highly consistent with celiac disease and is related to an immune
                                                                        42
           system that is already primed to react against an antigen.        The time course for the onset of

           olmesartan enteropathy, as well as the response to both withdrawal and rechallenge, are very

           consistent with what would be expected for an antigen-based immune mediated enteropathy.

      V.       ADVERSE EVENTS REPORTED TO DEFENDANTS PROVIDE EVIDENCE OF
               CAUSATION

               31.     As part of my rcvic>v, I assessed Medwatch forms relating to gastrointestinal

      adverse events experienced by patients taking olmesartan. Overall, these reports are highly

      consistent with the cases reported in peer reviewed literature, with the exception that these

      repotis were submitted as early as 2004, while the first clear description of olmesartan

      enteropathy appeared in the medical literature 8 years later in 2012. 38 ft is also notable that many

      early cases as early as 2004 have medically severe outcomes including hospitalization and very

      convincing evidence of early recurrence of symptoms with rechallenge. My review of these

      MedWatch reports suppOiis my conclusion that olmesaiian causes enteropathy. In addition, I was

      asked by Dr. David A. Kessler on 11/0 I /2016, to revie"v 62 Medwatch cases of potential

      olrnesartan enteropathy' selected because they had at least one or the symptoms or diarrhea,



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       vomiting or celiac disease either in the coded preferred terms or in the narrative discussion,

       positive rechallenge data and a serious outcome. These criteria are ones l consider highly

       relevant to diagnosis of olmesartan enteropathy. l revicw·ed each of these reports, and based on

       the information available, l performed a differential diagnosis on each to rule out other plausible,

       alternative causes, and we discussed my review by telephone on 11/22/2016. In this discussion, I

       confirmed that 60 of these 62 identified cases were highly consistent with olmesartan

       enteropathy, both by clinical syndrome and response to olmesartan withdrawal and rechallenge.

       One of the cases was excluded because the clinical syndrome of constipation, intestinal

       obstruction and pancreatitis was inconsistent with olmesartan enteropathy. The second case was

       excluded because the very fast onset of symptoms, within one week of starting olmesartan, is

       unusual with olmesa1ian enteropathy. Below, I have summarized five cases which are

       representative of the collection as a whole.


                      a)      A 58 year old woman had been treated with Benicar HCT 40/25 from the

                              winter of2003. In April 2004 she developed severe diarrhea. She was

                              diagnosed with giardia infection, however a course of metronidazole did

                              not improve her symptoms and she was hospitalized for dehydration in

                              late April 2004. She stopped the Benicar at that time and symptoms

                              resolved. After initial cessation the patient reports taking Benicar 'once in

                             a while' for increased blood pressure. On each occasion she becarne

                             "'violently ill with vomiting and diarrhea." Since the patient and her

                             physician concluded that these symptoms vvere due to the Benicar, no

                             further episodes were reported. (Case SU-2004-002638.)




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                  b)    A 56 year old woman had been treated \Vith olmesartan medoxomil as part

                       of a clinical trial SE-866/44 (ROAD MAP) starting on January 13, 2006.

                       On November I, 2006 the patient developed 'gastroenteritis' and

                       hypokalemia. Olmesartan was discontinued on November 6, 2006 and the

                       patient was hospitalized from November 17, 2006 to November 28, 2006

                       and symptoms were reported to have resolved by December I, 2006.

                       Gastrointestinal symptoms recurred when olmesatian was reintroduced on

                       December 3, 2006 and continued until December 24, 2006 when the

                       medication was again stopped. Records are incomplete but it also appears

                       that the patient was hospitalized again in early December due to diarrhea,

                       dehydration, hypokalemia and hypocalcemia, and it is noted that ''Study

                       medication was finally discontinued due to adverse events Diarrhea and

                       Vomiting on December 30, 2006." This case is notable as it occurred in

                       the closely monitored clinical trial setting and is both severe with multiple

                       hospitalizations and has clear evidence of rechallenge.    (Case SP-2006-

                       003369.)


                 c)    A 65 year old man had been treated with Benicar HCT for an unknown

                       duration for hypertension. In May of2007, he began to develop diarrhea.

                       An antibiotic was prescribed for suspected infection without effect on his

                       symptoms. Diarrhea continued and he reported being hospitalized 14 or

                       15 times for dehydration in 2007, with most hospitalizations lasting 4-5

                       days. He also experienced a 70 pound wdght Joss during this period.

                       Weight loss >vas severe enough to warrant treatment with the



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                       immunosuppressant 6-mercaptopurine, Total Parenteral Nutrition (TPN)

                       and a surgically placed gastric feeding tube during the course of the year.

                       After approximately seven months of symptoms, he had an endoscopy

                       which diagnosed him with "gluten intolerance," likely due to presence of

                      small intestinal villous atrophy. All of his medications were stopped late

                       in 2007 and he was placed on a gluten free diet. At this time the diarrhea,

                       lethargy and weight loss began to resolve. In October 2008, while still on

                      a gluten free diet, the Bcnicar was restarted with return of diarrhea and

                      weight loss. These symptoms slowly improved after Bcnicar was again

                      stopped. It is notable that this patient has been given the diagnosis of

                      Type 2 Refractory Celiac Disease, a severe and morbid prognosis and at

                      the time of report was maintained on a gluten free diet despite rechallenge

                      strongly suggesting olmesa11an enteropathy rather than celiac disease as

                      the cause of his severe malabsorption. (Case DSU-2009-002638.)


                 d)   A 70 year old woman began taking olmesartan medoxomil for

                      hypertension in 2005. On March 12, 20 I 0 she developed nausea and

                      vomiting. Later that month, on March 18, 20 I 0 she presented to the

                      emergency room for these symptoms and had an abdominal ultrasound

                      ;vhich showed gallbladder sludge, a non-specific finding. She was

                      admitted to the hospital at that time and was discharged I 0 days later on

                      March 28. She >vas then admitted to the hospital again for similar

                      symptoms on April 7, 20 I 0, during which time she had a cholecystectomy.

                      Symptoms continued requiring placement of a central line and feeding



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                       tube. Benicar was stopped and she was able to be discharged. A short

                       time after discharge, Benicar was restarted on Apri I 13, 20 I 0. She was

                       then hospitalized again from April28 to May 3, 2010. While in hospital,

                       Bcnicar was again discontinued and the patient was able to be discharged.

                       After discharge the Bcnicar was restarted on May 7, 20 I 0, after which

                       symptoms returned. At that time the olmesartan was discontinued

                       permanently and there has been no recurrence of gastrointestinal

                      symptoms. In summary, this patient had recurrent hospitalizations and

                      underwent surgery to remove her gallbladder for gastrointestinal

                      symptoms which were related to olmcsartan. (Case DSU-20 l 0-02706.)


                      e)      A 79 year old man had been treated with olmesar1an stm1ing in

                      December of2006. In November of2009 he was diagnosed with

                      clostridium difficile infection and was treated. In December, 2009, he

                      began to experience weight loss and diarrhea. The patient underwent a

                      very extensive evaluation for the etiology of these symptoms including

                      exploratory laparotomy, PET scan. and CT scans. In the course of illness.

                      and with 30 pounds unintentional weight loss, the patient's blood pressure

                      became lovv and olmesartan was discontinued at an unclear point in time.

                      Afterward it is noted that weight loss and diarrhea resolved by July of

                      20 I 0, however when olmcsartan was restarted in August 20 I 0, diarrhea

                      and vomiting recurred. Olmesartan vvas then discontinued and replaced

                      with an alternate anti-hypertensive.   (Case DSU-2012-02939.)




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       VI.     THE MEDICAL LITERATlJRE PROVlDES EVIDENCE OF CAUSATION

                  32.      The medical literature provides robust evidence that there is a causal

         connection between olmcsartan and enteropathy with gastrointestinal symptoms and

         malabsorption. Different studies in a variety of populations have consistently found evidence

         of olmesartan related gastrointestinal toxicity.

                 33.      The tlrst reports of significant gastrointestinal disease in patients on olmesartan

        was in 2010 when Drs. Rubio-Tapia and Mwny published a series of30 patients with the rare

        disorder collagenous sprue and noted that about one third of the patients in this series were

        ta k .mg o Imesartan. 43

                34.       In 2012 Drs. Rubio-Tapia and Murray published a follow up paper describing

        22 patients seen between 2008 and 20 II with enteropathy and chronic diarrhea, all of whom

        were taking olmesartan, between I 0 and 40 mg per day for 6 months to 7 years before onset of

        symptoms. 38 The patients experienced diarrhea for a median of 19 months prior to suspension

        of olmesartan and all experienced at least some weight loss with a median of 18 kg, range 2 kg

       to 57 kg. 64% of the cohort had required at least one hospitalization and four required total

       parenteral nutrition. Improvement or complete remission was observed in all patients after

       cessation of olmesartan and 17 of 18 patients with a follow up small intestinal biopsy had

       histologic improvement. for patient safety and ethical reasons, there was no protocol for

       olmesartan rechallenge, however four patients in this series did resume olmesattan, all of

       whom reported recurrence of symptoms consistent with those experienced before the

       olmesartan was stopped.

                35.     .In response to this report an article was subsequently published in the same

       journal in which the gastrointestinal treatment related adverse effects of the large pivotal

       ·Randomized Olmesartan and Diabetes Microalbuminuria Prevention (ROADMAP) study'


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                           44
         were presented.        This was the largest randomized controlled trial of olmesartan and included

         2232 participants on olmesartan and 2215 on placebo followed for a median of 3.2 years. This

         analysis found no difference in the rate of intestinal or abdominal discomfort associated

         treatment related adverse effects including diarrhea and abdominal pain. It is notable that the

         most objective of these adverse events, 'weight decrease' was seen more frequently with

         olmesartan, although this event did not reach statistical significance. It is not surprising that

         this olmesartan enteropathy was not observed in the ROADMAP study initially published in

        20 J l, as this study was underpowered for this adverse event based on number of patients

        included and length of follow up, did not include analysis of gastrointestinal effects as a

        primary or secondary endpoint, and involved diabetic patients leading to potentially

        confounding effects.

                 36.     A second letter responding to the 2012 paper by Drs. Rubio-Tapia and Murray

        reports a patient with significantenteropathy, but with only mild anemia and upper

        gastrointestinal s:y'mptoms including reflux. Drs. Rubio-Tapia and Murray respond by noting

        that many of the patients in their series also had upper gastrointestinal symptoms which

        responded to olmcsartan withdrawal and that there is "'a spectrum of severity in olmesartan-

             . d-enteropatI1y.-.,4S·
        assoc1atc

                37.      In 20 1.3, more case reports vvere published documenting severe enteropathy and

        gastrointestinal illness in patients on olmesartan, all of whom achieved complete remission

        after cessation of this medication vvithout further treatment. 3746 A 7.4 8.4 9

                38.      These reports and others directly reported to the FDA prompted the FDA Drug

       Safety Communication on 7-3-2013 detailing the olmesartan label change to include "intestinal




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         problems (sprue-like enteropathy) !inked to blood pressure medication o!mesmtan

         medoxomil." 50 This statement advised health professionals:

                      •   .. Tell your patients to contact you i r they develop severe, chronic diarrhea with
                          substantial weight loss while taking an o!mesartan-containing product, C\en if it
                          takes months to years for symptoms to develop.

                      •   Ira patient develops these symptoms during treatment with olmesartan. other
                          etiologies. such as celiac disease. should be investigated. If no other etiology is
                          identi tied, olmesartan should be discontinued and another antihypertensive
                          treatment started.

                      •   Symptoms of' sprue-like enteropathy may develop months to years atler starting
                          olmesartan."

       Subsequent recommendations in the medical literature advised cessation of olmesartan in any

       patient with symptoms suggestive or enteropathy as an initial step, followed by further

       evaluation only if signs and symptoms do not remit. 5 1

                39.       Also in 2013, a large series of72 patients with enteropathy and blood tests

        negative for celiac disease was reported in a I 0 year retrospective analysis of cases rrom a

        leading referral center. 37 In this series medication related enteropathy was the leading non-

        celiac diagnosis, making up 26% of cases and 16 or the !9 medication related enteropathy

        cases were patients on olmesartan. The remaining three cases were due to mycophenolate

        mofetil and methotrexate, both potent immunosuppressive medications. All cases had a

        clinical and/or histological response to cessation of olmesa1tan.

                40.       2014 saw the publication of more than 30 articles on olmesartan enteropathy.

        The most notable of these was the publication in abstract form of a French nationwide cohort

        study, published in full in 2015. 39 This study made use of the French National Health

        Insurance claim database to evaluate all adult patients initiating ARB or ACE! between       J


        January 2007 and 31 December 2012 with no prior hospitalization for intestinal malabsorption

        or treatment for celiac disease. A total of 4.552.130 patients initiating ARB or ACEI treatment


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         were included. A total of 4,546,680 patients corresponding to 9 129 149 person-years were

         included. In this cohort, 218 hospitalizations for intestinal malabsorption were observed. The

         overall rate vvas 5.6 per 100,000 person years in the olmesartan group compared to 2.4 per

         I 00,000 person years in the ACE! group and 1.8 per I 00,000 person years in the non-

        olmesal1an ARB group. This difference was highly statistically significant (p<O.OOO I).

        Additionally this study found that risk of hospitalizations for intestinal malabsorption increased

        significantly with time for the olmesartan cohort, from 2.65 hospitalizations per I 00,000

        person years with less than I year of exposure to 6.7 I hospitalizations per I 00,000 person

        years with 1-2 years of exposure to 8.86 hospitalizations per I 00,000 person years with 2 or

        more years of exposure to olmesal1an. In comparison. there was a trend to decreased risk with

        time for the ACE! and non-olmesartan ARB cohorts, in other words, only olmesat1an was

        found to be associated with hospitalization for intestinal malabsorption. This is a very robust

        study demonstrating an increased risk               or hospitalizations for intestinal malabsorption with
        olmcsartan. At the same time, as it only looked at hospitalizations, it is very likely an

        underestimate as the authors note "it is unlikely that all cases of olmcsartan-associatcd

        enteropathy were captured by hospital diagnoses of intestinal malabsorption and coeliac
                                                                          39
        disease. It is likely that milder forms also exist."

                 41.       Along with multiple other case reports ofolmesartan enteropathy, a number of

       other more systematic studies of this condition were published in

       20 J4. 35253.54.55.56.57.58.59,60.6 I,62,63.64,65.66.67.68,69,70


                       •   A study which surveyed French gastroenterologists for any suspected case                 or
                           diarrhea related to ARB use reported 48 cases, of which 4 7 were associated with

                           olmcsartan and one was associated with irbesmian. 52           or these 48 cases, data was



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                    available for 40 patients. Of these 40 patients, one was on irbesarian, one had

                    nom1al duodenal biopsies, and two didn't have any biopsies, and thus \.vere

                    excluded from analysis, leaving 36 patients. Of these 36, 32 had documented

                   enteropathy while four had significant malabsorption with diarrhea and

                   dehydration but without enteropathy on biopsy and 31 patients required

                   hospitalization.   This series also repotied 9 cases in which cessation of

                   olmesmian led to remission of symptoms followed by recurrence of symptoms

                   with resumption of olmesartan.


               •   A case control study done out of a single center looked back at 2088 patients

                   undergoing EGO and I 2,428 patients undergoing colonoscopy. This study did

                   not find any association between patients on olmcsartan and the reported

                   symptom of diarrhea at the time of endoscopy, however only a total of I 05

                   patients were exposed to olmesartan which as the authors note "small prevalence

                   of usc of olmesartan (0. 7%-1 %) among study patients, limiting the power of this

                          . ··58
                   ana Iys1s.·


               •   A systematic review identified 11 publications totaling 54 patients, almost all of

                   w·hom had diarrhea and weight loss on olmesartan.        All patients' symptoms

                   resolved upon discontinuation of this medication.     Other common symptoms

                   included fatigue (56%), nausea and vomiting (45%), and abdominal pain (37%).

                   This study also noted that 98% of patents had villous atrophy on small intestinal

                   biopsy, increased collagen in the small intestine was seen in 33% of patients,

                   45% were anemic and 39% had low albumin levels. 72% were positive for HLA

                   DQ2 or DQ8 \Vhile celiac antibody tests were universally negative. 3


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                         •    A study in which patients undergoing outpatient upper endoscopy for abdominal

                              pain, 20 of whom were on olmesartan, 20 of whom were non non-olmesartan

                              ARBs and 40 of whom were not on any of these medications, were reviewed for

                              enteropathy. This study found that 50% or patients on olmesmian had one or

                              more features of enteropathy, compared to 20% of matched controls.

                              Conversely, non-olmcsartan ARBs had a similar frequency of enteropathy

                             compared to matched controls. This study suggests that there is likely to be a

                             spectrum or intestinal injury seen with olmesartan, much of which does not

                             resu It .111 symptoms severe enoug h to requtre
                                                                         . hosptta
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                 42.           Studies in 2015 continued to document further case reports and case series of

        olmesartan enteropathy. and in addition several further studies ofthe pathogenesis and

        histological presentation were pub! ished. 2.30.34.35,39.70,7 1.72.7U4.75.76.77,78.79,so.st .s2.83.84,85,s6,87.88

                     •       A group from the Mayo Clinic comprised of many of the authors who initially

                             reported on olmcsartan enteropathy. published a study of the pathogenesis of this

                             condition.    This study utilized intestinal biopsies taken ti·om patients with

                             olmesmtan enteropathy on and off of the medication to evaluate the immune

                             mechanisms of olmesartan related inflammation. This paper demonstrates that

                             epithelial cells respond to olmcsartan acid by increasing the expression of IL-15

                             and disruption of the key tight junction protein Z0-1 with a related increase in

                             cytetoxic CDS+ cells. They suggest that a potential unifying theory for

                             olmesartan enteropathy is that patients in certain circumstances are unable to

                             control the increased IL.-15 expression induced by olmesartan medoxomil, and

                             as a result develop enteropathy. 30



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                         •    A study from Sweden evaluated the link between angiotensin receptor blockers

                              and enteropathy by linking nationwide histopathology data and the Swedish

                              Prescribed Drug Rcgister. 88 This study evaluated the risk of non-olmesartan

                             angiotensin receptor blockers use and the risk of ACE inhibitor use in 2,933

                             individuals with enteropathy and 14,571 controls.        The authors reported that

                             there was no relationship between enteropathy and either ARB or ACE inhibitor

                             use, a finding which suggests that olmesartan enteropathy is largely drug specific

                             and not a class effect.


                         •   A further paper looked at the histological spectrum of olmesartan enteropathy as

                             described in the literature to elate.      The authors reported that 92 of l 00

                             individuals (92%) had total or partial villous blunting •vhilc 5% had normal

                             villous architecture.     Increased I ELs were reported in 61 of I 00 biopsies and

                             subepithelial collagen thickening was reported in 22 of I 00 biopsies. Variable

                             degrees of chronic innammation. acute inflammation. and increased cosinophils

                             can   be    seen.     Importantly,   microscopic   involvement of parts of the

                             gastrointestinal tract other than the duodenum may be seen.          Findings may

                             include ulcers, lymphocytic and/or collagenous gastritis and changes in the colon
                                                                                            2
                             that can be mistaken for lymphocytic or collagenous colitis.

                   43.       2016 saw more publications related to gastrointestinal side effects of

       0
           lmesartan. 39,90,91.9233,94,95,<!6.97

                         •   A regional Spanish registry study reported on 20 patients with olmesartan

                             enteropathy. 91 In this cohort, 14 patients (87.5%) required hospitalization, three

                             patients had inflammation of the stomach and ten had inflammation of the



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                         colon. In addition, lupus like conditions developed in three of the patients with

                         arthritis and high titer auto-antibodies including anti-nuclear antibody (ANA).

                         This lupus-like condition resolved with the gastrointestinal symptoms after

                         withdrawal of olmesartan.

                     •   An intriguing paper from one of the top celiac disease groups in Europe also

                         reported two cases of olmesartan enteropathy with onset after an acute

                         infection. 90 This phenomenon of post-infectious onset of immune mediated

                         disease has been documented in celiac disease, microscopic colitis as well as

                         diseases outside the intestine including neurologic disease and kidney disease

                         and supports the concept that olmesartan, under the right genetic and

                         environmental pressures, can trigger a drug dependent immune mediated

                         enteropathy.

      VII.    SUMMARY OF MEDICAL LITERATURE REGARDING ASSOCIATION OF
              OLl\U~SAH.T AN
                         AND ENTEROPATHY


               44.       The medical literature addressed above provides strong evidence that

        olmesartan causes enteropathy of varying severity, with associated gastrointestinal symptoms

        which also may range from very severe requiring prolonged hospitalization and intravenous

        nutritional support, to relatively mild. Taken as a whole, the literature establishes a temporal

        relationship between duration of exposure to olmesartan and risk of enteropathy and intestinal

        malabsorption with significant variability in time to onset of olmesat1an enteropathy. While no

        formal prospective studies of olmesartan rechallenge have been conducted, and arc unlikely to

        be conducted due to ethical issues, numerous case reports attest that patients with olmesartan

        improve with cessation ofthis drug and relapse promptly ifre-cxposed to olmesartan. While

       understanding of the pathophysiology of olmesartan enteropathy is evolving, this appears to be


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         largely agent specific and does not involve other ARBs. Olmesartan enteropathy also appears

         to be an immune mediated phenomenon where olmcsartan binds or otherwise upregulates IL 15

         and triggers CDS mediated cytotoxicity.

                45.     Based on these data, my current clinical practice is to evaluate all patients

         presenting with gastrointestinal symptoms or signs of malabsorption for olmesmian or other

         potential causative agents. Olmesartan is discontinued at this time and if symptoms and

         malabsorption resolves, the diagnosis of olmesm1an enteropathy can be made. There is no

        recommendation for rechallenge. or endoscopy to either confirm enteropathy or confirm

        resolution of enteropathy in patients 'vVith a clear and adequate clinical response. Alternatively.

        some patients are recognized to have enteropathy at endoscopy done for symptoms which have

        not been recognized to be potentially related to olmesartan enteropathy. All patients with a

        new diagnosis of enteropathy should be evaluated for olmesartan use and this medication

        discontinued when applicable. To proceed with extensive evaluation while continuing

        olmesartan places the patient at signitlcant additional risk due to delay in instituting the

        definitive effective treatment of olmesartan withdrawal, as well as the risk and cost of

        unnecessary testing. My advice is noted in recent articles including in the conclusion of a

        recent review of olmesartan enteropathy in the Annals of Internal Medicine, ''All patients

        should be warned to advise their physician and stop the drug if they develop any diarrhea or
                                      87
        weight loss on olmesartan''        and in Cartee and Murray's Sprue-like Enteropathy Associated

        1-vith Olmesartan. ''It would seem reasonable to hold olrnesartan much earlier in the natural

        history or the illness rather than assuming other diagnosis first in order to limit wor5cned

        symptoms leading to nutritional deficiencies and requiring a greater level of care and more

       extensive diagnostic evaluations.'' 51




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        46.   I reserve the right to supplement this expert report based on new information.




                                                         Date




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                                                            FIGURE 2




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       I llveir    Glickman J, RoiffT, Valim C, and LcJChtncr A. Variability of Histopathological Changes in Childhood
       Celiac Di~ca~c. 1\m J Gastroentcro! Oct 2009.
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         Choi FY. 'vfcKcnna SJ. O!mcsar!<m-Ass<Jciatcd Enteropathy- A R1:vicw of Clinical and Hi5tologic Findings .\rch
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                                    13325




                       2015 Fee Schedule and Contact Information
                           For Medical Legal Case Reviewing

         Daniel Leffler, MD, MS
         Director of Quality Improvement
         Research Director @ The Celiac Center
         Division of Gastroenterology
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         Beth Israel Deaconess Medical Center
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         Email:       dleffler@bidmc.harvard.edu

        [}!!lportant Note:   Please allow 2-4 weeks for completion of reviews.

         Fee Schedule:       $475 per hour for reviewing, report writing, and conferences
                                • 3 hour retainer fee prior to initiating review

                             $750 per hour (or part thereof) for depositions
                                • 2 hour minimum, payable in advance

                             $250 per hour plus expenses for travel to/from depositions or conferences
                                • 1 hour minimum

                             $5,000.00 +expenses for court appearances
                             + $1500 per half day for additional travel/wait days
                                • Payable in full, 2 weeks in advance of the scheduled
                                   court date

                             Late cancellation fees (for events cancelled or postponed
                             less than 14 days in advance of scheduled date
                                 • Depositions in Greater Boston area- $1500.00
                                 • Depositions outside Greater Boston- $2,500.00
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       PRIOR TESTIMONY DURING THE PAST 3 YEARS

       Ronda Orozco v. Boston Scientific Corporation d/b/a Mansfield Scientific Inc., Civil Action No.
       MICV20 12-03068, Superior Court, Middlesex

       Deposition for Defendant
Case 1:15-md-02606-RBK-JS Document 1069-3 Filed 03/31/17 Page 296 of 332 PageID:
                                    13327


    Daniel A Leffler



                                       Harvard Medical School Curriculum Vitae

    Date Prepared:      10/20116

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    Office Address:     Beth Israel Deaconess Medical Center
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   Work FAX:            617.667.8144

   Place of Birth:      Boston, Massachusetts

   Education
   09/92-06/96         B.S.                     Biochemistry              Colorado College, CO
   09/97-09/98         M.S.                     Nutrition                Columbia University, NY
   09/98-07/02         M.D.                     Medicine                 Ben Gurian University, Israel/
                                                                         Columbia University, NY
   Postdoctoral Training
   07/02-06/03         Intem                    Medicine                 Beth Israel Deaconess Medical Center
   07/03-06/05         Resident                 Medicine                 Beth [srael Deaconess Medical Center
   07105-06106         Research Fellow          Gastroenterology         Beth Israel Deaconess Medical Center
   07/06-06/08         Clinical Fellow          Gastroenterology         Beth Israel Deaconess Medical Center

   Facultv Academic Appointments
   07/08-05/09       [nstmctor                  Medicine                 Harvard Medical School
   06/09-9/13          Assistant Professor      Medicine                 Harvard Medical School
   09113-Present       Associate Professor      Medicine                 Harvard Medical School


   Appointments at Hospitals/Affiliated Institutions
   07/08-present       Attending Physician                               Beth Israel Deaconess Medical Center
                       Medicine (Gastroenterology)
   07/10-07/12         Research Specialist Physician                     Fenway Community Health

   Other Professional Positions
   07/20 16-present    Medical Director          Gastrointestinal Therapeutic Area   Takeda Pharmaceuticals


  Major Administrative Leadership Positions
Case 1:15-md-02606-RBK-JS Document 1069-3 Filed 03/31/17 Page 297 of 332 PageID:
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    Daniel A. Leffler                                                                                       2



    Local

    07/05-06/08          Clinical and Research Coordinator,               Beth Israel Deaconess Medical Center
                         Celiac Center
    07/08-Present        Director of Clinical Research,                   Beth Israel Deaconess Medical Center
                         Celiac Center
    07/1 0-Present       Director, Celiac Center Clinical and Research    Beth Israel Deaconess Medical Center
                         Fellowship
    04/11-06/20 16       Director of Quality Improvement,                 Beth Israel Deaconess Medical Center
                         Division of Gastroenterology
    04/ll-06/20 16      Associate Director of Research for Quality        Beth Israel Deaconess Medical Center
                        Improvement, Department of Medicine
   07/12-06/2016        Clinical Research Director, Gastroenterology      Beth Israel Deaconess Medical Center
                        Fellowship Program
   08il2-06/20 16       Course Co-Director, Patient Safety Core Faculty   Beth Israel Deaconess Medical Center

   07115-07/2016        Associate Finn Chief, Blumgart Firm               Beth Israel Deaconess Medical Center


   Committee Service (Member except where noted)
   Local

   2008-2016            Medical Peer Review Committee                     Beth Israel Deaconess Medical Center
                        Department of Medicine
   2009-2016            Interventional Procedures Committee               Beth Israel Deaconess Medical Center
   2009-2016            Gastrointestinal Hemonhage Task Force             Beth Israel Deaconess Medical Center
   2011-2016            Depmiment of Medicine QI Leadership Council       Beth Israel Deaconess Medical Center
   2012-2015            Colorectal Cancer Screening Advisory Committee    CRICO-Risk Management Foundation
   2012-2016            Patient Safety Core Faculty,                      Beth Israel Deaconess Medical Center
                        Department of Medicine
   2012-2016            Founding member of Center for Healthcare          Beth Israel Deaconess Medical Center
                        Delivery Sciences
   2014-2016            External Peer Review for Gastroenterology         Beth Israel Deaconess Network
   2015-2016            Research Review Committee Center for Primary      Harvard Medical School
                        Care at Harvard Medical School
   2016                 Poster Review Committee Soma Weiss Student        Harvard Medical School
                        Research Day
   20 16-Present        Chaitman; Colorectal Cancer S<-Teening Advisory   CRICO-Risk Management Foundation
                        Committee


   National and International
   201 0-Present        Medical Advisory Board
                        Healthy Villi Celiac Advocacy Group
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                                    13329


    Daniel A. Leffler                                                                                        3



    2010-Present          Medical Advisory Board
                          Beyond Celiac (\\'WW.celiaccentral.org)
    20!0-20!4             Collaborator/Founding Member
                          Oslo Group on Standards and Definitions for Celiac Disease and Related Disorders
    2012-2014             Secretary/Founding member
                          North American Society for the Study of Celiac Disease (www.nasscd.org)
    20 13-Present         Medical Advisory Board
                          Celiac Disease Foundation (www.celiac.org)
    20 13-Present         Digestive Diseases Week Abstract Review Committee
                          American Gastroenterological Association
    20 14-Present         Scientific Grant Review Committee
                          Italian Celiac Association 'Associazione ltaliana Celiacia'
   2014-2015              Steering Committee Member for the FDA Gastrointestinal Regulatory Endpoints and
                          Advancement of Therapeutics Conference on Celiac Disease

   Professional Societies (kfember except where noted)

   2005-Present           American Gastroenterological Association (AGA)
   2005-Present           American College of Gastroenterolob'Y
   2009-2011              AGA Press Advisory Board
   2010-2016              Intestinal Diseases Section, AGA Institute Council
   2010-Present           AGA Media Speakers· Bureau
   2011-2015              AGA Academy of GI and Liver Educators Advisory Board
   20 16-Prescnt          Councilor, AGA Institute, Intestinal Diseases Section



   Editorial Activities
   Ad hoc reviewer

   o Alimentary Pharmacology and Therapeutics
   o American Journal of Clinical Nutrition
   o American Journal of Epidemiology
   o American Journal of Gastroenterology
   o American Journal of Physiology - Gastrointestinal and Liver Physiology
   o Annals of Internal Medicine
   o Annals ofNeurology
   o Appetite
   o Archives of Internal Medicine
   o Btitish Medical Journal; Point-of-Care Physicians Reference Database
   o British Journal of Nutrition
   o Clinical Chemistry and Laboratory Medicine
   o Clinical Infectious Diseases
   o Diabetologia
   o Digestive Diseases and Sciences
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                                    13330


    Daniel A. Leffler                                                                                          4



    o     European Journal ofClinical Investigation
    o     Expert Opinion on Drug Discovery
    o     Expert Review of Gastroenterology and Hepatology
    o     Gastroenterology
    o     Gastrointestinal Endoscopy
    o     Journal ofCiinical Gastroenterology
    o     Journal of the American College of Nutrition
    o     Journal of the American Medical Association
    o     Journal of Medical Intcmet Research
    o     Journal of Pediatrics
    o     New England Journal of Medicine
    o     Therapeutic Advances in Gastroenterology

    Other Editorial Roles

   20 I 0-Present       Editorial Board     Clinical Gastroenterology and Hepatology
   20 11-2013           Editorial Board     BMC Gastroenterology
   2013-Present         Editorial Board     World Journal of GastroentcrolOf:.'Y


   Honors and Prizes

   1994                 Undergraduate Research Grant, Howard Hughes Institute
   2006                 Presidential Poster Award, American College of Gastroenterology
   2006                 AstraZeneca Senior Fellow Abstract Award, American College of Gastroenterology
   2006                 Program in Clinical Research Effectiveness, Harvard School of Public Health
   2007                 AstraZeneca Senior Fellow Abstract Award, American College of Gastroenterology
   2010                 PCIR Junior Investigator Laboratory Suppmt Award, Harvard Catalyst
   2012                 Irving W. and Charlotte F. Rabb Prize tor Gastroenterology Research
   2013                 Dvorak Young Investigator Award f(.w Health Services Research
   2013                 Journal Author Excellence Award: American Society tor Healthcare Risk Management
   2015                 Nezam Afuhal Outstanding Achievement in the Field of Excellence Award for Irmovation
                        in Gastroenterology

   Teaching Awards

   2008                 Excellence in Tutoring Award, HMS Academy Center for Teaching and Learning
   2010                 Nominee, Excellence in Mentoring Award, HMS Office of Diversity and Community Partnership
   2013                 Nominee, Excellence in Mentoring Award, HMS Office of Diversity and Community Partnership
   2014                 Mentorship of Resident Research Award, Beth Israel Deaconess Medical Center


   Report of Funded and Unfunded Projects
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    Daniel A. Leffler



    Past

    2008-2010            Optimizing Safety in Ambulatory Procedural Care: Risk Informed Interventions (PI, Dierks,
                         Meghan)
                         AHRQ Rl8 HS017907-0l
                         Co-Investigator
                         My role was to provide glJidance on risk areas in gastrointestinal endoscopy and assist with
                         program design and evaluation including statistical methodology.

    2006-2010            Assessing Gluten Free Diet Adherence in Adults with Celiac Disease (PI, Kelly, Ciaran)
                         Celiac Sprue Association
                         Co-Investigator
                         Major goal: to develop ways to measure dietary adherence in celiac disease as well as patient
                         reported outcomes assessing symptoms and quality of life. I was responsible for study design,
                         patient recmitment, statistical assessment and publication of results.

   200R-2010            Development of a Long Tem1 follow-Up Alerting System for Integration into Electronic Medical
                        Records (PI, Aronson, Mark)
                        CRICO/Risk Management foundation
                        Co-Investigator
                        Major goal: to develop a framework for integrating reminder systems for patients needing repeat
                        testing in the n1ore distant future (> 1 year). I was responsible for program design, evaluation,
                        nmning patient and physician focus groups, liaising with IT specialists and assessing system
                        perfom1ance.

   200R-2010            Unrestricted Research Grant to Evaluate Clinical Outcomes in Celiac Disease
                        Alvine Pharmaceuticals (PI, Kelly, Ciaran)
                        Co-Investigator
                        Major goal: to develop and validate much needed non-invasive measures of celiac disease activity.
                        I was responsible for study design, execution and evaluation.

   2009-2010            Schwmtz Center Cmmections (PI, Stanzlcr, Mmjorie)
                        Schwartz Center and CRICO-RJviF
                        Co-Investigator
                        Major goal: Working with a multi-disciplinary team led by the Schwartz Center and CRICO-RMF.
                        this project aimed to identifY and codify communication pathways between hcalthcare providers.
                        Specific attention was paid to issues leading to miscommunication and adverse patient outcomes.

   2008-2010            Eliminating Healthcare Disparities through Education: A Universal Medical School Program (PI,
                        Shields, Helen)
                        Interfaculty Collaboration of Harvard Medical School, Harvard Business School and Harvard
                        Graduate School of Education
                        Co-Investigator
                        Major Goal: To create a model for reducing health care disparities through the development of a
                        longitudinal, integrated, tested educational program across all four years of medical school.

   2011-2013            Clinical Utility off !LA Typing in Suspected Celiac Disease
                        Prometheus Laboratories
                        PI
                        Major goal: to evaluate use of HLA testing in celiac disease and to provide evidence-based
                        g11idelines for HLA testing and interpretation of results.

   2012-2013            Evaluation ofMesalamine's Therapeutic Potential in Celiac Disease
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                         Shire Phannaceuticals
                         PI ($111,129)
                         Major goal: to evaluate the in vitro efficacy ofmesalamine to reduce celiac disease related
                         intestinal int1ammation

   2009-2014             Biomarkers of Celiac Disease Activity During Gluten Challenge
                         NIH K23 DK082619
                         p[ ($931 ,230)
                         Major goal: As PI on this 5-year Mentored Patient-Oriented Research Career Development Award,
                         our goal is to develop patient reported outcomes and non-invasive biologic markers to evaluate
                         celiac disease activity.

   2009-2014            Campaign to Improve A\vareness of Celiac Disease i\.mong Primary Care Physicians (PI, Kelly,
                        Ciaran)
                        Sydney E. Frank Foundation
                        Co-Investigator ($250,000)
                        Major goal: to develop tools to increase awareness and diagnosis rates of celiac disease in primary
                        care practices. I assist with study design, content of informational module, and assessment of
                        intervention efficacy.

   2013-2014            Moderate Sedation- the final frontier for quality in procedural areas. - A multidisciplinary team
                        based approach towards continuous improvement
                        BIDMC Center for Healthcare Delivery
                        Co-Principal Investigator ($42,000)
                        Major goal; to address the lack of moderate sedation benchmarks and to ensure that our patients
                        can expect the safest and highest quality moderate sedation possible, and to monitor the effects of
                        medication shortages and compare the costs and benefits of anesthesia administered deep sedation.

   Current

   2013-2015            Validation of Peripheral Microparticles as Novel Biomarkers of Celiac Disease Activity
                        NIH R03DK095937
                        PI ($1 00,000)
                        Major Goal: The identify accurate non-invasive measures of celiac disease activity, which would
                        be of great value in clinical practice, arc prerequisite to the testing of new treatment modalities, and
                        may offer insight into disease pathogenesis

   2013-2015            Referral Management
                        CRICO-RMF
                        Co-investigator.($393,988)
                        Major Goal: The aim of this project is to develop and pilot systems for improved
                        monitoring of patient refetnls with the goals of improving adherence and reducing
                        medical-legal consequences.

   2014-2017            Measuring and Improving Colonoscopy Quality Using Natural Language
                        NIH-R01CA168959-04
                        Co-Investigator ($905,880)
                        Major Goal: To develop a natural language processing system to automate assessment of
                        colonoscopy quality and to use these data to evaluate physician factors which influence
                        quality and assess the ability of performance metrics to lead to quality improvements.
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    Pending              Risk & Outcomes from Screening & Treating Celiac Disease in TlD Adults: an RCT
                         NIH R01DK107857-01
                         PI ($1,949,080)
                         Major Goal: This prospective, randomized controlled trial will provide Iigorous data on
                         the potential benefits of screening adults with TID for celiac disease in the United States
                         and on the outcomes associated with celiac disease screening initiatives on which to base
                         health policy and medical guidelines.



    Current Unfunded Projects
    2008-Present         Timing of Colonoscopy and Polyp Detection Rate is a project that assesses the influence oftime of
                         day in polyp detection to assess for endoscopist fatigue similar to what has been shown in surgical
                         literature. (Co-investigator)

   2008-Present         Outcomes of Complicated Celiac Disease is a project to assess outcomes and medication usage of
                        patients with non-responsive celiac disease, refractory celiac disease and celiac crisis. (Co-
                        investigator) .

   Report of Local Teaching and Training
   Teaching of Students in Courses
   2005                 Examiner, Objective Structured Clinical Exam Training
                        Harvard Medical Exchange Students
                        Harvard Medical School
                        3 hrs. contact time
   2005                 Fom1h Year Medical Student Clinical Skills Tutorial
                        HMS Medical Students
                        Harvard Medical School
                        6 hrs. contact time

   2005-2008            Tutor, Gastrointestinal Pathophysiology Course 708.0 Human     ~}·stems/Module   IIA
                        HMS medical students
                        Harvard Medical School
                        Three, 2-hr. sessions per week for 4 weeks
   2006-2012            Board review Sessions, Gastrointestinal Pathophysiology 708.0, Human Systems/Module IIA
                        HMS medical students
                        Harvard Medical School
                        2, 1-hr. sessions per year

   2009-Present         Patholo~:,ry
                                   Lab Co-Instructor, Gastrointestinal Pathophysiology 708.0, Human    SJ~'tems! Module   LlA
                        HMS medical students
                        Harvard Medical School
                        Three, 2-hr. sessions per week for 4 weeks

   Formal Teaching of Residents, Clinical Fellows and Research Fellows (post-docs)

   2007, 2010,          Update on Celiac Disease
   2013                 Medical Interns and residents
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    Daniel A. Leffler



                         Beth Israel Deaconess Medical Center
                         I hr. lecture
    2007 -Present        Advanced Diagnosis and Management of Celiac Disease
                         15 Clinical Gastroenterolof:,'Y Fellows
                         Beth Israel Deaconess Medical Center
                         1-hr didactic sessions, annually
   2012-Prescnl          Annual Fellows QI and Safety Symposium
                         40 Clinical Medicine fellows (all subspecialties)
                         Beth Israel Deaconess Medical Center
                         3-hr didactic sessions, 4 x annually

   Clinical Supenisory and Training Responsibilities

   2008-Present         Consult Attending in Gastroenterology, Beth Israel Deaconess Medical Center
                        4 weeks per year, 3-4 hours per day
   2008-Present         Endoscopy Training for Fellows, Beth Israel Deaconess Medical Center
                        One day per month, 8 hours per day
   20 12-Present        Ad hoc guidance for senior medical residents and gastroenterology fellows working on quality
                        improvement and patient safety projects.

   Laboratory and Other Research Supenison and Training Responsibilities
   2006-Present Supervision of residents and research assistants working on clinical research projects.
   2008-2013            I mentor medical residents at BIDMC in an ongoing case-control design project to assess the
                        influence of ethnicity on risk and severity of Clostridium difficile infection.
   2009-2013            I mentor medical residents at BIDMC on a survey based prqject to evaluate patient perceived
                        burden of the gluten free diet in celiac disease in comparison lo treatments for a variety of other
                        medical conditions. This study will also assess the inf1uence of socioeconomic status and
                        educational level on burden of disease and reported treatment adherence.

   Formally Supervised Trainees

   2008-2009            Shailaja Jamma, ::VID /Research Fellow
                        Received a research award from the American College of GastroenterolOh'Y and published multiple
                        abstracts and manuscripts. Completed gastroenterology fellowship at University of Chicago.
                        Currently on staff at Gastrointestinal Care Consultants Houston, TX.
   2010-201 1           Kumar Pallav, MD/ Celiac Clinical/Research Fellow
                        Supervised the planning and execution of multiple clinical research projects as well as patient care.
                        Completed gastroenterology fellowship at University of Mississippi. Currently on faculty at
                        University of Mississippi
   2011-2013            Toufic Kabbani, MD/ Celiac Clinical/Research Fellow
                        Supervised the planning and execution of multiple clinical and translational research prqjects,
                        resulting in multiple published manuscripts and presentations at national meetings. Also fonnally
                        supervised patient care activities. Cun·ently in gastroenterology fellowship at University of
                        Pittsburgh Medical Center
   2012-2013            Rohini Vanga, MD I Celiac Clinical/Research Fellow
                        Supervised the planning and execution of multiple clinical and translational research projects. Also
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                         formally supervised patient care activities. Currently in gastroenterology fellowship at Baylor
                         University
    2013-2014            Themaiah Theetira, MD/ Celiac Clinical/Research Fellow
                         Supervised the planning and execution of multiple clinical and translational research projects. Also
                         formally supervised patient care activities. Currently in gastroenterology fellowship at University
                         of Callfomia, Fresno
    2014-20 16           Dharmesh Kaswala, MD I Celiac Clinical/Research Fellow
                         Supervised the planning and execution of multiple clinical and translational research projects. Also
                         formally supervised patient care activities. Starting gastroenterology fellowship at California
                         Pacific Medical Center, July 2016
   2014-2016            Gopal Veeraghavan, MD I Celiac Clinical/Research Fellow
                        Supervised the planning and execution of multiple clinical and translational research projects. Also
                        formally supervised patient care activities. Starting gastroenterology fellowship at University of
                        California, Fresno, July 2016
   2015-2016            Satya Kurada, MD I Celiac Clinical/Research Fellow
                        Supervised the planning and execution of multiple clinical and translational research projects. Also
                        formally supervised patient care activities.
   2013-2015            Adelina Hung, MD BIDMC Medical Resident Supervised the planning and execution of multiple
                        clinical and quality improvement projects. Currently in gastroenterology fellowship at Yale.
   2014-2016            Manida Wungjiranirun, MD BIDMC Medical Resident. Supervised the planning and execution
                        of multiple clinical and quality improvement projects. Starting gastroenterology fellowship at
                        Brown University, July 2016
   2015-2016            Katherine Germansky, MD BIDMC gastroenterology fellow. Supervised the planning and
                        execution of multiple clinical and quality improvement projects. Starting on faculty at Beth Israel
                        Deaconess Medical Center, July 2016.
   2015-2016            Sarah Shannahan, MD BIDMC Medical Resident. Supervising celiac disease research projects
                        and review articles.
   20 15-20 16          Lauric Grossberg, MD BIDMC gastroenterology Fellow. Supervising quality improvement
                        research prqjects looking at colonoscopy safety.

   Local Invited Presentations l'{o presemations belmv were .~pm1.mred by outside entities

   2007-2009            Gastrointestinal Bleeding Module, Bedside Emergencies Conference
                        Clinical RNs
                        Beth Israel Deaconess Medical Center, Boston, MA ( 1-hr session, 3 x annually)
   2010                 Celiac Disease: A Modem Understanding of an Ancient Disease I Clinical Grand Rounds
                        Brigham and Woman's Hospital, Boston. MA
   2010                 Celiac Disease: Lessons from an Ancient Disorder I Gastroenterology Grand Rounds
                        Massachusetts General Hospital, Boston, MA
   2011                 Clinical Crossroads: Celiac Disease I Medical Grand Rounds
                        Beth Israel Deaconess Medical Center, Boston, MA
   2011                 Celiac Disease: The Usual and Unusual
                        Btigham Update in Medicine - Partners Healthcare
                        Boston, Ma
   2011                 Celiac Disease: Modern Lessons From an Ancient Disease
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                         Updates in Gastroenterology Lecture series
                         Beth Israel Deaconess Medical Center, Boston, Ma
    2011,2012            Cross-Cultural Care in the Pre-Clinical Years I Use of Case Triggers and Vignette Writing
                         Healing Health Care Disparities through Education: An Interactive Faculty Development Program,
                         Harvard Medical School, Boston, MA
    2011                 Update in Celiac Disease I Allergy/Immunology Grand Rounds
                         Massachusetts General Hospital, Boston, MA
   2011                  Celiac Disease and Infertility I Grand rounds
                         Boston IVF I Division of Reproductive Endocrinology and Infertility
                         Beth Israel Deaconess Medical Center, Boston, MA
   201 I                 Celiac Disease: Modern Lessons From an Ancient Disease I Grand Rounds
                         Beth Israel Deaconess Needham, Needham, MA
   2012                  Celiac Disease: Modern Lessons From an Ancient Disease I Rheumatology Grand Rounds
                         Brigham and Women's Hospital, Boston, MA
   2012                 Celiac Disease: Update for PCPs
                        Meet the Professor
                        Office Practice of Primary Care Medicine Symposium
                        Brigham and Women's HospitaL Boston, MA
   2012                 Celiac Disease: Modern Lessons From an Ancient Disease / Grand Rounds
                        Joslin Diabetes Center, Boston, MA
   2012                 Celiac Disease: Endocrine Aspects / Endocrinology Grand Rounds
                        Children's Hospital Boston, Boston, MA
   2013                 Celiac Disease: Lessons from the Adult World/ Gastroenterology Grand Rounds
                        Children's Hospital Boston, Boston, MA
   2014           Course Director: Academic Achievement in Quality Improvement. Beth Israel Deaconess
                  Medical Center, Boston, MA
   Report of Regional, National and International Invited Teaching and Presentations
   Invited Presentations and Courses
   Regional Those presentations belmv sponsored by outside entities are so noted and the sponsor is identified
   2008                 Celiac Disease Update/ Invited speaker
                        A Core Curriculum In Primary Care Medicine
                        Boston University School of Medicine
   2009                 The Modern Face of Celiac Disease I Invited Keynote speaker
                        New England Society of Gastroenterology Nurses and Associates (NESGNA)
                        Annual Educational Conference, Boston, MA
   2010                 An Update on Celiac Disease Diagnosis and Treatment/ Medical Grand Rounds
                        Sturdy Memorial Hospital
                        Attleboro, Ma
   2012                 Celiac Disease: Protean Manifestations/Invited speaker
                        Update in Internal Medicine, Beth Israel Deaconess Medical Center
                        Boston,MA
   2014                 Celiac Disease
                        Gastroenterology Grand Rounds Massachusetts General Hospital
                        Boston,MA
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    Daniel A. Left1er                                                                                                  1!



    20 14                Update on Celiac Disease
                         Harvard University Health Services
                         Boston, MA
    2015                 Review of Gastroenterology I Course instructor
                         ACP Review Course
                         American College of Physicians
                         Boston, MA
   2015                 Colorecta! Cancer Screening: Current Recommendations and Controversies
                        Best Practices
                        CRICO-RMF
                        Boston, MA
   2016                 Celiac Disease and Gluten Sensitivity: Similarities and Differences
                        Update in Internal Medicine, Beth Israel Deaconess Medical Center
                        Boston, MA


   National Those presentations below sponsored by outside entities are so noted and the sponsor is identified

   2008                 Patient Reported Outcomes in Celiac Disease I Invited speaker
                        Clinical Trial Outcomes in Celiac Disease (Alba Phannaceuticals)
                        New York City
   2009                 Meeting the Needs of Adults with Celiac Disease I Invited speaker
                        Food and Nutrition Conference and Expo
                        American Dietetic Association
                        Denver, CO
   2009                 Safety, Tolerability and Effects On Intestinal Permeability ofLarazotide Acetate in Celiac Disease:
                        Results of a Phase liB 6-Week Gluten-Challenge Clinical Trial (Abstract)
                        Digestive Diseases Week, American Gastroenterological Association
                        Chicago, IL
   2010                 Quality of Life and Patient Reported Outconies in Celiac Disease ! Invited speaker
                        Development of Therapies for Celiac Disease
                        Columbia University
                        New York City
   2010                 I) Focused Clinical Update: Celiac Disease.~ Invited speaker
                        2) Meet the Professor Lunch: Refractory Celiac Disease and Diet Adherence
                        3) An Update on Celiac Disease Diagnosis and Treatment / Session Chair
                        4) Diagnosis and Highly Effective Medical Management of Celiac Disease I Session Chair
                        Digestive Diseases Week, American Gastroenterological Association
                        New Orleans, LA
   2010                 An Update on Celiac Disease Diagnosis and Treatment I Invited speaker
                        Medical and Surgical Advances in Gastroenterology
                        Lee Memorial Health System, Fort Meyers, FL
   2010                 Celiac Disease: Protean Manifestations/ Invited speaker
                        PRIMED Update in Primmy Care (PRIMED)
                        Boston, MA
   2011                 Refractoty Celiac Disease Research Forum I Session Chair
                        Digestive Diseases Week, American Gastroenterological Association
                        Chicago, IL
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    2011                 1) Celiac Disease: Protean Manifestations I Invited speaker
                         2) Clostridium Difficile Infection: Not Just a Hospital Problem/ Invited speaker
                         PRIMED Update in Primary Care (PRIMED)
                         Anaheim, CA
    2011                 Celiac Disease: Important and Often Missed i Invited speaker
                         Author in the Room, IHI/JAMA
                         Boston, MA
    20 11                PROs for Celiac Disease: Measuring What Patients Care About I Gastroenterology Grand Rounds
                         Columbia University, NYC
    2012                 Celiac Disease: Modem Lessons From an Ancient Disease I Grand Rounds
                         Piimacle Health System/Harrisburg Hospital
                         Harrisburg, P A
   2012                  I) Clostridium Difficile Infection: Not Just a Hospital Problem I Invited speaker
                        2) Celiac Disease: Protean Manifestations/ Invited speaker
                        PRIMED Update in Primary Care (PRIMED)
                        Fort Lauderdale, Fl
   2012                 AGA Academy of Educators Plenary Session! Invited speaker
                        Digestive Diseases Week, American Gastrocnterological Association
                        San Diego, CA
   2012                 Review of Gastroenterology I Course instructor
                        ACP Review Course
                        American College of Physicians
                        Boston, MA
   2012                 Gastroenterology Ask the Expert
                        PRIMED Update in P1imary Care (PRIMED)
                        Boston, MA
   2013                 Visiting Professor/Gastroenterology Grand Rounds
                        Northwestem Medical Center
                        Chicago, IL
   2013                 Review of Gastroenterology/ Course instmctor
                        ACP Review Course
                        American College of Physicians
                        San Francisco, CA
   20!3                 1) Celiac Disease: Protean Manifestations /Invited speaker
                        2) Chronic Diarrhea: A Practical Approach I Invited speaker
                        PRIMED Update in Prinmry Care (PRIMED)
                        Anaheim, CA
   2013                 Update on Colorectal Cancer Screening
                        Gastroenterology and Hepatology Academy
                        Virtual Symposium
   2013                 Advances in Celiac Disease Diagnosis I Session Chair
                        Digestive Diseases Week, American Gastroenterological Association
                        San Diego, CA

  2013                  The True Burden of Celiac Disease: Making the Case for Prevention I Invited Speaker
                        Digestive Diseases Week, American Oastroenterological Association
                        San Diego, CA
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    2013                 Celiac Disease: Presentation and Diagnosis from a Clinical and Pathologic Perspective l
                         Invited Speaker
                         Digestive Diseases Week, American Gastrocnterological Association
                         San Diego, CA

    2013                 Small Bowel Disease Board Review Session/ Invited Speaker
                         Digestive Diseases Week, American Gastroenterolot,>ical Association
                         San Diego, CA
   2013                  Diagnosing Celiac Disease in 20 13/lnvited Speaker
                         13th International Celiac Disease Symposium
                         Chicago, !L
   2013                 Review of Gastroenterology/ Course instmctor
                        ACP Review Course
                        American College of Physicians
                        Boston, MA
   2013                 1) Celiac Disease: Protean Manifestations I Invited speaker
                        2) Clostridium Difficile Infection I Invited speaker
                        PRIMED Update in Primary Care (PRIMED)
                        Boston, MA
   2014                 Measuring Outcomes in Cellae Disease I Invited Speaker
                        Developing Therapies for Celiac Disease Conference
                        New York, NY
   2014                 Celiac Disease/ Invited speaker
                        PRIMED Update in Primary Care (PRIMED)
                        Phoenix, AZ
   2014                 Celiac Disease/ Invited speaker
                        PRIMED Update in Primary Care (PRIMED)
                        Seattle, WA
   2014                 Celiac Disease/ Invited speaker
                        PRIMED Update in Primary Care (PRIMED)
                        Denver, CO
   2014                 Celiac Disease/ Invited speaker
                        PRIMED Update in Primary Care (PRIMED)
                        Houston, TX
   2014                 Celiac Disease/ Invited speaker
                        PRIMED Update in Primary Care (PRIMED)
                        Chicago, IL
   2014                 Small Bowel Disease Board Review Session I Invited Speaker
                        Digestive Diseases Week, American Gastroenterological Association
                        Chicago, IL
   2014                 Celiac Disease Who to Screen, How to Test and Diagnose?/Invited Speaker
                        Digestive Diseases Week, American Gastroenterological Association
                        Chicago, IL
   2014                 Update on Celiac Disease/Invited Speaker
                        University of Colorado Medical Center Gastroenterology Grand Rounds
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    2014                Celiac Disease and Non Celiac Gluten Sensitivity I Invited Speaker
                        University of Colorado Medical Center Updates in Clinical Nutrition
    2015                Role of Serology to Measure Clinical Benefit and Appropriate timing of assessment in Celiac
                        Disease I Invited Speaker
                        FDA Gastrointestinal Regulatory Endpoints and Advancement of Therapeutics Conference on
                        Celiac Disease
   20 15                Small Bowel Disease Board Review Session i Invited Speaker
                        Digestive Diseases Week, American Gastroenterological Association
                        Washington DC
   2015                 Celiac Disease Clinical Research Abstract Session/Invited Speaker
                        Digestive Diseases Week, American Gastroenterological Association
                        Washington DC
   2015                 Celiac Disease Factors Inf1uencing Development of Disease/Session Moderator
                        Digestive Diseases Week, American Gastroenterological Association
                        Washington DC
   2015                 Celiac Disease: Protean Manifestations I Invited speaker
                        PRIMED Update in Primary Care (PRIMED)
                        Boston, MA
   2016                 Celiac Disease
                        Grand Rounds, Norwalk Hospital, Norwalk, CT
   2016                 Small Bowel Disease Board Review Session i Invited Speaker
                        Digestive Diseases Week, American Gastroenterological Association
                        San Diego, CA
   2016                 New Therapeutic Approaches in Celiac Disease /Session Moderator
                        Digestive Diseases Week, American Gastroenterological Association
                        San Diego, CA
   2016                 'Help my gluten free diet isn't working!' Postgraduate course Invited Speaker
                        Digestive Diseases Week, American Gastroenterological Association
                        San Diego, CA
   2016                 New Developments in Celiac Disease Research Session/Invites Speaker
                        Digestive Diseases Week, American Gastrocnterological Association
                        San Diego, CA
   2016                 Celiac Disease: Below the Tip of the Iceberg. Invited Speaker, ImmunosanT Sponsored
                        Symposium. San Diego, C A


   International Those presentations belovv sponsored by outside entities are so noted and the sponsor is identifled

   2007                      Psychological correlates of gluten-free diet adherence/ Invited speaker (Abstract)
                             International Celiac Disease Society I 21 ' 1 Annual Association of European Celiac Societies
                             Meeting, Maribor, Slovenia
   2011                      The Future of Celiac Disease I Keynote address
                             Canadian Celiac Association Almual Celiac Conference
                             Ottawa, Canada
  2011                      1) Monitoring of Individuals with Celiac Disease: Knowns and Unknowns I Clinical Forum
                            2) Monitoring of Individuals with Celiac Disease: Knowns and Unknowns I Scientific
                               Symposium
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                          International Celiac Disease Society 1411! International Celiac Symposium
                          Oslo, Norway
    2012                  Clinical Dilemmas in Celiac Disease I Invited speaker
                          XII Congress of the Russian Scientific Society of Gastroenterology
                          Moscow, Russia
    2012                  Celiac Disease: Modern Lessons From an Ancient Disea.<>e I Nutrition and Metabolism
                          Workshop
                          Palliser Primary Care Network
                          Calgary, Ontario, Canada
    2013                  Celiac Disease and Cardiovascular Outcomes
                          University of Orebro
                          Orcbro, Sweden
    2014                  Celiac Disease
                          City Wide Gastroenterology Grand Rounds, University of Toronto
                          Toronto, Canada
    2014                  Celiac Disease/ Plenary Session
                          Alberta Digestive Disease Society Annual Meeting
                          Calgary, Canada
    2014                  Serum Markers in Celiac Disease: Standards and Novel Approaches
                          Dr. Falk, Small Bowel Symposium
                          Amsterdam, Netherlands
    2014                  Non-Celiac Gluten Sensitivity vs. Celiac Disease: Diagnostic Approaches
                          Third Non-Celiac Gluten Sensitivity Symposium
                          Salerno, Italy
    2015                  Celiac Disease: Changes in Prevalence, Novel Diagnostics, Evaluation ofNon Responsive
                          Celiac Disease and Future Therapies
                          Latin American Symposium on Celiac Disease/Course on Diseases of the Intestine and Colon
                          Buenos Aires, Argentina
    2016                 Novel Developments in Celiac Disease Therapeutics
                         Autoimmunity 2016
                         Leipzig, Germany

   Report of Clinical Activities and Innovations
   Current Licensut·e and Certification

   2005                  Internal Medicine License
   2005                  Board Certified in Internal Medicine
   2008                  Board Ce1tified in Gastroenterology

   Practice Activities
   Ambulatory Care       Outpatient CliniL:          BIDMC          One session per week
   Endoscopy             Endoscopy Unit              BIDMC          One session per week
   Consult Attending   Inpatient Units               BIDMC          Four weeks per year
   Clinical Innovations
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    Daniel A. Leffler                                                                                                 16



    2008                Handheld ingredient scanner for detection of gluten containing foods.
                        I partnered with an electronics design firm to create and market a handheld device capable of
                        scanning food barcodes to assess for foods known or suspected to contain gluten. The aim is
                        to decrease the burden of gluten free diet adherence and thus improve gluten avoidance,
                        especially in those with visual or literacy deficits who are most at risk for inadvertent gluten
                        exposure.

    2010                System for Improving Endoscopy Patient Recall
                        I led a team of gastroenterologists, primary care physicians and quality improvement
                        specialists in a project to design, implement and study an automated system for improving
                        patient adherence to follow up endoscopy reconnnendations. This work led to increased
                        numbers of patients effectively managed for clinically significant conditions as well as peer
                        reviewed publications and presentations at national meetings.

    2012                Ex-Vivo Gluten Challenge for Diagnosis of Celiac Disease
                        I have developed a novel method of diagnosing celiac disease in patients already on a gluten
                        challenge using ex-vivo gluten challenge in cultured intestinal biopsies. Work is ongoing to
                        develop and protect this innovation which has the potential to be a widely used new tool for
                        clinical and research activities in celiac disease and other gluten related disorders.

    Report of Education of Patients and Service to the Community
   Activities

   2006-Present          Healthy Villi Celiac Advocacy Group
                         Presented lectures on evolving topics in celiac disease and participated in question and
                         answer session. Quarterly with attendance of -AOO per meeting.
   2007-Present          Celiac Center at BIDMC
                         Participate in design and execution of quarterly infonnation sessions for patients with newly
                         diagnosed celiac disease. Attendance -30 per meeting
   2008                  Celiac Center at BIDMC
                         Participate in design and execution of a patient education forum for adults with celiac
                         disease. Attendance -200
   2009                  New England Celiac Conference
                         Participated with the Healthy Villi in plarming and delivering content at this annual ref,rional
                         meeting. Attendance in 2009 was over 650 individuals.
   2009-2012             Celiac Center at BIDMC and at Children's Hospital, Boston
                         Project leader for the development of an educational program for young adults with celiac
                         disease as they plan to leave the home

   20 12-Present        Regular guest contributor to the patient magazine Gluten Free Living
   2014-Present          Regular guest contributor to the patient magazine Living Without
   20l3                 BIDMC Mini-Medical School Lecture: Food Related Disorders
                        Presenter

   Educational Material for Patients and the Lav Communitv
   Patient educational material
   2007                 Co-Author of Celiac Disease: A Primer
                        Patient education pamphlet
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       Daniel A. Leffler                                                                                                 17



                              Available through the Divisions of Gastroenterology and Nutrition at BIDMC, >5,000
                              distributed
       2010                  Dennis M, Leffler D.
                             Real Life With Celiac Disease: Troubleshooting and Thriving Gluten Free
                             Book published by the American Gastroenterological Association
                             Winner of the 2011 'lndie Book Award' for Diet and Nutrition: www.indiebookawards.com
                             Currently sold > 10,000 copies nationwide. Current rating on Amazon: 4. 9 out of 5 stars


    Report of Scholarship
   Peer reviewed publications in print or other media
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        5.         Feuerstein JD, Leffler DA, Cheifetz AS. How physicians interpret research funding disclosures. NEJM.
                   2012 Dec 13;367(24):2358-9 [Letter to the Editor]
    6.            Feuerstein JD, Leffler DA. Colonoscopy and polyp characteristics. Ann Intern Med. 2013 Jan
                  15;158(2):141-2 [Letter to the Editor]
    7.            Kelly CP, Green PH, Murray JA, Dimarino A, Colatrella A, Leffler DA, Alexander T, Arsenescu R, Leon
                  F, Jiang JG, Arterburn LA, Paterson BM, Fedorak RN; for the Larazotide Acetate Celiac Disease Study
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    12.           Rupa Mukherjee, Daniel A. Leffler. Digestive Diseases Self-Education Program (DDSEP)
                  7 111 edition. Chapter on small intestinal diseases- print and online published by the American
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    13.           Natalia E. Castillo, Daniel A. Leffler. The Value of BCG and TNF in Autoimmunity. Editor Denise L.
                  Faustman. Academic Press, March 2014 [Book Chapter]
    14.           Rohini Vanga, Daniel A. Leffler. Gl/Liver Secrets Stl' Edition. Editor Peter R. McNally. Chapter on
                  celiac disease and small intestinal diseases. Elsevier Press 2014 [Book Chapter]
    l5.           Daniel A. Leffler, Ciaran P. Kelly. Yamada's Textbook of Gastroenterology. 61h Edition. Chapter on
                  celiac disease. Wiley Blackwell Press. 2014 [Book Chapter]
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                  Response to aziz et AI. Am J Gastroenterol. 2014 Sep;109(9): 1499-500. PMID:25196881 [Letter to the
                  Editor]
    17.           Feuerstein JD, Lefller DA, Chcifctz AS. Colonoscopy is appropriately utilized in most cases following a
                  fair bowel prep. Am J Gastrocntcrol. 2014 Aug;109(8):1289. PMID: 25091247[Letter to the Editor]

   Professional educational materials or reports, in print or other media

   1.            2005-2008     Tutorial Cases for Gastrointestinal Pathophysiology Course 708.0 -
                               Worked with Drs. Helen Shields and Antoinette Peters on development of the GI
                               pathophysiology tutmial cases to include issues of culturally competent care for second year
                               Harvard medical and dental students.

   2.            2005          Hereditary Colorectal Cancer, A Practical Review -web content
                               Web based leaming module of hereditary colon cancer for second year Harvard medical and
                               dental students: http://ecmmnons.med.harvard.eduNResources/
                               getResources.aspx?a=&course _ id= 10030933 77

   3.            2006          Summary of Gastrointestinal Honnones handout
                               Creation of learning aid for gastrointestinal hormones as part of the GI pathophysiology
                               course for second year Harvard medical and dental students
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    4.        2006         'Some thoughts on a future in Gastroenterology' handout
                           Creation of a handout describing the training, research and employment opportunities for
                           students interested in gastroenterology for second year Harvard medical and dental students

   5.         2006         Integration of cross cultural care into problem based learning module - video
                           With Drs. Helen Shields and Antoinette Peters, I created a video demonstration of the
                           integration of social and cultural issues in to a GI pathophysiology tutorial session for tutorial
                           leaders and course instructors at Harvard Medical School

   6.         2006         Oral Manifestations of Gastrointestinal Disease - web content
                           Web based review of oral rnanifestations of gastrointestinal diseases for second year Harvard
                           medical and dental students [website no longer active]

   7.         2009         Celiac Disease: Update on Diagnosis and Treatment - web content
                           Online CME course through Harvard Medical School Depmiment of Continuing Education
                           for physicians and other health care professionals

   8.         2010         Nutritional Management of Celiac Disease - online slide set
                           Online CME course through the American Gastroenterological Association for
                           Gastroenterologists

   9.         2010        Defining Dia!,'Tlosing and Managing Celiac Disease - Online slide set
                          Online CME course through the National Foundation for Celiac Awareness for Physicians
                          and other health care professionals




   Clinical Guidelines and Reports

   1.         2006        1) Celiac Disease Diagnostic Algorithm
                          2) Celiac Disease Management Algorithm
                          Guidelines to standardize and improve the diagnostic approach to celiac disease
                          BIDMC Celiac Center Clinical Guidelines

   2.        2007         I) Celiac Disease (Written with Dr. Ciaran Kelly)
             2007         2) Chronic Diarrhea (Written with Dr. Ciaran Kelly)
             2009         3) Zinc Deficiency
                          British Medical Joumal; Point-of-Care Physicians Reference Database
                          Web based reference database focused on disease diagnosis and management. Updated
                          annually

   3.        2014         Shields HM, Atlas JS, Leffler D, Percac-Lima S, Sequist T, Chung D, Lim R, Roseto J,
                          Ryou M. Prevention and Early Detection of Colorectal Cancer, A CRICO Decision Support
                          Tool, 2014.



   Abstracts, Poster Presentations and Exhibits Presented at Professional Meetings

   l.        Tariq S, Pallav K, Hansen J, Schuppan D, Kelly CP, Leffler DA. The Clinical Utility of HLA Testing in
             Celiac Disease Differential Diagnosis Digestive Diseases Week 2011
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    2.         Pallav K, Tariq S, Daniel A. Leffler DA, Dennis M, Hansen J, Peer A, Schuppan D, Kelly CP. Serum IgA
               in Celiac Disease: The Unrecognized Importance of Partial IgA Deficiency. Digestive Diseases Week
               2011
    3.         Na X, Martin A, Leffler DA, Flores SL, Lorraine K, HuM, Kelly CP. Derivation and Validation of a
               Clinical Prediction Tool for Severe Clostridium difficile Infection Digestive Diseases Week 2011
    4.        Socioeconomic Status Influences Celiac Disease Diagnosis Mehra S, Leffler DA, Pallav K, Tariq S, Shah
              S, Green PH, Hansen J, Dennis M, Kelly CP Digestive Diseases Week 2011
    5.        Akbari M, ShahS, Kelly CP, Bhansali A, Hansen J, Dennis M, Leffler DA. Factors Affecting the
              Treatment Burden of Celiac Disease Digestive Diseases Week 2012
    6.        Akbari M, Shah S, Kelly CP, Bhansali A, Hansen J, Dennis M, Leffler DA. Socioeconomic Risk Factors
              for Celiac Disease Burden and Symptoms Digestive Diseases Week 2012
    7.        Kabbani TA, Leffler DA, Pallav K, Bhansali A, Dennis M, Kelly CP. Is Celiac Disease Protective
              Against Non-Insulin Dependent Diabetes Mellitus'? Digestive Diseases Week 2012
    8.        ShahS, Akbari M, Kelly CP, Bhansali A, Hansen J, Dennis M, Leffler DA. Celiac Disease Has Higher
              Treatment Burden Than Conunon Medical Conditions Digestive Diseases Week 2012
   9.         Hshieh TT, Katchar K, Perera PN, Chen X, Xu H, Herzig SJ, Leffler DA, Kelly CP. Role of Etlmicity and
              IL-8 Polymorphisms in Clostridium difficile Susceptibility Digestive Diseases Week 2012
   10.        Ketwaroo GA, Tewani SK, Kheraj R, Raptopoulos V, Leffler DA. Mesenteric CT Angiography in the
              Evaluation and Management of Acute Lower GI Bleeding Digestive Diseases Week 2012




   Narrative Report

   My master's degree m nutrition, obtained from Columbia University prior to entering medical school,
   provided me with a strong background in the impact of nuttition on health and research methodologies which I
   have leveraged in my clinical and research career in gastroenterology. During my fellowship in
   Gastroenterology, I co-founded the Celiac Center at BIDMC and after graduation took on the role of Director
   of Clinical Research. Since then I have spearheaded numerous studies evaluating clinical outcomes and
   investigating new potential therapies for celiac disease and developing initiatives to improve patient care. This
   work has helped us to become one of the largest celiac disease centers in North America. Our
   multidisciplinary team currently cares for over 2000 patients with celiac disease and other gluten related
   disorders and is growing by approximately 15% annually.

   Currently, I devote 20% of my time to clinical and teaching activities, 30% to research in celiac disease, and
   50% to administration duties (20% celiac center and 30% gastroenterology/internal medicine administrative
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    and quality improvement effo1ts ). Because of my patient centered focus in celiac disease and my work in
    quality improvement, I believe my area of excellence lies in clinical expertise and innovation.

    Clinical expertise and innovation
    My main focus in clinical innovation relates to Patient Safety and Quality Improvement where I am active as
   Director of Quality Improvement for the Division of Gastroenterology, Associate Director of Research for
    Quality Improvement in the Department of Medicine, a member of the Medical Peer Review Committee,
   Interventional Procedures Committee, and the Department of Medicine QI Leadership Council; and, most
   recently I elected to the Patient Safety Core Faculty of the Department of Medicine. I have been able to
   leverage my clinical research and QI skills to design and execute multiple effective interventions which have
   been published in high level peer reviewed joumals including Archives of Intemal Medicine, Gastroenterology
   and Gastrointestinal Endoscopy. I am co-director of the patient safety and quality improvement curriculum
   across medicine sub-specialty feUowships at BIDMC and am engaged in a range of patient safety and quality
   improvement initiatives working closely with the Silvennan Institute for Health Care Quality & Safety and the
   Center for Healthcare Delivery, both at BIDMC. Projects have included development of a multi-disciplinary
   clinical care algorithm for management of gastrointestinal hemorrhage, a system for improving adherence to
   fo11ow up recommendations in gastrointestinal endoscopy, and ongoing work on peri-procedural
   anticoagulation management and quality improvement in procedural sedation. This work has led to regional
   and national recognition and I currently am a member of the CRICO-RMF task force on colorectal cancer
   prevention and have published invited reviews of quality improvement in leading gastroenterology joumals.



   Contributions to Teaching and Education
   Committed to the academic mission at BIDMC, I am an active participant in medical education, teaching the
   second year Harvard Medical School Gastrointestinal Pathophysiology Course for the past seven years and I
   was also the teaching fellow in 2006 working closely with Dr. Helen Shields on all aspects of course
   development and implementation. My specific tocus in the course was the integration of cross cultural care
   into the problem-based learning sessions and the development of numerous novel educational tools and
   initiation of popular board-style quiz sessions. Through this work I earned an Excellence in Tutoring Award
   from the HMS Academy Center for Teaching and Learning and a nomination for the Excellence in Mentoring
   Award from the HMS Office of Diversity and Community Partnership. Most recently as part of my role on
   the Patient Safety Core Faculty at BIDMC, along with Dr. Anjala Tess, I am leading a series of training
   courses on patient safety and quality improvement tor all clinical fellows in Depattment of Medicine
   fellowship programs at BIDMC. I also serve as Director of the Fellowship Program of the Celiac Center where
   I am responsible for selection, clinical oversight and mentoring of fellows in our celiac disease fellowship.

   Significant Supporting Activities: Research
   My efforts in celiac disease span both clinical and translational areas involving clinical outcomes and the
   development of novel non-invasive tests of celiac disease activity including the creation of disease specific
   survey tools assessing diet adherence, symptoms, and quality of life. The survey instruments in particular are
   used worldwide and have been translated into a number of languages. I am cunently the PI on a K23 grant
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    assessing non-invasive markers of celiac disease activity, with a related R03 and RO l in review. I am also a
   close collaborator with both Dr. Detlef Schuppan in his work elucidating basic immunologic mechanisms of
   celiac disease, and with the celiac group at Children's HospitaL In addition, I am currently the Pl on multiple
   industry-sponsored studies creating and evaluating celiac disease study outcomes and potential therapies. I
   have served as the Celiac Center Fellowship Director since 2010 and we cunently train two fellows per year in
   a 1-2 year research and clinical training program. Papers I have authored on celiac disease have been
   published in top peer reviewed journals including JAMA, Gastroenterology, Gut and the American Journal of
   Gastroenterology. My book on celiac disease, 'Real Life rvith Celiac Disease: Troubleshooting and Thriving
   Gluten Free' was published by the American Gastroenterological Association Press in May 2010, won an
   · Indie Book Award' in 2011 and ctmently is rated 4.9 out of 5 stars on Amazon. Finally, my work in celiac
   disease has led to both national and international recognition and I cunently serve as the secretary for The
   North American Society for the Study of Celiac Disease (www.nasscd.org), and on the international 'Oslo
   Group' developing consensus statements for celiac disease and related disorders.

   Significant Supporting Activities: Administration
   Administrative duties suppmi the quality improvement initiatives and celiac center activities and are noted in
   detail above. Brietly, relating to quality improvement and patient safety, I serve on multiple department of
   medicine and hospital wide committees and am the Director of Quality Improvement for the Division of
   Gastroenterology. For the Celiac Center at BIDMC, I serve as the fellowship director as well as the Director
   of Clinical Research.

   In conclusion, over the coming years I intend to continue to devote the majority of my time to clinical and
   translational research in celiac disease and patient safety and quality improvement initiatives central to the
   mission of BIDMC. Along with these major pursuits, I will continue to balance impotiant efforts in patient
   care and medical education.
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                    Additional Materials ReviewedfRelied Upon by Daniel Leffler, M.D.

      Medwatch reports and source files for Mfr Report #s

      SU-2004-002638                                          DSM-2009-00204
      SU-2005-004027                                          DSU-20 10-04 766
      SU-2006-005321                                          DSU-2010-01914
     SP-2006-003299                                           DSM-2010-01260
     SU-2006-005596                                           D SU-20 10-00207
     SU-2006-005527                                           DSU-201 0-04862
     SU-2006-00500 1                                          DSM-201 0-01269
     SP-2006-003369                                           DSU-20 10-01718
     DSU-2007-00076                                           DSU-2010-02706
     DSU-2007-00519                                           DSU-201 0-03745
     SU-2007-005968                                           DSM-2011-00109
     DSJ- 2007-05652                                          DSM-2011-00236
     DSM-2008-00111                                           DSM-2011-00846
     DSM-2008-00300                                           DSU-2011-01068
     DSM-2008-00239                                           DSlJ-2011-01739
     DSU-2008-021 07                                          DSM-2011-01329
     DSM-2008-00607                                           DSJ-2012-13566
     DSU-2008-01355                                           DSU-20 12-01841
     DSU-2008-02020                                           DSU-20 12-05283
     DSM-2009-00482                                           DSU-2012-05368
     DSM-2009-00694                                           DSU-2012-05969
     DSM-2009-0 1869                                          DSU-20 12-07932
     DSU-2009-0 1835                                          DSU-2012-09190
     DSM-2009-00451                                           DSM-2012-00455
     DSU-2009-00162                                           DSM-2012-00571
     DSU-2009-00531                                           DSM-2012-00581
     DSU-2009-0 1026                                          DSM-2012-01055
     DSU-2009-0 1282                                          DSU-2012-07482
     DSU-2009-0 1963                                          DSU-2012-08571
     DSU-2009-02204                                           DSU-2012-09732
     DSU-2009-02266                                           DSU-2012-02939

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